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                01234356B76
                Exhibit
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       8
                 
    IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

   !8"#$%              #8&and
                                  '(8!STEPHANIE
                                        )%*+ %8                 8
 ,%-      .8/individually
                 '(/0/(1&2238and
                               &'(8derivatively
                                     (45/0&6/04238on7'8           8
  NICOLAS        GOUREAU

 849&2:8of7:8,8   ; !+.8.  LLC,8  &a8Delaware
                                            <42&=&548             8
 MENKIN,

 2/>/64(82liability
            /&8/2/638?company,
                       7>@&'3.8                                   8
 behalf      ML FASHION,

  8                                                               8 B  C.A.B  8No.
                                                                                7B82020-0486
                                                                                    EFEFGFHIJ8
 limited

  8 8 8 *Plaintiffs,       2&/'6/::A.8                         8
  8                                                               8
  8 v.0B8
  8
  ,MARCUS
      $#!8%,          !.8&an'8individual,
                                   /'(/0/(1&2.8,8
 $%)     .8.LLC,8&  a8<4     2&=&5482    />/64(8
                LEMONIS,                        ML

 2/&8/2/638?company,
             7>@&'3.8,MARCUS  $#!8%,          !.8
  RETAIL,                     Delaware       limited

 .
  LLC,8&   a8<4     2&=&5482     />/64(82liability
                                             /&8/2/638
 liability                             LEMONIS,

 ?company,
   7>@&'3.8$C%$)ROBERTA8$             ;;%8&akaD&8
                 Delaware       limited

 C788/84    >7'/A.8an&'8individual,
                          /'(/0/(1&2.8and &'(8,"8
                                   RAFFEL

 $%)     .8.LLC,8&  a8<4     2&=&5482    />/64(8
 Bobbi    Lemonis,                             MLG

 2/&8/2/638?company,
             7>@&'3.8
  RETAIL,                     Delaware       limited

  8
 liability

  8 8 8 <4                   :4'(&'6A.8
  8
                         Defendants,

  8 &and   '(8
  8
  ,8 ; !+.8LLC,    .8a&8Delaware
                                  <42&=&5482limited
                                               />/64(8
 2/&8/2/638?company,
             7>@&'3.8
   ML FASHION,

  8
 liability

  8 8 8 Nominal          7>/'&28Defendant.
                                     <4:4'(&'6B8
         8
         8
                     K FIRST
                     VERIFIED          AMENDED
                                               L LM  COMPLAINT

        /?72&A8"7
        Nicolas          154&18N
                     Goureau        O"7154&1PQ8&
                                   ("Goureau")        '(8!Stephanie
                                                     and     64@9&'/48,4   'D/'8N
                                                                       Menkin        O,4'D/'PQ.8
                                                                                    ("Menkin"),

N?7224?6/04238"Plaintiffs"),
(collectively     O*2&/'6/::APQ.8by838and
                                      &'(8through
                                            69571R98their
                                                      694/58undersigned
                                                            1'(45A/R'4(8?counsel,
                                                                          71'A42.8individually
                                                                                    /'(/0/(1&2238
&'(8derivatively
and  (45/0&6/04238on 7'8behalf
                         849&2:8of7:8ML
                                     ,8Fashion,
                                           ;&A9/7'.88   NO,8Fashion"
                                                     LLC ("ML    ;&A9/7'P8or758the
                                                                               6948"Company"),
                                                                                   O7>@&'3PQ.8
85/'R8this
bring  69/A8Verified
             S45/:/4(8First
                        ;/5A68Amended
                                 >4'(4(87     >@2&/'68against
                                            Complaint   &R&/'A68Marcus
                                                                ,&5?1A84 >7'/A8("Lemonis"),
                                                                       Lemonis     NO4>7'/APQ.8

       8                                          98
                                                  1
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 3 of 95

        8
,8$46&/2.88NO,8$46&/2PQ.8,&5?1A84>7'/A.88NO,.8PQ.8$78456&8
ML Retail, LLC ("ML Retail"), Marcus Lemonis, LLC ("ML, LLC"), Roberta

$&  ::428&akaD&8Bobbi
 Raffel          C788/84       >7'/A8("Raffel"),
                            Lemonis      NO$&::42PQ.8and &'(8MLG ,"8Retail,
                                                                         $46&/2.8LLC
                                                                                  8("MLG
                                                                                          NO,"8$4       6&/2PQ8
                                                                                                     Retail")

N?7224?6/04238"Defendants"),
(collectively     O<4:4'(&'6APQ.8and    &'(8allege
                                              &224R48as&A8:follows:
                                                            7227=AT88
                                                   
                                            INTRODUCTION
         9BU This
         1.       )9/A82limited
                         />/64(8liability
                                    2/&8/2/638derivative
                                               (45/0&6/048action
                                                              &?6/7'8arises
                                                                       &5/A4A8:from
                                                                                57>8the
                                                                                     6948bad
                                                                                          8&(8:faith
                                                                                                &/698actions
                                                                                                      &?6/7'A8
83.8and
by,   &'(8breaches
              854&?94A8of7:8the  6948:fiduciary
                                        /(1?/&538duties
                                                    (16/4A8of,  7:.8Marcus
                                                                    ,&5?1A84      >7'/A.8the
                                                                                Lemonis,     6948Manager,
                                                                                                    ,&'&R45.8
9  &/5>&'V%.8and,
Chairman/CEO,          &'(.8via 0/&8his
                                     9/A84entity
                                           '6/638,8
                                                  ML $4      6&/2.8.
                                                        Retail,    LLC,8   6948most
                                                                           the  >7A68powerful
                                                                                      @7=45:128owner7='458of7:8
<42&=&5482limited
Delaware        />/64(82liability
                         /&8/2/638?company,
                                       7>@&'3.8,8       ;&A9/7'.8B
                                                  ML Fashion,        LLC.8   8Defendants
                                                                              <4:4'(&'6A84      >7'/A.8ML
                                                                                             Lemonis,      ,8
$4  6&/2.8and
 Retail,  &'(8,.ML,8 8have
                      LLC       9&048Dknowingly
                                        '7=/'R238and &'(8purposefully
                                                            @15@7A4:12238mismanaged
                                                                             >/A>&'&R4(8the   6948Company
                                                                                                    7>@&'38
&'(8used
and   1A4(8it/68solely
                A724238:for758their
                              694/58own
                                    7='8personal
                                           @45A7'&28gain.
                                                      R&/'B8Defendants
                                                                <4:4'(&'6A8&are548siphoning
                                                                                  A/@97'/'R8money
                                                                                                >7'438:from
                                                                                                          57>8
69487
the      >@&'3.8&actively
     Company,         ?6/04238preventing
                                  @5404'6/'R8it/68:from
                                                    57>8meeting
                                                            >446/'R8its/6A8obligations,
                                                                            782/R&6/7'A.8and&'(8looting
                                                                                                   2776/'R8/its6A8
&AA46AB8
assets.

         EBU Defendant
         2.       <4:4'(&'68Marcus,&5?1A84     >7'/A8is/A8a&8wolf
                                            Lemonis            =72:8in/'8sheep's
                                                                         A944@WA8?clothing.
                                                                                    2769/'RB88Through
                                                                                                )9571R98his 9/A8
64240/A/7'8show,
television     A97=.8"The
                       O)948*Profit,"
                                   57:/6.P8he948presents
                                                @54A4'6A8himself
                                                             9/>A42:8as&A8a&8savior
                                                                              A&0/758to678struggling
                                                                                          A651RR2/'R8small
                                                                                                         A>&228
81A/'4AA8owners,
business      7='45A.8&all228the
                               6948while
                                    =9/248preying
                                            @543/'R8on  7'8the
                                                             6948business
                                                                   81A/'4AA8he948purports
                                                                                  @15@756A8to678be848saving.
                                                                                                      A&0/'RB88
4  >7'/A8strategically
 Lemonis      A65&64R/?&2238and &'(8deliberately
                                      (42/845&64238drowns
                                                     (57='A8these 694A48businesses
                                                                         81A/'4AA4A8in/'8debt
                                                                                           (4868to678him
                                                                                                     9/>8and
                                                                                                           &'(8
9/A84entities
his    '6/6/4A8in/'8order
                     75(458to678:foreclose
                                    754?27A48on  7'8them
                                                    694>8and   &'(8take
                                                                    6&D48their
                                                                           694/58&assets
                                                                                   AA46A8and
                                                                                           &'(8intellectual
                                                                                                 /'64224?61&28
@57@45638to6784expand
property          X@&'(8his 9/A8own
                                 7='84empire.
                                         >@/54B8
         YBU *Plaintiffs
         3.        2&/'6/::A8"7      154&18&and
                                 Goureau       '(8,4     'D/'WA8:family-owned
                                                    Menkin's        &>/23G7='4(8high-end
                                                                                      9/R9G4'(8women's
                                                                                                    =7>4'WA8
?clothing
  2769/'R8store,
              A6754.8Courage.B,
                      715&R4BC.8was     =&A8:featured
                                                 4&6154(8on   7'8a&82014
                                                                     EF9H84episode
                                                                               @/A7(48of7:8"The
                                                                                             O)948*Profit."
                                                                                                        57:/6BP88

        8                                                 E8
                                                          2
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 4 of 95

        8
7   15&R4BC8began
Courage.B       84R&'8in/'82008
                            EFFI8as&A8&a8business
                                          81A/'4AA8owned
                                                      7='4(8and&'(8operated
                                                                       7@45&64(8by 838Neomi
                                                                                        47>/8"7      154&18&and
                                                                                                  Goureau      '(8
9458?children,
her      9/2(54'.8*     2&/'6/::A8"7
                      Plaintiffs        154&18&and
                                   Goureau         '(8,4    'D/'.86
                                                         Menkin,        9571R986
                                                                       through       94/584entity
                                                                                    their    '6/638"7    7845538
                                                                                                      Gooberry

7   5@75&6/7'8("Gooberry")
Corporation       NO"7784553PQ8which =9/?98owned
                                              7='4(8the 6948Courage.B
                                                            715&R4BC8brand  85&'(8and &'(8stores.
                                                                                           A6754AB888
         HBU 0
         4.       Over 458the
                          6948next
                              '4X68six
                                     A/X8years,
                                          34&5A.8Plaintiffs'
                                                  *2&/'6/::AW8:family
                                                                  &>/238business,
                                                                           81A/'4AA.87     15&R4BC.8became
                                                                                         Courage.B,     84?&>48
04538successful.
very    A1??4AA:12B88In'82014,
                             EF9H.87     15&R4BC8had
                                      Courage.B       9&(8seven
                                                           A404'8different
                                                                     (/::454'68retail
                                                                                  546&/28stores
                                                                                          A6754A8around
                                                                                                    &571'(8the6948
?country,
  71'653.8including
             /'?21(/'R8locations
                           27?&6/7'A8in/'8"5    44'=/?9.8).
                                             Greenwich,      CT,8   *Palm
                                                                       &2>8Beach,
                                                                             C4&?9.8FL, ;.8C4    694A(&.8,<.
                                                                                             Bethesda,      MD,8

    A@4'.8CO,
Aspen,     .8New
                 4=8York,
                         Z75D.8NY,Z.8!Southampton,
                                          7169&>@67'.8NY,  Z.8and&'(8Fairfax,
                                                                         ;&/5:&X.8VA,S .8and
                                                                                          &'(8was
                                                                                                =&A8valued
                                                                                                       0&214(8at&68
70458[$2.6M
over     EBJ,8based
                 8&A4(8on 7'84   >7'/AW8own
                              Lemonis'      7='8investment.
                                                   /'04A6>4'6B8
         \5.BU In'8their
                      694/584episode
                              @/A7(48of7:8"The
                                            O)948*Profit,"
                                                     57:/6.P84  >7'/A8&agreed
                                                             Lemonis        R544(8to678invest
                                                                                        /'04A68in/'8Courage.B
                                                                                                    715&R4BC8
838acquiring
by   &?]1/5/'R8a&830% YF^8interest
                             /'6454A68in/'8"7  7845538:for758[$800,000.
                                            Gooberry            IFF.FFFB88)9  That&68[$800,000
                                                                                        IFF.FFF8investment
                                                                                                    /'04A6>4'68
=&A8supposed
was    A1@@7A4(8to678be848broken
                             857D4'8down
                                       (7='8&asA8:follows:
                                                     7227=AT8[$300,000
                                                                 YFF.FFF8new  '4=8inventory,
                                                                                      /'04'6753.8[$40,000
                                                                                                      HF.FFF8to678
4eliminate
  2/>/'&648high
              9/R98interest
                      /'6454A68debt,
                                 (486.8[$150,000
                                         9\F.FFF8in/'8working
                                                         =75D/'R8?capital,
                                                                        &@/6&2.8[$200,000
                                                                                  EFF.FFF8to6785renovate
                                                                                                   4'70&648the6948
A6754A.8$50,000
stores,    [\F.FFF8to678?create
                            54&648a&8new
                                      '4=84e-commerce
                                               G?7>>45?48site  A/648and
                                                                      &'(8an&'84extra
                                                                                  X65&8[$60,000
                                                                                          JF.FFF8the 6948use
                                                                                                          1A48of7:8
=9/?98was
which     =&A8to678be848determined.
                        (4645>/'4(B8
         J6.BU However,
                  +7=4045.8while  =9/248the6948show
                                                 A97=8was =&A8:filming,
                                                                  /2>/'R.8and &'(8before
                                                                                      84:7548the
                                                                                               6948deal
                                                                                                      (4&28was
                                                                                                             =&A8
:finalized,
  /'&2/_4(.84     >7'/A8spent
               Lemonis      A@4'68millions
                                     >/22/7'A8of7:8dollars
                                                      (722&5A8to678renovate
                                                                      54'70&648the 69487   >@&'3WA8stores.
                                                                                         Company's       A6754AB88
4   >7'/A8represented
 Lemonis      54@54A4'64(8to678*Plaintiffs
                                    2&/'6/::A8that
                                                69&68he948was
                                                          =&A8taking
                                                                 6&D/'R8?care&548of7:8the
                                                                                       6948renovations,
                                                                                           54'70&6/7'A.8that 69&68
*Plaintiffs
   2&/'6/::A8did
              (/(8not
                   '768have
                         9&048to678worry
                                   =75538&about
                                             87168the
                                                    6948?costs
                                                          7A6A8/involved,
                                                                  '07204(.8&and '(8that
                                                                                     69&68they
                                                                                          69438should
                                                                                                  A9712(8"trust
                                                                                                           O651A68
6948process."
the   @57?4AABP88*Plaintiffs
                      2&/'6/::A8had
                                 9&(8no
                                      '78/idea
                                            (4&8that
                                                 69&684  >7'/A8was
                                                      Lemonis      =&A8vastly
                                                                          0&A62384exceeding
                                                                                     X?44(/'R8the
                                                                                                6948[$200,000
                                                                                                        EFF.FFF8
54'70&6/7'A8budget.
renovations      81(R46B8

        8                                                 3Y8
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 5 of 95

        8
         `7.BU Whena94'8*Plaintiffs
                              2&/'6/::A85received
                                          4?4/04(8the69484exorbitant
                                                           X758/6&'68bills
                                                                        8/22A8:for758the
                                                                                      6948renovations
                                                                                           54'70&6/7'A8and  &'(8
]14A6/7'4(8the
questioned       6948?costs
                        7A6A8being
                              84/'R8incurred
                                      /'?1554(8on7'8"7   784553WA8behalf,
                                                      Gooberry's     849&2:.84     >7'/A8said
                                                                                Lemonis      A&/(8if/:8they
                                                                                                       69438no
                                                                                                             '78
27'R458wanted
longer    =&'64(8to678do (78the
                             6948deal,
                                 (4&2.8they
                                        69438would
                                               =712(8have
                                                        9&048to678pay
                                                                  @&38him
                                                                       9/>8back
                                                                              8&?D8the
                                                                                     6948millions
                                                                                          >/22/7'A8he948spent
                                                                                                          A@4'68
7'8"7
on       784553b&8demand
     Gooberry—a         (4>&'(8that69&68was
                                         =&A8impossible
                                               />@7AA/8248:for758*Plaintiffs
                                                                    2&/'6/::A8to678meet.
                                                                                   >446B888
         IBU Thus,
         8.        )91A.8the
                           6948parties
                                 @&56/4A8moved
                                          >704(8:forward.
                                                      75=&5(B88' On8  704>845818,
                                                                       November         9I.82014,
                                                                                             EF9H.8the6948deal
                                                                                                           (4&28
54&?94(8on
reached      7'8the6948show
                         A97=8was=&A8memorialized,
                                        >4>75/&2/_4(.8and  &'(8Lemonis
                                                                  4>7'/A8purchased
                                                                                 @15?9&A4(8his  9/A8stake
                                                                                                      A6&D48/in'8
"7   7845538through
 Gooberry      69571R98Defendant
                          <4:4'(&'68ML   ,8Retail,
                                               $46&/2.8B
                                                        LLC.8

         c9.BU %0     4'61&223.8Lemonis
                   Eventually,    4>7'/A8needed'44(4(8more
                                                         >7548?control
                                                                   7'65728over
                                                                            70458the6948women's
                                                                                          =7>4'WA8:fashion
                                                                                                         &A9/7'8
81A/'4AA8he9484entered
business            '6454(8into
                             /'678with
                                   =/698*Plaintiffs.
                                            2&/'6/::AB88By
                                                         C38,&
                                                             March5?982016,
                                                                       EF9J.84     >7'/A8had
                                                                                 Lemonis     9&(8destroyed
                                                                                                    (4A65734(8
"7   784553WA8profit
 Gooberry's       @57:/68margins
                          >&5R/'A8&and '(8saddled
                                           A&((24(8it/68with
                                                        =/698debt
                                                              (4868owed
                                                                     7=4(8to678himself
                                                                                  9/>A42:8&and'(8his
                                                                                                   9/A84entities
                                                                                                         '6/6/4A8
69&68neither
that   '4/69458"7     7845538nor
                  Gooberry      '758the
                                     6948*Plaintiffs
                                            2&/'6/::A8?could
                                                        712(84ever
                                                                 0458repay.
                                                                     54@&3B88Lemonis
                                                                                 4>7'/A8represented
                                                                                             54@54A4'64(8to678
*Plaintiffs
   2&/'6/::A8that
              69&68the
                    6948only
                         7'238way
                                =&38they
                                      69438?could
                                              712(8make
                                                    >&D48money
                                                           >7'438:from57>8their
                                                                             694/58business
                                                                                    81A/'4AA8venture
                                                                                                 04'61548now
                                                                                                           '7=8
=&A8to678join
was       d7/'8him
                 9/>8in/'8investing
                          /'04A6/'R8/in'8other
                                          769458businesses.
                                                  81A/'4AA4AB8
         9FBU Thus,
         10.       )91A.84    >7'/A8?convinced
                           Lemonis       7'0/'?4(8"7      154&18&and
                                                      Goureau       '(8Menkin
                                                                        ,4'D/'8to678startA6&568a&8new
                                                                                                   '4=84entity
                                                                                                           '6/638
=/698him,
with    9/>.8ML,8Fashion.
                     ;&A9/7'B884      >7'/A8represented
                                  Lemonis      54@54A4'64(8to678*Plaintiffs
                                                                    2&/'6/::A8that
                                                                                 69&68,8   ;&A9/7'8would
                                                                                       ML Fashion        =712(8
848the
be   6948umbrella
          1>85422&84entity
                         '6/638through
                               69571R98which
                                          =9/?98the6948parties
                                                       @&56/4A8invest
                                                                 /'04A68in/'8various
                                                                              0&5/71A8retail
                                                                                         546&/28?clothing
                                                                                                  2769/'R8&and
                                                                                                             '(8
:fashion
  &A9/7'8businesses,
            81A/'4AA4A.8brands,
                            85&'(A.8and&'(8stores.
                                            A6754AB8
         99BU AsA8detailed
         11.           (46&/24(8below,
                                  8427=.84     >7'/A8was
                                            Lemonis     =&A8sure
                                                             A1548to678give
                                                                       R/048himself
                                                                               9/>A42:8unbridled
                                                                                          1'85/(24(8?control
                                                                                                         7'65728
70458ML
over    ,8Fashion
              ;&A9/7'8as&A8its/6A8Manager,
                                  ,&'&R45.8Chairman/CEO,
                                                9&/5>&'V%.8and    &'(8owner
                                                                            7='458of7:8,8ML $4     6&/2.8.
                                                                                               Retail,    LLC,8

6948most
the   >7A68powerful
             @7=45:128member
                           >4>8458of7:8the6948Company.
                                               7>@&'3B884       >7'/A8discouraged
                                                              Lemonis      (/A?715&R4(8*Plaintiffs
                                                                                              2&/'6/::A8:from
                                                                                                           57>8

        8                                                 H8
                                                          4
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        8
9&0/'R8/'(4@4'(4'68&6675'43A8540/4=86948(7?1>4'6&6/7'88389&0/'R8&6675'43A869&68
having independent attorneys review the documentation by having attorneys that

=4548supposedly
were    A1@@7A4(238representing
                      54@54A4'6/'R8the 6948Company
                                            7>@&'38draft  (5&:68the 6948documents.
                                                                          (7?1>4'6AB88These)94A48attorneys
                                                                                                     &6675'43A8
97=4045.8represented
however,    54@54A4'64(84     >7'/A8in/'8a&8variety
                            Lemonis          0&5/4638of7:8other
                                                             769458business
                                                                      81A/'4AA8and  &'(8personal
                                                                                         @45A7'&28matters.
                                                                                                    >&6645AB8
         9EBU 4
         12.       >7'/A8used
                 Lemonis    1A4(8his
                                  9/A8unchecked
                                       1'?94?D4(8?control7'65728over70458,8      ;&A9/7'8:for758his
                                                                           ML Fashion            9/A8personal
                                                                                                      @45A7'&28
R&/'8to678the
gain      6948detriment
              (465/>4'68of7:8the
                              69487   >@&'38&and
                                   Company         '(8*Plaintiffs.
                                                         2&/'6/::AB88Time
                                                                        )/>48and  &'(8time
                                                                                      6/>48again,
                                                                                            &R&/'.84    >7'/A8
                                                                                                     Lemonis

:forced
  75?4(8ML,8Fashion
               ;&A9/7'8to678take
                             6&D48on
                                   7'8unnecessary
                                       1''4?4AA&538debts  (486A8in/'8order
                                                                       75(458to678:force
                                                                                     75?48the
                                                                                           6948Company
                                                                                                7>@&'38to678
786&/'8loans
obtain   27&'A8:from
                 57>8another
                       &'7694584entity
                                  '6/638?controlled
                                           7'657224(8by 8384      >7'/A.8often
                                                              Lemonis,        7:64'8ML,
                                                                                     ,.8.
                                                                                           LLC,8   678meet
                                                                                                  to   >4468its/6A8
782/R&6/7'A.8such
obligations,    A1?98&asA8payroll
                          @&357228and
                                    &'(85rent.
                                          4'6B88Whenever
                                                 a94'40458*Plaintiffs
                                                                    2&/'6/::A8questioned
                                                                                 ]14A6/7'4(8his9/A8decisions,
                                                                                                    (4?/A/7'A.8
4  >7'/A8would
Lemonis     =712(8respond
                    54A@7'(8with=/698threats
                                      6954&6A8to6784either
                                                      /69458:foreclose
                                                               754?27A48on    7'8the
                                                                                   6948Company,
                                                                                       7>@&'3.8:fire /548their
                                                                                                           694/58
>769458Neomi,
mother     47>/.8or758:fire
                          /548*Plaintiffs
                                2&/'6/::A8themselves.
                                           694>A4204AB88The     )9487       >@&'38was
                                                                       Company         =&A8now
                                                                                            '7=8*Plaintiffs'
                                                                                                     2&/'6/::AW8
2/042/977(.8and
livelihood,    &'(8they
                   69438had
                          9&(8no'78?choice
                                     97/?48but
                                            8168to678:fall
                                                       &228/in'82line.
                                                                  /'4B8
         9YBU In'82016,
         13.       EF9J.8Lemonis
                            4>7'/A8met >468Defendant
                                              <4:4'(&'68$&          ::428&at68a&8trade
                                                               Raffel            65&(48show
                                                                                        A97=8in/'8New
                                                                                                  4=8YorkZ75D8
/ 63B88$&
City.         ::428=&
           Raffel      '64(84
                   wanted         >7'/A86
                               Lemonis       78/
                                            to     '04A68/
                                                  invest    in'89    4588
                                                                   her     1A/'4AA.8$1
                                                                         business,         '=&38C7
                                                                                        Runway           16/]148
                                                                                                     Boutique

NO$1'=&3PQ.8which
("Runway"),      =9/?98operated
                         7@45&64(8&a8store
                                       A67548/in'8Deerfield,
                                                  <445:/42(.8Illinois.
                                                                  22/'7/AB8Lemonis
                                                                                  4>7'/A8was
                                                                                           =&A8smitten
                                                                                                 A>/664'8with
                                                                                                           =/698
$&  ::428and
Raffel    &'(8:forced
                75?4(8"7    7845538to678purchase
                        Gooberry        @15?9&A48her  9458business,
                                                            81A/'4AA.85renovate
                                                                              4'70&648her9458store,
                                                                                             A6754.8and
                                                                                                      &'(8buy
                                                                                                            8138
'4=8product
new   @57(1?68:for758the
                     6948store.
                           A6754B88With
                                    a/698their
                                           694/585romance
                                                     7>&'?48/in'8:full 1228swing,
                                                                             A=/'R.84    >7'/A8and
                                                                                       Lemonis    &'(8$&    ::428
                                                                                                         Raffel

694'8decided
then   (4?/(4(8to678use
                    1A48,8     ;&A9/7'.8and
                          ML Fashion,       &'(8its/6A8infrastructure
                                                       /':5&A651?61548built   81/268by
                                                                                     838*Plaintiffs,
                                                                                          2&/'6/::A.8to678grow
                                                                                                          R57=8
694/58personal
their   @45A7'&28:fashion
                   &A9/7'8brand
                              85&'(8and
                                      &'(85retail
                                             46&/28?concept,
                                                       7'?4@6.8MARCUS,
                                                                    , $#!.8instead  /'A64&(8of7:8*Plaintiffs'
                                                                                                     2&/'6/::AW8
85&'(.87
brand,      15&R4BCB8
         Courage.B.




        8                                                  \8
                                                           5
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 7 of 95

        8
       9HBU $4
        14.         ?4'6238 however,
                 Recently        97=4045.8 4         >7'/A8 has
                                                  Lemonis          9&A8 taken
                                                                          6&D4'8 his  9/A8 misconduct,
                                                                                               >/A?7'(1?6.8
>/A>&'&R4>4'6.8&and
mismanagement,           '(8misuse
                             >/A1A48of7:8power
                                          @7=458of7:8ML ,8Fashion
                                                              ;&A9/7'8to678the
                                                                            6948next
                                                                                  '4X68level.
                                                                                       24042B88Lemonis
                                                                                                4>7'/A8is/A8
&?6/04238removing
actively  54>70/'R8money  >7'438:from57>8the
                                           69487     >@&'3WA8bank
                                                 Company's        8&'D8accounts
                                                                         &??71'6A8soA78that69&68its/6A8debts—
                                                                                                       (486Ab
=9/?98debit
which   (48/68automatically
                &167>&6/?&2238:from 57>8its/6A8bank
                                               8&'D8accounts—cannot
                                                      &??71'6Ab?&''768be848paid.   @&/(B8
       9\BU %0
       15.          4'8worse,
                 Even   =75A4.84     >7'/A8/isA8&actively
                                  Lemonis           ?6/04238using
                                                              1A/'R8the
                                                                     6948global
                                                                         R278&28pandemic
                                                                                   @&'(4>/?8to678?continue
                                                                                                       7'6/'148
678loot
to  27768ML
         ,8Fashion.
                ;&A9/7'B884      >7'/A8has
                              Lemonis      9&A8been
                                                  844'8unilaterally
                                                         1'/2&645&2238?closing
                                                                          27A/'R8its/6A8retail
                                                                                         546&/28stores
                                                                                                 A6754A8&and  '(8
>70/'R8the
moving   6948Company's
               7>@&'3WA8inventory,
                               /'04'6753.8:furniture,
                                               15'/6154.8:fixtures,
                                                             /X6154A.8&and
                                                                        '(84equipment
                                                                             ]1/@>4'68to678other
                                                                                              7694584entities
                                                                                                         '6/6/4A8
&'(V758businesses
and/or  81A/'4AA4A8owned7='4(8or758?controlled
                                      7'657224(8by   8384  >7'/AB8
                                                        Lemonis.

       9JBU Without
       16.       a/697168the 69487    156WA8/intervention,
                                  Court's       '64504'6/7'.8the  69487  >@&'38will
                                                                       Company       =/228be848irreparably
                                                                                                /554@&5&8238
9&5>4(B88Through
harmed.      )9571R98this69/A8Complaint,
                              7>@2&/'6.8Plaintiffs
                                               *2&/'6/::A8seek
                                                            A44D8redress
                                                                   54(54AA8:for758<4 :4'(&'6AW8:fraud
                                                                                  Defendants'         5&1(8&and
                                                                                                              '(8
>/A>&'&R4>4'687
mismanagement           of:
                          86 9487
                            the       >@&'3.86
                                  Company,          948&
                                                   the    @@7/'6>4'687
                                                        appointment        of:8&a85  4?4/04586
                                                                                    receiver     78@
                                                                                                to      5404'68
                                                                                                       prevent

<4:4'(&'6A8:from
Defendants       57>8:further
                          1569458harming
                                   9&5>/'R8the  69487    >@&'3.8the
                                                      Company,       6948judicial
                                                                          d1(/?/&28dissolution
                                                                                      (/AA7216/7'8of7:8the   6948
7  >@&'3.8&and
Company,        '(8to678hold
                        972(8Defendants
                              <4:4'(&'6A8accountable
                                               &??71'6&8248:for758breaching
                                                                     854&?9/'R8their
                                                                                   694/58:fiduciary
                                                                                           /(1?/&538duties,
                                                                                                        (16/4A.8
6948Company's
the   7>@&'3WA88             R544>4'68(defined
                       LLC Agreement            N(4:/'4(8&and   '(8described
                                                                    (4A?5/84(8below),
                                                                                   8427=Q.8wasting
                                                                                               =&A6/'R8the   6948
7  >@&'3WA8?corporate
Company's         75@75&648&assets,
                                AA46A.8and
                                         &'(8operating
                                                7@45&6/'R8the  6948Company
                                                                    7>@&'38&asA8a&8self-enrichment
                                                                                           A42:G4'5/?9>4'68
049/?248:for758themselves
vehicle        694>A4204A8to678harm
                                 9&5>8the6948Company
                                               7>@&'38and   &'(8*Plaintiffs.
                                                                    2&/'6/::AB8
                                                M 
                                                PARTIES

       9`BU *Plaintiff
       17.        2&/'6/::8"7   154&18is/A8an&'8individual
                            Goureau              /'(/0/(1&28residing
                                                                54A/(/'R8/in'8Florida
                                                                              ;275/(&8and
                                                                                        &'(8is/A8one
                                                                                                 7'48of7:8the6948
?co-founders
  7G:71'(45A8of7:8ML  ,8Fashion.
                           ;&A9/7'B88"7       154&18is/A8&an'84entrepreneur
                                         Goureau                '654@54'4158and  &'(8?clothing
                                                                                       2769/'R8&and   '(8retail
                                                                                                          546&/28
4executive.
  X4?16/04B88"7    154&18is/A8&a8signatory
                Goureau           A/R'&67538to678the 6948/   >/64(8/
                                                          Limited       &8/2/638Company
                                                                      Liability    7>@&'38Agreement R544>4'68

        8                                                 J8
                                                          6
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 8 of 95

        8
N(4:/'4(8&'(8(4A?5/84(88427=Q8&'(87='A8&8YYBYY^8>4>845A9/@8/'6454A68/'86948
(defined and described below) and owns a 33.33% membership interest in the

7  >@&'3B888
Company.

        9IBU *Plaintiff
        18.       2&/'6/::8Menkin
                            ,4'D/'8/isA8&an'8/individual
                                               '(/0/(1&28residing
                                                              54A/(/'R8in/'8New4=8York
                                                                                     Z75D8and &'(8/isA8one
                                                                                                       7'48of7:8
6948?co-founders
the   7G:71'(45A8&and '(8the
                          6948*President
                                  54A/(4'68of7:8ML
                                                ,8Fashion.
                                                      ;&A9/7'B88,4       'D/'8is/A8&an'84entrepreneur
                                                                     Menkin                '654@54'4158and&'(8
?clothing
  2769/'R8&and'(85retail
                   46&/284executive.
                            X4?16/04B88,4      'D/'8is/A8a&8signatory
                                          Menkin               A/R'&67538to678the 6948/   >/64(8/
                                                                                        Limited        &8/2/638
                                                                                                     Liability

7  >@&'38Agreement
Company          R544>4'68N     (4:/'4(8&
                               (defined       '(8(
                                            and      4A?5/84(88
                                                    described        427=Q8&
                                                                    below)        '(87
                                                                                and       ='A8&
                                                                                        owns      a8Y  YBYY^8
                                                                                                      33.33%

>4>845A9/@8interest
membership      /'6454A68in/'8the
                              69487   >@&'3B8
                                   Company.

        9cBU Nominal
        19.     7>/'&28Defendant
                             <4:4'(&'68ML ,8Fashion
                                                ;&A9/7'8is/A8&a8privately
                                                                   @5/0&64238held942(8<4     2&=&5482limited
                                                                                        Delaware       />/64(8
2/&8/2/638?company.
liability    7>@&'3B88ML ,8Fashion
                                ;&A9/7'8has
                                          9&A8/its6A8principal
                                                     @5/'?/@&28place
                                                                   @2&?48of7:8business
                                                                                81A/'4AA8in/'8New4=8York,
                                                                                                        Z75D.8
4=8York
New    Z75D8and
              &'(8owns
                   7='A8and
                          &'(8operates
                                7@45&64A8a&8number
                                             '1>8458of7:8:fashion
                                                              &A9/7'8brands
                                                                       85&'(A8and&'(8retail
                                                                                       546&/28stores
                                                                                               A6754A8across
                                                                                                       &?57AA8
6948?country.
the   71'653B88
        EFBU Defendant
        20.     <4:4'(&'68Marcus
                               ,&5?1A84    >7'/A8is/A8an&'8/individual
                                         Lemonis              '(/0/(1&28residing
                                                                           54A/(/'R8in/'8Illinois
                                                                                            22/'7/A8and
                                                                                                      &'(8the
                                                                                                          6948
,&'&R458and
Manager     &'(89   &/5>&'V%8of7:8,8
                 Chairman/CEO                  ;&A9/7'B884
                                         ML Fashion.             >7'/A8is/A8an&'8investor
                                                            Lemonis              /'04A6758&and '(8television
                                                                                                   64240/A/7'8
@45A7'&2/638of7:8CW
personality         CNBC'sA    8reality
                                 54&2/638show,
                                          A97=.8"TheO)948*Profit."
                                                                57:/6BP884    >7'/A8owns
                                                                          Lemonis         7='A8a&833.34%
                                                                                                      YYBYH^8
>4>845A9/@8/interest
membership       '6454A68/in'8the
                              6948Company
                                   7>@&'38through
                                                69571R98his 9/A84entity
                                                                   '6/638ML
                                                                          ,8$4     6&/2.8B
                                                                                 Retail,   LLC.8    84>7'/A8
                                                                                                     Lemonis

A/R'4(8the
signed    6948Limited
              />/64(8/    &8/2/6387
                        Liability       >@&'38Agreement
                                    Company         R544>4'68on   7'8behalf
                                                                      849&2:8of7:8,8
                                                                                   ML $4      6&/2.8LLC.
                                                                                          Retail,   B88He
                                                                                                           +48
/A8also
is  &2A78?chairman
            9&/5>&'8and&'(8%8
                              CEO of  7:8&  >@/'R8World,
                                         Camping       a752(.8"7   Good7(8!Sam &>8%'    645@5/A4A.8"&
                                                                                    Enterprises,         '(458
                                                                                                      Gander

1  6(775A.8and
Outdoors,     &'(8The
                   )948House
                        +71A48Boardshop.
                                  C7&5(A97@B8
        E9BU Defendant
        21.     <4:4'(&'68,8  ML $4    6&/2.88
                                     Retail,   LLC is /A8a&8Delaware
                                                              <42&=&548limited
                                                                           2/>/64(82liability
                                                                                         /&8/2/638company
                                                                                                    ?7>@&'38
=/698/its6A8principal
with        @5/'?/@&28place
                        @2&?48of7:8business
                                     81A/'4AA8in/'8Illinois.
                                                      22/'7/AB88Defendant
                                                                   <4:4'(&'68Lemonis
                                                                                   4>7'/A8/isA8the  6948sole
                                                                                                         A7248

        8                                                `8
                                                         7
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        8
>4>84587:8,8$46&/28&'(89&A8?7>@24648?7'6572870458,8$46&/2B88,8$46&/28/A86948
member of ML Retail and has complete control over ML Retail. ML Retail is the

&264584ego
alter    R78or758agent
                 &R4'68of7:8Lemonis,
                              4>7'/A.8and &'(8ML,
                                                 ,.88 LLC and&'(8operates
                                                                       7@45&64A8as&A8Lemonis'
                                                                                      4>7'/AW8personal
                                                                                                     @45A7'&28
972(/'R8?company.
holding     7>@&'3B88
         EEBU Defendant
         22.     <4:4'(&'68Marcus,&5?1A84       >7'/A.8LLC
                                             Lemonis,       8is/A8a&8<4    2&=&5482limited
                                                                           Delaware       />/64(82liability
                                                                                                      /&8/2/638
?company
  7>@&'38with=/698its/6A8principal
                         @5/'?/@&28place
                                      @2&?48of7:8business
                                                 81A/'4AA8in/'8Illinois.
                                                                  22/'7/AB88)9
                                                                             The4 8sole
                                                                                   A7248member
                                                                                          >4>8458of7:8ML,,.8
8
 LLC is /A8,&   5?1A84
            Marcus         >7'/A8Enterprises,
                        Lemonis       %'645@5/A4A.8.
                                                      LLC,8     =97A48sole
                                                               whose     A7248member
                                                                               >4>8458/isA8the  6948,&   5?1A8
                                                                                                      Marcus

4 >7'/A8Revocable
 Lemonis    $407?&8248)5       1A6.8whose
                            Trust,  =97A48trustee
                                              651A6448is/A8Marcus
                                                            ,&5?1A8Lemonis.
                                                                      4>7'/AB88,. ML,8  8
                                                                                          LLC /   isA
                                                                                                    8the
                                                                                                     6948alter
                                                                                                         &26458
4ego
  R78or758agent
          &R4'68of7:84  >7'/A.8and
                     Lemonis,     &'(8ML ,8Retail
                                              $46&/28and
                                                       &'(8operates
                                                             7@45&64A8as&A84 >7'/AW8personal
                                                                           Lemonis'      @45A7'&28holding
                                                                                                      972(/'R8
?company.
  7>@&'3B88
         EYBU Defendant
         23.     <4:4'(&'68Roberta
                                $78456&8$&     ::428&akaD&8Bobbi
                                           Raffel          C788/8Lemonis
                                                                    4>7'/A8is/A8&an'8individual
                                                                                      /'(/0/(1&28residing
                                                                                                     54A/(/'R8
/'8Illinois.
in 22/'7/AB8
         EHBU Defendant
         24.     <4:4'(&'68,"8 MLG $4      6&/2.88
                                         Retail,  LLC /   isA
                                                            8a&8Delaware
                                                                <42&=&548limited
                                                                            2/>/64(82liability
                                                                                        /&8/2/638?company.
                                                                                                    7>@&'3B88
,"8$4
MLG         6&/28has
         Retail  9&A8/its6A8principal
                             @5/'?/@&28place
                                         @2&?48of7:8business
                                                      81A/'4AA8in/'8New4=8York,
                                                                             Z75D.8New4=8York.
                                                                                             Z75DB88MLG ,"8
$4 6&/2WA8sole
 Retail's  A7248member
                 >4>8458/isA8ML ,8Fashion.
                                       ;&A9/7'B8
         E\BU At68all
         25.           &228times
                           6/>4A85relevant
                                    4240&'68to678this
                                                  69/A8action,
                                                          &?6/7'.8<4    :4'(&'68Marcus
                                                                     Defendant   ,&5?1A84        >7'/A8had
                                                                                             Lemonis      9&(8
4exclusive
  X?21A/048&and'(8?complete
                      7>@24648dominion
                                 (7>/'/7'8and   &'(8?control
                                                         7'65728over
                                                                 70458,8
                                                                        ML $4   6&/2.88
                                                                             Retail,   LLC and  &'(8Marcus
                                                                                                      ,&5?1A8
4 >7'/A8.
 Lemonis    LLC,8    A1?98that
                     such   69&68these
                                 694A484entities
                                           '6/6/4A8were
                                                   =4548his 9/A8alter
                                                                &264584egos
                                                                         R7A8and
                                                                             &'(8the
                                                                                   6948&acts
                                                                                         ?6A8of7:8,8
                                                                                                  ML $4   6&/28
                                                                                                       Retail

&'(8ML,
and  ,.88
            LLC as  &A8set
                        A468:forth
                              75698in/'8this
                                        69/A87  >@2&/'68are
                                             Complaint       &548&also
                                                                    2A78the
                                                                        6948acts
                                                                            &?6A8of7:8Defendant
                                                                                      <4:4'(&'68Marcus,&5?1A8
4 >7'/AB8
 Lemonis.




        8                                               I8
                                                        8
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        8
       EJBU There
        26.    )94548/isA8such
                             A1?98a&8unity
                                       1'/638of7:8/interest
                                                      '6454A68and  &'(8ownership
                                                                         7='45A9/@8between
                                                                                      846=44'8Defendant
                                                                                                  <4:4'(&'68
,&5?1A84
Marcus        >7'/A8on
        Lemonis        7'8one
                          7'48hand
                                9&'(8and&'(8ML,8$4Retail 6&/28and
                                                                &'(8,.ML,8  8
                                                                             LLC on7'8the
                                                                                      6948other
                                                                                           769458hand,
                                                                                                   9&'(.8that
                                                                                                          69&68
6948individuality
the /'(/0/(1&2/638of7:8ML ,8$4     6&/28&and
                                Retail     '(8ML,
                                               ,.88LLC or   758their
                                                                     694/58separateness
                                                                            A4@&5&64'4AA8:from
                                                                                            57>8Defendant
                                                                                                  <4:4'(&'68
,&5?1A8Lemonis
Marcus  4>7'/A8have9&048?ceased
                               4&A4(8because,
                                       84?&1A4.8upon
                                                   1@7'8information
                                                              /':75>&6/7'8and  &'(8belief:
                                                                                    842/4:T8
          &BU ML
          a.      ,8$4       6&/28and
                          Retail    &'(8,.
                                          ML,8  8
                                                LLC &       548?completely
                                                           are     7>@2464238influenced
                                                                                /':214'?4(8&and '(8governed
                                                                                                    R7045'4(8
                  838<4
                  by        :4'(&'68Marcus
                        Defendant       ,&5?1A8Lemonis,
                                                  4>7'/A.8the      6948sole
                                                                         A7248natural
                                                                               '&615&28person
                                                                                       @45A7'8involved
                                                                                                 /'07204(8in/'8
                  4each
                    &?984entity;
                             '6/63e8
          8BU Defendant
          b.      <4:4'(&'68,&          5?1A8Lemonis
                                   Marcus     4>7'/A8?completely
                                                               7>@2464238?controls
                                                                               7'6572A8ML
                                                                                       ,8$Retail
                                                                                               46&/28and
                                                                                                     &'(8,ML,.8
                  e
                  LLC;8

          ?c.BU Defendants
                  <4:4'(&'6A84          >7'/A.8ML
                                      Lemonis,     ,8$4         6&/2.8and
                                                             Retail,    &'(8ML,
                                                                              ,.88     A9&548the
                                                                                    LLC share      6948same
                                                                                                        A&>48
                  &((54AA8&asA8their
                  address          694/58principal
                                           @5/'?/@&28place
                                                         @2&?48of7:8business;
                                                                      81A/'4AAe8
          (BU ML
          d.      ,8$4       6&/28&and
                          Retail      '(8,.
                                          ML,8  8
                                                LLC were   =4548at&68all
                                                                       &228times
                                                                           6/>4A8material
                                                                                  >&645/&28to678this
                                                                                                 69/A8matter,
                                                                                                       >&6645.8
                  /'A651>4'6&2/6/4A8used
                  instrumentalities         1A4(8:for758the
                                                         6948benefit
                                                                4'4:/68of7:8<Defendant
                                                                               4:4'(&'68Marcus
                                                                                         ,&5?1A8Lemonis;
                                                                                                      4>7'/Ae8
          4e.BU ML,8$Retail46&/28&and
                                     '(8ML,
                                         ,.8LLC
                                               8are,&54.8and
                                                              &'(8at&68all
                                                                        &228times
                                                                            6/>4A8herein
                                                                                  9454/'8mentioned
                                                                                          >4'6/7'4(8were,
                                                                                                        =454.8
                  D4@68under-capitalized
                  kept     1'(45G?&@/6&2/_4(8by    838Defendant
                                                         <4:4'(&'68Marcus,&5?1A84    >7'/A.8/in'8relation
                                                                                   Lemonis,       542&6/7'8to678
                  6948reasonable
                  the    54&A7'&8248needs'44(A8of7:8its/6A8business;
                                                           81A/'4AAe8
          :f.BU The
                  )948?corporate
                            75@75&648:forms
                                          75>A8of7:8ML,8$4       6&/28and
                                                             Retail    &'(8ML,
                                                                             ,.88
                                                                                  LLC are&548&a8mere
                                                                                                >4548:façade
                                                                                                        &f&(48
                  :for758the
                         6948operation
                              7@45&6/7'8of7:8Defendant
                                               <4:4'(&'684           >7'/Ae8
                                                                  Lemonis;

          RBU The
          g.      )948?corporate
                            75@75&648:form,
                                         75>.84entity,
                                                 '6/63.8and &'(8structure
                                                                  A651?61548of7:8ML
                                                                                 ,8$Retail
                                                                                        46&/28and
                                                                                              &'(8ML,
                                                                                                   ,.8LLC
                                                                                                         8
                  =4548at&68&all228times
                  were             6/>4A8disregarded
                                            (/A54R&5(4(8by     838Defendant
                                                                    <4:4'(&'68,&     5?1A84
                                                                                  Marcus       >7'/Ae8
                                                                                           Lemonis;



        8                                                c98
       Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 11 of 95

        8
            9BU The
            h.    )948assets
                        &AA46A8of7:8,8
                                     ML $4    6&/28and
                                           Retail  &'(8ML,
                                                         ,.88     =4548or758&are548intermingled
                                                                LLC were               /'645>/'R24(8with
                                                                                                      =/698
                  6948&assets
                  the     AA46A8of7:8Defendant
                                      <4:4'(&'68Marcus,&5?1A84     >7'/A.8or758transferred
                                                                 Lemonis,            65&'A:4554(8without
                                                                                                   =/697168
                  ?consideration,
                    7'A/(45&6/7'.8to678Defendant
                                            <4:4'(&'68,&        5?1A84
                                                            Marcus       >7'/A8in/'8disregard
                                                                      Lemonis           (/A54R&5(8of7:8the6948
                  @15@7564(8separate
                  purported     A4@&5&648?corporate
                                              75@75&648:form,
                                                            75>.84entity
                                                                   '6/638and
                                                                         &'(8structure
                                                                               A651?61548of7:8,8
                                                                                                ML $4     6&/28
                                                                                                     Retail

                  &'(8,.
                  and    ML,8.LLC,8so   A78&asA8to678make
                                                         >&D48it/68impossible
                                                                     />@7AA/8248to678separate
                                                                                            A4@&5&648:from
                                                                                                       57>8
                  /'(/0/(1&28liabilities;
                  individual     2/&8/2/6/4Ae8
            /BU The
            i.    )948business
                         81A/'4AA8and &'(8?corporate
                                             75@75&648affairs
                                                         &::&/5A8of7:8ML
                                                                      ,8$4    6&/28and
                                                                           Retail      &'(8ML,
                                                                                             ,.88
                                                                                                  LLC are &548
                  /'645>/'R24(8with
                  intermingled       =/698those
                                            697A48of7:8<4   :4'(&'68Marcus
                                                        Defendant     ,&5?1A84       >7'/Ae8
                                                                                 Lemonis;

            dBU ML
           j.     ,8$4      6&/28&and
                          Retail      '(8,.
                                           ML,889
                                                   LLC have   &048:failed
                                                                     &/24(86to78&abide
                                                                                     8/(488   38?corporate
                                                                                             by   75@75&648
                  :formalities;
                    75>&2/6/4Ae8&and '(8
            DBU Defendant
            k.    <4:4'(&'68Lemonis
                                 4>7'/A8uses 1A4A8his9/A8?control
                                                            7'65728over
                                                                    70458,8
                                                                          ML $4       6&/2.8,.
                                                                                 Retail,    ML,8 8
                                                                                                 LLC & and '(8
                  694/58&assets
                  their    AA46A8to678:further
                                        1569458his
                                                9/A8own
                                                      7='8personal
                                                            @45A7'&28interest.
                                                                       /'6454A6B8
        E`BU Upon
        27.    #@7'8/information
                       ':75>&6/7'8and   &'(8belief,
                                              42/4:.8Defendants
                                                       <4:4'(&'6A8,ML8$Retail
                                                                            46&/28and &'(8ML,
                                                                                           ,.8LLC
                                                                                                  8were
                                                                                                      =4548
'40458/intended
never    '64'(4(8to678have,
                      9&04.8&and
                               '(8have
                                     9&048never
                                             '40458had,
                                                      9&(.8any
                                                             &'38true
                                                                  651484existence
                                                                         X/A64'?48as&A8&a8?corporation.
                                                                                               75@75&6/7'B88
'(44(8ML
Indeed    ,8$4  6&/28&and
               Retail   '(8ML,
                            ,.88LLC are &548&and
                                                  '(8were
                                                       =4548organized
                                                               75R&'/_4(8and
                                                                           &'(8designed
                                                                                  (4A/R'4(8to678&act?68as&A8a&8
(40/?488
device    by38=9  /?98<4
               which        :4'(&'68,&
                         Defendant            5?1A84
                                          Marcus          >7'/A8?could
                                                       Lemonis        712(84evade
                                                                               0&(489       /A87
                                                                                          his    82/R&6/7'.8
                                                                                                obligation,

54A@7'A/8/2/638and
responsibility   &'(8liability
                       2/&8/2/638to678third
                                        69/5(8parties,
                                               @&56/4A.8including
                                                            /'?21(/'R8*Plaintiffs,
                                                                          2&/'6/::A.8by  8384engaging
                                                                                               'R&R/'R8in/'8
1'2&=:128activity
unlawful   &?6/0/638without
                     =/697168personal
                               @45A7'&282liability.
                                             /&8/2/63B8
        EIBU 7
        28.       '6/'14(8&adherence
               Continued      (9454'?48to678the  6948:fiction
                                                        /?6/7'8of7:8the
                                                                    6948separate
                                                                         A4@&5&6484existence
                                                                                         X/A64'?48of7:8ML
                                                                                                       ,8
$4 6&/28&and
Retail    '(8ML,
              ,.88    =712(8sanction
                  LLC would         A&'?6/7'8:fraud
                                                5&1(8&and'(8promote
                                                              @57>7648/injustice,
                                                                         'd1A6/?4.8in/'8that
                                                                                           69&68Defendant
                                                                                                <4:4'(&'68

        8                                               9F8
                                                        10
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 12 of 95

        8
,&5?1A84>7'/A8/A8&664>@6/'R86784A?&@482/&8/2/638:7589/A81'2&=:128&?6/0/63.8&A8A468
Marcus Lemonis is attempting to escape liability for his unlawful activity, as set

:forth
  75698below,
       8427=.8by    838hiding
                       9/(/'R8behind
                                 849/'(8ML ,8$4      6&/28and
                                                  Retail     &'(8ML,
                                                                  ,.88
                                                                        LLC and &'(8manipulating
                                                                                       >&'/@12&6/'R8assets
                                                                                                        &AA46A8and
                                                                                                                &'(8
2/&8/2/6/4A8to678avoid
liabilities        &07/(8responsibility
                           54A@7'A/8/2/638:for758the6948unlawful
                                                           1'2&=:128acts
                                                                       &?6A8that
                                                                            69&68he948directed
                                                                                        (/54?64(8and
                                                                                                   &'(8?caused
                                                                                                         &1A4(8:for758
9/A8own
his  7='8benefit.
           84'4:/6B8
                                    g    AND
                                    JURISDICTION                 VENUEK 8
        EcBU The
        29.         )9487   1568of7:8Chancery
                          Court       9&'?4538has   9&A8subject
                                                            A18d4?68matter
                                                                      >&66458jurisdiction
                                                                                d15/A(/?6/7'8over70458this
                                                                                                       69/A8matter
                                                                                                            >&66458
@15A1&'68to678I88Del.
pursuant             <42B8B
                           C.h i8111,
                               §   999.810
                                         9F8<4Del.2B8C.B8i§8341,
                                                             YH9.8109F8<4  2B8B
                                                                        Del.   C.8 i§8343,
                                                                                       YHY.8and
                                                                                             &'(8J68Del.
                                                                                                    <42B8B
                                                                                                          C.8 i818-
                                                                                                              § 9IG
9FF9B88
1001.

        YFBU The
        30.         )9487    15687
                           Court     of: 89   &'?45389
                                           Chancery           &A8@
                                                            has      45A7'&28d
                                                                  personal        15/A(/?6/7'87
                                                                                 jurisdiction       0458'
                                                                                                   over     7>/'&28
                                                                                                          nominal

<4:4'(&'68,8
Defendant              ;&A9/7'8/in'8this
                 ML Fashion             69/A8action
                                               &?6/7'8under
                                                          1'(458J68<4    2B8C.B8i§818-105.
                                                                      Del.           9IG9F\B88ML ,8Fashion
                                                                                                       ;&A9/7'8is/A8
75R&'/_4(8under
organized       1'(458Delaware
                         <42&=&548law  2&=8&and'(8is/A8subject
                                                        A18d4?68to678service
                                                                      A450/?48of7:8process
                                                                                      @57?4AA8by838service
                                                                                                    A450/?48on
                                                                                                             7'8its/6A8
54R/A6454(8&agent
registered        R4'68/in'8<4  2&=&54B8
                            Delaware.

        Y9BU )9
        31.         The48Court
                           71568of7:8Chancery
                                          9&'?4538has     9&A8personal
                                                                 @45A7'&28jurisdiction
                                                                               d15/A(/?6/7'8over70458Defendant
                                                                                                       <4:4'(&'68
4  >7'/A8in/'8this
Lemonis            69/A8action
                        &?6/7'8as&A8the
                                      6948non-resident
                                            '7'G54A/(4'68manager,
                                                                >&'&R45.8&and   '(8the
                                                                                     6948Chairman/CEO,
                                                                                          9&/5>&'V%.8of7:8&a8
2/>/64(8liability
limited   2/&8/2/638?company
                          7>@&'38(ML  N,8Fashion)
                                               ;&A9/7'Q8organized
                                                              75R&'/_4(8under
                                                                           1'(458the  6948laws
                                                                                           2&=A8of7:8the
                                                                                                     6948!State
                                                                                                            6&648of7:8
<42&=&548pursuant
Delaware        @15A1&'68to678J68<4    2B8B
                                    Del.  C.8  i818-109.
                                               § 9IG9FcB88Further,
                                                               ;156945.84     >7'/A8?came
                                                                          Lemonis         &>48into
                                                                                                /'678the
                                                                                                      6948!State
                                                                                                            6&648of7:8
<42&=&548to678benefit
Delaware             84'4:/68:from
                                57>8the6948powers
                                              @7=45A8and  &'(8protections
                                                                @5764?6/7'A8of7:8the  6948laws
                                                                                           2&=A8of7:8the
                                                                                                     6948!State
                                                                                                            6&648of7:8
<42&=&548in/'8order
Delaware            75(458to678?create
                                  54&648,8     $46&/2.8a&8Delaware
                                         ML Retail,            <42&=&5482limited
                                                                             />/64(82liability
                                                                                         /&8/2/638?company,
                                                                                                    7>@&'3.8&and '(8
,8.
ML    LLC,8    a&8Delaware
                  <42&=&548limited
                                2/>/64(8liability
                                          2/&8/2/638?company,
                                                         7>@&'3.8both 87698which
                                                                            =9/?984      >7'/A8?controlled
                                                                                        Lemonis     7'657224(8and
                                                                                                                &'(8
(/54?64(8&asA8their
directed          694/58alter
                          &264584ego
                                   R78or758as&A8their
                                                694/58&agent,
                                                           R4'6.8to678organize,
                                                                      75R&'/_4.8?control,
                                                                                       7'6572.8and
                                                                                                &'(8operate
                                                                                                     7@45&648,8ML



        8                                                   998
                                                            11
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 13 of 95

        8
;&A9/7'8:7584>7'/AW884'4:/68?&1A/'R8/'d15/4A8678,8;&A9/7'869&687??1554(8/'8,8
Fashion for Lemonis' benefit causing injuries to ML Fashion that occurred in ML

;&A9/7'WA8state
Fashion's      A6&648of7:8organization,
                          75R&'/_&6/7'.8Delaware.
                                             <42&=&54B8
        YEBU The
        32.       )9487    1568of7:89
                         Court           &'?4538has
                                      Chancery      9&A8personal
                                                          @45A7'&28jurisdiction
                                                                      d15/A(/?6/7'8over 70458<4      :4'(&'68ML
                                                                                                 Defendant    ,8
$4  6&/28in/'8this
 Retail        69/A8action
                    &?6/7'8under
                              1'(4586J8Del.<42B8B C.8  i818-105.
                                                        §  9IG9F\B88ML ,8$4      6&/28is/A8organized
                                                                               Retail         75R&'/_4(8under
                                                                                                            1'(458
<42&=&5482law
Delaware        &=8and
                    &'(8is/A8subject
                             A18d4?68to678service
                                            A450/?48of7:8process
                                                           @57?4AA8by838service
                                                                          A450/?48on 7'8its/6A8registered
                                                                                               54R/A6454(8&agent
                                                                                                             R4'68
/'8Delaware.
in  <42&=&54B8
        YYBU The
        33.       )948Court
                         71568of7:89   &'?4538has
                                      Chancery      9&A8personal
                                                          @45A7'&28jurisdiction
                                                                     d15/A(/?6/7'8over 70458<4     :4'(&'68,.
                                                                                                Defendant    ML,8

8
 LLC in/'8this
            69/A8action
                 &?6/7'8under
                          1'(458J68Del.
                                     <42B8BC.8 i818-105.
                                                § 9IG9F\B88ML,,.88
                                                                    LLC is  /A8organized
                                                                               75R&'/_4(8under  1'(458Delaware
                                                                                                       <42&=&548
2&=8and
law   &'(8/isA8subject
               A18d4?68to678service
                            A450/?48of7:8process
                                          @57?4AA8by38service
                                                          A450/?48on
                                                                  7'8its/6A8registered
                                                                            54R/A6454(8agent&R4'68in/'8Delaware.
                                                                                                       <42&=&54B8
        YHBU The
        34.       )9487    1568of7:89
                         Court          &'?4538has
                                     Chancery      9&A8personal
                                                         @45A7'&28jurisdiction
                                                                    d15/A(/?6/7'8over 70458Defendant
                                                                                              <4:4'(&'68MLG ,"8
$4  6&/28in/'8this
 Retail       69/A8&action
                      ?6/7'8under
                              1'(4586J8Del.
                                          <42B8B C.8 §i89IG9F\B88MLG
                                                         18-105.     ,"8$4         6&/28is/A8organized
                                                                               Retail          75R&'/_4(8under
                                                                                                            1'(458
<42&=&5482law
Delaware        &=8and
                    &'(8is/A8subject
                             A18d4?68to678service
                                            A450/?48of7:8process
                                                           @57?4AA8by838service
                                                                          A450/?48on 7'8its/6A8registered
                                                                                               54R/A6454(8&agent
                                                                                                             R4'68
/'8Delaware.
in  <42&=&54B8
        Y\BU The
        35.       )948Court
                         71568of7:89  &'?4538has
                                     Chancery      9&A8personal
                                                        @45A7'&28jurisdiction
                                                                   d15/A(/?6/7'8over 70458Defendant
                                                                                              <4:4'(&'68Raffel
                                                                                                           $&::428
1'(45810
under   9F8Del.
              <42B8C.B8§i83104
                           Y9FH8/in'8that
                                      69&68the
                                             6948?claims
                                                   2&/>A8asserted
                                                            &AA4564(8against
                                                                       &R&/'A68$&     ::428arise
                                                                                 Raffel       &5/A48:from
                                                                                                      57>8$&  ::428
                                                                                                           Raffel

4either
  /69458/in'8person
               @45A7'8or758through
                             69571R98one 7'48or758more
                                                     >7548&agents:
                                                               R4'6AT8(1)
                                                                        N9Q8?causing
                                                                                &1A/'R8tortious
                                                                                             6756/71A8injury
                                                                                                        /'d1538in/'8
<42&=&548to678Delaware
Delaware          <42&=&548limited
                               2/>/64(8liability
                                          2/&8/2/638?companies
                                                        7>@&'/4A8by 838&an'8act
                                                                             &?68or758omission
                                                                                      7>/AA/7'8in/'8Delaware
                                                                                                       <42&=&548
758(2)
or   NEQ8?causing
             &1A/'R8tortious
                      6756/71A8injury
                                   /'d1538in/'8Delaware
                                                <42&=&548or758outside
                                                                  716A/(48of7:8Delaware
                                                                                  <42&=&548by      838an&'8act
                                                                                                           &?68or758
7>/AA/7'8outside
omission       716A/(48of7:8Delaware
                              <42&=&548and    &'(8regularly
                                                    54R12&52384engaging
                                                                  'R&R/'R8in/'8a&8persistent
                                                                                        @45A/A64'68?course
                                                                                                         715A48of7:8
?conduct
  7'(1?68/in'8Delaware
                <42&=&548or758deriving
                                (45/0/'R8substantial
                                              A18A6&'6/&28revenue
                                                             5404'148:from57>8services,
                                                                               A450/?4A.8or758things
                                                                                                  69/'RA8used
                                                                                                          1A4(8or758

        8                                                  9E8
                                                           12
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        8
?consumed
  7'A1>4(8in/'8the6948!State
                         6&648of7:8Delaware.
                                    <42&=&54B88Delaware
                                                   <42&=&548has 9&A8&a8substantial
                                                                        A18A6&'6/&28interest
                                                                                       /'6454A68/in'8defining,
                                                                                                     (4:/'/'R.8
54R12&6/'R8and
regulating     &'(84enforcing
                       ':75?/'R8the 6948:fiduciary
                                           /(1?/&538obligations
                                                     782/R&6/7'A8of7:8managers
                                                                          >&'&R45A8and  &'(8other
                                                                                               769458persons,
                                                                                                      @45A7'A.8
=978manage,
who   >&'&R4.8direct(/54?68or758otherwise
                                 76945=/A48?control
                                                7'65728the
                                                         6948limited
                                                              2/>/64(82liability
                                                                         /&8/2/638?companies
                                                                                      7>@&'/4A8:formed
                                                                                                    75>4(8by  838
694>B8
them.

                                 SUBSTANTIVE
                                   j  KALLEGATIONS   k  
        lm Courage.B
        A.       nopqrsljistuqa Successful
                                          ovvsuuwoxBusiness
                                                       joutysuu
        YJBU Along
        36.          27'R8=/ with6986  94/58>7
                                      their       6945.84
                                              mother,         7>/8"7
                                                          Neomi          154&18N
                                                                      Goureau        O47>/PQ.8*Plaintiffs
                                                                                    ("Neomi"),         2&/'6/::A8
"7  154&18and
 Goureau    &'(8Menkin
                     ,4'D/'8began 84R&'8the6948luxury
                                                21X1538women's
                                                          =7>4'WA8:fashion
                                                                         &A9/7'8line2/'48&and
                                                                                           '(8retail
                                                                                                 546&/28stores
                                                                                                         A6754A8
7  15&R4BC8in/'82008.
Courage.B            EFFIB88The)948brand
                                       85&'(8:focused
                                                7?1A4(8on  7'8high-end
                                                                9/R9G4'(8garments
                                                                              R&5>4'6A8and&'(8&accessories,
                                                                                                   ??4AA75/4A.8
/'A@/54(8by
inspired  838the6948:family's
                       &>/23WA8French
                                   ;54'?98roots.
                                             5776AB8
        Y`BU *Plaintiffs'
        37.         2&/'6/::AW85retail
                                   46&/28stores
                                         A6754A8and
                                                 &'(87    15&R4BC8brand
                                                       Courage.B       85&'(8were
                                                                                =4548owned
                                                                                       7='4(8by  838the
                                                                                                     6948trio's
                                                                                                          65/7WA8
?corporation
  75@75&6/7'8?called
                   &224(8"7    7845538Corporation.
                          Gooberry        75@75&6/7'B88"7       154&18owned
                                                            Goureau      7='4(8100% 9FF^8of7:8the6948stock
                                                                                                      A67?D8of7:8
"7  7845538&and
 Gooberry      '(8was
                    =&A8its/6A8CEO,
                               %.8Menkin
                                        ,4'D/'8was =&A8"7   784553WA8*President,
                                                         Gooberry's       54A/(4'6.8and&'(8Neomi
                                                                                            47>/8was  =&A8the
                                                                                                             6948
9  /4:8Designer
Chief   <4A/R'458:for758the
                          6948brand.
                                85&'(B8
        YIBU The
        38.      )948story
                        A67538of7:87    15&R4BC8began
                                     Courage.B      84R&'8over
                                                             70458twenty
                                                                   6=4'638years34&5A8ago,
                                                                                       &R7.8in/'81987,
                                                                                                  9cI`.8when
                                                                                                          =94'8
47>/8&and
Neomi     '(8her9458husband
                      91A8&'(8*Patrick
                                     &65/?D8began
                                              84R&'8the
                                                     6948:family
                                                            &>/238interest
                                                                     /'6454A68in/'8owning
                                                                                    7='/'R8&and '(8operating
                                                                                                    7@45&6/'R8
546&/28stores
retail A6754A8when
                =94'8they
                        69438opened
                               7@4'4(8up   1@8Fopp's
                                               ;7@@WA8in/'8New
                                                           4=8York
                                                                  Z75D8City.
                                                                          /63B88However,
                                                                                   +7=4045.8Patrick
                                                                                                *&65/?D8sadly
                                                                                                          A&(238
@&AA4(8away
passed   &=&38justd1A68&a8year
                          34&58later
                                  2&6458:from
                                          57>8after
                                                &:6458losing
                                                      27A/'R8the6948:fight
                                                                      /R968to678?cancer,
                                                                                  &'?45.8leaving
                                                                                         24&0/'R8Neomi
                                                                                                    47>/8to678
?continue
  7'6/'148the
            6948business
                   81A/'4AA8while
                                =9/248raising
                                         5&/A/'R8"7    154&18&and
                                                   Goureau       '(8,4    'D/'.8who
                                                                      Menkin,      =978were
                                                                                         =4548both87698young
                                                                                                         371'R8
?children
  9/2(54'8&at68the
               6948time.
                     6/>4B8

        8                                                9Y8
                                                         13
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        8
         YcBU 0
        39.          458time,
                  Over   6/>4.8"7     154&18and
                                  Goureau      &'(8,4   'D/'8became
                                                    Menkin      84?&>48more>7548/involved
                                                                                   '07204(8/in'8Fopp's
                                                                                                    ;7@@WA8soA78
69&68Noemi
that   74>/8?could
                  712(8:focus
                          7?1A8on 7'8her
                                      9458passion—designing
                                           @&AA/7'b(4A/R'/'R8the       6948upscale
                                                                            1@A?&248?clothing
                                                                                       2769/'R8their
                                                                                                   694/58retail
                                                                                                          546&/28
A6754A8would
stores   =712(8sell.
                  A422B88AsA8an&'8adult,
                                  &(126.8"7   154&18took
                                          Goureau     677D8the
                                                            6948reins
                                                                  54/'A8of7:8managing
                                                                             >&'&R/'R8the6948business,
                                                                                                81A/'4AA.8&and
                                                                                                             '(8
4eventually
  04'61&2238began
                84R&'8Courage.B.
                        715&R4BCB8
         HFBU 7
         40.         15&R4BCWA8:first
                  Courage.B's          /5A68A  675487
                                              store     @4'4(8/in'8"5
                                                       opened               44'=/?9.87
                                                                        Greenwich,             ''4?6/?1687
                                                                                          Connecticut        on'8
704>84584,H.82008.
November           EFFIB88The
                            )948store
                                   A67548was
                                          =&A8:featured
                                                 4&6154(8in/'8several
                                                               A4045&28local
                                                                          27?&28news
                                                                                '4=A8publications
                                                                                        @182/?&6/7'A8when =94'8
/68opened.
it 7@4'4(B8
         H9BU The
         41.      )948business
                       81A/'4AA8was  =&A8&a8success
                                            A1??4AA8&and'(8began
                                                            84R&'8to678do
                                                                        (78[$6.5
                                                                              JB\8,/  22/7'8in/'8sales
                                                                                  Million        A&24A8within
                                                                                                         =/69/'8
6948:first
the    /5A68twenty
            6=4'638months
                     >7'69A8of7:8opening.
                                    7@4'/'RB88Through
                                                 )9571R98their
                                                            694/58hard
                                                                    9&5(8work
                                                                           =75D8over
                                                                                  70458the
                                                                                        6948next
                                                                                            '4X68six A/X8years,
                                                                                                         34&5A.8
6948three
the   695448were
               =4548able
                     &8248to678grow
                                 R57=8their
                                          694/58?company
                                                   7>@&'38&and  '(84expand
                                                                       X@&'(8to678seven
                                                                                   A404'8different
                                                                                           (/::454'68retail
                                                                                                          546&/28
8716/]14A8across
boutiques      &?57AA8the
                       6948?country.
                             71'653B8
         HEBU The
         42.      )9487   15&R4BC8stores
                        Courage.B       A6754A8?carried
                                                  &55/4(8their
                                                          694/584exclusive
                                                                   X?21A/048Courage.B
                                                                               715&R4BC8label 2&8428?clothing
                                                                                                        2769/'R8
&'(8items
and   /64>A8which
               =9/?98were
                       =4548designed
                                (4A/R'4(8by 838Noemi.
                                                74>/B88This)9/A8?created
                                                                     54&64(8a&8loyal
                                                                               273&28?customer
                                                                                        1A67>458base 8&A48that
                                                                                                            69&68
=&A8interested
was    /'6454A64(8in/'8the
                        69487    15&R4BC8label.
                             Courage.B       2&842B88:  64'.87
                                                      Often,        15&R4BC8?customers
                                                                Courage.B       1A67>45A8would
                                                                                            =712(8shop A97@8in/'8
0&5/71A87
various         15&R4BC8locations
            Courage.B      27?&6/7'A8in/'8order
                                             75(458to678shop
                                                        A97@8the 69484exclusive
                                                                        X?21A/0487    15&R4BC8line.
                                                                                   Courage.B        2/'4B88For
                                                                                                            ;758
4example,
  X&>@24.8Plaintiffs
               *2&/'6/::A8had
                           9&(8?customers
                                    1A67>45A8that
                                                69&68lived
                                                      2/04(8in/'8"5   44'=/?9.8visited
                                                                   Greenwich,     0/A/64(8:family
                                                                                            &>/238in/'8New 4=8
Z75D8/
York         63.8wintered
         City,   =/'6454(8in/'8*Palm &2>8C4    &?9.8and
                                           Beach,    &'(8summered
                                                           A1>>454(8in/'8Aspen   A@4'8shopping
                                                                                        A97@@/'R8at&684each &?98
7  15&R4BC8store
Courage.B       A67548&along
                        27'R8the6948way.
                                     =&3B8
         HYBU 7
         43.         15&R4BCWA8success
                  Courage.B's        A1??4AA8?continued
                                                 7'6/'14(8and&'(8the6948?company
                                                                           7>@&'38was =&A8doing
                                                                                            (7/'R8roughly
                                                                                                       571R9238
[$5.5
  \B\8Million
        ,/22/7'8in/'8sales
                     A&24A84each&?98year.
                                      34&5B88AsA8a&8result
                                                     54A1268of7:8their
                                                                  694/58success,
                                                                         A1??4AA.8*Plaintiffs
                                                                                     2&/'6/::A8and&'(8Noemi
                                                                                                        74>/8

        8                                                9H8
                                                         14
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         8
=454854&(386786&D48694/5881A/'4AA86786948'4X6824042B88*2&/'6/::A8(40427@4(8&8R57=698
were ready to take their business to the next level. Plaintiffs developed a growth

@2&'8&and
plan     '(8began
             84R&'8meeting
                     >446/'R8with   =/698potential
                                           @764'6/&28investors.
                                                       /'04A675AB88They  )9438were
                                                                               =45482looking
                                                                                          77D/'R8:for758an&'8investor
                                                                                                              /'04A6758
69&681
that      '(45A677(8:family
        understood        &>/2388       1A/'4AA4A8&and
                                       businesses       '(86   9&689
                                                              that        &(84experience
                                                                        had    X@45/4'?48/        '85retail
                                                                                                 in    46&/28A     6754AB88
                                                                                                                 stores.

#':7561'&6423.8Marcus
Unfortunately,       ,&5?1A84          >7'/A85represented
                                     Lemonis       4@54A4'64(8himself
                                                                    9/>A42:8as&A8the 6948perfect
                                                                                            @45:4?68/investor
                                                                                                         '04A6758:for758
*Plaintiffs'
  2&/'6/::AW8business.
               81A/'4AAB8
          jlm "The
          B.     z {sProfit"
                          Mpnwt|}Comes  n~suto|nHelpsxCourage.B
                                                              nopqrslj
          HHBU Marcus
          44.    ,&5?1A8Lemonis
                             4>7'/A8is/A8an&'84entrepreneur
                                                     '654@54'4158and     &'(8reality
                                                                              54&2/638television
                                                                                          64240/A/7'8personality
                                                                                                         @45A7'&2/638
=978is/A8:featured
who         4&6154(8in/'8the
                          6948documentary
                                 (7?1>4'6&538reality 54&2/638series,
                                                                A45/4A.8"The
                                                                           O)948*Profit."
                                                                                     57:/6BP88"The
                                                                                                 O)948*Profit"
                                                                                                            57:/6P8has
                                                                                                                     9&A8
&/54(8:for758roughly
aired        571R9238seven
                        A404'8years 34&5A8and
                                           &'(8has
                                                 9&A8:featured
                                                       4&6154(8&around 571'(8one
                                                                              7'48hundred
                                                                                    91'(54(8businesses.
                                                                                                  81A/'4AA4AB888
          H\BU '
          45.    On8  4each
                         &?984episode
                                 @/A7(48of7:8the 6948show,
                                                      A97=.8Lemonis
                                                                4>7'/A8visits0/A/6A8an&'8ailing
                                                                                             &/2/'R8business
                                                                                                       81A/'4AA8&and  '(8
@15@7564(238offers
purportedly      7::45A8his
                          9/A8business
                                81A/'4AA8acumen
                                              &?1>4'8and &'(8&a8:financial
                                                                    /'&'?/&28investment
                                                                                /'04A6>4'68in/'84exchange
                                                                                                        X?9&'R48:for758
&'8ownership
an  7='45A9/@8interest
                  /'6454A68in/'8the  69484entity.
                                           '6/63B8
          HJBU '
          46.    On8  6948intro
                      the   /'6578of7:8"TheO)948*Profit,"
                                                    57:/6.P84     >7'/A8speaks
                                                              Lemonis       A@4&DA8to678the  6948viewers,
                                                                                                  0/4=45A.8stating
                                                                                                                 A6&6/'R8
O>38name
"my      '&>48is/A8,&    5?1A8Lemonis
                    Marcus       4>7'/A8and    &'(8I8:fix/X8:failing
                                                                &/2/'R8businesses.
                                                                           81A/'4AA4AB88I8make   >&D48the 6948tough
                                                                                                                  671R98
(4?/A/7'A8&and
decisions      '(8I8back
                     8&?D8them
                             694>8up    1@8spending
                                            A@4'(/'R8my >38own7='8money.>7'43B88It's
                                                                                    6WA8not
                                                                                          '768always
                                                                                               &2=&3A8pretty,
                                                                                                           @54663.8but
                                                                                                                     8168
69/A8is/A8business.
this      81A/'4AAB88I8do
                         (78it/68to678save
                                      A&048jobs,
                                             d78A.8&and
                                                     '(8I8do
                                                            (78it/68to678make
                                                                         >&D48money.
                                                                               >7'43B88This   )9/A8is/A8)9
                                                                                                        The4  8*Profit."
                                                                                                                  57:/6BP8
          H`BU During
          47.    <15/'R8?commercial
                               7>>45?/&28breaks854&DA8in/'8the
                                                             69484episodes,
                                                                       @/A7(4A.84   >7'/A8invites
                                                                                 Lemonis        /'0/64A8struggling
                                                                                                           A651RR2/'R8
81A/'4AA4A8to678&apply
businesses          @@238:for758his
                                 9/A8help,
                                        942@.8stating
                                               A6&6/'R8"if
                                                        O/:8your
                                                             37158business
                                                                        81A/'4AA8/isA8in/'8trouble
                                                                                           65718248and&'(8you3718need
                                                                                                                    '44(8
>38help,
my   942@.8log
             27R8on
                  7'8to678the
                          6948profitcasting.com."
                                @57:/6?&A6/'RB?7>BP88That     )9&68page @&R485represents
                                                                               4@54A4'6A8that  69&684   >7'/A8"has
                                                                                                    Lemonis         O9&A8
844'8?called
been      &224(8America's
                  >45/?&WA8number'1>8458one   7'48business
                                                   81A/'4AA8turnaround
                                                                615'&571'(8artist.
                                                                                &56/A6B88+4 He8  =/228do
                                                                                                 will   (78whatever
                                                                                                             =9&640458

         8                                                    9\8
                                                              15
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         8
/686&D4A8678:/X8Z#$8:&/2/'R881A/'4AAB88a94'8,&5?1A84>7'/A8/A'W6851''/'R89/A8
it takes to fix YOUR failing business. When Marcus Lemonis isn't running his

>126/G8/22/7'8dollar
multi-billion       (722&58?company,
                                7>@&'3.8Camping
                                              &>@/'R8World, a752(.8he948/isA8on 7'8the 6948hunt
                                                                                             91'68:for758struggling
                                                                                                         A651RR2/'R8
81A/'4AA4A8that
businesses      69&68are
                      &548desperate
                           (4A@45&648:for758?cash &A98&and
                                                         '(8ripe
                                                              5/@48:for758a&8deal.
                                                                              (4&2B8In'8the
                                                                                          6948past
                                                                                               @&A6810
                                                                                                     9F8years,
                                                                                                        34&5A.8he's
                                                                                                                  94WA8
A1??4AA:12238turned
successfully       615'4(8around
                              &571'(8over
                                        70458100 9FF8?companies."
                                                         7>@&'/4ABP88Interested
                                                                             '6454A64(8business
                                                                                            81A/'4AA8owners
                                                                                                        7='45A8&are548
694'8invited
then  /'0/64(8to678"Apply
                      O @@238now  '7=8:for758a&8?chance
                                                  9&'?48to678save
                                                               A&048your
                                                                     37158business!"
                                                                               81A/'4AAP8
        HIBU CW
        48.        CNBC'sA     8website
                                 =48A/648:for758"The
                                                  O)948Profit"
                                                           *57:/6P8promotes
                                                                     @57>764A84          >7'/AW8tactics,
                                                                                     Lemonis'       6&?6/?A.8stating
                                                                                                             A6&6/'R8
69&68Lemonis
that  4>7'/A8"goes OR74A8on  7'8the
                                  6948hunt
                                      91'68:for758struggling
                                                   A651RR2/'R8businesses
                                                                  81A/'4AA4A8that  69&68&are548desperate
                                                                                                (4A@45&648:for758?cash
                                                                                                                   &A98
&'(85ripe
and   /@48:for758a&8deal.
                     (4&2B8In'84each
                                  &?98one-hour
                                       7'4G971584episode
                                                      @/A7(48of7:8The)948Profit,
                                                                             *57:/6.8Lemonis
                                                                                       4>7'/A8makes
                                                                                                   >&D4A8an&'8offer
                                                                                                                 7::458
69&6WA8impossible
that's  />@7AA/8248to678refuse;
                              54:1A4e8his
                                        9/A8?cash
                                               &A98:for758a&8piece
                                                             @/4?48of7:8the
                                                                          6948business
                                                                                81A/'4AA8and &'(8a&8percentage
                                                                                                     @45?4'6&R48of7:8
6948profits."
the  @57:/6ABP8
        HcBU AsA8*Plaintiffs
        49.              2&/'6/::A8would
                                      =712(8soon A77'8learn,
                                                        24&5'.84    >7'/A8uses
                                                                 Lemonis        1A4A8the 6948show
                                                                                              A97=8to678prey
                                                                                                         @5438upon
                                                                                                                1@7'8
(4A@45&648and
desperate      &'(8often
                     7:64'8less
                              24AA8sophisticated
                                    A7@9/A6/?&64(8business
                                                        81A/'4AA8owners
                                                                     7='45A8to678build81/2(8his
                                                                                              9/A8own
                                                                                                   7='8individual
                                                                                                         /'(/0/(1&28
=4&2698at&68the
wealth        69484expense
                     X@4'A48of7:8the6948very
                                        04538businesses
                                                 81A/'4AA4A8he948was=&A8supposed
                                                                            A1@@7A4(8to678be848helping.
                                                                                                  942@/'RB8
        \50.FBU Indeed,
                   '(44(.8"TheO)948*Profit"
                                         57:/6P8often
                                                   7:64'8:features
                                                             4&6154A8small,
                                                                          A>&22.8:family-owned
                                                                                      &>/23G7='4(8businesses
                                                                                                         81A/'4AA4A8
=94548the
where    6948:family
                &>/238members
                        >4>845A8&are548often7:64'8over-worked
                                                    7045G=75D4(8and      &'(8:fulfilling
                                                                                12:/22/'R8multiple
                                                                                             >126/@248roles
                                                                                                        5724A8/in'8the
                                                                                                                    6948
?company.
  7>@&'3B88)9       4A48business
                These    81A/'4AA8owners
                                       7='45A8often
                                                  7:64'8(don't
                                                             7'W68have
                                                                  9&048:formal75>&28business
                                                                                       81A/'4AA8training.
                                                                                                   65&/'/'RB88%0Even 4'8
>754.8these
more,   694A48?companies
                    7>@&'/4A8often 7:64'8don't
                                          (7'W68have
                                                   9&048&a8general
                                                             R4'45&28?counsel
                                                                            71'A428or758/independent
                                                                                           '(4@4'(4'68attorneys
                                                                                                          &6675'43A8
=978?can&'8review
who          540/4=8the6948?company's
                               7>@&'3WA8involvement
                                              /'07204>4'68with  =/698Lemonis,
                                                                         4>7'/A.8his   9/A8various
                                                                                             0&5/71A84entities,
                                                                                                        '6/6/4A.8and
                                                                                                                   &'(8
6948show.
the  A97=B8


         8                                                   9J8
                                                             16
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        8
       \51.9BU "7    154&18:first
                  Goureau      /5A68learned
                                     24&5'4(8about
                                                &87168"The
                                                         O)948*Profit"
                                                                   57:/6P8when
                                                                            =94'8he948saw
                                                                                        A&=8&an'84episode
                                                                                                     @/A7(48on
                                                                                                             7'8
64240/A/7'B88The
television.     )9484episode
                       @/A7(48:featured
                                  4&6154(8a&8?company
                                                7>@&'38?called
                                                             &224(8!Sweet
                                                                       =4468Pete's,
                                                                               *464WA.8&a8small
                                                                                          A>&228:family-run
                                                                                                     &>/23G51'8
?candy
  &'(38shop
         A97@8/in'8Florida.
                    ;275/(&B88On'8the69484episode,
                                            @/A7(4.8Lemonis
                                                       4>7'/A8is/A8portrayed
                                                                       @7565&34(8as&A8an&'84expert
                                                                                               X@4568investor
                                                                                                       /'04A6758
=978?can&'8help
who          942@8the
                   6948business
                         81A/'4AA8&achieve
                                      ?9/4048the
                                               6948success
                                                     A1??4AA8its/6A8owners
                                                                    7='45A8dreamed
                                                                               (54&>4(8of.7:B8
       \52.EBU *Plaintiffs'
                   2&/'6/::AW8:family
                                 &>/238business
                                         81A/'4AA8had 9&(84experienced
                                                            X@45/4'?4(8success
                                                                             A1??4AA8and
                                                                                       &'(8growth,
                                                                                            R57=69.8and &'(8the
                                                                                                            6948
65/78were
trio =45485ready
              4&(38to678take
                         6&D48the
                               6948next
                                    '4X68step
                                          A64@8in/'8their
                                                     694/58business.
                                                           81A/'4AAB88"7      154&1.8Menkin,
                                                                         Goureau,     ,4'D/'.8&and   '(8Neomi
                                                                                                         47>/8
842/404(8that
believed     69&68"The
                  O)948*Profit"
                            57:/6P8&and
                                     '(84  >7'/A8would
                                         Lemonis      =712(8be848able
                                                                   &8248to678help
                                                                             942@8their
                                                                                   694/58growing
                                                                                          R57=/'R8business
                                                                                                       81A/'4AA8
>&D48it/68to678the
make            6948next
                     '4X682level.
                             4042B88"7    154&184e-mailed
                                      Goureau        G>&/24(8the
                                                               6948television
                                                                     64240/A/7'8showA97=8&and '(8applied
                                                                                                  &@@2/4(8:for758
7  15&R4BC8to678&appear
Courage.B           @@4&58on 7'8the
                                 6948show.
                                      A97=B8
       \53.YBU Around
                    571'(8A    @5/'R8E
                              spring      F9H.86
                                         2014,      948@
                                                   the    57(1?6/7'8?company
                                                         production         7>@&'38:for758O     )948*Profit,"
                                                                                               "The      57:/6.P8
,&?94648Corporation
Machete      75@75&6/7'8dba  (8&8,&    ?94648*Productions
                                   Machete        57(1?6/7'A8("Machete")
                                                                NO,&?9464PQ8reached
                                                                                  54&?94(8out 7168to678"7 154&18
                                                                                                       Goureau

&87168Courage.B's
about  715&R4BCWA8application
                           &@@2/?&6/7'8:for758the
                                               6948show.
                                                     A97=B8
       \54.HBU In'8or758around
                          &571'(8spring
                                    A@5/'R82014,
                                             EF9H.8Plaintiffs
                                                       *2&/'6/::A8had
                                                                    9&(8a&8!Skype
                                                                               D3@48interview
                                                                                      /'6450/4=8with  =/698-/
                                                                                                           Kim>8
<7''&'8("Dorman"),
Dorman      NO<7''&'PQ.8&a8producer
                                @57(1?458working
                                             =75D/'R8:for758Machete,
                                                              ,&?9464.8about &87168their
                                                                                     694/58involvement
                                                                                             /'07204>4'68in/'8
6948show.
the  A97=B88<1        5/'R8the
                  During     6948!Skype
                                     D3@48/interview,
                                             '6450/4=.8Dorman
                                                            <7''&'8represented
                                                                         54@54A4'64(8that  69&68the
                                                                                                 6948stories,
                                                                                                        A675/4A.8
/'04A6>4'6A.8and
investments,       &'(8successes
                          A1??4AA4A8portrayed
                                         @7565&34(8on   7'8the
                                                            6948show
                                                                   A97=8&are548real.
                                                                                  54&2B88Dorman
                                                                                            <7''&'8:further
                                                                                                         1569458
54@54A4'64(8that
represented      69&68if/:84 >7'/A8was
                           Lemonis      =&A8interested
                                              /'6454A64(8in/'8investing,
                                                                /'04A6/'R.8they 69438would
                                                                                      =712(8make>&D48&a8deal
                                                                                                           (4&28
=9/248the
while  6948show
              A97=8was
                     =&A8being
                            84/'R8:filmed
                                     /2>4(8and
                                             &'(8that
                                                    69&68the
                                                         6948deal
                                                             (4&28would
                                                                     =712(8be848real.
                                                                                  54&2B8
       \55.\BU %0    4'61&223.8*Plaintiffs
                  Eventually,       2&/'6/::A8were
                                               =4548selected
                                                       A424?64(8to678appear
                                                                      &@@4&58on  7'8"The
                                                                                    O)948*Profit."
                                                                                              57:/6BP88<1  5/'R8
                                                                                                        During

6948?course
the   715A48of7:8:filming
                      /2>/'R8the 6948television
                                       64240/A/7'8show,
                                                      A97=.8*Plaintiffs
                                                                  2&/'6/::A8&and'(84   >7'/A8reached
                                                                                    Lemonis      54&?94(8an&'8

        8                                                9`8
                                                         17
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         8
&R544>4'68:7584>7'/A8678/'04A68/'8715&R4BC8&'(8"7784553B884>7'/A8=&A8678
agreement for Lemonis to invest in Courage.B and Gooberry. Lemonis was to

@15?9&A48a&830%
purchase           YF^8stakeA6&D48in/'8Gooberry
                                       "77845538:for758[$800,000.
                                                             IFF.FFFB8
           \56.JBU In'8June1'482014,
                                  EF9H.8*Plaintiffs'
                                            2&/'6/::AW84episode
                                                            @/A7(48of7:8the
                                                                          6948show
                                                                              A97=8was    =&A8:filmed.
                                                                                                   /2>4(B88During<15/'R8the6948
:filming,
  /2>/'R.8the   6948producers
                      @57(1?45A8?created
                                       54&64(8a&8story
                                                   A67538:for758*Plaintiffs
                                                                    2&/'6/::A8to678:follow
                                                                                        7227=8and &'(8present
                                                                                                          @54A4'68on   7'8the
                                                                                                                           6948
A97=B88*Producers
show.         57(1?45A8?consistently
                               7'A/A64'6238told
                                             672(8Plaintiffs
                                                    *2&/'6/::A8that
                                                                  69&68their
                                                                         694/58mother
                                                                                 >769458Noemi74>/8was   =&A8a&8problem,
                                                                                                                  @57824>.8
69&68she
that    A948didn't
              (/('W68Dknow  '7=8what
                                  =9&68she
                                         A948was
                                              =&A8doing,
                                                     (7/'R.8and &'(8that
                                                                      69&68"7    154&18had
                                                                            Goureau        9&(8to678:fix/X8what
                                                                                                              =9&68sheA948was
                                                                                                                          =&A8
(7/'RB88)9
doing.       This,/A.8of7:8?course,
                             715A4.8was
                                      =&A8not
                                           '768the
                                                 69485reality
                                                       4&2/638:for758*Plaintiffs'
                                                                        2&/'6/::AW8business.
                                                                                       81A/'4AAB8
           \57.`BU During
                      <15/'R8the  6948:filming
                                        /2>/'R8of7:8the69484episode,
                                                                @/A7(4.84    >7'/A8spoke
                                                                           Lemonis         A@7D48to678Plaintiffs
                                                                                                           *2&/'6/::A8and &'(8
4explained,
  X@2&/'4(.8"[a]nd O&'(8you  3718know
                                     D'7=8what's
                                             =9&6WA84even04'8more>7548amazing
                                                                         &>&_/'R8to678me?   >488You'reZ71W548doing
                                                                                                                  (7/'R8[$5\8
>/22/7'8with
million      =/698this69/A8product.
                             @57(1?6B88Can
                                         &'8you
                                               3718/imagine
                                                       >&R/'48what =9&68you3718would
                                                                                  =712(8do   (78if/:8your
                                                                                                       37158product
                                                                                                               @57(1?68was=&A8
5/R96P8He
right?"      +48:further
                    15694584explained
                                 X@2&/'4(8his
                                            9/A8belief
                                                   42/4:8in/'8the
                                                              6948?company,
                                                                     7>@&'3.8&and    '(8that
                                                                                         69&68/it68was
                                                                                                    =&A8?close27A48to678where
                                                                                                                        =94548
/68needed
it    '44(4(8to678be848already,
                              &254&(3.8stating
                                         A6&6/'R8to678*Plaintiffs,
                                                            2&/'6/::A.8"[t]his
                                                                         O69/A8has  9&A8the
                                                                                            6948makings
                                                                                                    >&D/'RA8of7:8being  84/'R8
A7>469/'R8great,
something          R54&6.8but8168the
                                  6948business
                                      81A/'4AA8needs
                                                   '44(A8money,
                                                             >7'43.8and &'(8&all228I8have
                                                                                      9&048to678get
                                                                                                  R468my>38head94&(8around
                                                                                                                       &571'(8
/A.8we're
is,    =4W548talking
                  6&2D/'R8about
                              &87168?changing
                                        9&'R/'R8the 6948product
                                                            @57(1?68and&'(8?changing
                                                                                 9&'R/'R8the   6948process,
                                                                                                       @57?4AA.8and   &'(8it's
                                                                                                                          /6WA8
4extreme,
  X654>4.8and    &'(8putting
                       @166/'R8money
                                   >7'438in/'8at&68the
                                                   6948same
                                                        A&>48time."
                                                                 6/>4BP8
           \58.IBU In'8:fact,
                             &?6.84  >7'/A8doubled-down
                                  Lemonis     (71824(G(7='8on        7'8his
                                                                          9/A8belief
                                                                              842/4:8that 69&68Courage.B
                                                                                                  715&R4BC8was       =&A8'not768
:far&58off
       7::8:from
             57>8obtaining
                     786&/'/'R84even 04'8greater
                                          R54&6458success
                                                     A1??4AA8when,
                                                                 =94'.8during
                                                                          (15/'R8a&8?cut168scene
                                                                                              A?4'48where=945484       >7'/A8
                                                                                                                   Lemonis

/A8speaking
is    A@4&D/'R8to678the    6948viewers,
                                 0/4=45A.84     >7'/A84explained
                                             Lemonis          X@2&/'4(8that,
                                                                           69&6.8"[t]he
                                                                                     O6948real
                                                                                               54&28problem
                                                                                                        @57824>8is,/A.8the 6948
?company
  7>@&'38doesn't  (74A'W68have9&048the
                                     6948right
                                          5/R968product
                                                  @57(1?68on   7'8the
                                                                   6948ground
                                                                         R571'(8&and   '(8if/:8I8?can&'8:fix/X8the
                                                                                                                6948product
                                                                                                                      @57(1?68


         8                                                       9I8
                                                                 18
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        8
 R7/'R8:75=&5(8&'(8694'8>45?9&'(/A48/68/'8&8?54&6/048=&3.88D'7=88?&'8>&D48>7'438
going forward and then merchandise it in a creative way, I know I can make money

 />>4(/&6423BP8
immediately."

          \59.cBU Despite
                    <4A@/648these 694A48beliefs,
                                          842/4:A.8when
                                                      =94'8the 6948time
                                                                      6/>48?came
                                                                               &>48to678make
                                                                                           >&D48his9/A8offer
                                                                                                        7::458to678
 *Plaintiffs,
   2&/'6/::A.84    >7'/A8:first
                 Lemonis        /5A68offered
                                     7::454(8[$800,000
                                                IFF.FFF8:for758:full1228?control
                                                                          7'65728of7:87  15&R4BC8&and
                                                                                      Courage.B      '(850%
                                                                                                          \F^8of7:8
 6948stock,
the   A67?D.8&after
                  :6458which
                        =9/?98he948?chimed
                                        9/>4(8in/'8"and
                                                     O&'(8before
                                                            84:7548you 3718answer,
                                                                             &'A=45.8just
                                                                                        d1A68know
                                                                                              D'7=8that
                                                                                                     69&68if/:8you
                                                                                                               3718
 (7'W68do
don't   (78&a8deal
                 (4&28with
                        =/698me,>4.8you
                                      3718may
                                           >&38not'768make
                                                       >&D48it."
                                                               /6BP8
          J60.FBU In'8what
                        =9&68has 9&A8since
                                      A/'?48turned
                                             615'4(8out7168to678be848&a8prophetic
                                                                         @57@946/?8statement,
                                                                                      A6&64>4'6.8after
                                                                                                   &:6458having
                                                                                                           9&0/'R8
 9/A8:first
his      /5A687     ::4585rejected
                  offer        4d4?64(88  by38"7     154&1.84
                                                Goureau,             >7'/A85
                                                                 Lemonis         4A@7'(4(86
                                                                                responded        78"7
                                                                                                to        154&1WA8
                                                                                                     Goureau's

 ?counterproposal
   71'645@57@7A&28of7:8[$800,000IFF.FFF8:for75810%
                                               9F^8of7:8the
                                                          6948?company's
                                                                 7>@&'3WA8stock A67?D8stating:
                                                                                        A6&6/'RT8"I'll
                                                                                                  OW228give
                                                                                                        R/048you
                                                                                                               3718
a& 8half-a-million-dollar
    9&2:G&G>/22/7'G(722&58loan     27&'8&and
                                          '(8take
                                              6&D48the
                                                     6948stock
                                                          A67?D8of7:8the
                                                                       6948?company
                                                                              7>@&'38&asA8?collateral.
                                                                                              722&645&2B8I8mean,
                                                                                                            >4&'.8
 /:8you
if  3718default,
           (4:&126.8I'llW228take
                             6&D48the
                                    6948business.
                                         81A/'4AAB8!So78you
                                                         3718don't
                                                                (7'W68want
                                                                         =&'68that
                                                                                69&68option.
                                                                                      7@6/7'B8The
                                                                                                )948option
                                                                                                     7@6/7'8you3718
 =&'68is/A8you
want        3718want=&'68me  >48to678be848just
                                          d1A68as&A84excited
                                                      X?/64(8as&A8you3718are."
                                                                            &54BP88What
                                                                                    a9&68Lemonis
                                                                                            4>7'/A8:failed
                                                                                                         &/24(8to678
 >4'6/7'8is/A8that
mention           69&68he948would
                              =712(8run51'8the
                                            6948business
                                                81A/'4AA8/in'8&a8way =&38which
                                                                            =9/?98overloaded
                                                                                    704527&(4(8it/68with
                                                                                                      =/698debt,
                                                                                                             (486.8
 &227=/'R8him
allowing        9/>8to678:foreclose
                           754?27A48on 7'8a&8whim.
                                             =9/>B88
          J61.9BU While
                    a9/248the  69484episode
                                      @/A7(48was
                                              =&A8being
                                                     84/'R8:filmed,
                                                               /2>4(.8Lemonis
                                                                          4>7'/A8made >&(48renovations
                                                                                              54'70&6/7'A8to678a&8
 "7  7845538store
  Gooberry       A67548/in'8"5   44'=/?9.87
                              Greenwich,          ''4?6/?16B88*Plaintiffs
                                              Connecticut.           2&/'6/::A8were
                                                                                =4548told
                                                                                        672(8by
                                                                                              8384  >7'/A8and
                                                                                                  Lemonis      &'(8
 @57(1?6/7'8that
production        69&68they
                        69438?could
                                 712(8not
                                        '768visit
                                            0/A/68the
                                                  6948store
                                                       A67548while
                                                              =9/248it/68was
                                                                           =&A8undergoing
                                                                                1'(45R7/'R8the 6948renovations.
                                                                                                   54'70&6/7'AB88
 '
 On8  O)948*Profit,"
      "The       57:/6.P8renovations
                            54'70&6/7'A8&are548done
                                                (7'48during
                                                        (15/'R8the 6948:filming
                                                                          /2>/'R8of7:8the
                                                                                       69484episode
                                                                                             @/A7(48soA78that
                                                                                                          69&68the
                                                                                                                6948
 4episode
   @/A7(48?can&'8show
                    A97=8the  6948supposedly
                                   A1@@7A4(238greatR54&68improvements
                                                          />@5704>4'6A8that     69&68Lemonis
                                                                                      4>7'/A8makes
                                                                                                  >&D4A8to678the6948


        8                                                 9c8
                                                          19
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         8
81A/'4AA4AB88)9487='45A8&548@15@7A4:12238D4@68/'86948(&5D8&8716897=8>1?986948
businesses. The owners are purposefully kept in the dark about how much the

54'70&6/7'A8&are548?costing
renovations             7A6/'R8&and'(8who
                                        =978ultimately
                                              126/>&64238will=/228be848paying
                                                                       @&3/'R8:for758them.694>B88
        J62.EBU The
                  )948same
                         A&>48was
                                =&A8true65148here.
                                             9454B884    >7'/A8did
                                                       Lemonis     (/(8not
                                                                        '768tell
                                                                              64228*Plaintiffs
                                                                                         2&/'6/::A8how
                                                                                                     97=8much
                                                                                                            >1?98he948
=&A8spending
was   A@4'(/'R8on   7'8the
                        6948renovations,
                             54'70&6/7'A.8and  &'(8when
                                                     =94'8*Plaintiffs
                                                               2&/'6/::A8asked,
                                                                          &AD4(.8he948told  672(8them,
                                                                                                  694>.8"IO8got
                                                                                                              R768it,"
                                                                                                                   /6.P8
69&68they
that  69438"didn't
              O(/('W68have
                        9&048to678deal
                                   (4&28with
                                          =/698it,"
                                                 /6.P8and
                                                      &'(8to678"trust
                                                               O651A68the
                                                                       6948process."
                                                                            @57?4AABP888
        J63.YBU During
                  <15/'R8the 6948?course
                                    715A48of7:8the
                                                6948show,
                                                     A97=.8when
                                                              =94'8the6948parties
                                                                          @&56/4A8discussed
                                                                                        (/A?1AA4(8the  6948terms
                                                                                                            645>A8of7:8
4 >7'/AW8potential
 Lemonis'      @764'6/&28/investment,
                             '04A6>4'6.84       >7'/A8told
                                             Lemonis       672(8Plaintiffs
                                                                 *2&/'6/::A8that
                                                                              69&68[$200,000
                                                                                          EFF.FFF8of7:8his 9/A8/initial
                                                                                                                 '/6/&28
/'04A6>4'68would
investment       =712(8be848used
                               1A4(8towards
                                       67=&5(A85renovations.
                                                    4'70&6/7'AB884      >7'/A8led
                                                                      Lemonis      24(8*Plaintiffs
                                                                                              2&/'6/::A8to678believe
                                                                                                              842/4048
69&68the
that  6948work
             =75D8he948had9&(8done
                               (7'48to678the6948"5    44'=/?982location
                                                  Greenwich       7?&6/7'8during
                                                                              (15/'R8the    6948show
                                                                                                  A97=8would
                                                                                                           =712(8be848
?covered
  70454(8by  838that
                 69&68[$200,000
                        EFF.FFF8investment.
                                     /'04A6>4'6B8
        J64.HBU After
                    :6458the
                           6948show
                                A97=8:finished
                                          /'/A94(8:filming,
                                                       /2>/'R.8but
                                                                 8168before
                                                                       84:7548the6948deal (4&28was
                                                                                                 =&A8:formalized,
                                                                                                         75>&2/_4(.8
4 >7'/A8began
 Lemonis       84R&'8taking
                        6&D/'R8?control
                                    7'65728over
                                             70458Gooberry
                                                      "77845538and &'(87     15&R4BCB884
                                                                          Courage.B.                >7'/A8started
                                                                                                 Lemonis      A6&564(8
54'70&6/'R8"7
renovating          784553WA8&additional
                Gooberry's        ((/6/7'&28stores.
                                               A6754AB88Once
                                                           '?48again,
                                                                  &R&/'.84    >7'/A8told
                                                                           Lemonis          672(8Plaintiffs
                                                                                                  *2&/'6/::A8not'768to678
=75538&about
worry     87168the6948renovations
                       54'70&6/7'A8&and   '(8that
                                              69&68he948was
                                                         =&A8taking
                                                              6&D/'R8?care
                                                                         &548of7:8it./6B88C4  ?&1A48of7:84
                                                                                          Because             >7'/AW8
                                                                                                           Lemonis'

54@54A4'6&6/7'A.8*Plaintiffs
representations,          2&/'6/::A8believed
                                      842/404(8that69&684   >7'/A8was
                                                         Lemonis      =&A8staying
                                                                            A6&3/'R8within =/69/'8the6948[$200,000
                                                                                                            EFF.FFF8
54'70&6/7'A8budget.
renovations       81(R46B88Lemonis,
                              4>7'/A.8however,
                                           97=4045.8:forced75?4(8"7    7845538to678/incur
                                                                   Gooberry               '?158upwards
                                                                                                 1@=&5(A8of7:8[$2M E,8
/'8debt
in  (48685renovating
               4'70&6/'R8"7      784553WA8stores
                              Gooberry's       A6754A8in/'8only
                                                              7'238sixA/X8months.
                                                                           >7'69AB884            >7'/A8and
                                                                                               Lemonis       &'(8his
                                                                                                                   9/A8
54@54A4'6&6/04.8Johnny
representative,        79''38!Sirpilla,
                                   /5@/22&.8?completely
                                               7>@2464238?controlled
                                                               7'657224(8the6948renovations
                                                                                  54'70&6/7'A8&and       '(8did
                                                                                                              (/(8not
                                                                                                                   '768
&227=8*Plaintiffs
allow     2&/'6/::A8to678give
                           R/048any
                                &'38input
                                       /'@168or758inform
                                                   /':75>8them
                                                             694>8of7:8how
                                                                        97=8much
                                                                               >1?98the    6948renovations
                                                                                                54'70&6/7'A8were =4548
?costing
  7A6/'R8"7     784553B884
          Gooberry.            >7'/A8?consistently
                            Lemonis       7'A/A64'6238told672(8*Plaintiffs
                                                                 2&/'6/::A8to678just
                                                                                 d1A68"trust
                                                                                          O651A68the
                                                                                                   6948process."
                                                                                                        @57?4AABP8

         8                                                   EF8
                                                             20
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 22 of 95

         8
        J65.\BU During
                  <15/'R8the  6948:filming
                                      /2>/'R8of7:8the6948show,
                                                         A97=.84     >7'/A8represented
                                                                  Lemonis        54@54A4'64(8himself 9/>A42:8as&A8an&'8
4expert
  X@4568in/'8retail
              546&/28and
                      &'(8promised
                            @57>/A4(8to678/introduce
                                               '657(1?48Plaintiffs
                                                            *2&/'6/::A8to678his9/A8team
                                                                                    64&>8of7:84expert
                                                                                                   X@4568retail
                                                                                                           546&/28&and
                                                                                                                    '(8
81A/'4AA84executives
business       X4?16/04A8who  =978would
                                     =712(8help
                                              942@8*Plaintiffs
                                                       2&/'6/::A8grow
                                                                  R57=8the  6948brand.
                                                                                85&'(B884       >7'/A84explained
                                                                                            Lemonis         X@2&/'4(8
69&68"Neomi
that O47>/8is/A8the 6948:face
                            &?48of7:8the
                                       6948brand,
                                           85&'(.8and&'(8it's
                                                          /6WA8still
                                                               A6/228her
                                                                     94584eye348that
                                                                                 69&68I8trust.
                                                                                         651A6B88ButC168in/'8order
                                                                                                             75(458to678
>&D48sure
make   A1548that
               69&68she's
                      A94WA8successful,
                              A1??4AA:12.8I'm W>8gonna
                                                     R7''&8hire
                                                             9/548legitimate
                                                                   24R/6/>&648designers
                                                                                   (4A/R'45A8with  =/6982legitimate
                                                                                                           4R/6/>&648
65&?D85
track      4?75(ABP884
         records."             >7'/A8&
                           Lemonis         ((/6/7'&2238A
                                          additionally       6&64(86
                                                            stated     780
                                                                      to      /4=45A86
                                                                             viewers       9&689
                                                                                         that      he48=&
                                                                                                        wasA 89  /5/'R8
                                                                                                               hiring

O@57:4AA/7'&28visual
"professional      0/A1&28merchandisers
                              >45?9&'(/A45A8to678?come   7>48in/'8and
                                                                   &'(8assist
                                                                           &AA/A68in/'8the
                                                                                       69485renovations
                                                                                              4'70&6/7'A8of7:8the  6948
A97=BP8
show."

        J66.JBU *Plaintiffs
                    2&/'6/::A8believed
                                 842/404(8Lemonis'
                                              4>7'/AW8representations
                                                            54@54A4'6&6/7'A8that   69&68he948was
                                                                                              =&A8there
                                                                                                      694548to678help
                                                                                                                  942@8
694/58business
their  81A/'4AA8grow R57=8and  &'(8that
                                     69&68he948believed
                                                842/404(8in/'8their
                                                                694/58:family
                                                                           &>/238business.
                                                                                     81A/'4AAB884       >7'/A8told
                                                                                                     Lemonis      672(8
*Plaintiffs
  2&/'6/::A8that
              69&68he948?cared
                           &54(8about
                                  &87168their
                                           694/58:family,
                                                     &>/23.8that
                                                             69&68he948would
                                                                         =712(8always
                                                                                   &2=&3A8take  6&D48?care
                                                                                                        &548of7:8their
                                                                                                                 694/58
>769458Noemi,
mother     74>/.8&and  '(8that
                             69&68he948wouldn't
                                        =712('W682let468&anything
                                                          '369/'R8bad 8&(8happen
                                                                             9&@@4'8to678her.
                                                                                           945B8
        J67.`BU However,
                  +7=4045.8&         2287
                                   all   of:86 94A48@
                                              these      15@7564(84executives
                                                        purported         X4?16/04A8=4   were5484employees
                                                                                                     >@27344A87     of: 8
&  >@/'R8World—a
Camping       a752(b&8now     '7=8public
                                     @182/?8?company
                                               7>@&'38that 69&68Lemonis
                                                                 4>7'/A8servesA4504A8as&A8/its6A8CEO.
                                                                                                   %B884    >7'/A8
                                                                                                            Lemonis

(/(8not
did  '768tell64228*Plaintiffs
                     2&/'6/::A8how97=8much >1?98"7      7845538was
                                                     Gooberry     =&A8paying
                                                                           @&3/'R8these
                                                                                      694A48so-called
                                                                                                 A7G?&224(84expert
                                                                                                                X@4568
4executives.
  X4?16/04AB88Again,
                   R&/'.8whenever
                            =94'40458*Plaintiffs
                                             2&/'6/::A8inquired
                                                        /']1/54(8&about
                                                                      87168the6948?costs,
                                                                                     7A6A.84    >7'/A8would
                                                                                            Lemonis        =712(8tell
                                                                                                                   64228
694>8that
them  69&68he948had
                 9&(8it/68?covered
                            70454(8&and  '(8not
                                             '768to678worry
                                                      =75538about
                                                              &87168it./6B8%Eventually,
                                                                              04'61&223.8however,
                                                                                            97=4045.8*Plaintiffs
                                                                                                             2&/'6/::A8
24&5'4(8that
learned     69&68these
                 694A484executives
                            X4?16/04A8were=4548?charging
                                                    9&5R/'R8"7    78455384exorbitant
                                                              Gooberry         X758/6&'68:fees.
                                                                                             44AB8
        J68.IBU When
                  a94'8*Plaintiffs
                                2&/'6/::A82learned
                                              4&5'4(8&about871686    948A
                                                                   the       D357?D46/'R85
                                                                           skyrocketing            4'70&6/7'8&and
                                                                                                  renovation        '(8
4executive
  X4?16/048?costs,
                7A6A.84   >7'/A8berated
                       Lemonis       845&64(8them,
                                                694>.8?called
                                                          &224(8them
                                                                 694>8ungrateful,
                                                                          1'R5&64:12.8&and  '(8told
                                                                                                  672(8them
                                                                                                        694>8that
                                                                                                               69&68if/:8

         8                                                   E98
                                                             21
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        8
69438=&'686788&?D871687:86948(4&2.8&228694389&(8678(78=&A8@&389/>88&?D8:7586948
they want to back out of the deal, all they had to do was pay him back for the

54'70&6/7'AB88At68that
renovations.            69&68point,
                             @7/'6.8of7:8?course,
                                           715A4.8*Plaintiffs
                                                     2&/'6/::A8were
                                                                =4548not
                                                                       '768able
                                                                             &8248to678repay
                                                                                       54@&384    >7'/A8the
                                                                                               Lemonis     6948
70458[$2M
over      E,8that69&684  >7'/A8had
                       Lemonis     9&(8unilaterally
                                          1'/2&645&2238decided
                                                         (4?/(4(8to678spend
                                                                         A@4'(8on  7'8the
                                                                                       6948store—despite
                                                                                           A6754b(4A@/648
6422/'R8*Plaintiffs
telling     2&/'6/::A8that
                        69&68renovations
                             54'70&6/7'A8would
                                             =712(8only
                                                      7'238?cost
                                                              7A68[$200,000
                                                                    EFF.FFF8&and  '(8keeping
                                                                                      D44@/'R8them
                                                                                                 694>8in/'8the
                                                                                                           6948
(&5D8about
dark   &87168how  97=8much
                        >1?98was=&A8being
                                     84/'R8spent
                                              A@4'68on7'8the
                                                          6948renovations.
                                                               54'70&6/7'AB88Feeling
                                                                                  ;442/'R84entrapped
                                                                                             '65&@@4(8and &'(8
2/D48they
like 69438had  9&(8no
                    '78other
                        769458?choice,
                                97/?4.8Plaintiffs
                                         *2&/'6/::A8moved
                                                      >704(8:forward
                                                                75=&5(8with=/6984    >7'/AB8
                                                                                  Lemonis.

         J69.cBU 'On8 758&around
                       or   571'(8November
                                     704>845818,  9I.82014,
                                                        EF9H.8the
                                                                6948parties
                                                                     @&56/4A84executed
                                                                                 X4?164(8the
                                                                                           6948paperwork
                                                                                                  @&@45=75D8
>4>75/&2/_/'R84
memorializing             >7'/AW8investment.
                       Lemonis'     /'04A6>4'6B884        >7'/AW84entity,
                                                       Lemonis'       '6/63.8Defendant
                                                                                <4:4'(&'68ML   ,8$4      6&/2.8
                                                                                                       Retail,

@15?9&A4(832%
purchased        YE^8of7:8the
                          6948shares
                               A9&54A8of7:8"7  7845538:for758[$800,000.
                                           Gooberry            IFF.FFFB8
         `70.FBU At68the
                       6948same
                            A&>48time,
                                    6/>4.8the
                                            6948shareholders
                                                 A9&54972(45A8of7:8"7      784553.8"7
                                                                       Gooberry,          154&1.8Menkin,
                                                                                       Goureau,     ,4'D/'.8
47>/.8&and
Neomi,          '(8,8$4
                     ML Retail,6&/2.84entered
                                       '6454(8/    '678&
                                                  into   a8!   9&54972(458Agreement
                                                             Shareholder          R544>4'68N      O"77845538
                                                                                                ("Gooberry

!Shareholder
  9&54972(458Agreement").
                     R544>4'6PQB88The )948"7    7845538!Shareholder
                                            Gooberry       9&54972(458Agreement
                                                                             R544>4'68gaveR&048ML ,8Retail
                                                                                                       $46&/28
857&(8power
broad    @7=458over70458"7   784553B88"7
                          Gooberry.         7845538needed
                                        Gooberry     '44(4(8ML ,8$4     6&/2WA8&affirmative
                                                                     Retail's     ::/5>&6/048shareholder
                                                                                                A9&54972(458
07648/in'8order
vote       75(458to,
                   67.8among
                       &>7'R8other
                                769458things:
                                       69/'RAT8(1)
                                                 N9Q84enter
                                                       '6458/into
                                                              '678&any
                                                                    '38?contract
                                                                          7'65&?68outside
                                                                                    716A/(48of7:8the
                                                                                                  6948normal
                                                                                                      '75>&288
?course
  715A48of7:8business,
                 81A/'4AA.8(2)NEQ8make
                                   >&D48any &'38distributions
                                                  (/A65/816/7'A8to678shareholders,
                                                                        A9&54972(45A.8(3)  NYQ8make
                                                                                                  >&D48&any '38
4expenditure
  X@4'(/61548over  70458[$50,000,
                            \F.FFF.8and&'(8(4)
                                             NHQ8hire
                                                   9/548or758replace
                                                              54@2&?48&any'38member
                                                                               >4>8458of7:8"7       784553WA8
                                                                                                Gooberry's

4executive
  X4?16/048team.64&>B8
         `71.9BU The
                   )948"7    7845538!Shareholder
                         Gooberry       9&54972(458Agreement
                                                         R544>4'68also&2A78gave
                                                                              R&048,8     $46&/28the
                                                                                      ML Retail      6948sole
                                                                                                          A7248
@7=458to,
power     67.8among
                &>7'R8other
                          769458things:
                                 69/'RAT8(1)
                                           N9Q8manage
                                               >&'&R48&and  '(8?control
                                                                  7'65728"7    784553WA8bank
                                                                           Gooberry's      8&'D8accounts,
                                                                                                   &??71'6A.8


        8                                               EE8
                                                        22
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        8
NEQ87@4'8?456&/'8546&/2827?&6/7'A.8&'(8NYQ8?7'65728"7784553WA8540720/'R82/'487:8?54(/68
(2) open certain retail locations, and (3) control Gooberry's revolving line of credit

=/698Lemonis'
with   4>7'/AW84entities.
                     '6/6/4AB88
        `72.EBU 4  >7'/A8>&
                 Lemonis          (48?clear
                               made      24&586  9&68/if:8*Plaintiffs
                                                that         2&/'6/::A87     8d4?64(86
                                                                          objected        786
                                                                                         to    948"7
                                                                                              the       7845538
                                                                                                    Gooberry

(7?1>4'6A8that
documents      69&68he948would
                           =712(8:force
                                    75?48them
                                           694>8to6785repay
                                                        4@&38the
                                                               6948money
                                                                    >7'438that  69&68he948had
                                                                                           9&(8put
                                                                                                 @168into
                                                                                                      /'678the
                                                                                                            6948
54'70&6/7'Ab=9/?98would
renovations—which           =712(8wipe
                                     =/@48them
                                            694>8out—and
                                                    716b&'(8take6&D48their
                                                                      694/58business
                                                                               81A/'4AA8:from57>8them.
                                                                                                   694>B8
        `73.YBU Not
                 7682long
                        7'R8after
                              &:6458the
                                    6948deal
                                          (4&28was
                                                =&A8:finalized,
                                                       /'&2/_4(.84    >7'/A8sent
                                                                   Lemonis       A4'68IT)8personnel
                                                                                             @45A7''428:from
                                                                                                           57>8
& >@/'R8World
Camping       a752(8to678the6948"7  7845538offices
                                 Gooberry      7::/?4A8to678upgrade
                                                            1@R5&(48their694/584e-mail
                                                                                   G>&/28and&'(8?computing
                                                                                                    7>@16/'R8
A3A64>AB88During
systems.      <15/'R8the6948process,
                             @57?4AA.8the
                                        6948IT)8technicians,
                                                  64?9'/?/&'A.8&allegedly
                                                                   224R4(238on   7'8accident,
                                                                                     &??/(4'6.8deleted
                                                                                                   (42464(8all
                                                                                                             &228
7:8the
of   69484e-mails
             G>&/2A8:from
                       57>8"7    784553WA8system.
                              Gooberry's       A3A64>B88This
                                                           )9/A8meant
                                                                   >4&'68that 69&68years
                                                                                     34&5A8and &'(8years
                                                                                                     34&5A8of7:8
"7  784553WA84e-mail
 Gooberry's      G>&/28records
                          54?75(A8were
                                   =4548now'7=8gone.
                                                 R7'4B888
        `74.HBU *Plaintiffs
                  2&/'6/::A8=4     5486
                                were      94'8R
                                         then      /04'8'
                                                  given      4=8@courageb
                                                           new         ?715&R4884e-mail  G>&/28&    ((54AA4AB88
                                                                                                   addresses.

%0 4'61&223.8*
Eventually,        2&/'6/::AW84e-mails
                 Plaintiffs'      G>&/2A8=4  were5486  5&'A/6/7'4(86
                                                      transitioned       78@marcuslemonis
                                                                        to       >&5?1A24>7'/A84e-mail   G>&/28
&((54AA4AB88*Plaintiffs
addresses.       2&/'6/::A8used
                              1A4(8these
                                    694A484e-mails
                                             G>&/2A8to678?conduct
                                                            7'(1?68the6948business
                                                                             81A/'4AA8of7:8"7     7845538&and
                                                                                              Gooberry       '(8
4eventually
  04'61&2238,8     ;&A9/7'B88However,
               ML Fashion.        +7=4045.8&asA8discussed
                                                    (/A?1AA4(8below,
                                                                 8427=.8one  7'48by
                                                                                  838one,
                                                                                      7'4.8*Plaintiffs,
                                                                                                2&/'6/::A.8&and
                                                                                                             '(8
694/58mother
their  >769458Neomi,
                47>/.8were =45485removed
                                   4>704(8:from 57>8the
                                                      6948business
                                                          81A/'4AA8venture
                                                                      04'61548and &'(8lost
                                                                                        27A68access
                                                                                              &??4AA8to678their
                                                                                                          694/58
   >&5?1A24>7'/A84e-mail
 @marcuslemonis           G>&/28accounts.
                                 &??71'6AB8
        `75.\BU ML
                 ,8Retail
                       $46&/28used
                               1A4(8the
                                      6948power
                                           @7=458bestowed
                                                    84A67=4(8upon
                                                                1@7'8it/68in/'8the
                                                                               6948:formation
                                                                                     75>&6/7'8documents
                                                                                                  (7?1>4'6A8
678take
to  6&D48over
          70458"7    7845538and
                 Gooberry       &'(8Courage.B.
                                     715&R4BCB88,8    ML $4    6&/2.8through
                                                             Retail,    69571R984       >7'/A.8had
                                                                                     Lemonis,      9&(8all
                                                                                                         &228of7:8
"7  784553WA8retail
 Gooberry's     546&/28stores
                         A6754A8renovated
                                 54'70&64(8&and  '(8?changed
                                                       9&'R4(8the6948products
                                                                       @57(1?6A8that 69&68the
                                                                                            6948stores
                                                                                                 A6754A8were
                                                                                                          =4548
A422/'RB88+7
selling.       =4045.8despite
             However,     (4A@/648making
                                   >&D/'R8these
                                              694A48?changes
                                                       9&'R4A8himself,
                                                                 9/>A42:.84     >7'/A8later
                                                                              Lemonis      2&6458determined
                                                                                                  (4645>/'4(8

        8                                                EY8
                                                         23
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        8
69&68948(/(8'7682/D486948?9&'R4A89489&(8/>@24>4'64(87586948'4=8@57(1?6A869&689489&(8
that he did not like the changes he had implemented or the new products that he had

&((4(B884
added.          >7'/A8then
           Lemonis      694'8:forced
                                75?4(8the
                                       6948?company
                                             7>@&'38to678do    (78:further
                                                                    1569458renovations
                                                                            54'70&6/7'A8and  &'(8buy
                                                                                                  81384even
                                                                                                         04'8
>7548new
more   '4=8product.
               @57(1?6B8
        `76.JBU In'82015,
                      EF9\.8a&85retail
                                  46&/28?concept
                                          7'?4@68?called
                                                      &224(8Blues
                                                               C214A8Jean
                                                                        4&'8C& Bar58was
                                                                                    =&A8:featured
                                                                                            4&6154(8on7'8an&'8
4episode
  @/A7(48of7:8"The
                 O)948*Profit."
                          57:/6BP884  >7'/A8unilaterally
                                    Lemonis       1'/2&645&2238determined
                                                                   (4645>/'4(8that69&68"7   7845538would
                                                                                         Gooberry     =712(8
@15?9&A48the
purchase      6948Blues
                   C214A8Jean
                            4&'8Bar
                                  C&58business
                                       81A/'4AA8and &'(8its/6A8three
                                                               695448stores.
                                                                     A6754AB884   >7'/A8rebranded
                                                                                Lemonis     5485&'(4(8the 6948
C214A8Jean
Blues     4&'8C&Bar58stores
                     A6754A8&and
                               '(8two
                                  6=78Courage.B
                                        715&R4BC8locations
                                                       27?&6/7'A8as&A8Denim
                                                                       <4'/>8&8!Soul.712B884  >7'/A8then
                                                                                             Lemonis    694'8
54'70&64(8&all228of7:8the
renovated             6948stores,
                           A6754A.8including
                                    /'?21(/'R8"7     7845538stores
                                                  Gooberry      A6754A8that
                                                                       69&68he948had
                                                                                 9&(8just
                                                                                       d1A68renovated,
                                                                                            54'70&64(.8:for758
91'(54(A8of7:8thousands
hundreds          6971A&'(A8of7:8dollars,
                                  (722&5A.8&all228on
                                                  7'8"7  784553WA8dime,
                                                      Gooberry's      (/>4.8only
                                                                              7'238growing
                                                                                    R57=/'R8/its6A8debts
                                                                                                    (486A8to678
9/>8and
him   &'(8his9/A84entities.
                   '6/6/4AB8
        `77.`BU The
                  )948new
                        '4=8inventory
                              /'04'67538did(/(8not
                                                 '768appeal
                                                      &@@4&28to678Gooberry's
                                                                    "7784553WA82loyal
                                                                                    73&28?customer
                                                                                            1A67>458base.
                                                                                                       8&A4B88
!Several
  4045&28?customers
              1A67>45A8?came&>48to6787   15&R4BC8to678shop
                                      Courage.B          A97@8their
                                                                  694/584exclusive
                                                                          X?21A/048:fashion
                                                                                        &A9/7'82line.
                                                                                                 /'4B88The
                                                                                                         )948
@57(1?68that
product    69&684   >7'/A8:forced
                   Lemonis     75?4(8on7'8the
                                           6948stores
                                                 A6754A8was
                                                         =&A8often
                                                                 7:64'8purchased
                                                                       @15?9&A4(8at&68trade
                                                                                         65&(48shows
                                                                                                A97=A8and&'(8
=/(4238&available
widely       0&/2&8248at&68department
                           (4@&56>4'68stores
                                          A6754A8and
                                                   &'(8boutiques.
                                                        8716/]14AB88)9  This/A8type
                                                                               63@48of7:8product
                                                                                         @57(1?68brought
                                                                                                    8571R968
/'8price
in  @5/?48?comparison
              7>@&5/A7'8shoppers
                            A97@@45A8who=978were
                                              =4548looking
                                                      277D/'R8to678get
                                                                     R468the
                                                                          6948best
                                                                               84A68deal
                                                                                     (4&28on
                                                                                           7'8this
                                                                                               69/A8type
                                                                                                     63@48of7:8
?clothing.
  2769/'RB88"7     7845538was
               Gooberry     =&A8often
                                 7:64'8unable
                                        1'&8248to678?compete
                                                       7>@4648against
                                                                   &R&/'A68department
                                                                            (4@&56>4'68stores
                                                                                           A6754A8?carrying
                                                                                                     &553/'R8
6948same
the  A&>48?clothes
               27694A8and
                       &'(8offering
                            7::45/'R8various
                                      0&5/71A8:friends
                                                   5/4'(A8and&'(8:family,
                                                                   &>/23.8VIP
                                                                           S*8and
                                                                                 &'(8rewards
                                                                                      54=&5(A8programs.
                                                                                                 @57R5&>AB8
        `78.IBU In'8addition,
                     &((/6/7'.8the
                                 6948inventory
                                     /'04'67538Lemonis
                                                     4>7'/A8purchased
                                                                @15?9&A4(8was=&A8often
                                                                                   7:64'8:from
                                                                                           57>8a&8previous
                                                                                                   @540/71A8
A4&A7'.8which
season,    =9/?98was=&A8not
                          '768appealing
                               &@@4&2/'R8to678Gooberry's
                                                "7784553WA8:fashion
                                                                  &A9/7'8savvy
                                                                          A&0038?customer
                                                                                    1A67>458base.
                                                                                               8&A4B8


        8                                               EH8
                                                        24
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        8
        `79.cBU AsA8the
                      6948inventory
                           /'04'67538did (/(8not
                                               '768work
                                                     =75D8:for758the
                                                                 6948stores,
                                                                      A6754A.84  >7'/A8:forced
                                                                               Lemonis         75?4(8Gooberry
                                                                                                        "77845538
678sell
to A4228the
         6948new
               '4=8inventory
                    /'04'67538that 69&68he948had
                                              9&(8previously
                                                    @540/71A238:forced
                                                                     75?4(8the
                                                                            6948?company
                                                                                  7>@&'38to678acquire
                                                                                                    &?]1/548at&68a&8
A644@8discount.
steep  (/A?71'6B884     >7'/A8now
                     Lemonis       '7=8wanted
                                         =&'64(8the  6948stores
                                                          A6754A8to678?carry
                                                                        &5538younger
                                                                             371'R458and   &'(8hipper
                                                                                                 9/@@458brands.
                                                                                                           85&'(AB88
a9/248on
While    7'8the
              6948show
                   A97=8Lemonis
                           4>7'/A8represented
                                        54@54A4'64(8that  69&68all
                                                                &228"7   7845538needed
                                                                     Gooberry    '44(4(8to678do   (78to678take
                                                                                                           6&D48/its6A8
81A/'4AA8to678the
business         6948next
                      '4X682level
                               40428was
                                      =&A8getR468the
                                                  6948proper
                                                       @57@458inventory,
                                                                  /'04'6753.84   >7'/AW8new
                                                                                Lemonis'        '4=8inventory
                                                                                                        /'04'67538
6&'D4(8the
tanked    6948business'
               81A/'4AAW8margins.
                            >&5R/'AB88Indeed,
                                            '(44(.8this
                                                      69/A8?change
                                                              9&'R48in/'8inventory
                                                                          /'04'67538reduced
                                                                                         54(1?4(8"7       784553WA8
                                                                                                    Gooberry's

63@/?&28profit
typical   @57:/68margins
                   >&5R/'A8:from57>8̀Y73%^8to678\52%.
                                                   E^B8
        IFBU Destroying
        80.       <4A6573/'R8"7       784553WA8profit
                                  Gooberry's       @57:/68margins
                                                            >&5R/'A8was  =&A8part
                                                                              @&568of7:84    >7'/AW8practice.
                                                                                          Lemonis'       @5&?6/?4B88
'
On8 7'48occasion,
    one    7??&A/7'.84     >7'/A8purchased
                         Lemonis      @15?9&A4(8over  70458[$150,000
                                                              9\F.FFF8in/'8inventory
                                                                             /'04'67538:from  57>8a&8:factory
                                                                                                         &?67538in/'8
,/2&'8in/'8styles
Milan        A6324A8and
                     &'(8?colors
                            7275A8that
                                    69&68the
                                           6948stores
                                                A6754A8had9&(8not
                                                               '768?carried
                                                                      &55/4(8before.
                                                                              84:754B88!Shortly
                                                                                             9756238thereafter,
                                                                                                      69454&:645.8
4 >7'/A8determined
Lemonis       (4645>/'4(8that 69&68he948did
                                        (/(8not
                                              '768like
                                                    2/D48the
                                                          6948order
                                                               75(458and&'(8:forced
                                                                              75?4(8the
                                                                                      6948stores
                                                                                             A6754A8to678sell
                                                                                                           A4228the
                                                                                                                6948
/64>A8:for758pennies
items         @4''/4A8on7'8the
                            6948dollar.
                                  (722&5B8
        I9BU All228of7:8the
        81.                6948renovations,
                                 54'70&6/7'A.8inventory
                                                   /'04'67538purchases,
                                                                 @15?9&A4A.8and&'(8other
                                                                                      7694582large
                                                                                                 &5R484expenses
                                                                                                          X@4'A4A8
=4548:funded
were    1'(4(8through
                  69571R98"7      784553WA82line
                              Gooberry's        /'48of7:8?credit
                                                           54(/68with
                                                                  =/6984   >7'/AW84entities.
                                                                         Lemonis'         '6/6/4AB88By
                                                                                                    C38making
                                                                                                           >&D/'R8
694A482large
these   &5R48purchases,
                @15?9&A4A.85reducing
                                4(1?/'R8"7      784553WA8profit
                                            Gooberry's       @57:/68margins,
                                                                     >&5R/'A.8and
                                                                                &'(8:forcing
                                                                                         75?/'R8the
                                                                                                  6948?company
                                                                                                          7>@&'38
678sell
to A4228/inventory
          '04'67538at&68a&8loss,
                             27AA.8Lemonis
                                    4>7'/A84ensured
                                                   'A154(8that
                                                             69&68Gooberry
                                                                    "77845538would
                                                                                =712(8need '44(8to678rely
                                                                                                      54238on7'8its/6A8
540720/'R8line
revolving      2/'48of7:8?credit
                            54(/68with=/6984    >7'/AW84entities
                                              Lemonis'         '6/6/4A8to678meet
                                                                             >4468its/6A8normal
                                                                                            '75>&28:financial
                                                                                                          /'&'?/&28
782/R&6/7'A.8such
obligations,     A1?98as&A8payroll.
                           @&35722B88)9This /A8practice
                                               @5&?6/?48insured
                                                           /'A154(8that
                                                                     69&68"7  7845538was
                                                                           Gooberry       =&A8always
                                                                                                &2=&3A8heavily
                                                                                                           94&0/238
/'(4864(8to6784
indebted            >7'/A.8giving
                Lemonis,      R/0/'R84     >7'/A8the
                                       Lemonis       6948power
                                                           @7=458to678?convert
                                                                         7'04568on
                                                                                 7'8its/6A8assets
                                                                                           &AA46A8&at68any
                                                                                                        &'38time.
                                                                                                             6/>4B88


        8                                                   E\8
                                                            25
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        8
 4   >7'/A8used
 Lemonis      1A4(8the
                    6948threat
                          6954&68of7:8:foreclosing
                                        754?27A/'R8on 7'8his
                                                          9/A8loans
                                                              27&'A8to678"7 7845538to678keep
                                                                         Gooberry         D44@8*Plaintiffs
                                                                                                  2&/'6/::A8/in'8
 2/'4B8
line.

           lm Lemonis
                   s~nytuWants qy|uMore  Lnpsqand yInsists
                                                          yutu|unonythe|{sFormation
                                                                           np~q|tnynofwL
                   q u{tnyLLC 
           C.                                                                                   ML
                   Fashion,

           IEBU %0
           82.        4'61&223.8*Plaintiffs
                   Eventually,         2&/'6/::A8and
                                                  &'(84    >7'/A8decided
                                                         Lemonis     (4?/(4(8to6784expand
                                                                                       X@&'(8beyond
                                                                                                 8437'(8the 6948
 7   15&R4BC8brand
 Courage.B       85&'(8and&'(8begin
                               84R/'8/investing
                                          '04A6/'R8in/'8additional
                                                         &((/6/7'&28business
                                                                       81A/'4AA84entities
                                                                                     '6/6/4A8together.
                                                                                              67R46945B88The
                                                                                                           )948
 /(4&8was
idea     =&A8that
               69&68Plaintiffs
                    *2&/'6/::A8would
                                  =712(8be848investors,
                                                 /'04A675A.8and
                                                              &'(84equal
                                                                     ]1&28partners,
                                                                           @&56'45A.8with =/6984  >7'/A8on
                                                                                                Lemonis      7'8
 0&5/71A8:fashion
various       &A9/7'8and&'(85retail-related
                                46&/2G542&64(8business
                                                  81A/'4AA8investments.
                                                               /'04A6>4'6AB88Those )97A48ventures
                                                                                             04'6154A8often
                                                                                                          7:64'8
 /'?21(4(88
included         1A/'4AA4A86
               businesses        9&684
                               that        >7'/A84encountered
                                        Lemonis        '?71'6454(86     9571R989
                                                                       through       /A86
                                                                                    his    4240/A/7'8A
                                                                                          television      97=B88
                                                                                                         show.

 4   >7'/A8told
 Lemonis      672(8Plaintiffs
                    *2&/'6/::A8that
                                 69&68/investing
                                         '04A6/'R8in/'8these
                                                        694A48other
                                                               769458businesses
                                                                       81A/'4AA4A8was =&A8the
                                                                                            6948only
                                                                                                 7'238way
                                                                                                        =&38to678
 >&D48profits—this
make      @57:/6Ab69/A8was, =&A.8of7:8?course,
                                        715A4.8after
                                                &:64584  >7'/A8slashed
                                                       Lemonis    A2&A94(8"7     784553WA8profit
                                                                            Gooberry's       @57:/68margins.
                                                                                                     >&5R/'AB8
           IYBU Despite
           83.     <4A@/648wielding
                              =/42(/'R8&an'8/incredible
                                                  '?54(/8248amount
                                                                &>71'68of7:8?control
                                                                                  7'65728over
                                                                                            70458"7    784553.8
                                                                                                  Gooberry,

 4   >7'/A8wanted
 Lemonis      =&'64(8more.
                        >754B88In'8the6948beginning
                                            84R/''/'R8of7:82016,
                                                             EF9J.84    >7'/A8began
                                                                     Lemonis      84R&'8selling
                                                                                           A422/'R8*Plaintiffs
                                                                                                      2&/'6/::A8
 7'8starting
on     A6&56/'R8&a8new
                   '4=8business
                          81A/'4AA8venture
                                      04'61548with
                                                 =/6984   >7'/AB88
                                                        Lemonis.

           IHBU 4
           84.       >7'/A8represented
                   Lemonis     54@54A4'64(8that 69&68*Plaintiffs
                                                       2&/'6/::A8would
                                                                 =712(8be848able
                                                                             &8248to678make
                                                                                        >&D48more
                                                                                                >7548money
                                                                                                        >7'438
 /'8this
in    69/A8new
           '4=8business
                 81A/'4AA8venture
                             04'61548than69&'8they
                                               69438were
                                                      =4548making
                                                            >&D/'R8with=/698"7    784553B8
                                                                            Gooberry.

           I\BU During
           85.     <15/'R8this
                             69/A8time,
                                  6/>4.84    >7'/A8told
                                           Lemonis     672(8*Plaintiffs
                                                              2&/'6/::A8that
                                                                         69&68he948wanted
                                                                                   =&'64(8to678be8484equals
                                                                                                      ]1&2A8/in'8
 6948business
the     81A/'4AA8with
                   =/698them.
                          694>B884    >7'/A8praised
                                  Lemonis      @5&/A4(8,4     'D/'8telling
                                                          Menkin    6422/'R8her
                                                                            9458that
                                                                                   69&68she
                                                                                         A948would
                                                                                              =712(8take
                                                                                                       6&D48on
                                                                                                             7'8
a& 82larger
      &5R458management
              >&'&R4>4'68role   57248/in'8the
                                           6948new
                                                '4=8business
                                                       81A/'4AA8venture
                                                                  04'61548and&'(8that
                                                                                    69&68her
                                                                                           94584equity
                                                                                                 ]1/638share
                                                                                                          A9&548
 A9712(8be8484equal
should            ]1&28to678his
                            9/A8&and
                                  '(8"7     154&1WAB884
                                        Goureau's.         >7'/A8sold
                                                         Lemonis    A72(8,4   'D/'8on
                                                                           Menkin      7'8ML,8Fashion
                                                                                                 ;&A9/7'8by  838


        8                                                EJ8
                                                         26
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        8
54@54A4'6/'R869&68A948=712(8848/6A8*54A/(4'68&'(8=712(884894&0/238/'07204(8/'8
representing that she would be its President and would be heavily involved in

51''/'R8the
running    6948business.
               81A/'4AAB8
         IJBU However,
         86.    +7=4045.8in/'8order75(458to678make
                                              >&D48*Plaintiffs
                                                        2&/'6/::A8own
                                                                    7='8a&8roughly
                                                                              571R92384equal]1&28membership
                                                                                                  >4>845A9/@8
/'6454A68with
interest  =/6984    >7'/A.84
                 Lemonis,         >7'/A8removed
                               Lemonis     54>704(8Neomi's
                                                        47>/WA84equity
                                                                      ]1/638and
                                                                              &'(8placed
                                                                                    @2&?4(8it/68with
                                                                                                 =/698,4    'D/'B88
                                                                                                        Menkin.

4  >7'/A8told
Lemonis     672(8*Plaintiffs
                    2&/'6/::A8that
                                69&68their
                                      694/58mother's
                                             >76945WA84equity
                                                          ]1/6382laid
                                                                    &/(8with,
                                                                         =/69.8them,
                                                                                 694>.8her9458?children.
                                                                                                 9/2(54'B88This
                                                                                                             )9/A8
=&A8the
was    6948start
           A6&568of7:8Lemonis
                       4>7'/A8attempting
                                   &664>@6/'R8to678build
                                                      81/2(8a&8wedge
                                                                  =4(R48between
                                                                            846=44'8*Plaintiffs
                                                                                            2&/'6/::A8and
                                                                                                       &'(8their
                                                                                                            694/58
>769458in/'8order
mother       75(458to678boost
                          877A68his
                                  9/A8?control
                                        7'65728of7:8the
                                                    6948business.
                                                         81A/'4AAB8
         I`BU 4
         87.         >7'/A8also
                 Lemonis      &2A78represented
                                    54@54A4'64(8that 69&68he948and
                                                                &'(8*Plaintiffs
                                                                        2&/'6/::A8would
                                                                                   =712(8work =75D8to678grow
                                                                                                          R57=8a&8
:fashion
  &A9/7'84empire
             >@/548that69&68they
                             69438would
                                    =712(84eventually
                                               04'61&2238be848&able 8248to678sell
                                                                              A4228:for758millions
                                                                                          >/22/7'A8in/'8profit.
                                                                                                           @57:/6B88
4  >7'/A8represented
Lemonis      54@54A4'64(8that  69&68*Plaintiffs
                                        2&/'6/::A8&and
                                                     '(84    >7'/A8would
                                                          Lemonis        =712(8split
                                                                                   A@2/68any&'38such
                                                                                                  A1?98profits
                                                                                                          @57:/6A8
4equally—after
  ]1&223b&:6458Lemonis'
                    4>7'/AW8debts(486A8were
                                          =4548repaid.
                                                 54@&/(B880 Over458time,
                                                                    6/>4.8however,
                                                                            97=4045.84       >7'/A8drowned
                                                                                          Lemonis       (57='4(8
,8Fashion
ML     ;&A9/7'8in/'8soA78much
                            >1?98debt
                                    (4868that
                                            69&68*Plaintiffs'
                                                   2&/'6/::AW84equity
                                                                   ]1/638in/'8the
                                                                                6948Company
                                                                                     7>@&'384eventually
                                                                                                       04'61&2238
84?&>48meaningless.
became     >4&'/'R24AAB88This )9/A8meant
                                     >4&'68that
                                              69&68*Plaintiffs
                                                     2&/'6/::A8had
                                                                 9&(8to678Dkeep
                                                                             44@8working
                                                                                  =75D/'R8:for758Lemonis
                                                                                                   4>7'/A8/in'8
75(458to678derive
order       (45/048any
                     &'38value
                            0&2148:from
                                     57>8the6948business
                                                81A/'4AA8they69438started
                                                                     A6&564(8&and'(8to678be848able
                                                                                               &8248to678support
                                                                                                         A1@@7568
694/58:families.
their    &>/2/4AB8
         IIBU 4
         88.         >7'/A8represented
                 Lemonis       54@54A4'64(8to678*Plaintiffs
                                                       2&/'6/::A8that
                                                                    69&68ML ,8Fashion
                                                                                  ;&A9/7'8would =712(8be848an&'8
1>85422&84entity
umbrella      '6/638to678hold
                         972(8the
                                6948parties'
                                    @&56/4AW8various
                                               0&5/71A8business
                                                         81A/'4AA8ventures.
                                                                       04'6154AB88He +48told
                                                                                          672(8*Plaintiffs
                                                                                                  2&/'6/::A8that
                                                                                                             69&68
948wanted
he   =&'64(8to678help
                  942@8them694>8grow
                                  R57=8their
                                          694/58business
                                                  81A/'4AA8&and  '(8that
                                                                     69&68they
                                                                            69438?could
                                                                                     712(8build
                                                                                             81/2(8something
                                                                                                    A7>469/'R8
A@4?/&28together.
special   67R46945B884     >7'/A85represented
                         Lemonis      4@54A4'64(8that69&68a&82limited
                                                               />/64(8liability
                                                                         2/&8/2/638company,
                                                                                     ?7>@&'3.8as&A8opposed
                                                                                                        7@@7A4(8
678a&8?corporation,
to      75@75&6/7'.8would
                        =712(8be848more
                                    >7548beneficial
                                             84'4:/?/&28:for7584everyone.
                                                                 04537'4B8

        8                                                 E`8
                                                          27
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        8
        IcBU ML
        89.      ,8Fashion
                        ;&A9/7'8was=&A8:formed
                                           75>4(8on  7'8,&   5?9829,
                                                         March     Ec.82016
                                                                         EF9J8as&A8a&8Delaware
                                                                                      <42&=&548limited
                                                                                                   2/>/64(8
2/&8/2/638?company.
liability     7>@&'3B88On '8March
                               ,&5?9829,Ec.82016,
                                             EF9J.8the6948Limited
                                                          />/64(8/     &8/2/638Company
                                                                      Liability  7>@&'38Agreement
                                                                                                 R544>4'68
7:8,8
of        ;&A9/7'.88
   ML Fashion,                NO8Agreement")
                       LLC ("LLC           R544>4'6PQ8was =&A84entered
                                                                  '6454(8/into
                                                                            '678&among
                                                                                   >7'R8the6948members,
                                                                                                >4>845A.8
"7  154&1.8Menkin,
 Goureau,     ,4'D/'.8and&'(8ML
                              ,8Retail.
                                     $46&/2B88See
                                              8ML,8Fashion
                                                         ;&A9/7'88        R544>4'6.8Declaration
                                                                     LLC Agreement,       <4?2&5&6/7'8of7:8
!Sean
  4&'8Bellew
       C4224=8("Bellew
                  NOC4224=8<4     ?2BPQ.8%X
                              Decl."),   Ex.B 8A.B8
        c90.FBU The
                 )948:formation
                         75>&6/7'8documents
                                      (7?1>4'6A8:for758the 69487     >@&'38were
                                                                  Company       =4548prepared
                                                                                       @54@&54(8by  838the
                                                                                                         6948
&6675'43A8that
attorneys     69&684  >7'/A8used
                   Lemonis     1A4(8/in'8&a8lot
                                            2768of7:8his
                                                     9/A8business
                                                         81A/'4AA8&and'(8personal
                                                                          @45A7'&28matters.
                                                                                      >&6645AB884   >7'/A8
                                                                                                 Lemonis

672(8*Plaintiffs
told   2&/'6/::A8that
                   69&68the
                         6948attorneys
                             &6675'43A8represented
                                          54@54A4'64(8&all228three
                                                              695448of7:8them
                                                                         694>8to678deter
                                                                                   (46458*Plaintiffs
                                                                                            2&/'6/::A8:from
                                                                                                        57>8
A44D/'R8/independent
seeking      '(4@4'(4'68?counsel.
                             71'A42B88Based
                                        C&A4(8on7'8these
                                                     694A485representations,
                                                             4@54A4'6&6/7'A.8*Plaintiffs
                                                                                   2&/'6/::A8did
                                                                                              (/(8not
                                                                                                  '768seek
                                                                                                       A44D8
/'(4@4'(4'68?counsel
independent         71'A428and&'(8relied
                                     542/4(8on7'84    >7'/AW8attorneys.
                                                    Lemonis'      &6675'43AB88Whena94'8the 6948attorneys
                                                                                                 &6675'43A8
@54A4'64(8the
presented      6948:formation
                     75>&6/7'8documents
                                  (7?1>4'6A8to678Plaintiffs
                                                     *2&/'6/::A8:for7584execution,
                                                                         X4?16/7'.8Plaintiffs
                                                                                     *2&/'6/::A8believed
                                                                                                  842/404(8
69&68the
that  6948&attorneys,
              6675'43A.8and
                          &'(8Lemonis,
                                 4>7'/A.8had 9&(8their
                                                     694/58best
                                                           84A68interest
                                                                   /'6454A68in/'8mind
                                                                                 >/'(8and&'(8signed
                                                                                               A/R'4(8the6948
(7?1>4'6AB8
documents.

        c91.9BU %X    9/8/68A8to678the
                 Exhibit            69488       R544>4'68lists
                                         LLC Agreement          2/A6A8the
                                                                       69487   >@&'3WA8members
                                                                           Company's       >4>845A8and  &'(8
>4>845A9/@8interest
membership       /'6454A68as&A8:follows:
                                 7227=AT88
8
                     Ls~sp
                     Member                        Ls~spu{tInterest
                                                   Membership         y|spsu|
                     ,8$4
                     ML       6&/2.88
                          Retail,   LLC                     YYBYH^8
                                                            33.34%

                     /?72&A8"7
                     Nicolas        154&18
                                Goureau                     YYBYY^8
                                                            33.33%

                     !Stephanie
                       64@9&'/48,4     'D/'8
                                   Menkin                   YYBYY^8
                                                            33.33%



        8                                              EI8
                                                       28
       Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 30 of 95

        8
                   )76&28
                   Total                                 9FFBFF^8
                                                         100.00%


     c92.EBU The
             )9488            R544>4'68names
                       LLC Agreement          '&>4A8Marcus
                                                         ,&5?1A84      >7'/A8&asA8the
                                                                     Lemonis          69487    >@&'3WA8
                                                                                            Company's

>&'&R45B88Id.
manager.   B8&at68§i8J6.1(b).
                         B9N8QB88The
                                  )9488      R544>4'68gives
                                        LLC Agreement          R/04A8,8
                                                                      ML $4    6&/28the
                                                                           Retail   6948sole
                                                                                         A7248power
                                                                                               @7=458to678
54>7048&a8manager
remove     >&'&R458and  &'(8appoint
                             &@@7/'68&any '38successor.
                                             A1??4AA75B88Id.
                                                           B8
     c93.YBU The
             )9488          R544>4'68gives
                      LLC Agreement         R/04A8the
                                                   6948Manager
                                                        ,&'&R458broad857&(8powers:
                                                                           @7=45AT8
     6.1l Manager
             Lqyqrsp(a).     ql8)9
                                  The4 8management
                                        >&'&R4>4'68of7:8the6948Company
                                                                    7>@&'38shall
                                                                            A9&228be48vested
                                                                                        04A64(84entirely
                                                                                                  '6/54238
             &'(84exclusively
                      X?21A/04238/in'8the
                                        6948Manager.
                                            ,&'&R45B8%Except
                                                          X?4@68as&A84expressly
                                                                       X@54AA238provided
                                                                                  @570/(4(8:for758in/'8this
                                                                                                       69/A8
                R544>4'68or758prohibited
                                   @579/8/64(8by838the6948Act,?6.8the
                                                                  6948,& '&R458shall
                                                                                  A9&228have
                                                                                         9&048the
                                                                                                6948:full,
                                                                                                        122.8
             and

             4exclusive
               X?21A/048and  &'(8unilateral
                                   1'/2&645&28power
                                                @7=458and &'(8authority
                                                                  &16975/638to678make
                                                                                 >&D48all &228decisions
                                                                                               (4?/A/7'A8
             Agreement                                                Manager

             &::4?6/'R8the  6948business
                                 81A/'4AA8&and'(8&affairs
                                                    ::&/5A8of7:8the
                                                                69487  >@&'3B8No 78,4    >8458acting
                                                                                                  &?6/'R8
             &A8A     1?98A   9&2289  &048&   '380   76/'R.8&approval,
                                                                 @@570&2.87or5 8>&   '&R4>4'685rights/R96A8
             affecting                                               Company.          Member

             =9&6A740458or758any   &'38authority
                                         &16975/638to678bind
                                                        8/'(8the69487 >@&'3.84except
                                                                                   X?4@68as&A84expressly
                                                                                                X@54AA238
             as     such    shall    have    any   voting,                       management

             @570/(4(8:for758in/'8this
                                    69/A8Agreement
                                            R544>4'68or758the
                                                           6948Act.?6B8
             whatsoever                                              Company,
             provided

     8      R544>4'68§i86.1(a),
      LLC Agreement             JB9N&Q.8Bellew
                                         C4224=8Decl.,
                                                  <4?2B.8%XEx.B  8A.B8
       c94.HBU Additionally,
                  ((/6/7'&223.8the69488        R544>4'68gives
                                        LLC Agreement          R/04A8the6948,&   '&R458the
                                                                             Manager     6948power
                                                                                                @7=458to678
&@@7/'68&and
appoint      '(8remove
                54>7048officers
                          7::/?45A8of7:8the6948Company
                                                  7>@&'38and  &'(8to678determine
                                                                          (4645>/'48when
                                                                                      =94'8to678make>&D48
(/A65/816/7'A8to678members.
distributions      >4>845AB88Id. B8at&68§§
                                          ii8\58&and
                                                  '(86.1(c).
                                                      JB9N?QB8
       c95.\BU The
               )9488        R544>4'68then
                     LLC Agreement         694'82limits
                                                   />/6A8the
                                                          6948powers
                                                               @7=45A8of7:8the
                                                                            6948individual
                                                                                /'(/0/(1&28members:
                                                                                               >4>845AT8
       l Rights
               tr{|unorpPowers.
                              MnspulThe  )948Members
                                                ,4>845A8shallA9&228not
                                                                    '768have
                                                                         9&048any
                                                                               &'38right
                                                                                    5/R968or758power
                                                                                                 @7=458to678
               6&D48part
                     @&568in/'8the
                               6948management
                                    >&'&R4>4'68or758?control
                                                           7'65728of7:8the
                                                                       69487  >@&'38or758its/6A8business
                                                                                                 81A/'4AA8
       7.1

               &'(8&affairs
                       ::&/5A87  or586  78&  ?68:for7587or5
                                                          88  /'(86   9487   >@&'38/    '8&     '38=&   3B8
               take                                                        Company

               76=/69A6&'(/'R8the    6948:foregoing,
                                             754R7/'R.8the 6948Members
                                                                ,4>845A8have 9&048all
                                                                                   &228the
                                                                                       6948rights
                                                                                               5/R96A8&and
                                                                                                        '(8
               and                   to    act               bind    the   Company      in     any   way.

               @7=45AB8
               Notwithstanding
               powers.
       8      R544>4'68at&68i§8̀B
        LLC Agreement                9.8C4
                                   7.1,     224=8<4
                                          Bellew       ?2B.8%X
                                                   Decl.,   Ex.B8A.B8
        c96.JBU The
                )9488 R544>4'68:further
                    LLC Agreement   1569458limits
                                           2/>/6A8the
                                                  6948members'
                                                      >4>845AW8voting
                                                               076/'R8rights:
                                                                      5/R96AT8
        8                                              Ec8
                                                       29
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        8
     l VotingKn|tyrRights.
                           tr{|ulNo   78,4     >8458has 9&A8any
                                                                &'38voting
                                                                      076/'R8rights
                                                                                5/R96A84except
                                                                                         X?4@68as&A8otherwise
                                                                                                         76945=/A48
               @570/(4(8in/'8this 69/A8Agreement
                                           R544>4'68and   &'(8with
                                                                =/698respect
                                                                        54A@4?68to678the
                                                                                      6948:following,
                                                                                             7227=/'R.8which =9/?98
        7.2                                  Member

               A9&228require
                       54]1/548the 6948Approval
                                           @@570&28of7:8the
                                                          6948Members:
                                                                ,4>845AT8
               provided
               shall

     N&Q8 any
     (a)       &'38?conversion
                       7'045A/7'8of7:8the  6948Company
                                               7>@&'38to678any   &'38other
                                                                         7694584entity;
                                                                                  '6/63e8or758
     N8Q8 any  &'38merger
                      >45R458of7:8the 6948Company
                                             7>@&'38with  =/698or758into
                                                                       /'678any
                                                                              &'38other
                                                                                    7694584entity
                                                                                              '6/638that69&68is/A8not
                                                                                                                   '768
               A18d4?68to678&a8Drag
                                  <5&R8Transaction;
                                          )5&'A&?6/7'e8and   &'(888
     (b)
               subject
               /'84each
                     &?98?case,
                             &A4.8such
                                    A1?98Approval
                                              @@570&28of7:8the6948Members
                                                                   ,4>845A8shall  A9&228only
                                                                                        7'238be848required
                                                                                                     54]1/54(8in/'8
               69484event
                      04'68such
                             A1?98?conversion
                                      7'045A/7'8or758merger
                                                         >45R458would=712(8divest
                                                                             (/04A68or758diminish
                                                                                           (/>/'/A98the  6948rights
                                                                                                             5/R96A8
               in

               7:.87  or587     6945=/A48(       /A@57@756/7'&64238(           /A&(0&'6&R487       or5  81  ':&/5238
               the

               (/A?5/>/'&648against,&R&/'A6.8any&'38Member,
                                                        ,4>845.8with   =/698respect
                                                                               54A@4?68to678that69&68Member's
                                                                                                         ,4>845A8
               of,            otherwise        disproportionately            disadvantage                  unfairly

               ,4>845A9/@8Interests'6454A6A8in/'85relation
                                                     42&6/7'8to678other
                                                                   769458Membership
                                                                           ,4>845A9/@8Interests
                                                                                              '6454A6A8having
                                                                                                            9&0/'R8
               discriminate

               A/>/2&585rights,
                            /R96A.8or758/increase
                                          '?54&A48the 6948liabilities
                                                           2/&8/2/6/4A8or758obligations
                                                                            782/R&6/7'A8of7:8any &'38Member.
                                                                                                         ,4>845B8
               Membership
               similar

     8        R544>4'68at&68§7.2,
      LLC Agreement                i`BE.8Bellew
                                           C4224=8Decl.,
                                                       <4?2B.8%XEx.B 8A.B8
     c97.`BU The
               )9488            R544>4'68discusses
                       LLC Agreement              (/A?1AA4A8the  6948duties
                                                                         (16/4A8and&'(8obligations
                                                                                         782/R&6/7'A8of7:8the      6948
,&'&R458stating:
Manager    A6&6/'RT8
     6.2l Duties
               o|tsuqand   yObligations
                                  xtrq|tnyunofwthe    |{sLq     yqrspDiscretion.
                                                              Manager;       tuvps|tnyl
     N&Q8 In'82lieu/418of7:8any
                             &'38duty
                                    (1638(including
                                           N/'?21(/'R8:fiduciary
                                                            /(1?/&538duties)
                                                                        (16/4AQ8imposed
                                                                                  />@7A4(8on   7'8the
                                                                                                   6948,&     '&R458
               758&any
                     '38,4    >845A8in/'8acting
                                             &?6/'R8as&A8&a8Manager
                                                             ,&'&R458by   838the
                                                                              6948Act?68or758otherwise
                                                                                             76945=/A48at&68law   2&=8
     (a)                                                                                                  Manager

               7584equity,
                     ]1/63.8the
                              6948sole
                                    A7248duty
                                           (1638of7:8the
                                                      6948,&    '&R458or758any
                                                                            &'38such
                                                                                  A1?98Member
                                                                                        ,4>8458shall    A9&228be848to678
               or        Members

               ?comply
                 7>@238with=/698the6948terms
                                        645>A8of7:8this
                                                      69/A8Agreement,
                                                               R544>4'6.8and &'(8the
                                                                                   6948Manager
                                                                                        ,&'&R458(including
                                                                                                        N/'?21(/'R8
               or                                          Manager

               &'38Former
                     ;75>458Manager)
                                  ,&'&R45Q8or758any  &'38such
                                                           A1?98,4     >8458shall
                                                                               A9&228not
                                                                                      '768have
                                                                                            9&048or758/incur
                                                                                                          '?158&any '38
               2/&8/2/638to678the69487    >@&'38or758to678any &'38,4     >8458relating
                                                                                   542&6/'R8thereto,
                                                                                               6945467.84except
                                                                                                              X?4@68
               any                                                Member

               =94548the6948?claim
                                 2&/>8at&68issue
                                            /AA148is/A8based
                                                       8&A4(8on 7'8the
                                                                     6948,/  A?7'(1?68of7:8suchA1?98*Person.
                                                                                                          45A7'B8
               liability               Company                        Member

     8
               where                                                      Misconduct

     N8Q88!Subject18d4?68to678the
                               6948:foregoing
                                     754R7/'R8but  8168notwithstanding
                                                        '76=/69A6&'(/'R8any     &'38other
                                                                                     769458provision
                                                                                              @570/A/7'8of7:8this 69/A8
     (b)
                  R544>4'68to678the   6948?contrary
                                              7'65&538or758other
                                                               769458&applicable
                                                                         @@2/?&8248provision
                                                                                       @570/A/7'8of7:8law   2&=8or758
               4equity,
                 ]1/63.8whenever
                           =94'40458in/'8this   69/A8Agreement
                                                           R544>4'68a&8,&         '&R458or758an&'8:       :/?458is/A8
               Agreement

               @45>/664(8or758required
                                  54]1/54(8to678make
                                                  >&D48&a8decision
                                                              (4?/A/7'8or758take
                                                                             6&D48&an'8action
                                                                                       &?6/7'8(i)N/Q8in/'8his
                                                                                                          9/A8"sole
                                                                                                                OA7248
                                                                             Manager                    Officer

               (/A?546/7'P8or758"discretion"
                                      O(/A?546/7'P8or758under 1'(458a&8similar
                                                                          A/>/2&58grant
                                                                                     R5&'68of7:8&authority
                                                                                                     16975/638or758
               permitted

               2&6/61(4.8in/'8making
                                 >&D/'R8such A1?98decisions
                                                     (4?/A/7'A8or758taking
                                                                       6&D/'R8such
                                                                                 A1?98&actions,
                                                                                           ?6/7'A.8he948shall
                                                                                                           A9&228be848
               discretion"

               4entitled
                 '6/624(8to678take
                               6&D48into
                                      /'678account
                                             &??71'68his 9/A8own
                                                              7='8/interests
                                                                      '6454A6A8as&A8well
                                                                                     =4228as&A8the
                                                                                                6948interests
                                                                                                     /'6454A6A8of7:8
               latitude,

               6948,4
               the         >845A8&asA8a&8whole
                     Members                  =97248or758(ii)N//Q8in/'8"good
                                                                       OR77(8:faith"
                                                                                   &/69P8or758under
                                                                                                 1'(458another
                                                                                                           &'769458

        8                                                    YF8
                                                             30
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        8
               4expressed
                  X@54AA4(8standard,
                             A6&'(&5(.89he48shall
                                             A9&228act
                                                     &?68under
                                                          1'(458such
                                                                   A1?984express
                                                                          X@54AA8standard
                                                                                  A6&'(&5(8&and    '(8shall
                                                                                                        A9&228
               '768be848subject
                        A18d4?68to678&any
                                       '38other
                                           769458or758different
                                                       (/::454'68standard.
                                                                   A6&'(&5(B8
       8
               not

       8      R544>4'68at&68J6.2,
        LLC Agreement            BE.8Bellew
                                      C4224=8Decl.,
                                                <4?2B.8%XEx.B8A.B8
       c98.IBU The
               )9488       R544>4'68defines
                      LLC Agreement        (4:/'4A8Misconduct
                                                      ,/A?7'(1?68as&A8"fraud,
                                                                         O:5&1(.8breach
                                                                                 854&?98of7:8:fiduciary
                                                                                                   /(1?/&538
(163.8bad
duty, 8&(8:faith,
             &/69.8&a8knowing
                      D'7=/'R8violation
                                 0/72&6/7'8of7:8law
                                                 2&=8or758willful
                                                           =/22:128misconduct."
                                                                     >/A?7'(1?6BP88Id.B8at&68p.@B8\5.B8
       c99.cBU When
               a94'8it/68?comes
                            7>4A8to678limiting
                                        2/>/6/'R8the6948duties
                                                         (16/4A8of7:8the
                                                                      6948officers
                                                                          7::/?45A8of7:8the
                                                                                        69487       >@&'3.8
                                                                                              Company,

6948agreement
the &R544>4'68is/A8silent
                     A/24'68&and
                              '(8has
                                 9&A8no'78such
                                           A1?98limiting
                                                  2/>/6/'R8language.
                                                             2&'R1&R4B8
       9FFBU)9
       100.    The4  88    R544>4'68lists
                      LLC Agreement        2/A6A8the
                                                 6948officers
                                                       7::/?45A8of7:8the
                                                                     6948Company
                                                                         7>@&'38&asA8:follows:
                                                                                          7227=AT8
                 wwtvs
                 Office                                 q~s
                                                     Name

                 9  &/5>&'V%8
                  Chairman/CEO                       ,&   5?1A8Lemonis
                                                     Marcus    4>7'/A8
                 *President
                   54A/(4'68                         !Stephanie
                                                       64@9&'/48,4      'D/'8
                                                                   Menkin

                 9  /4:8Financial
                  Chief  ;/'&'?/&28:    :/?458 Manish
                                      Officer         ,&'/A98-&Karna5'&8
         8     R544>4'68at&68!Schedule
         LLC Agreement             ?94(1248A,.8C4       224=8Decl.,
                                                     Bellew   <4?2B.8Ex.
                                                                      %XB8A.B8
         9F9BU)9
         101.     The488     R544>4'68selected
                       LLC Agreement           A424?64(8ML ,8$4    6&/28as&A8the
                                                                 Retail       6948"tax
                                                                                    O6&X8matters
                                                                                         >&6645A8partner,"
                                                                                                    @&56'45.P8
&'(8gave
and   R&048/it68the
                6948sole
                    A7248power
                         @7=458to678"make
                                     O>&D48any  &'38and&'(8all
                                                           &2284elections
                                                                 24?6/7'A8:for758:federal,
                                                                                   4(45&2.8state,
                                                                                           A6&64.82local,
                                                                                                    7?&2.8and
                                                                                                          &'(8
:foreign
  754/R'8tax
           6&X8purposes...."
                @15@7A4ABP88(Id.NB8at&68i§88.)
                                              IBQ88Indeed,
                                                     '(44(.8!Section
                                                               4?6/7'88I8of7:8the
                                                                              69488     R544>4'68gives
                                                                                   LLC Agreement       R/04A8
,8$4
ML        6&/28sole
      Retail   A7248&and
                      '(8broad
                         857&(8power
                                  @7=458over 70458ML ,8Fashion's
                                                         ;&A9/7'WA8tax6&X8matters.
                                                                            >&6645AB88(Id.)
                                                                                        NBQ8
         9FEBU4
         102.        >7'/A8as&A8the
                  Lemonis       6948,&
                                    Manager '&R458&and'(8Chairman/CEO
                                                         9&/5>&'V%8of7:8the      69487 >@&'38and
                                                                                        Company      &'(8,8
                                                                                                          ML

$4  6&/2.8owner
Retail,   7='458of7:8the
                       6948most
                           >7A68powerful
                                   @7=45:128membership
                                                  >4>845A9/@8share A9&548of7:8the
                                                                                69487   >@&'3.8:formed
                                                                                      Company,      75>4(8a&8


        8                                               Y98
                                                        31
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        8
?control
  7'65728group
          R571@8due   (148to678their
                                   694/58significant
                                          A/R'/:/?&'68voting
                                                          076/'R8power
                                                                     @7=458?coupled
                                                                                71@24(8with
                                                                                         =/698their
                                                                                                 694/58:formidable
                                                                                                           75>/(&8248
>&'&R45/&28power
managerial      @7=458("ML    NO,8Control
                                       7'65728"5     71@PQB8
                                                  Group").

        9FYBUC3
        103.       By8      0/56148of7:8being
                            virtue        84/'R8&a8?control
                                                        7'65728group,
                                                                  R571@.8the  6948,8
                                                                                   ML 7     '65728"5
                                                                                         Control      Group71@8owes
                                                                                                                7=4A8
:fiduciary
  /(1?/&538duties
            (16/4A8to678the    69487   >@&'3.8"7
                                    Company,           154&1.8and
                                                   Goureau,     &'(8,4      'D/'B8
                                                                       Menkin.

        9FHBU%0
        104.              4'61&223.8Lemonis
                   Eventually,          4>7'/A8sought
                                                     A71R968to678transfer
                                                                    65&'A:458the6948&assets
                                                                                      AA46A8of7:8"7   7845538to678&an'8
                                                                                                  Gooberry

4entity
  '6/638?called
          &224(8MLG ,"8$4          6&/2.88
                                 Retail,           NO,"8$4
                                           LLC ("MLG             6&/2PQB88MLG
                                                             Retail").        ,"8$4     6&/28is/A8owned
                                                                                      Retail       7='4(8by   838,8
                                                                                                                  ML

;&A9/7'8and
Fashion    &'(8ML   ,8Fashion;&A9/7'8is/A8MLG
                                            ,"8Retail's
                                                      $46&/2WA8manager.
                                                                 >&'&R45B88)5        &'A:455/'R8the
                                                                                  Transferring      6948&assets
                                                                                                            AA46A8and
                                                                                                                   &'(8
7@45&6/7'A8of7:8Gooberry
operations            "77845538to678MLG     ,"8Retail$46&/28would
                                                               =712(8have 9&048:finally
                                                                                   /'&2238given
                                                                                            R/04'84      >7'/A8the
                                                                                                      Lemonis       6948
?complete,
  7>@2464.8unfettered
               1':466454(8?control  7'65728over
                                             70458"7     7845538that
                                                     Gooberry       69&68he948wanted.
                                                                               =&'64(B88While
                                                                                          a9/248Lemonis
                                                                                                     4>7'/A8was  =&A8
A1??4AA:128/in'8transferring
successful           65&'A:455/'R8some    A7>48of7:8"7     784553WA8&assets
                                                       Gooberry's         AA46A8to678,"8
                                                                                      MLG $4      6&/2.8he948did
                                                                                             Retail,          (/(8not
                                                                                                                   '768
65&'A:458&all228of7:8its/6A8&assets,
transfer                      AA46A.8such
                                      A1?98as&A8the
                                                 6948$1  '=&38brand,
                                                      Runway     85&'(.8to678MLG,"8$4     6&/2B8
                                                                                        Retail.

        9F\BU4
        105.              04569424AA.84
                   Nevertheless,              >7'/A.8,8
                                           Lemonis,      ML $4       6&/2.8&and
                                                               Retail,       '(8ML,
                                                                                  ,.88
                                                                                        LLC began84R&'8operating
                                                                                                            7@45&6/'R8
,"8$4
MLG         6&/28under
         Retail      1'(458,8           ;&A9/7'8to678run
                                  ML Fashion             51'8several
                                                               A4045&28of7:8ML   ,8Fashion's
                                                                                       ;&A9/7'WA8retail
                                                                                                      546&/28stores.
                                                                                                               A6754AB88
4  >7'/A8also
 Lemonis    &2A78set A468up  1@8a&8similar
                                   A/>/2&58?credit
                                               54(/68structure
                                                      A651?61548between
                                                                  846=44'8MLG  ,"8$4     6&/28&and
                                                                                       Retail     '(8ML
                                                                                                      ,8Fashion.
                                                                                                             ;&A9/7'B88
'
On8  ?67845891,.82016,
     October          EF9J.8MLG   ,"8$4      6&/28and
                                           Retail   &'(8,8    ;&A9/7'84entered
                                                         ML Fashion          '6454(8into
                                                                                      /'678&a85  4(/68Agreement
                                                                                               Credit       R544>4'68
=9454838MLG
whereby     ,"8$4             6&/28?could
                           Retail     712(8borrow
                                              87557=8up  1@8to678[$10,000,000
                                                                      9F.FFF.FFF8:from57>8,8       ;&A9/7'8&at68an&'8
                                                                                             ML Fashion

/'6454A68rate
interest  5&648of7:8̀B7.5%  \^8per@458annum.
                                       &''1>B8
        9FJBU:
        106.       Of8    ?course,
                            715A4.8ML,8Fashion's
                                           ;&A9/7'WA8&ability
                                                          8/2/638to678loan
                                                                       27&'8:funds
                                                                              1'(A8to678MLG
                                                                                        ,"8$Retail46&/28?came
                                                                                                            &>48:from
                                                                                                                  57>8
/6A8own
its 7='8?credit
            54(/68agreement
                      &R544>4'68with     =/698ML,
                                                ,.8B
                                                       LLC.8   8Thus,
                                                                 )91A.8as&A84explained
                                                                                 X@2&/'4(8below,
                                                                                            8427=.8when=94'8MLG ,"8


        8                                                   YE8
                                                            32
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        8
$4 6&/28drew
 Retail  (54=8on7'8its/6A82line
                            /'48of7:8?credit
                                       54(/68:from
                                               57>8ML   ,8Fashion,
                                                              ;&A9/7'.8it/68was =&A8really
                                                                                      54&2238drawing
                                                                                                (5&=/'R8:from
                                                                                                            57>8
4 >7'/A8&and
 Lemonis      '(8ML,
                 ,.8BLLC.8

               lm Lemonis
                         s~nytuLt        u~qyqrsuML        Lq     u{tnyAnd  yUses
                                                                                     usuIt|n   Forp
               MspunyqxGain  kqty
               D.                      Mismanages                Fashion
               Personal
        9F`BUAsA8detailed
        107.         (46&/24(8above,
                                &8704.8the69488         R544>4'68gave
                                               LLC Agreement            R&0484    >7'/A84enormous
                                                                                Lemonis      '75>71A8power
                                                                                                         @7=458
70458ML
over  ,8Fashion.
            ;&A9/7'B884     >7'/A8used
                          Lemonis      1A4(8this
                                             69/A8power
                                                   @7=458to678mismanage
                                                                   >/A>&'&R48ML    ,8Fashion
                                                                                        ;&A9/7'8in/'8order
                                                                                                       75(458to678
84'4:/68himself,
benefit   9/>A42:.8ML,8$4     6&/2.8and
                            Retail,  &'(8ML,
                                           ,.8B
                                                 LLC.8

        9FIBU4
        108.       >7'/AW8misconduct
                Lemonis'       >/A?7'(1?68often7:64'8related
                                                          542&64(8to678?credit
                                                                         54(/68agreements
                                                                                 &R544>4'6A8and  &'(8loans
                                                                                                      27&'A8he948
>&(48to678the
made       69487  >@&'38through
                Company       69571R984entities
                                           '6/6/4A8he948?controlled.
                                                            7'657224(B88Indeed,
                                                                          '(44(.8the6948very
                                                                                          04538day(&38that
                                                                                                       69&68,8
                                                                                                             ML

;&A9/7'8was
Fashion    =&A8:formed,
                 75>4(.8/it684entered
                                '6454(8/into
                                          '678a&8Credit
                                                 54(/68Agreement
                                                               R544>4'68with=/698ML,8Retail.
                                                                                         $46&/2B88See
                                                                                                   8C4   224=8
                                                                                                        Bellew

<4?2B8Ex.
Decl.   %XB8B.CB88Under
                    #'(458this 69/A8Credit
                                      54(/68Agreement,
                                                  R544>4'6.8ML     ,8Fashion
                                                                          ;&A9/7'8?could712(8receive
                                                                                                54?4/048up1@8to678
[$30,000,000
  YF.FFF.FFF8in/'8loans
                    27&'A8:from
                              57>8ML,8$4     6&/28at&68a&8rate
                                          Retail           5&648of7:86%
                                                                     J^8interest
                                                                          /'6454A68per
                                                                                     @458&annum.
                                                                                            ''1>B884    >7'/A8
                                                                                                      Lemonis

54@54A4'64(8that
represented    69&68this
                      69/A8Credit
                             54(/68Agreement
                                        R544>4'68would =712(8provide
                                                                @570/(48ML  ,8Fashion
                                                                                   ;&A9/7'8with
                                                                                              =/698a&8reliable
                                                                                                        542/&8248
A715?48of7:8?capital
source        &@/6&28that
                      69&68would
                             =712(8be848used
                                         1A4(8to678:fund
                                                       1'(8the
                                                             69487   >@&'3B8
                                                                   Company.

        9FcBUa9
        109.    While/248the
                          6948&agreement
                                R544>4'68is/A8signed
                                                A/R'4(8by   838Menkin,
                                                                ,4'D/'.8the 6948decision
                                                                                  (4?/A/7'8:for758,8  ;&A9/7'8
                                                                                                  ML Fashion

6784enter
to   '6458into
           /'678the
                 6948Credit
                       54(/68Agreement
                                   R544>4'68was =&A8solely
                                                         A7242384   >7'/AW8decision.
                                                                 Lemonis'        (4?/A/7'B884    >7'/A8often
                                                                                              Lemonis      7:64'8
1A4(8,Menkin
used     4'D/'8to678sign
                    A/R'8documents
                           (7?1>4'6A8on   7'8ML
                                              ,8Fashion's
                                                      ;&A9/7'WA8behalf49&2:8to678attempt
                                                                                 &664>@68to678add
                                                                                              &((8legitimacy
                                                                                                    24R/6/>&?38
678his
to  9/A8&actions.
          ?6/7'AB88However,
                     +7=4045.8he948would =712(8often
                                                   7:64'8have9&048his9/A8attorney
                                                                          &6675'438sendA4'(8packages
                                                                                              @&?D&R4A8with =/698
91'(54(A8of7:8pages
hundreds        @&R4A8and&'(8several
                               A4045&28documents
                                         (7?1>4'6A8to678her    9458with
                                                                     =/698the
                                                                           6948/instruction
                                                                                  'A651?6/7'8to678sign
                                                                                                    A/R'8them.
                                                                                                          694>B88
,4'D/'8trusted
Menkin     651A64(84    >7'/A8&and
                     Lemonis        '(8his
                                        9/A8attorney
                                             &6675'438and   &'(8simply
                                                                 A/>@238signed
                                                                           A/R'4(8all&228of7:8the
                                                                                              6948documents
                                                                                                    (7?1>4'6A8
69438presented.
they  @54A4'64(B8
        8                                                YY8
                                                         33
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        8
         99FBU7'?1554'68=/69869484X4?16/7'87:8694854(/68R544>4'6.8,8;&A9/7'8
        110. Concurrent with the execution of the Credit Agreement, ML Fashion

&'(8ML
and   ,8$4     6&/284entered
             Retail    '6454(8into
                                /'678a&8!Security
                                           4?15/638Agreement.
                                                        R544>4'6B88See  8Bellew
                                                                             C4224=8<4 Decl.?2B8%XEx.B8BC.88The
                                                                                                             )948
!Security
   4?15/638Agreement
               R544>4'68gaveR&048ML ,8$4   6&/28&a8?continuing
                                         Retail       7'6/'1/'R8security
                                                                     A4?15/638interest
                                                                                /'6454A68/in'84essentially
                                                                                                AA4'6/&2238&all228
7:8ML
of  ,8Fashion's
          ;&A9/7'WA8assets.
                        &AA46AB88Id.
                                   B888
         999BUAlso
         111.       2A78on
                         7'8,&March5?9829,
                                        Ec.82016,
                                            EF9J.8,8ML $4     6&/284entered
                                                           Retail     '6454(8into
                                                                               /'678&a8Credit
                                                                                       54(/68Agreement
                                                                                                     R544>4'68
&'(8a&8!Security
and        4?15/638Agreement
                        R544>4'68with=/698Defendant
                                            <4:4'(&'68ML,  ,.88       N?7224?6/0423.8the
                                                                   LLC (collectively,        6948"ML,
                                                                                                   O,.8LLC 8
5  4(/68Agreements").
Credit      R544>4'6APQB88See  hBellew
                                     C4224=8Decl.
                                              <4?2B8%X     AB8%8
                                                        Exs.      &'(8F.;B88)9
                                                              E and            4A48&agreements
                                                                            These    R544>4'6A8mirrored
                                                                                                      >/55754(8
6948Credit
the  54(/68Agreement
                 R544>4'68&and  '(8!Security
                                       4?15/638Agreement
                                                   R544>4'68that  69&68ML
                                                                       ,8Fashion
                                                                              ;&A9/7'84entered
                                                                                          '6454(8into/'678with
                                                                                                            =/698
,8$4
ML        6&/28only
      Retail   7'238now
                      '7=8ML,8$4     6&/28was
                                   Retail  =&A8the
                                                6948borrower
                                                      87557=458and  &'(8ML,
                                                                         ,.88     =&A8the
                                                                                LLC was       69482lender.
                                                                                                    4'(45B88Id.
                                                                                                              B88
)9  1A.8whenever
Thus,    =94'40458,8         ;&A9/7'8drew
                        ML Fashion       (54=8on7'8its/6A8line
                                                          2/'48of7:8?credit
                                                                      54(/68with
                                                                             =/698,8
                                                                                    ML $4      6&/2.8it/68was
                                                                                         Retail,          =&A8in/'8
54&2/638drawing
reality   (5&=/'R8:from57>8ML,
                            ,.8.LLC,8  a&
                                            84 >7'/A8?controlled
                                             Lemonis        7'657224(8non-member.
                                                                         '7'G>4>845B8
         99EBU)9
         112.    This/A8arrangement
                         &55&'R4>4'68gave  R&0484    >7'/A8the
                                                   Lemonis      6948power
                                                                      @7=458to678:funnel
                                                                                    1''428his  9/A8predatory
                                                                                                     @54(&67538
24'(/'R8practices
lending     @5&?6/?4A8through
                         69571R98ML, ,.88
                                           LLC who=978was =&A8not
                                                                '768a&8member
                                                                         >4>8458of7:8,8        ;&A9/7'8or758&a8
                                                                                        ML Fashion

A/R'&67538on
signatory     7'8the
                 69488       R544>4'6B884
                       LLC Agreement.             >7'/A8attempted
                                              Lemonis       &664>@64(8to678shield
                                                                             A9/42(8his
                                                                                     9/A8lending
                                                                                         24'(/'R8:from   57>8the
                                                                                                              6948
:fiduciary
  /(1?/&538duties
             (16/4A8that
                      69&68an&'8ML
                                ,8Fashion
                                       ;&A9/7'8member
                                                 >4>8458and   &'(8LLC
                                                                    8Agreement
                                                                             R544>4'68signatory
                                                                                          A/R'&67538would =712(8
9&048otherwise
have   76945=/A48had. 9&(B884     >7'/A8?could
                              Lemonis       712(8now
                                                   '7=8:foreclose
                                                            754?27A48on  7'8ML
                                                                             ,8Fashion,
                                                                                   ;&A9/7'.8through
                                                                                                 69571R98,8 ML

$4  6&/2.8without
 Retail,  =/697168regard
                     54R&5(8to678&any
                                    '38membership
                                        >4>845A9/@8obligations
                                                         782/R&6/7'A8,8 ML $4    6&/28may
                                                                               Retail  >&389have &048had.
                                                                                                        9&(B8
         99YBU)9
         113.        4548?can&'8be848no
                 There                '78doubt
                                          (71868that
                                                  69&68this
                                                         69/A8:funding
                                                                 1'(/'R8&arrangement
                                                                             55&'R4>4'68was    =&A8set
                                                                                                     A468up1@8to678
69=&568:fiduciary
thwart      /(1?/&538duties,
                         (16/4A.8obligations
                                    782/R&6/7'A81under'(458the69488         R544>4'6.8and
                                                                    LLC Agreement,             &'(8potential
                                                                                                      @764'6/&28


        8                                                 YH8
                                                          34
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        8
?creditors.
  54(/675AB88)9
              This /A8is/A8just
                            d1A68one7'484example
                                           X&>@248of7:8Defendants
                                                          <4:4'(&'6A8using  1A/'R8the6948:fraudulent
                                                                                           5&1(124'68?corporate
                                                                                                           75@75&648
A651?61548to678perpetrate
structure       @45@465&648:fraud   5&1(8&against
                                           R&/'A68*Plaintiffs.
                                                      2&/'6/::AB88
         99HBU)7
         114.        R46945.8these
                 Together,         694A48agreements
                                           &R544>4'6A8?combined
                                                            7>8/'4(8gave R&048<4       :4'(&'6A8the
                                                                                   Defendants        6948unfettered
                                                                                                         1':466454(8
&8/2/638to678misuse
ability      >/A1A48the    6948assets
                                 &AA46A8of7:8,8       ;&A9/7'B88Again,
                                                ML Fashion.             R&/'.8the 69488         R544>4'68gave
                                                                                        LLC Agreement          R&048
4  >7'/A8the
 Lemonis    6948sole
                 A7248power
                         @7=458to678run 51'8the
                                             6948operations
                                                 7@45&6/7'A8of7:8,8     ;&A9/7'B88)9
                                                                     ML Fashion.            1A.84
                                                                                         Thus,        >7'/A8:forced
                                                                                                  Lemonis     75?4(8
,8Fashion
ML    ;&A9/7'8to678buy
                     8138&assets,
                              AA46A.8leaving
                                        24&0/'R8it/68unable
                                                     1'&8248to678meet
                                                                    >4468its/6A8?current
                                                                                  1554'68obligations,
                                                                                          782/R&6/7'A.8and&'(8then
                                                                                                                694'8
:forced
  75?4(8ML
         ,8Fashion
              ;&A9/7'8to678take 6&D48a&8loan
                                          27&'8:from
                                                 57>8ML ,8$4     6&/28which
                                                             Retail    =9/?98would=712(8then
                                                                                          694'8take
                                                                                                 6&D48&a8loan
                                                                                                         27&'8:from
                                                                                                                57>8
,.8B
ML,    LLC.8  8%0   4'61&223.8he948?could
                Eventually,               712(85render
                                                  4'(458ML,8Fashion
                                                                  ;&A9/7'8insolvent
                                                                               /'A7204'68such
                                                                                           A1?98that69&68ML,
                                                                                                         ,.88
                                                                                                               LLC

?could
  712(8:foreclose
         754?27A48on  7'8all&228of7:8the
                                      6948assets
                                          &AA46A8owned
                                                   7='4(8by 838,8     ;&A9/7'B8
                                                                  ML Fashion.

         99\BU
         115.     '(44(.8as&A8of7:8February
                 Indeed,                 ;4851&5382020,
                                                      EFEF.8,8       ;&A9/7'WA82line
                                                              ML Fashion's             /'48of7:8?credit
                                                                                                   54(/68with
                                                                                                          =/698ML,8
$4  6&/28had
 Retail  9&(8an&'8outstanding
                   716A6&'(/'R8balance  8&2&'?48of7:8nearly
                                                      '4&5238Twelve
                                                                 )=42048Million
                                                                            ,/22/7'8Dollars,
                                                                                        <722&5A.8:far&584exceeding
                                                                                                          X?44(/'R8
,8Fashion's
ML    ;&A9/7'WA8&assets
                     AA46A8of7:85roughly
                                     71R9238Five
                                              ;/048Million
                                                     ,/22/7'8<Dollars.
                                                                   722&5AB8Further,
                                                                              ;156945.8as&A8of7:82018,
                                                                                                 EF9I.8ML,8$4   6&/28
                                                                                                             Retail

9&(8made
had   >&(48nearly
             '4&5238[$500,000
                          \FF.FFF8in/'8interest
                                            /'6454A68:from
                                                        57>8/its6A8loans
                                                                   27&'A8to678ML,8Fashion.
                                                                                     ;&A9/7'B8
         99JBU4
         116.        >7'/A.8acting
                 Lemonis,          &?6/'R8on7'8his
                                                9/A8behalf
                                                     849&2:8and
                                                              &'(8:for758,8
                                                                         ML Retail$46&/28and
                                                                                           &'(8,.ML,8  .8used
                                                                                                        LLC,   1A4(8
9/A8power
his  @7=458to678grow
                 R57=8ML  ,8Fashion's
                                 ;&A9/7'WA8debts(486A8to678himself
                                                           9/>A42:8and &'(8his9/A84entities
                                                                                    '6/6/4A8a&8number
                                                                                                '1>8458of7:8times.
                                                                                                             6/>4AB88
4  >7'/A8was
 Lemonis    =&A8only
                   7'238interested
                           /'6454A64(8in/'8growing
                                              R57=/'R8his 9/A8personal
                                                              @45A7'&28brand  85&'(8and
                                                                                      &'(8his
                                                                                           9/A8television
                                                                                                 64240/A/7'8show.
                                                                                                              A97=B88
4  >7'/A8would
 Lemonis    =712(8often
                      7:64'8use 1A48the6948businesses
                                           81A/'4AA4A8:featured
                                                           4&6154(8on  7'8"The
                                                                            O)948*Profit"
                                                                                      57:/6P8to678boost
                                                                                                  877A68his
                                                                                                         9/A8image
                                                                                                             />&R48
&'(8&add
and    ((8debt
           (4868to678ML
                      ,8Fashion.
                             ;&A9/7'B888
         99`BU:
         117.        64'8"The
                 Often       O)948Profit"
                                        *57:/6P8would
                                                  =712(8showA97=8Lemonis
                                                                      4>7'/A8helping942@/'R8needy'44(38business
                                                                                                          81A/'4AA8
7='45A8by
owners     8385renovating
                4'70&6/'R8their    694/58stores
                                          A6754A8or758:finding
                                                        /'(/'R8buyers
                                                                   81345A8:for758their
                                                                                   694/58products.
                                                                                          @57(1?6AB88However,
                                                                                                         +7=4045.8

        8                                                  Y\8
                                                           35
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        8
 />@570/'R8697A4881A/'4AA4A8=&A8'7684>7'/AW8/'64'6/7'A.85&69458948=&A81A/'R8,8
improving those businesses was not Lemonis' intentions, rather he was using ML

 ;&A9/7'8to678pay
Fashion          @&38:for758those
                              697A48renovations
                                       54'70&6/7'A8&and
                                                      '(82large
                                                              &5R48purchases
                                                                     @15?9&A4A8as&A8a&8means
                                                                                        >4&'A8to678strap
                                                                                                    A65&@8it/68with
                                                                                                               =/698
 >7548debt.
more    (486B8
          99IBU4
          118.           >7'/A85
                     Lemonis          4@54A4'64(86
                                     represented     78*
                                                    to     2&/'6/::A86
                                                          Plaintiffs      9&686
                                                                         that     9488
                                                                                the     1A/'4AA4A86
                                                                                      businesses       9438=4
                                                                                                      they        548
                                                                                                               were

 /'04A6/'R8/
investing       in'86   9571R98,8;
                       through               &A9/7'8=4
                                     ML Fashion       were 548>&      D/'R8>7
                                                                 making      money'438&and
                                                                                         '(8=7     12(88
                                                                                               would     be4
                                                                                                           8R   77(8
                                                                                                              good

 /'04A6>4'6A8:for758ML
investments               ,8Fashion.
                                ;&A9/7'B884     >7'/A85represented
                                              Lemonis      4@54A4'64(8to678*Plaintiffs
                                                                                2&/'6/::A8that
                                                                                           69&68the
                                                                                                 6948strategy
                                                                                                      A65&64R38he948
 =&A84employing
was      >@273/'R8:for758ML     ,8Fashion
                                       ;&A9/7'8was=&A8how97=8he948built
                                                                      81/268&  >@/'R8World,
                                                                             Camping     a752(.8and &'(8that
                                                                                                          69&68his
                                                                                                                 9/A8
 >4697(A8would
methods       =712(8help  942@8make
                                 >&D48ML  ,8Fashion
                                                ;&A9/7'8become
                                                           84?7>48&asA8successful
                                                                            A1??4AA:128as&A8Camping
                                                                                              &>@/'R8World.
                                                                                                           a752(B88
 +7=4045.8as&A8discussed
However,             (/A?1AA4(8herein,
                                     9454/'.8the
                                              6948businesses
                                                  81A/'4AA4A84        >7'/A8:forced
                                                                   Lemonis      75?4(8ML,8Fashion
                                                                                              ;&A9/7'8to678invest
                                                                                                             /'04A68
 /'8were
in   =4548often
            7:64'8:failing
                        &/2/'R8and
                                &'(84    >7'A8used
                                       Lemons    1A4(8,8      ;&A9/7'8to678provide
                                                         ML Fashion           @570/(48an&'8influx
                                                                                            /':21X8of7:8?capital
                                                                                                          &@/6&28to678
 697A48businesses
those    81A/'4AA4A8by      838:forcing
                                 75?/'R8,8      ;&A9/7'8to678purchase
                                            ML Fashion            @15?9&A48their
                                                                              694/58/inventory
                                                                                      '04'67538and &'(8hire
                                                                                                        9/548their
                                                                                                               694/58
 @45A7''42B8
personnel.

          99cBU;
          119.         7584example,
                     For     X&>@24.8&a8November
                                           704>84582016  EF9J84episode
                                                                    @/A7(48of7:8the
                                                                                6948show
                                                                                     A97=8:featured
                                                                                             4&6154(8the6948brand
                                                                                                             85&'(8
 !Susan
   1A&'8Monaco,
          ,7'&?7.8and     &'(8on7'8the6948show,
                                          A97=.8the
                                                  6948parties
                                                      @&56/4A8reached
                                                                   54&?94(8a&8deal
                                                                                (4&28where
                                                                                       =945484    >7'/A8would
                                                                                                Lemonis     =712(8
 /'04A68[$600,000
invest      JFF.FFF8:for758\50%  F^8of7:8the
                                           6948business.
                                               81A/'4AAB88However,
                                                               +7=4045.8!Susan1A&'8Monaco
                                                                                     ,7'&?784ended'(4(8up1@8being
                                                                                                              84/'R8
a& 8huge
    91R48loss
           27AA8on7'8the6948ML,8Fashion
                                     ;&A9/7'8books.
                                               877DAB88In'8order
                                                               75(458to678put
                                                                          @168money
                                                                               >7'438/in'8the
                                                                                            6948!Susan
                                                                                                   1A&'8Monaco
                                                                                                          ,7'&?78
 81A/'4AA.8ML
business,      ,8Fashion;&A9/7'8had  9&(8to678buy
                                                8138&all228of7:8!Susan
                                                                   1A&'8,7    '&?7WA8old
                                                                          Monaco's      72(8inventory.
                                                                                              /'04'6753B88That )9&68
 /'04'67538was
inventory      =&A8a&82loss 7AA8:for758,8   ;&A9/7'8because
                                       ML Fashion     84?&1A48they   69438had
                                                                           9&(8to678sell
                                                                                    A4228what
                                                                                         =9&68they
                                                                                                 69438?could
                                                                                                         712(8at&68a&8
 !Street
   654468!Sell
            4228:for758negligible
                       '4R2/R/8248profits
                                       @57:/6A8&and
                                                 '(8donate
                                                    (7'&648the  6948rest.
                                                                     54A6B88: 64'8when
                                                                            Often   =94'8ML,8Fashion
                                                                                                 ;&A9/7'8had9&(8to678


        8                                                  YJ8
                                                           36
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        8
(7'&6484X?4AA8@57(1?684>7'/A89&(8:75?4(87'8/6.84>7'/A8>&(48A154869&68948R7686948
donate excess product Lemonis had forced on it, Lemonis made sure that he got the

6&X8write-off
tax  =5/64G7::8:for758the
                      6948donation
                          (7'&6/7'8personally.
                                       @45A7'&223B8
         9EFBUA8June
         120.         1'482017
                           EF9`84episode
                                    @/A7(48:featured
                                                4&6154(8a&8brand85&'(8?called
                                                                          &224(8!Swim
                                                                                    =/>8by 8389   1?D8+&
                                                                                               Chuck        '(3B88
                                                                                                         Handy.

'
Once?48&again,
          R&/'.8the
                6948show
                      A97=8touts
                              6716A8&a8deal
                                        (4&28where
                                               =945484       >7'/A8would
                                                         Lemonis      =712(8/invest
                                                                                 '04A68[$600,000
                                                                                            JFF.FFF8:for758\55%
                                                                                                              \^8
7:8the
of 6948business.
         81A/'4AAB88+7    =4045.8it/68was
                      However,        =&A8ML ,8Fashion
                                                   ;&A9/7'8that  69&68produced
                                                                      @57(1?4(8hundreds
                                                                                    91'(54(A8of7:8thousands
                                                                                                     6971A&'(A8
7:8dollars
of  (722&5A8of7:8product
                 @57(1?68before
                             84:7548the
                                      6948deal
                                             (4&28was
                                                   =&A8:finalized.
                                                             /'&2/_4(B88)9 The48deal
                                                                                 (4&28with
                                                                                         =/698the
                                                                                                6948owners
                                                                                                     7='45A8of7:8
!Swim
  =/>8by 8389  1?D8+&
            Chuck        '(38:fell
                      Handy     4228through,
                                    69571R9.8and &'(8/it68was
                                                          =&A8ML  ,8Fashion
                                                                      ;&A9/7'8that 69&68was
                                                                                        =&A82left
                                                                                               4:68holding
                                                                                                    972(/'R8the
                                                                                                              6948
8&RB88ML
bag.   ,8Fashion
            ;&A9/7'8was =&A8:forced
                               75?4(8to678donate
                                            (7'&648&all228of7:8the
                                                               6948product
                                                                   @57(1?68it/68produced
                                                                                 @57(1?4(8&again,R&/'.8taking
                                                                                                        6&D/'R8a&8
?complete
  7>@24648loss.
            27AAB888
         9E9BU!Similarly,
         121.     />/2&523.8a&8June
                                  1'482018
                                        EF9I84episode
                                                 @/A7(48:featured
                                                              4&6154(8the6948brand
                                                                              85&'(8%2    2/A7'8%3
                                                                                       Ellison       4=4&58that
                                                                                                  Eyewear    69&68
@57(1?4(8sunglasses
produced     A1'R2&AA4A8in/'8"5     44?4B88According
                                 Greece.         ??75(/'R8to678the  6948show,
                                                                          A97=.84      >7'/A8would
                                                                                    Lemonis      =712(8invest
                                                                                                          /'04A68
[$350,000
  Y\F.FFF8:for758\50%
                    F^8of7:8the
                              6948business.
                                   81A/'4AAB88Once'?48&again,  R&/'.8ML
                                                                      ,8Fashion
                                                                             ;&A9/7'8spentA@4'68hundreds
                                                                                                   91'(54(A8of7:8
6971A&'(A8of7:8dollars
thousands        (722&5A8producing
                          @57(1?/'R8inventory
                                          /'04'67538in/'8"5      44?4B88Then,
                                                             Greece.     )94'.8the
                                                                                 6948deal
                                                                                       (4&28:fell
                                                                                              4228through,
                                                                                                  69571R9.8and
                                                                                                             &'(8
,8Fashion
ML    ;&A9/7'8was
                =&A8:forced
                        75?4(8to678try
                                   6538to678sell
                                            A4228the
                                                 6948inventory
                                                     /'04'67538in/'8its/6A8retail
                                                                             546&/28stores.
                                                                                      A6754AB88The
                                                                                                )948inventory
                                                                                                      /'04'67538
/A8still
is A6/228on
         7'8ML
            ,8Fashion's
                  ;&A9/7'WA8books
                                877DA8as&A8a&82loss.
                                                7AAB8
         9EEBU!Several
         122.     4045&28times,
                           6/>4A.8,8       ;&A9/7'8was
                                    ML Fashion       =&A8:forced75?4(8to678hire
                                                                           9/548the
                                                                                  6948business
                                                                                       81A/'4AA8owners
                                                                                                    7='45A8&and'(8
4employees
  >@27344A8:featured
                4&6154(8on 7'8"The
                                O)948*Profit"
                                           57:/6P8solely
                                                  A724238because
                                                              84?&1A48their
                                                                          694/58own
                                                                                  7='8business
                                                                                         81A/'4AA8?could
                                                                                                       712(8not
                                                                                                              '768
&::75(8to678pay
afford      @&38them.
                  694>B88These
                           )94A48persons
                                     @45A7'A8primarily
                                                 @5/>&5/238worked=75D4(8on  7'8their
                                                                                694/58own
                                                                                        7='8business
                                                                                               81A/'4AA8while
                                                                                                           =9/248
,4'D/'8was
Menkin     =&A8:forced
                 75?4(8to678:find
                              /'(8special
                                   A@4?/&28projects
                                              @57d4?6A8at&68,8     ;&A9/7'8:for758them
                                                               ML Fashion            694>8to678work
                                                                                               =75D8on.7'B88)9
                                                                                                            This/A8
9&@@4'4(8with
happened     =/698the6948production
                          @57(1?6/7'8manager>&'&R458of7:8the   6948!Susan
                                                                     1A&'8,7 Monaco'&?78brand
                                                                                           85&'(8:featured
                                                                                                     4&6154(8in/'8

        8                                                 Y`8
                                                          37
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        8
A4&A7'8:715.869487='4587:8C4'WA8"&5(4'8:4&6154(8/'8A4&A7'8A/X.869487='45A87:8;24X8
season four, the owner of Ben's Garden featured in season six, the owners of Flex

a&6?94A8:featured
Watches     4&6154(8in/'8season
                            A4&A7'8:four,715.8and
                                              &'(8with
                                                     =/698the
                                                            6948winner
                                                                =/''458of7:8&another
                                                                                '769458Lemonis
                                                                                         4>7'/A8television
                                                                                                      64240/A/7'8
@57R5&>8?called
program      &224(8"The
                    O)948*Partner."
                                &56'45BP888
         9EYBU4
         123.       >7'/A8used
                Lemonis        1A4(8the 6948?constant
                                              7'A6&'68brand85&'(8acquisitions,
                                                                  &?]1/A/6/7'A.8storeA67548openings,
                                                                                              7@4'/'RA.8store A67548
5485&'(/'RA.8store
rebrandings,     A67548?closings,
                           27A/'RA.8personnel
                                         @45A7''428?changes,
                                                         9&'R4A.8and
                                                                   &'(8inventory
                                                                         /'04'67538?changes9&'R4A8to678distract
                                                                                                          (/A65&?68
*Plaintiffs
  2&/'6/::A8:from
              57>8the6948mismanagement
                           >/A>&'&R4>4'68and         &'(8misconduct
                                                           >/A?7'(1?68he948was   =&A8orchestrating
                                                                                       75?94A65&6/'R8&asA8the   6948
,&'&R458of7:8ML
Manager         ,8Fashion.
                       ;&A9/7'B88Lemonis4>7'/A8purposefully
                                                     @15@7A4:12238Dkept 4@68Plaintiffs
                                                                               *2&/'6/::A8overworked
                                                                                            7045=75D4(8and      &'(8
70454X64'(4(8soA78that
overextended          69&68&all228they
                                  69438?could
                                           712(8:focus
                                                   7?1A8on7'8was
                                                              =&A8the
                                                                  6948ground
                                                                        R571'(82level
                                                                                    40428,8     ;&A9/7'8work
                                                                                           ML Fashion        =75D8
69&684
that     >7'/A8was
      Lemonis    =&A8having
                       9&0/'R8them  694>8do.(7B88*Plaintiffs
                                                    2&/'6/::A8Dknew
                                                                '4=8that
                                                                      69&68if/:8they
                                                                                69438were
                                                                                      =4548not
                                                                                             '768able
                                                                                                    &8248to678Dkeep
                                                                                                                44@8
1@8with
up  =/698the
           6948workload,
                =75D27&(.84          >7'/A8would
                                  Lemonis      =712(8threaten
                                                          6954&64'8to678give
                                                                         R/048the 6948work
                                                                                      =75D8opportunity
                                                                                                7@@7561'/638to678
A7>47'484else,
someone      2A4.8:fire
                    /548them,
                        694>.8or758:foreclose
                                         754?27A48on 7'8the
                                                         6948Company.
                                                              7>@&'3B8
         9EHBU)/
         124.      >48and
                Time     &'(8time6/>48again,
                                         &R&/'.84    >7'/A8used
                                                  Lemonis      1A4(8"The
                                                                      O)948*Profit"
                                                                                 57:/6P8to678bolster
                                                                                             872A6458his 9/A8own
                                                                                                               7='8
/>&R48as&A8&a8small
image         A>&228business
                       81A/'4AA8saviorA&0/758when
                                              =94'8/in'8reality
                                                           54&2/638the
                                                                   6948(deals
                                                                          4&2A8being
                                                                                  84/'R8made
                                                                                           >&(48on  7'8the
                                                                                                       6948show
                                                                                                             A97=8
=4548being
were    84/'R8used
               1A4(8to678:force
                             75?48debt(4868upon
                                             1@7'8ML ,8Fashion.
                                                           ;&A9/7'B88This
                                                                        )9/A8debt(4868not
                                                                                       '768only
                                                                                             7'238:forced
                                                                                                      75?4(8ML  ,8
;&A9/7'8to678?continually
Fashion         7'6/'1&2238take   6&D482loans
                                          7&'A8:from
                                                   57>84     >7'/A8&and
                                                          Lemonis      '(8his
                                                                           9/A84entities,
                                                                                    '6/6/4A.8it/68&also
                                                                                                    2A78allowed
                                                                                                         &227=4(8
4 >7'/A8to678write-off
 Lemonis       =5/64G7::8income
                              /'?7>48he948made>&(48as&A8the 69489 /4:8%X
                                                                Chief      4?16/048Officer
                                                                        Executive      ::/?458of7:8&      >@/'R8
                                                                                                       Camping

a752(8&and
World     '(8income
              /'?7>48:from 57>8his 9/A8other
                                        769458personal
                                               @45A7'&284endeavors.
                                                              '(4&075AB88
         9E\BUAt68the
         125.        69484end
                            '(8of7:8the
                                     6948year,
                                          34&5.8Lemonis
                                                 4>7'/A8and  &'(8his
                                                                  9/A8&accountants
                                                                        ??71'6&'6A8would=712(8use  1A48the
                                                                                                        6948debts
                                                                                                             (486A8
/'?1554(8by
incurred   838ML
               ,8Fashion
                     ;&A9/7'8as&A8tax  6&X8write-offs
                                           =5/64G7::A8to678help
                                                             942@8offset
                                                                  7::A468his
                                                                          9/A8personal
                                                                                 @45A7'&28income.
                                                                                            /'?7>4B88Indeed,
                                                                                                            '(44(.8
7'8or758around
on      &571'(8April@5/2816,
                         9J.82018,
                                EF9I.84     >7'/A84expressly
                                          Lemonis       X@54AA238instructed
                                                                  /'A651?64(8,4       'D/'8on
                                                                                   Menkin     7'8the
                                                                                                   6948write-off
                                                                                                        =5/64G7::8

        8                                                  YI8
                                                           38
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        8
6422/'R89458678O(5/0486948'1>8458&A89/R98&A83718?&'.P8&'(8?7':/5>4(869&68948=&'64(8
telling her to "[d]rive the number as high as you can," and confirmed that he wanted

6948tax
the  6&X8benefit
          84'4:/68personally.
                    @45A7'&223B88See
                                   hBellew
                                         C4224=8Decl.<4?2B8Ex.
                                                            %XB8"B G.8

        9EJBUC3
        126.    By8  Dkeeping
                       44@/'R8ML,8Fashion
                                      ;&A9/7'8saddled
                                                   A&((24(8/in'8debt,
                                                                 (486.8Lemonis
                                                                           4>7'/A8was  =&A8?consistently
                                                                                             7'A/A64'6238able
                                                                                                           &8248
678lower
to 27=458his
           9/A8personal
               @45A7'&28tax6&X8liability.
                                2/&8/2/63B88Moreover,
                                              ,7547045.8because
                                                            84?&1A48these694A48write-offs
                                                                                 =5/64G7::A8decreased
                                                                                               (4?54&A4(8,8ML

;&A9/7'WA8/indebtedness
Fashion's     '(4864('4AA8to678,8       $46&/28and
                                   ML Retail        &'(8,.
                                                         ML,8   .
                                                                LLC,8     4 >7'/A8often
                                                                          Lemonis       7:64'8represented
                                                                                               54@54A4'64(8to678
*Plaintiffs
  2&/'6/::A8that
            69&68he948was
                       =&A8taking
                            6&D/'R8the
                                     6948write-offs
                                           =5/64G7::A8as&A8a&8:favor
                                                                 &0758to678them.
                                                                            694>B8
        9E`BUAdditionally,
        127.      ((/6/7'&223.84      >7'/A8represented
                                   Lemonis        54@54A4'64(8that 69&68ML,8Fashion
                                                                                 ;&A9/7'8would
                                                                                            =712(8purchase
                                                                                                     @15?9&A48
546&/28stores,
retail  A6754A.85renovate
                  4'70&648them,
                             694>.8and&'(8:flip2/@8them
                                                    694>8:for758&a8profit.
                                                                    @57:/6B88Lemonis
                                                                                4>7'/A8represented
                                                                                            54@54A4'64(8that69&68
*Plaintiffs
  2&/'6/::A8and
            &'(84    >7'/A8would
                  Lemonis      =712(8split
                                        A@2/68these
                                                 694A48profits
                                                        @57:/6A84evenly,
                                                                    04'23.8after
                                                                               &:64584  >7'/AW8debts
                                                                                      Lemonis'     (486A8were
                                                                                                           =4548
54@&/(B88While
repaid.    a9/248ML ,8Fashion
                         ;&A9/7'8purchased
                                    @15?9&A4(8or758opened
                                                        7@4'4(8around
                                                                   &571'(8thirty
                                                                               69/5638stores,
                                                                                       A6754A.8none
                                                                                                '7'48of7:8those
                                                                                                          697A48
A6754A8were
stores  =45484ever
                0458?converted
                       7'04564(8to678profits
                                       @57:/6A8and&'(8all
                                                       &228were
                                                           =45484eventually
                                                                     04'61&2238?closed.
                                                                                     27A4(B88Often
                                                                                              :64'8Lemonis
                                                                                                     4>7'/A8
=712(8spend
would    A@4'(84exorbitant
                    X758/6&'68amounts
                                 &>71'6A8of7:8money>7'438to6785renovate
                                                                   4'70&648the  6948stores—often
                                                                                      A6754Ab7:64'8several
                                                                                                        A4045&28
6/>4A8per
times   @458store—and
            A6754b&'(8swap A=&@8out7168the
                                        6948stores
                                              A6754A8/inventories.
                                                        '04'675/4AB88These
                                                                       )94A48upfront
                                                                                  1@:57'68?costs
                                                                                              7A6A8meant
                                                                                                    >4&'68that
                                                                                                            69&68
6948stores
the  A6754A8?could
              712(8never
                     '40458be848sold
                                 A72(8:for758&a8profit
                                                @57:/68due
                                                        (148to678how
                                                                 97=8:far&58in/'8debt
                                                                                 (48684each
                                                                                         &?98venture
                                                                                              04'61548was=&A8to678
4 >7'/AB888
 Lemonis.

        9EIBU'
        128.    Once ?48the
                         6948stores
                              A6754A8:failed,
                                        &/24(.8ML ,8Fashion
                                                        ;&A9/7'8would
                                                                    =712(8be848:forced
                                                                                     75?4(8to6782liquidate
                                                                                                  /]1/(&648the
                                                                                                             6948
A6754A8at&68&a8huge
stores         91R48loss.
                        27AAB88)9   /A8meant
                                 This   >4&'68hiring9/5/'R8a&8?close
                                                                  27A48down
                                                                         (7='8?crew, 54=.8paying
                                                                                            @&3/'R8:for758staff
                                                                                                           A6&::8
645>/'&6/7'8&and
termination     '(8severance
                      A4045&'?48packages,
                                   @&?D&R4A.8&and    '(8often
                                                        7:64'8paying
                                                                @&3/'R84early&5238buy
                                                                                    8138out
                                                                                          7168?charges
                                                                                                9&5R4A8on7'8the
                                                                                                             6948
A6754AW8leases.
stores'  24&A4AB8


        8                                                 Yc8
                                                          39
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        8
          9EcBU;75?/'R8(48687'678,8;&A9/7'8=&A8'76869487'238=&38/'8=9/?98
        129. Forcing debt onto ML Fashion was not the only way in which

  <4:4'(&'6A84engaged
Defendants         'R&R4(8in/'8misconduct.
                                >/A?7'(1?6B884     >7'/A8and
                                                Lemonis       &'(8ML
                                                                   ,8$4     6&/28used
                                                                         Retail   1A4(8promissory
                                                                                         @57>/AA7538notes '764A8
  69&68his
that    9/A84entities
               '6/6/4A8had
                         9&(8:from
                               57>8other
                                      769458businesses
                                              81A/'4AA4A8to678make >&D48sham
                                                                           A9&>8?contributions
                                                                                      7'65/816/7'A8to678the  6948
  7 >@&'38on
  Company      7'8behalf
                   849&2:8of7:8ML
                               ,8$4    6&/2B8
                                    Retail.

          9YFBU'
          130.     One4 8such
                         A1?98sham
                                A9&>8?contribution
                                         7'65/816/7'8related
                                                         542&64(8to678the
                                                                       6948assets
                                                                            &AA46A8of7:8a&8shoe
                                                                                             A9748?company
                                                                                                      7>@&'38
Inkkas.
   'DD&AB88Inkkas
              'DD&A8was=&A8:featured
                              4&6154(8on
                                       7'8an&'84episode
                                                 @/A7(48of7:8"The
                                                                O)948*Profit"
                                                                         57:/6P8and
                                                                                 &'(8as&A8part
                                                                                           @&568of7:8the
                                                                                                      6948deal
                                                                                                            (4&28
 :from
   57>8the
         6948show,
              A97=.8"7    7845538purchased
                      Gooberry     @15?9&A4(8the 6948?company's
                                                         7>@&'3WA8assets.
                                                                      &AA46AB88Then,
                                                                                  )94'.8through
                                                                                          69571R98a&8string
                                                                                                         A65/'R8
 7:8transactions,
of   65&'A&?6/7'A.8the 6948Inkkas
                             'DD&A8&assets
                                      AA46A8became
                                             84?&>48owned7='4(8by  838an&'84entity
                                                                              '6/638?called
                                                                                      &224(8Inkkas,
                                                                                               'DD&A.8B
                                                                                                         LLC.8   8
 '
  On8  758around
      or   &571'(8June
                      1'48J6,.82017,
                                EF9`.8ML
                                       ,8$4      6&/28purchased
                                              Retail    @15?9&A4(8the 6948assets
                                                                            &AA46A8of7:8Inkkas,
                                                                                         'DD&A.88 LLC :   758
                                                                                                             for

 [$429,937.34.
    HEc.cY`BYHB88In'8agreements
                        &R544>4'6A8dated
                                      (&64(8the
                                              6948same
                                                   A&>48day,
                                                           (&3.8ML,8Retail
                                                                       $46&/28transferred
                                                                                65&'A:4554(8the  6948&assets
                                                                                                       AA46A8of7:8
 Inkkas,
   'DD&A.8LLC
            8to678ML,8Fashion
                             ;&A9/7'8&asA8a&8membership
                                              >4>845A9/@8?contribution
                                                                  7'65/816/7'8then8transferred
                                                                                         65&'A:4554(8those697A48
04538&assets
very      AA46A8:from
                  57>8ML,8Fashion
                             ;&A9/7'8to678&a8?company
                                               7>@&'38?called&224(8ML
                                                                    ,8Footwear
                                                                          ;776=4&58LLC.B88%A      A4'6/&223.8
                                                                                                  Essentially,

4   >7'/A8and
  Lemonis     &'(8,8
                    ML $4    6&/28used
                          Retail  1A4(8assets
                                        &AA46A8that
                                                 69&68were
                                                        =4548already
                                                               &254&(38owned
                                                                          7='4(8by  838the
                                                                                        6948joint
                                                                                              d7/'68business
                                                                                                      81A/'4AA8
04'61548as&A8a&8?contribution
venture             7'65/816/7'8by 838ML
                                       ,8$4    6&/28to678ML
                                             Retail       ,8Fashion,
                                                                ;&A9/7'.8then
                                                                            694'8transferred
                                                                                   65&'A:4554(8the  6948&assets
                                                                                                           AA46A8
7168of7:8ML
out       ,8Fashion.
                ;&A9/7'B8
          9Y9BU7
          131.       '65/816/7'A8like
                   Contributions    2/D48this
                                          69/A84ensured
                                                  'A154(8that
                                                            69&68ML,8$4    6&/28was
                                                                         Retail   =&A8:first
                                                                                         /5A68in/'8line
                                                                                                   2/'48if/:8the
                                                                                                             6948
7   >@&'384ever
  Company        0458/issued
                       AA14(8distributions.
                               (/A65/816/7'AB88Under
                                                  #'(458the 69488       R544>4'6.8distributions
                                                                  LLC Agreement,          (/A65/816/7'A8are  &548
>&(48"first,
made      O:/5A6.8100%
                  9FF^8to678and
                              &'(8among
                                   &>7'R8the6948,4    >845A8in/'8proportion
                                                 Members           @57@756/7'8to678and&'(8to678the
                                                                                               69484extent
                                                                                                       X64'68of7:8
694/58respective
their   54A@4?6/048Unreturned
                     #'54615'4(8Capital
                                     &@/6&28Contributions."
                                               7'65/816/7'ABP88See  h8       R544>4'68&at68§i85.1(b),
                                                                           LLC Agreement                \B9N8Q.8
  C4224=8<4
Bellew         ?2B8Ex
            Decl.   %X8A.B88)9  /A8allowed
                             This  &227=4(8ML ,8Retail
                                                    $46&/28to678receive
                                                                 54?4/048distributions
                                                                           (/A65/816/7'A8:for758purporting
                                                                                                   @15@756/'R8

        8                                                HF8
                                                         40
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        8
678?7'65/81648&AA46A869&68&254&(388427'R4(86786948d7/'6881A/'4AA804'6154B88C46=44'86948
to contribute assets that already belonged to the joint business venture. Between the

A9&>8?contributions
sham     7'65/816/7'A8and  &'(8Lemonis'
                                4>7'/AW8debt  (4868position,
                                                     @7A/6/7'.84   >7'/A8made
                                                                Lemonis      >&(48sure
                                                                                     A1548that
                                                                                           69&68any
                                                                                                 &'38monies
                                                                                                        >7'/4A8
?coming
  7>/'R8out7168of7:8,8   ;&A9/7'8were
                    ML Fashion       =4548owed7=4(8to678him
                                                        9/>8:first.
                                                               /5A6B8
         9YEBU4
         132.        >7'/A8&also
                  Lemonis      2A78treated
                                    654&64(8the6948bank
                                                    8&'D8accounts
                                                          &??71'6A8of7:8ML,8Fashion,
                                                                                ;&A9/7'.8&and '(8its/6A8wholly-
                                                                                                        =97223G
7='4(8subsidiary
owned     A18A/(/&538,"8MLG $4      6&/2.8as&A8his
                                 Retail,        9/A8own
                                                     7='8personal
                                                          @45A7'&28piggy
                                                                       @/RR38bank.
                                                                               8&'DB884    >7'/A8used
                                                                                        Lemonis        1A4(8his
                                                                                                             9/A8
@45A7'&28American
personal       >45/?&'8Express
                            %X@54AA8?card &5(8to678make
                                                   >&D48purchases
                                                           @15?9&A4A8:for758the6948Company;
                                                                                    7>@&'3e8however, 97=4045.8
4  >7'/A8&also
 Lemonis      2A78used
                   1A4(8this
                          69/A8?card
                                 &5(8to678make
                                           >&D48personal
                                                   @45A7'&28&and
                                                               '(8non-business-related
                                                                   '7'G81A/'4AAG542&64(8purchases.
                                                                                                @15?9&A4AB8
         9YYBU4
         133.        >7'/A8would
                  Lemonis     =712(8then 694'8take
                                                6&D48money
                                                      >7'438directly
                                                                (/54?6238:from
                                                                            57>8the6948,"8     $46&/28bank
                                                                                       MLG Retail          8&'D8
&??71'68to678pay
account        @&38off
                     7::8his
                         9/A8American
                                >45/?&'8Express
                                            %X@54AA8?card.
                                                         &5(B88)9
                                                               The4 8:funds
                                                                       1'(A8taken
                                                                             6&D4'8:from
                                                                                      57>8,"8
                                                                                            MLG $4        6&/28to678
                                                                                                       Retail

@&38the
pay   6948card
           ?&5(8were
                   =4548not'768?correlated
                                 75542&64(8to678the 6948amount
                                                        &>71'68of7:8&actual
                                                                         ?61&28business
                                                                                 81A/'4AA84expenses
                                                                                               X@4'A4A8that 69&68
4  >7'/A8put
 Lemonis    @168on7'8the
                      6948?card.
                             &5(B88Instead,
                                   'A64&(.84     >7'/A8would
                                                Lemonis    =712(8seeA448how
                                                                         97=8much
                                                                                >1?98money
                                                                                        >7'438was =&A8in/'8the
                                                                                                             6948
,"8$4
MLG         6&/28account,
         Retail   &??71'6.8then
                              694'8take
                                     6&D48whatever
                                            =9&640458he948?could
                                                               712(8&and'(8put
                                                                           @168it/68towards
                                                                                    67=&5(A8his 9/A8personal
                                                                                                       @45A7'&28
?card.
  &5(B884  >7'/A8made
         Lemonis      >&(48payments
                              @&3>4'6A8to678his  9/A8personal
                                                     @45A7'&28American
                                                                   >45/?&'8%X     @54AA8?card
                                                                               Express      &5(8:from
                                                                                                  57>8MLG ,"8
$4  6&/2WA8bank
 Retail's  8&'D8accounts
                   &??71'6A8several
                                A4045&28times
                                           6/>4A8&a8month.
                                                       >7'69B88Lemonis
                                                                 4>7'/A8took 677D8up1@8to678[$100,000
                                                                                               9FF.FFF8&at68a&8
6/>48to678pay
time      @&38off
                7::8his
                     9/A8?card.
                           &5(B888
         9YHBUC4
         134.        6=44'8,&
                  Between         5?982019
                              March     EF9c8and&'(8February
                                                      ;4851&5382020,
                                                                 EFEF.84    >7'/A8took
                                                                         Lemonis      677D8[$3,023,004.47
                                                                                               Y.FEY.FFHBH`8
:from
  57>8,"8
        MLG $4      6&/2WA8bank
                Retail's    8&'D8account
                                  &??71'68to678make>&D48payments
                                                          @&3>4'6A8to678his9/A8personal
                                                                                @45A7'&28?credit
                                                                                              54(/68?card.
                                                                                                        &5(B88In'8
&((/6/7'.84
addition,       >7'/A8benefited
            Lemonis      84'4:/64(8by   838keeping
                                            D44@/'R8the6948American
                                                              >45/?&'8%X     @54AArewards
                                                                         Express     54=&5(A8points
                                                                                                @7/'6A8:from57>8
694A48payments
these   @&3>4'6A8&and  '(8using
                            1A/'R8them
                                   694>8:for758his
                                                 9/A8personal
                                                     @45A7'&28gain.
                                                                 R&/'B8


        8                                                  H98
                                                           41
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        8
           9Y\BU)94548=45486/>4A8=9454.8&A8&854A12687:84>7'/A86&D/'R8>7'438:57>86948
        135. There were times where, as a result of Lemonis taking money from the

7    >@&'3WA8bank
 Company's       8&'D8accounts
                         &??71'6A8to678pay,@&3.8&at682least
                                                       4&A68/in'8part,
                                                                 @&56.8his
                                                                       9/A8personal
                                                                              @45A7'&28obligations,
                                                                                           782/R&6/7'A.8MLG ,"8
$4    6&/28and
  Retail   &'(8,8    ;&A9/7'8?could
                ML Fashion           712(8not
                                            '768pay
                                                 @&38its/6A8vendors.
                                                            04'(75AB88)9 Then,4'.8as&A8always,
                                                                                        &2=&3A.8,8      ;&A9/7'8
                                                                                                 ML Fashion

=712(8have
would      9&048to678borrow
                     87557=8money
                                >7'438:from57>8Lemonis'
                                                 4>7'/AW84entities
                                                                 '6/6/4A8to678pay
                                                                              @&38those
                                                                                     697A48vendors.
                                                                                            04'(75AB8
           9YJBUAnother
           136.      '7694584example
                                 X&>@248of7:84     >7'/A8using
                                                 Lemonis       1A/'R8ML,8Fashion
                                                                               ;&A9/7'8:for758personal
                                                                                               @45A7'&28gain R&/'8
542&64(8to678the
related       6948retail
                   546&/28boutique
                             716/]148Runway.
                                         $1'=&3B8In'84early
                                                           &52382016,
                                                                EF9J.8Lemonis
                                                                       4>7'/A8met     >468Defendant
                                                                                           <4:4'(&'68$Raffel,
                                                                                                            &::42.8
7='458of7:8Runway,
owner         $1'=&3.8&at68a&8trade
                                  65&(48show
                                          A97=8/in'8New
                                                     4=8YorkZ75D8City.
                                                                    /63B88Raffel
                                                                             $&::428approached
                                                                                        &@@57&?94(84      >7'/A8
                                                                                                       Lemonis

&'(8Menkin
and     ,4'D/'8because
                    4?&1A48sheA948wanted
                                   =&'64(8Lemonis
                                             4>7'/A8to678purchase
                                                             @15?9&A48her9458$Runway
                                                                                 1'=&38store
                                                                                           A67548in/'8Deerfield,
                                                                                                      <445:/42(.8
Illinois.
   22/'7/AB8
           9Y`BU!Shortly
           137.      9756238thereafter,
                               69454&:645.84    >7'/A8visited
                                              Lemonis       0/A/64(8Runway
                                                                      $1'=&38and      &'(8decided
                                                                                           (4?/(4(8that69&68,8
                                                                                                              ML

 ;&A9/7'8would
Fashion      =712(8purchase
                       @15?9&A48the    6948store.
                                            A6754B88' On8   ,&5?9823,
                                                             March    EY.82016,
                                                                             EF9J.8"7      7845538purchased
                                                                                        Gooberry      @15?9&A4(8
 $1   '=&3B88In'8May
  Runway.           ,&382016,
                            EF9J.8"7      7845538&and
                                      Gooberry      '(8,8      ;&A9/7'8paid
                                                          ML Fashion        @&/(8to678?completely
                                                                                         7>@24642385renovate
                                                                                                         4'70&648
 $1   '=&38and
  Runway     &'(8stock
                   A67?D8it/68with
                              =/698new
                                     '4=8inventory.
                                           /'04'6753B88'  Once?48&again,
                                                                    R&/'.8these
                                                                            694A484expenditures
                                                                                       X@4'(/6154A8:forced
                                                                                                       75?4(8the
                                                                                                              6948
 ?companies
   7>@&'/4A8to678take
                    6&D48on
                          7'8&additional
                                 ((/6/7'&28debt
                                             (4868:from
                                                     57>84     >7'/A8to678meet
                                                            Lemonis         >4468their
                                                                                     694/58basic
                                                                                           8&A/?84expenses.
                                                                                                    X@4'A4AB8
           9YIBU'
           138.    On8/  ':75>&6/7'8and
                        information        &'(8belief,
                                                 842/4:.84     >7'/A8wanted
                                                            Lemonis      =&'64(8"7        7845538to678&acquire
                                                                                       Gooberry            ?]1/548
 $1   '=&38because
  Runway      84?&1A484       >7'/A8was
                          Lemonis        =&A8romantically
                                               57>&'6/?&2238interested
                                                                 /'6454A64(8in/'8its/6A8owner
                                                                                          7='458$&      ::42.8not
                                                                                                    Raffel,   '768
 84?&1A48he948believed
because         842/404(8the 6948&acquisition
                                    ?]1/A/6/7'8would
                                                 =712(8help942@8Gooberry
                                                                 "77845538or758ML ,8Fashion,
                                                                                         ;&A9/7'.8which
                                                                                                     =9/?98was
                                                                                                             =&A8
 :formed
   75>4(8shortly
            A9756238&after
                       :6458the
                              6948acquisition.
                                   &?]1/A/6/7'B88
           9YcBU7
           139.    Not682long
                          7'R8&      :6458"7
                                   after       7845538&
                                           Gooberry         ?]1/54(8$1
                                                           acquired          '=&3.8$&
                                                                       Runway,             ::428=&
                                                                                        Raffel   wasA  88  13/'R8
                                                                                                          buying

 /'04'67538:for758ML
inventory           ,8Fashion's
                         ;&A9/7'WA8other769458retail
                                               546&/28stores
                                                       A6754A8despite
                                                                (4A@/648not
                                                                         '768having
                                                                                9&0/'R8&a8position
                                                                                            @7A/6/7'8with
                                                                                                       =/698,8
                                                                                                              ML



        8                                                 HE8
                                                          42
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        8
;&A9/7'B88'(44(.87'8758&571'(8,&5?98EH.8EF9J.86948(&38&:64586948&?]1/A/6/7'8?27A4(8
Fashion. Indeed, on or around March 24, 2016, the day after the acquisition closed

7'8March
on  ,&5?9823, EY.82016,
                  EF9J.8$&    ::428purchased
                         Raffel    @15?9&A4(8inventory
                                                  /'04'67538:for758non-Runway
                                                                   '7'G$1'=&38stores.
                                                                                    A6754AB8
        9HFBU!Soon,
        140.      77'.84    >7'/A8&
                         Lemonis         '(8$&
                                       and         ::4288
                                               Raffel     4R&'8buying
                                                         began    813/'R8/   '04'675386
                                                                            inventory       7R469458&
                                                                                           together      '(8
                                                                                                        and

A@4'(/'R8:far&58more
spending          >7548than
                          69&'8,8       ;&A9/7'WA8allocated
                                  ML Fashion's         &227?&64(8budget
                                                                    81(R468on 7'8inventory.
                                                                                   /'04'6753B88Again, R&/'.8
7045A@4'(/'R8on
overspending      7'8/inventory
                       '04'67538:forced
                                    75?4(8,8     ;&A9/7'8:further
                                             ML Fashion      1569458into
                                                                      /'678debt
                                                                           (4868to6784 >7'/AW84entities.
                                                                                     Lemonis'      '6/6/4AB8
        9H9BU)9
        141.        4548?can&'8be848no
                There                '78doubt
                                          (71868that69&684  >7'/A8&and
                                                          Lemonis      '(8Raffel
                                                                            $&::428Dknew
                                                                                       '4=8they69438were
                                                                                                      =4548
4exceeding
  X?44(/'R8ML  ,8Fashion's
                    ;&A9/7'WA8budget
                                  81(R468:for758purchasing
                                                  @15?9&A/'R8inventory
                                                                 /'04'67538because
                                                                              84?&1A48,8       ;&A9/7'WA8
                                                                                          ML Fashion's

?controller
  7'65722458prepared
              @54@&54(8detailed
                         (46&/24(8monthly
                                     >7'69238budgets
                                                 81(R46A8and
                                                           &'(8a&8]quarterly
                                                                     1&5645238purchasing
                                                                               @15?9&A/'R8budget
                                                                                               81(R468:for758
:future
  161548inventory
        /'04'67538orders
                     75(45A8?called
                                &224(8an&'8open-to-buys.
                                            7@4'G67G813AB884     >7'/A8and
                                                              Lemonis     &'(8$&   ::428were
                                                                               Raffel    =4548sent
                                                                                                A4'68these
                                                                                                      694A48
81(R46AB88
budgets.

        9HEBU;
        142.      156945.84every
                Further,     04538day,
                                   (&3.8the
                                          6948?controller
                                                7'65722458informed
                                                           /':75>4(84     >7'/A8of7:8the
                                                                        Lemonis        6948status
                                                                                            A6&61A8of7:8ML
                                                                                                        ,8
;&A9/7'WA8debt
Fashion's     (4868with
                   =/698ML,8$4     6&/28and
                                 Retail  &'(8ML,
                                               ,.88
                                                      LLC &  '(8the
                                                            and   6948Company's
                                                                       7>@&'3WA8daily(&/238sales,
                                                                                              A&24A.8?cash,
                                                                                                        &A9.8
&'(8payables
and  @&3&824A8positions.
                  @7A/6/7'AB88This
                                 )9/A8report
                                       54@7568&also
                                                  2A78included
                                                       /'?21(4(84    >7'/A8and
                                                                   Lemonis    &'(8$&    ::42WA8/inventory
                                                                                    Raffel's     '04'67538
75(45A8soA78they
orders       69438?could
                    712(8see
                           A448how
                                 97=8much
                                       >1?98they69438were
                                                       =4548buying
                                                             813/'R8?compared
                                                                        7>@&54(8to678the6948Company's
                                                                                             7>@&'3WA8
&8/2/638to678purchase
ability      @15?9&A48/inventory.
                         '04'6753B8
        9HYBU<4
        143.        A@/648having
                Despite    9&0/'R8all&228of7:8this
                                              69/A8information
                                                    /':75>&6/7'8showing
                                                                   A97=/'R8that
                                                                              69&68ML
                                                                                    ,8Fashion
                                                                                          ;&A9/7'8?could
                                                                                                       712(8
'768afford
not  &::75(8the
              6948inventory
                  /'04'67538the 6948two
                                     6=78were
                                            =4548purchasing,
                                                   @15?9&A/'R.8Lemonis
                                                                  4>7'/A8and&'(8$&   ::428?continued
                                                                                   Raffel    7'6/'14(8to678
7045A@4'(8without
overspend     =/697168regard
                        54R&5(8:for758the
                                      6948Company's
                                            7>@&'3WA8:financial
                                                            /'&'?/&28&abilities.
                                                                        8/2/6/4AB88)9
                                                                                    The4 8more
                                                                                          >75484   >7'/A8
                                                                                                 Lemonis

&'(8$&
and      ::428overspent,
      Raffel   7045A@4'6.8the 6948more
                                   >7548indebted
                                            /'(4864(8the69487 >@&'38would
                                                            Company      =712(8need'44(8to678become
                                                                                               84?7>48to678
4  >7'/A8&and
 Lemonis      '(8his
                 9/A84entities.
                       '6/6/4AB8

        8                                              HY8
                                                       43
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        8
          9HHBU 687'48@7/'68/'8EF9I.84>7'/A8&'(8$&::428=45487045G813/'R8/'04'67538
        144. At one point in 2018, Lemonis and Raffel were over-buying inventory

&68&a8rate
at    5&648of7:8&approximately
                   @@57X/>&64238[$1M 9,8per
                                          @458quarter.
                                               ]1&5645B88Indeed,
                                                           '(44(.8some
                                                                      A7>48of7:8the
                                                                                6948stores
                                                                                     A6754A8did(/(8not
                                                                                                    '7684even
                                                                                                          04'8
9&048the
have     6948physical
              @93A/?&28space
                           A@&?48to678receive
                                       54?4/048the
                                                 6948/inventory
                                                       '04'67538that 69&684   >7'/A8and
                                                                           Lemonis      &'(8$&     ::428were
                                                                                               Raffel    =4548
@15?9&A/'RB88!Stores
purchasing.           6754A8?complained
                              7>@2&/'4(8to678both
                                              876984    >7'/A8and
                                                      Lemonis      &'(8$&  ::428that
                                                                        Raffel   69&68they
                                                                                       69438did
                                                                                              (/(8not
                                                                                                    '768have
                                                                                                         9&048
6948space
the  A@&?48:for758any
                    &'38more
                         >7548inventory,
                               /'04'6753.8yet34684>7'/A8&and
                                                 Lemonis      '(8Raffel
                                                                   $&::428?continued
                                                                            7'6/'14(8their
                                                                                         694/58purchasing
                                                                                                 @15?9&A/'R8
1'&8&64(B8
unabated.

          9H\BU4
          145.         >7'/A8:forced
                   Lemonis      75?4(8,8    ;&A9/7'8to678open
                                        ML Fashion          7@4'82liquidation
                                                                     /]1/(&6/7'8stores
                                                                                   A6754A8?called
                                                                                              &224(8!Sample
                                                                                                       &>@248
!Sale
  &248in/'8order
           75(458to678sell
                         A4228the
                              69484excess
                                    X?4AA8inventory
                                            /'04'67538that69&68he948and
                                                                    &'(8$&   ::428were
                                                                          Raffel   =4548buying
                                                                                          813/'R8:for758the6948
7  >@&'3B88Once
Company.         '?48again,
                         &R&/'.8ML
                                 ,8Fashion
                                      ;&A9/7'8/incurred
                                                 '?1554(8debt
                                                            (4868to678open
                                                                       7@4'8these
                                                                             694A48!Sample
                                                                                      &>@248!Sale &248stores,
                                                                                                       A6754A.8
8168the
but   6948stores
           A6754A8had9&(8no
                          '78?chance
                                9&'?48of7:8making
                                           >&D/'R84enough
                                                       '71R98revenue
                                                                5404'148to678stay
                                                                               A6&38afloat
                                                                                     &:27&68as&A8they
                                                                                                  69438were
                                                                                                         =4548
A422/'R8/inventory
selling    '04'67538at&682liquidation
                             /]1/(&6/7'8prices.
                                          @5/?4AB88)9  4A48!Sample
                                                   These      &>@248!Sale&248stores
                                                                              A6754A8only
                                                                                      7'238&added
                                                                                                ((4(8to678,8
                                                                                                          ML

;&A9/7'WA8indebtedness
Fashion's      /'(4864('4AA8with =/6984  >7'/AB8
                                       Lemonis.

          9HJBUa9
          146.          4'40458*Plaintiffs
                   Whenever         2&/'6/::A8?complained
                                                  7>@2&/'4(8&        871684
                                                                   about        >7'/AW8&
                                                                            Lemonis'          '(8$&
                                                                                             and        ::42WA8
                                                                                                     Raffel's

7045A@4'(/'R.8Lemonis
overspending,         4>7'/A8would
                                 =712(8threaten
                                          6954&64'8to678:foreclose
                                                          754?27A48on 7'8ML
                                                                          ,8Fashion
                                                                                ;&A9/7'8because
                                                                                           84?&1A48of7:8the6948
91R48debt
huge     (4868it/68owed
                   7=4(8to678,8
                              ML $4   6&/28and
                                   Retail  &'(8,.
                                                 ML,8  B88*Plaintiffs
                                                       LLC.        2&/'6/::A8knew
                                                                             D'4=8that
                                                                                     69&68if/:8they
                                                                                                69438did
                                                                                                      (/(8not
                                                                                                          '768
@2&38ball,
play   8&22.84    >7'/A8would
              Lemonis      =712(8:foreclose
                                     754?27A48on7'8the
                                                   6948debt
                                                          (4868&and
                                                                  '(8take
                                                                      6&D48the
                                                                           6948?company
                                                                                  7>@&'38they  69438worked
                                                                                                     =75D4(8
A78hard
so  9&5(8to678build
               81/2(8:from
                         57>8them.
                              694>B8
          9H`BU
          147.       '(44(.8*Plaintiffs
                   Indeed,     2&/'6/::A8witnessed
                                          =/6'4AA4(84      >7'/A8do
                                                       Lemonis       (78this
                                                                         69/A8with
                                                                               =/698several
                                                                                      A4045&284entities
                                                                                                   '6/6/4A8he948
4encountered
  '?71'6454(8through
                   69571R98"The
                              O)948*Profit".
                                      57:/6PB88For
                                               ;7584example,
                                                      X&>@24.8a&8January
                                                                      &'1&53819,
                                                                               9c.82016
                                                                                    EF9J84episode
                                                                                              @/A7(48of7:8the
                                                                                                           6948


        8                                                HH8
                                                         44
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        8
 O)948*57:/6P8:4&6154(8694885&'(8'DD&A8!974AB88'86948A97=.86948@&56/4A8&R544(8678&8
"The Profit" featured the brand Inkkas Shoes. On the show, the parties agreed to a

 (4&28where
deal    =945484    >7'/A8would
                 Lemonis      =712(8invest
                                        /'04A68[$750,000
                                                 `\F.FFF8:for758\51% 9^8of7:8the
                                                                              6948business.
                                                                                   81A/'4AAB888
          9HIBUAfter
          148.       :6458the
                          69484episode
                                 @/A7(48aired,
                                           &/54(.8but
                                                   8168before
                                                       84:7548the  6948&acquisition
                                                                         ?]1/A/6/7'8was=&A8?completed
                                                                                               7>@2464(8under
                                                                                                            1'(458
 6948,8
the        ;&A9/7'8umbrella,
      ML Fashion       1>85422&.84       >7'/A8:forced
                                       Lemonis     75?4(8Inkkas
                                                           'DD&A8!Shoes 974A8to678hold
                                                                                   972(8a&8sale
                                                                                             A&248?called
                                                                                                     &224(8"Free
                                                                                                            O;5448
 !Shoe
   9748Friday."
         ;5/(&3BP88Lemonis
                      4>7'/A8tweeted
                                    6=4464(8a&8?code
                                                  7(48which
                                                       =9/?98allowed
                                                                   &227=4(8shoppers
                                                                              A97@@45A8to678buy8138shoes
                                                                                                     A974A8:from
                                                                                                              57>8
 6948Inkkas
the    'DD&A8website
                =48A/648:for758zero
                                 _4578dollars.
                                         (722&5AB88This
                                                   )9/A82led4(8to678$200,000
                                                                     [EFF.FFF8of7:8inventory
                                                                                     /'04'67538being84/'R8given
                                                                                                            R/04'8
 &=&38/in'8six
away        A/X8hours.
                 9715AB8
          9HcBU4
          149.        >7'/A8used
                  Lemonis      1A4(8this69/A8and
                                             &'(8other
                                                  769458tactics
                                                         6&?6/?A8to678:force
                                                                          75?48debt
                                                                                 (4868on7'8Inkkas
                                                                                            'DD&A8and &'(8a&8:few
                                                                                                                4=8
 >7'69A82later,
months       &645.8:foreclosed
                     754?27A4(8on    7'8the
                                         6948business,
                                             81A/'4AA.8took
                                                         677D8its/6A8assets,
                                                                       &AA46A.8and
                                                                                 &'(85removed
                                                                                        4>704(8the  6948original
                                                                                                          75/R/'&28
 7='45AB8
owners.

          9\FBU!Similarly,
          150.      />/2&523.8&a8!September
                                      4@64>84582016
                                                  EF9J84episode
                                                          @/A7(48of7:8"TheO)948*Profit"
                                                                                   57:/6P8:featured
                                                                                            4&6154(8the 6948brand
                                                                                                            85&'(8
 ;24X8Watches
Flex    a&6?94A8based &A4(8in/'8Los7A8Angeles,
                                         'R424A.8California.
                                                  &2/:75'/&B8<During 15/'R8the
                                                                             69484episode,
                                                                                    @/A7(4.8Lemonis
                                                                                               4>7'/A8agreed
                                                                                                           &R544(8
 678/invest
to    '04A68[$400,000
                HFF.FFF8in/'84exchange
                                 X?9&'R48:for75840%
                                                  HF^8of7:8the
                                                             6948business.
                                                                    81A/'4AAB88This
                                                                                  )9/A8gave
                                                                                         R&048Flex
                                                                                                 ;24X8Watches,
                                                                                                        a&6?94A.8
Inc.,
   '?B.8the
        6948?company
               7>@&'38running
                          51''/'R8the  6948brand,
                                           85&'(.8a&8valuation
                                                      0&21&6/7'8of7:8[$1,000,000.
                                                                           9.FFF.FFFB8
          9\9BU4
          151.        >7'/A8had
                  Lemonis      9&(8ML ,8Fashion
                                            ;&A9/7'8open
                                                     7@4'8a&8Los  7A8Angeles
                                                                         'R424A8office
                                                                                   7::/?48:for758Flex
                                                                                                 ;24X8Watches,
                                                                                                        a&6?94A.8
:forcing
   75?/'R8the
           69487   >@&'38to678incur
                 Company           /'?158debt.
                                           (486B884 >7'/A8also
                                                  Lemonis     &2A78:forced
                                                                       75?4(8debt
                                                                               (4868on 7'8Flex
                                                                                          ;24X8Watches,
                                                                                                  a&6?94A.8Inc.'?B88
C38!September
By      4@64>84582016,
                     EF9J.84     >7'/A8had
                              Lemonis      9&(8saddled
                                               A&((24(8Flex
                                                          ;24X8Watches,
                                                                   a&6?94A.8Inc.'?B8with
                                                                                      =/698over
                                                                                             70458[$300,000
                                                                                                      YFF.FFF8in/'8
 (486B88When
debt.    a94'8it/68?came
                      &>48time
                            6/>48to678:formalize
                                         75>&2/_48his
                                                    9/A8investment
                                                        /'04A6>4'68in/'8Flex ;24X8Watches,
                                                                                    a&6?94A.84      >7'/A8used
                                                                                                 Lemonis     1A4(8
 69&68debt
that   (4868to678offset
                 7::A468the
                          6948[$400,000
                                  HFF.FFF8purchase
                                             @15?9&A48price
                                                         @5/?48&and  '(8was
                                                                         =&A8able
                                                                               &8248to678move
                                                                                         >7048the 6948assets
                                                                                                       &AA46A8:for758


        8                                                  H\8
                                                           45
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 47 of 95

        8
;24X8a&6?94A.8'?B8678&8?7>@&'38?&224(8;24X8a&6?94A.88=9/?98=&A8=972238
Flex Watches, Inc. to a company called Flex Watches, LLC which was wholly

7='4(8by
owned      838ML  ,8Fashion.
                       ;&A9/7'B8
          9\EBUAsA8is/A8to678be8484expected,
          152.                             X@4?64(.8the
                                                      6948Flex
                                                            ;24X8Watches
                                                                     a&6?94A8brand
                                                                                 85&'(8:floundered
                                                                                              271'(454(8under1'(458
4   >7'/AW8?control
 Lemonis'          7'65728and
                            &'(8its/6A8debts
                                       (486A8to6784 >7'/A8grew
                                                  Lemonis      R54=8insurmountable.
                                                                      /'A15>71'6&824B88In'8August   1R1A682019,
                                                                                                             EF9c.8
&2>7A68three
almost     695448years
                     34&5A8after
                             &:6458their
                                     694/584episode
                                             @/A7(48aired,
                                                     &/54(.8Lemonis
                                                              4>7'/A8soldA72(8Flex
                                                                                ;24X8Watches
                                                                                         a&6?94A8back8&?D8to678one
                                                                                                               7'48
7:8the
of    6948original
              75/R/'&28owners
                          7='45A8:for758[$10   9F8plus
                                                  @21A8[$52,175
                                                           \E.9`\8in/'8/inventory,
                                                                           '04'6753.8[$13,437.63
                                                                                             9Y.HY`BJY8in/'8the 6948
?company's
  7>@&'3WA8?cash     &A98&accounts,
                           ??71'6A.8and &'(8$128,231.95
                                               [9EI.EY9Bc\8in/'8accounts
                                                                   &??71'6A8payable—a
                                                                              @&3&824b&8tiny     6/'38:fraction
                                                                                                         5&?6/7'8of7:8
;24X8Watches'
Flex    a&6?94AW8[$1,000,000
                         9.FFF.FFF8valuation
                                         0&21&6/7'8prior
                                                     @5/758to6784  >7'/AW8involvement.
                                                                Lemonis'     /'07204>4'6B8
          9\YBU)9
          153.          /A8happened
                     This   9&@@4'4(8again &R&/'8with
                                                   =/698a&8business
                                                              81A/'4AA8?called
                                                                           &224(8Ben's
                                                                                   C4'WA8"&       5(4'8that
                                                                                              Garden      69&68was
                                                                                                               =&A8
:featured
  4&6154(8on   7'8"The
                    O)948"Profit"
                           O*57:/6P8in/'8January
                                             &'1&5382019.
                                                      EF9cB88Ben's
                                                                C4'WA8"&    5(4'8produced
                                                                        Garden     @57(1?4(8home  97>48and &'(8gift
                                                                                                                R/:68
/64>A8like
items    2/D48greeting
                  R5446/'R8?cards,
                               &5(A.8paperweights,
                                       @&@45=4/R96A.8and &'(8picture
                                                                @/?61548:frames.
                                                                          5&>4AB88' On8   6948show,
                                                                                           the   A97=.84    >7'/A8
                                                                                                          Lemonis

&R544(8to678invest
agreed           /'04A68[$400,000
                           HFF.FFF8:for75840%HF^8of7:8the
                                                      6948business.
                                                           81A/'4AAB88Ben's
                                                                          C4'WA8"&Garden5(4'8needed
                                                                                               '44(4(8an&'8influx
                                                                                                             /':21X8
7:8?cash
of     &A98to678pay@&38unpaid
                          1'@&/(8bills8/22A8soA784 >7'/A8:funded
                                                 Lemonis       1'(4(8the6948?company
                                                                               7>@&'38by     838:forcing
                                                                                                    75?/'R8,"8
                                                                                                              MLG

$4   6&/2b7'48of7:8,8
 Retail—one                   ;&A9/7'WA8biggest
                        ML Fashion's         8/RR4A68assets—to
                                                      &AA46Ab678purchase
                                                                      @15?9&A48its/6A8old
                                                                                        72(8inventory
                                                                                             /'04'67538and &'(8put
                                                                                                                @168
/68into
it  /'678its/6A8retail
                546&/28stores.
                        A6754AB88,8     ;&A9/7'8&and
                                  ML Fashion         '(8MLG
                                                         ,"8Retail
                                                                  $46&/28had
                                                                          9&(8not
                                                                               '768been
                                                                                     844'8in/'8the
                                                                                                 6948home
                                                                                                      97>48good
                                                                                                              R77(8
>&5D468before,
market        84:754.8soA78the
                           6948sudden
                                A1((4'8addition
                                            &((/6/7'8of7:8home
                                                          97>48goods
                                                                   R77(A8to678their
                                                                              694/58stores
                                                                                     A6754A8did (/(8not
                                                                                                     '768goR78well.
                                                                                                              =422B88
)948product
The    @57(1?68did   (/(8not
                          '768sell
                               A4228&and
                                       '(84ended
                                             '(4(8up
                                                   1@8being
                                                       84/'R8&a8loss
                                                                  27AA8on
                                                                        7'8the
                                                                           6948Company's
                                                                                7>@&'3WA8books.   877DAB8
          9\HBUAsA8seems
          154.           A44>A8to678always
                                       &2=&3A8happen,
                                                 9&@@4'.8by838June
                                                                  1'482019,
                                                                       EF9c.84    >7'/A8&and
                                                                               Lemonis          '(8the
                                                                                                    6948owner
                                                                                                          7='458of7:8
C4'WA8Garden
Ben's     "&5(4'8had   9&(8a&8:falling
                                &22/'R8out.
                                          716B88After
                                                  :6458that,
                                                       69&6.84   >7'/A.8just
                                                               Lemonis,    d1A68&asA8he948had
                                                                                          9&(8tried
                                                                                                65/4(8to678do
                                                                                                           (78with
                                                                                                               =/698
*Plaintiffs
   2&/'6/::A8before
                84:7548the6948"7  7845538deal
                               Gooberry       (4&28was
                                                   =&A8signed,
                                                        A/R'4(.8told672(8the
                                                                         6948Ben's
                                                                              C4'WA8"&      5(4'8owner
                                                                                        Garden     7='458that
                                                                                                            69&68he948

        8                                                  HJ8
                                                           46
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       8
9&(867854@&384>7'/A8:758&2287:86948>7'438948@168/'6789/A881A/'4AA87'86948A97=8758
had to repay Lemonis for all of the money he put into his business on the show or

4else
  2A484 >7'/A8would
       Lemonis   =712(8take
                          6&D48the
                                6948business
                                      81A/'4AA8:from
                                                 57>8him.
                                                      9/>B88
        9\\BU4
        155.       >7'/A8used
                Lemonis      1A4(8the6948new
                                          '4=8businesses,
                                                81A/'4AA4A.8new'4=8retail
                                                                      546&/28stores,
                                                                              A6754A.8and
                                                                                        &'(8?constant
                                                                                                 7'A6&'68
&?]1/A/6/7'A8to678keep
acquisitions        D44@8*Plaintiffs
                             2&/'6/::A8distracted
                                         (/A65&?64(8:from
                                                      57>8what
                                                             =9&68he948was
                                                                        =&A8doing
                                                                               (7/'R8with
                                                                                       =/698the 6948,8
                                                                                                     ML

;&A9/7'8&assets.
Fashion     AA46AB884 >7'/A8was
                    Lemonis     =&A8?constantly
                                        7'A6&'6238having
                                                   9&0/'R8*Plaintiffs
                                                             2&/'6/::A8open
                                                                        7@4'8new
                                                                               '4=8retail
                                                                                     546&/282locations,
                                                                                              7?&6/7'A.8
?change
  9&'R48retail
          546&/28locations
                 27?&6/7'A8to678different
                                 (/::454'68brands,
                                             85&'(A.8?close
                                                        27A48'new
                                                                4=82locations,
                                                                     7?&6/7'A.8&and'(8?clean
                                                                                        24&'8up 1@8after
                                                                                                    &:6458
$&  ::42WA8messes
 Raffel's   >4AA4A8to678?create
                           54&648a&8:fog
                                       7R8where
                                          =94548*Plaintiffs
                                                    2&/'6/::A8were
                                                               =4548too
                                                                      6778overworked
                                                                           7045=75D4(8to678?closely
                                                                                                  27A4238
4examine
  X&>/'48the6948wellbeing
                 =42284/'R8of7:8the69487  >@&'3B88Whenever
                                        Company.      a94'40458*Plaintiffs
                                                                      2&/'6/::A8did
                                                                                 (/(8question
                                                                                      ]14A6/7'8what =9&68
4  >7'/A8was
 Lemonis    =&A8doing
                 (7/'R8with
                        =/698the
                               6948Company,
                                       7>@&'3.8Lemonis
                                                  4>7'/A8would
                                                            =712(8respond
                                                                    54A@7'(8with
                                                                               =/698threats
                                                                                     6954&6A8to6784either
                                                                                                    /69458
:fire
  /548their
      694/58mother
            >769458Neomi,
                     47>/.8:foreclose
                                 754?27A48on7'8his
                                               9/A8debt
                                                    (4868&and
                                                           '(8take
                                                               6&D48the
                                                                     6948Company
                                                                         7>@&'38:from  57>8them,
                                                                                               694>.8or758
:fire
  /548them
      694>8:from
              57>8the
                    69487   >@&'3B884
                         Company.           >7'/A8made
                                         Lemonis    >&(48/it68?clear
                                                                 24&58that
                                                                      69&68they
                                                                            69438had
                                                                                   9&(8no'78power
                                                                                              @7=458to678
@5404'68him
prevent    9/>8:from
                 57>8doing
                       (7/'R8as&A8he948pleased
                                        @24&A4(8with
                                                  =/698the
                                                         69487  >@&'3B88Again,
                                                             Company.         R&/'.8after
                                                                                      &:6458watching
                                                                                              =&6?9/'R8
4  >7'/A8do
 Lemonis    (78this
               69/A8with
                     =/698other
                            769458business
                                    81A/'4AA8owners
                                              7='45A8they
                                                        69438Dknew
                                                               '4=8he948would
                                                                         =712(8make
                                                                                  >&D48good
                                                                                          R77(8on 7'8his
                                                                                                      9/A8
6954&6AB8
threats.

               lm Lemonis
               E.      s~nytuUses    usuML
                                           Lq     u{tnyTonGrow
                                                 Fashion         kpnHis tuPersonal
                                                                              Mspunyqxjp       qy8
                                                                                           Brand

        9\JBU;
        156.      156945>754.84
                Furthermore,           >7'/A8was
                                   Lemonis     =&A8not
                                                     '768actually
                                                           &?61&2238interested
                                                                      /'6454A64(8in/'8growing
                                                                                        R57=/'R8the   6948
7  15&R4BC8brand
Courage.B     85&'(8or758any
                         &'38of7:8the
                                   6948other
                                        769458brands
                                              85&'(A8ML,8Fashion
                                                            ;&A9/7'8&acquired
                                                                        ?]1/54(8such
                                                                                   A1?98&asA8<4
                                                                                             Denim'/>8&8
!Soul.
   712B88Instead,
         'A64&(.84   >7'/A.8together
                    Lemonis,      67R469458with
                                             =/698$&   ::42.8his
                                                   Raffel,   9/A8new
                                                                   '4=8wife,
                                                                         =/:4.8sought
                                                                                 A71R968to678use
                                                                                               1A48ML,8
;&A9/7'WA8&assets
Fashion's     AA46A8and
                     &'(8*Plaintiffs'
                            2&/'6/::AW8Dknow-how
                                         '7=G97=8to678grow
                                                        R57=8his
                                                               9/A8new
                                                                   '4=8retail
                                                                        546&/28?concept
                                                                                  7'?4@68MARCUS.
                                                                                          , $#!B888


       8                                             H`8
                                                     47
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        8
       9\`BU'8/':75>&6/7'8&'(8842/4:.84>7'/A8&'(8$&::428=&'64(8678R57=8
        157. On information and belief, Lemonis and Raffel wanted to grow

, $#!8to678have
MARCUS           9&048&a8venture
                          04'61548together,
                                    67R46945.8:further
                                                   1569458promoting
                                                           @57>76/'R8Lemonis'
                                                                         4>7'/AW8personal
                                                                                        @45A7'&28brand85&'(8
&'(8the
and  6948?couple's
           71@24WA8image.
                      />&R4B884   >7'/A8and
                                Lemonis    &'(8$&     ::428married
                                                   Raffel  >&55/4(8/in'8February
                                                                          ;4851&538of7:82017
                                                                                           EF9`8in/'87  LosA  8
   'R424AB8
Angeles.

       9\IBU
       158.    In'8
                  EF9`.84
                  2017,      >7'/A8wanted
                          Lemonis     =&'64(8to678open
                                                    7@4'8a&8store
                                                            A67548/in'8downtown
                                                                       (7='67='8Chicago.
                                                                                      9/?&R7B88At68the  6948
6/>4.8Menkin
time, ,4'D/'8&and '(8"7   154&18advised
                       Goureau    &(0/A4(8that
                                           69&68opening
                                                   7@4'/'R8&a85retail
                                                                46&/28store
                                                                       A67548/in'8that
                                                                                  69&68location
                                                                                        27?&6/7'8would=712(8
8484extremely
be   X654>42384expensive.
                  X@4'A/04B88Despite
                                  <4A@/648their
                                            694/58?concern,
                                                       7'?45'.84    >7'/A8opened
                                                                 Lemonis      7@4'4(8&a85retail46&/28store
                                                                                                       A67548
85&'(4(8,MARCUS.
branded        $#!B888
       9\cBU'
       159.    Once?48the
                       6948new
                           '4=8,MARCUS$#!8store
                                               A67548was=&A8opened,
                                                            7@4'4(.8&around
                                                                         571'(8:fall
                                                                                   &2282017,
                                                                                        EF9`.8Lemonis
                                                                                                   4>7'/A8
54'70&64(8and
renovated   &'(8rebranded
                   5485&'(4(8ML   ,8Fashion's
                                       ;&A9/7'WA8other769458retail
                                                              546&/28locations
                                                                      27?&6/7'A8:from57>8Courage.B,
                                                                                              715&R4BC.8
<4'/>8&8!Soul,
Denim         712.8and
                     &'(8$1  '=&38as&A8MARCUS
                         Runway          , $#!8stores. A6754AB88For
                                                                  ;758the
                                                                        6948most
                                                                             >7A68part,
                                                                                     @&56.8these
                                                                                              694A48were
                                                                                                       =4548
A6754A8that
stores  69&68ML
              ,8Fashion
                      ;&A9/7'8had9&(85recently
                                        4?4'6238spent
                                                    A@4'68hundreds
                                                            91'(54(A8of7:8thousands
                                                                              6971A&'(A8of7:8dollars (722&5A8
54'70&6/'R8that
renovating   69&68the
                   69487  >@&'38now
                        Company      '7=8had
                                          9&(8to678spend
                                                     A@4'(84even
                                                               04'8more
                                                                    >7548money
                                                                           >7'438to6785renovate
                                                                                           4'70&648and   &'(8
?change
  9&'R48branding
         85&'(/'R8and&'(8/inventory
                           '04'67538to678become
                                         84?7>48,MARCUS   $#!8stores.
                                                                   A6754AB888
       9JFBU
       160.    In'8&addition,
                     ((/6/7'.8the
                                6948stores
                                    A6754A8had9&(8to678purchase
                                                         @15?9&A48'new 4=8signage,
                                                                           A/R'&R4.8websites,
                                                                                         =48A/64A.8&and   '(8
85&'(4(8materials
branded   >&645/&2A8such
                       A1?98as&A8shopping
                                 A97@@/'R8bags,
                                            8&RA.8tissue
                                                     6/AA148paper,
                                                             @&@45.8displays,
                                                                      (/A@2&3A.84etc.6?B88All228of7:8the
                                                                                                     6948old
                                                                                                         72(8
A/R'&R48and
signage   &'(8branded
               85&'(4(8materials
                           >&645/&2A8had
                                       9&(8to678be848thrown
                                                     6957='8out.
                                                               716B88Again,
                                                                         R&/'.8the
                                                                                 69485renovations
                                                                                       4'70&6/7'A8and    &'(8
5485&'(/'R8:forced
rebranding     75?4(8,8    ;&A9/7'8to678take
                        ML Fashion         6&D48on 7'8more
                                                        >75482loans
                                                                7&'A8:from
                                                                        57>84     >7'/A8to678?cover
                                                                               Lemonis              70458its/6A8
4expenses.
  X@4'A4AB8


        8                                                HI8
                                                         48
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        8
        9J9BU)94'.87'8/':75>&6/7'8&'(8842/4:.87'8758&571'(81238Y9.8EF9I.84>7'/A8
        161. Then, on information and belief, on or around July 31, 2018, Lemonis

&@@2/4(8to678trademark
applied       65&(4>&5D8the 6948word
                                   =75(8MARCUS
                                          , $#!8:for758the 6948products
                                                                 @57(1?6A8sold A72(8under
                                                                                     1'(458the
                                                                                             6948brand,
                                                                                                   85&'(.8such
                                                                                                           A1?98
&A8handbags,
as  9&'(8&RA.8?clothing,
                    2769/'R.8and
                               &'(8:footwear.
                                        776=4&5B88+7     =4045.8instead
                                                     However,      /'A64&(8of7:8applying
                                                                                   &@@23/'R8:for758the6948mark
                                                                                                           >&5D8
1'(458,8
under           ;&A9/7'.8the
        ML Fashion,          6948?company
                                      7>@&'38that
                                                69&68was=&A8running
                                                              51''/'R8the 6948MARCUS
                                                                                , $#!8retail     546&/28stores,
                                                                                                         A6754A.8
4 >7'/A8tried
Lemonis      65/4(8to678obtain
                        786&/'8the 6948trademark
                                       65&(4>&5D8:for758MARCUS
                                                          , $#!81under     '(458ML
                                                                                  ,8Creative,
                                                                                        54&6/04.8. LLC,8  &an'8
4entity
  '6/638which
        =9/?98*Plaintiffs
                    2&/'6/::A8have
                                9&048no  '78ownership
                                             7='45A9/@8interest
                                                           /'6454A68in/'8and,
                                                                            &'(.8under
                                                                                  1'(458information
                                                                                           /':75>&6/7'8and  &'(8
842/4:.8is/A8owned
belief,      7='4(8&and '(8?controlled
                              7'657224(8solely
                                           A724238by
                                                   8384   >7'/AB8
                                                        Lemonis.

        9JEBUAdditionally,
        162.       ((/6/7'&223.84       >7'/A8sought
                                      Lemonis    A71R968to678build
                                                                81/2(8strife
                                                                        A65/:48between
                                                                                  846=44'8*Plaintiffs
                                                                                                  2&/'6/::A8and
                                                                                                            &'(8
694/58mother,
their  >76945.8Neomi.
                  47>/B88After   :6458the
                                       6948?creation
                                             54&6/7'8of7:8,8   ;&A9/7'.8Neomi
                                                          ML Fashion,         47>/8?continued
                                                                                        7'6/'14(8to6784earn&5'8a&8
A&2&538:from
salary     57>8,8       ;&A9/7'.82like
                  ML Fashion,           /D48she
                                             A948did
                                                   (/(8:from
                                                          57>8"7     784553.8as&A8a&8management
                                                                 Gooberry,              >&'&R4>4'68:fee.     44B88
+7=4045.8after
However,       &:6458about
                      &87168&a8year,
                                  34&5.8Lemonis
                                         4>7'/A8told672(8Neomi
                                                           47>/8that69&68he948hated
                                                                                 9&64(8&all228of7:8her
                                                                                                   9458designs
                                                                                                        (4A/R'A8
&'(8that
and  69&68Neomi
            47>/8should
                      A9712(82let468Lemonis
                                      4>7'/A8and
                                               &'(8*Plaintiffs
                                                       2&/'6/::A8do
                                                                 (78all
                                                                     &228of7:8the
                                                                              6948work
                                                                                  =75D8:for758the
                                                                                               6948Company.
                                                                                                       7>@&'3B8
        9JYBU4
        163.          >7'/A8&attempted
                 Lemonis       664>@64(8to678pit
                                               @/68*Plaintiffs
                                                      2&/'6/::A8&against
                                                                  R&/'A68their
                                                                            694/58mother
                                                                                   >769458by 838?consistently
                                                                                                    7'A/A64'6238
6422/'R8*Plaintiffs
telling     2&/'6/::A8that
                       69&68they
                            69438would
                                     =712(8make
                                             >&D48more
                                                    >7548money
                                                            >7'438if/:8the
                                                                         6948Company
                                                                               7>@&'38was   =&A8not'768paying
                                                                                                         @&3/'R8
694/58mother.
their  >76945B8
        9JHBU4
        164.          >7'/A8&also
                 Lemonis       2A78used
                                      1A4(8Neomi
                                             47>/8&asA8a&8pawn
                                                             @&='8to6784ensure
                                                                            'A1548that
                                                                                    69&68*Plaintiffs
                                                                                            2&/'6/::A8did
                                                                                                        (/(8not
                                                                                                             '768
]14A6/7'8how
question     97=8much
                   >1?98influence
                          /':214'?48over 70458the
                                               6948Company
                                                    7>@&'38he948had 9&(8given
                                                                            R/04'8$&   ::42B88Raffel
                                                                                    Raffel.      $&::428did
                                                                                                         (/(8not
                                                                                                             '768
9&0484experience
have    X@45/4'?48buying813/'R8inventory
                                    /'04'67538:for758a&8multi-store
                                                         >126/GA67548?chain,
                                                                         9&/'.8did(/(8not
                                                                                       '768understand
                                                                                              1'(45A6&'(the 6948
(/::454'68markets
different    >&5D46A8and &'(8needs
                               '44(A8of7:8the6948stores,
                                                 A6754A.8&and'(8was
                                                                  =&A8unfamiliar
                                                                        1':&>/2/&58with =/698the  6948software
                                                                                                       A7:6=&548


        8                                                 Hc8
                                                          49
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        8
A3A64>A8,8;&A9/7'81A4(8678>&'&R48/6A8/'04'6753B88)9/A8:75?4(8769458,8;&A9/7'8
systems ML Fashion used to manage its inventory. This forced other ML Fashion

A6&::8to678:fix/X84errors
staff               5575A8and
                            &'(8mistakes
                                 >/A6&D4A8that
                                            69&68she
                                                  A948made,
                                                       >&(4.8?costing
                                                                 7A6/'R8the
                                                                          69487  >@&'38time
                                                                              Company          6/>48&and
                                                                                                       '(8money.
                                                                                                          >7'43B8
          9J\BUa9
          165.       When  4'8Plaintiffs
                               *2&/'6/::A8]questioned
                                            14A6/7'4(8why  =938$&   ::428was
                                                                Raffel    =&A8making
                                                                                >&D/'R8purchases
                                                                                              @15?9&A4A8:for758the6948
7  >@&'3.84
Company,              >7'/A8would
                   Lemonis      =712(8tell
                                       64228them
                                            694>8that
                                                    69&68they
                                                          69438had
                                                               9&(8to678deal
                                                                         (4&28with
                                                                              =/698$& Raffel::428being
                                                                                                 84/'R8involved
                                                                                                         /'07204(8
84?&1A48Lemonis
because         4>7'/A8was  =&A8keeping
                                   D44@/'R8their
                                              694/58mother
                                                     >769458Neomi
                                                               47>/8on  7'8the
                                                                             6948payroll.
                                                                                  @&35722B884      >7'/A8often
                                                                                                  Lemonis     7:64'8
6954&64'4(8to678:fire
threatened              /548Neomi
                            47>/8whenever
                                     =94'40458*Plaintiffs
                                                     2&/'6/::A8did
                                                               (/(8not
                                                                     '768simply
                                                                          A/>@238:fall
                                                                                     &228in/'8line.
                                                                                               2/'4B8
                    lm Lemonis
                    F.         s~nytuRemoves
                                          s~nsuPlaintiffs
                                                        Mxqty|twwuFrom
                                                                     pn~ Their {stpBusiness
                                                                                       joutysuu
          9JJBU
          166.       In'8 !September
                            4@64>84582019,
                                         EF9c.8Lemonis
                                                  4>7'/A8made>&(48goodR77(8on 7'8his9/A8threats
                                                                                             6954&6A8to678remove
                                                                                                          54>7048
47>/8and
Neomi        &'(8abruptly
                     &851@6238terminated
                                  645>/'&64(8her 94584employment
                                                        >@273>4'68with  =/698the
                                                                               6948Company.
                                                                                      7>@&'3B88"/         70&''/8
                                                                                                         Giovanni

!Senafe,
   4'&:4.8one7'48of7:8Lemonis'
                         4>7'/AW8&agents,
                                       R4'6A.8?called
                                                  &224(8Neomi
                                                         47>/8to678tell
                                                                       64228her
                                                                            9458that
                                                                                 69&68she
                                                                                        A948was =&A8terminated,
                                                                                                     645>/'&64(.8
4effective
  ::4?6/048/immediately,
                  >>4(/&6423.8that  69&68she
                                          A948would
                                                =712(8receive
                                                          54?4/048no '78:further
                                                                           1569458?compensation
                                                                                      7>@4'A&6/7'8moving  >70/'R8
:forward,
  75=&5(.8&and   '(8that
                      69&68her
                             9458health
                                 94&2698/insurance
                                          'A15&'?48was =&A8being
                                                            84/'R8?cut168off.
                                                                          7::B8
          9J`BU
          167.         '(44(.8one
                     Indeed,     7'48by
                                      838one,
                                          7'4.84     >7'/A8has
                                                  Lemonis     9&A8sought
                                                                    A71R968to678?cut168*Plaintiffs
                                                                                         2&/'6/::A8out 7168of7:8the
                                                                                                                  6948
81A/'4AA8they
business        69438?created
                         54&64(8with
                                  =/698their
                                        694/58:family.
                                                &>/23B88In'8March
                                                              ,&5?982016,
                                                                        EF9J.84   >7'/A8moved
                                                                                Lemonis         >704(8"7     154&18
                                                                                                         Goureau

:from
  57>8,8        ;&A9/7'8to678ML,
         ML Fashion               ,.88
                                       LLC in  /'8&an'8attempt
                                                       &664>@68to678drive
                                                                     (5/048a&8rift
                                                                               5/:68between
                                                                                     846=44'8"7         154&18and
                                                                                                   Goureau       &'(8
,4'D/'B884
Menkin.              >7'/A8had
                 Lemonis       9&(8"7  154&18work
                                    Goureau    =75D8on 7'8other
                                                           769458businesses
                                                                   81A/'4AA4A8that
                                                                                 69&684      >7'/A8invested
                                                                                        Lemonis       /'04A64(8/in'8
69571R98"The
through      O)948*Profit"
                         57:/6P8that
                                 69&68did
                                      (/(8not
                                          '768:fall
                                                 &228under
                                                     1'(458the
                                                            6948,8    ;&A9/7'8umbrella.
                                                                 ML Fashion       1>85422&B88AsA8part   @&568of7:8the
                                                                                                                  6948
65&'A/6/7'.84
transition,            >7'/A8prohibited
                   Lemonis       @579/8/64(8"7     154&18:from
                                               Goureau      57>84entering
                                                                     '645/'R8the
                                                                               6948stores
                                                                                     A6754A8owned7='4(8by  838,8ML

;&A9/7'8or758having
Fashion            9&0/'R8any &'38opinion
                                   7@/'/7'8or758influence
                                                /':214'?48in/'8a&8?company
                                                                    7>@&'38he948?created.
                                                                                     54&64(B88"7     154&18Dknew
                                                                                                  Goureau       '4=8


        8                                                   \50F8
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        8
69&68/:8948@1A94(88&?D84>7'/A8=712(8:/5489/A8A/A6458,4'D/'8&'(89/A8>76945847>/8
that if he pushed back Lemonis would fire his sister Menkin and his mother Neomi

=978relied
who     542/4(8on
                7'8,8     ;&A9/7'8and
                     ML Fashion       &'(8"7   7845538to678make
                                           Gooberry         >&D48a&8living.
                                                                    2/0/'RB8
          9JIBU)9
          168.        4'.8in/'8May
                  Then,          ,&382017,
                                        EF9`.84     >7'/A8moved
                                                 Lemonis     >704(8"7     154&18:from
                                                                       Goureau      57>8ML, ,.8LLC
                                                                                                  8to678
&  >@/'R8World.
Camping       a752(B884      >7'/A85represented
                           Lemonis      4@54A4'64(8that69&68working
                                                             =75D/'R8at&68Camping
                                                                          &>@/'R8Worlda752(8would
                                                                                                 =712(8be848
84'4:/?/&28:for758"7
beneficial                154&18because
                     Goureau      84?&1A48it/68was
                                               =&A8&a8publicly
                                                        @182/?238traded
                                                                  65&(4(8?company
                                                                             7>@&'38that69&68?could
                                                                                                712(8offer
                                                                                                      7::458
A67?D8vesting
stock    04A6/'R8&and '(8other
                           7694584employment
                                     >@273>4'68benefits.
                                                     84'4:/6AB88However,
                                                                 +7=4045.84     >7'/A8:fired
                                                                              Lemonis       /54(8"7  154&18
                                                                                                  Goureau

:from
  57>8&    >@/'R8World
         Camping      a752(8in/'8December
                                   <4?4>84582018.EF9IB8
          9JcBU'
          169.    On8   758around
                        or &571'(8<4    ?4>84582019,
                                     December      EF9c.84   >7'/A8and
                                                           Lemonis   &'(8Menkin
                                                                          ,4'D/'8discussed
                                                                                     (/A?1AA4(8how97=8she
                                                                                                       A948
?could
  712(8separate
          A4@&5&648:from57>8the6948Company
                                    7>@&'38and   &'(84   >7'/AW8businesses.
                                                       Lemonis'    81A/'4AA4AB88The )948two6=78discussed
                                                                                                (/A?1AA4(8
645>A8of7:8a&8departure,
terms          (4@&56154.8however,
                              97=4045.8once7'?48the
                                                  6948S    <G9c8pandemic
                                                       COVID-19     @&'(4>/?8started,
                                                                                  A6&564(.8&around
                                                                                              571'(8April
                                                                                                       @5/28
EFEF.8Lemonis
2020,    4>7'/A8abruptly
                       &851@6238?cut168off
                                       7::8Menkin
                                            ,4'D/'8&and '(85removed
                                                             4>704(8her9458&access
                                                                             ??4AA8to678her
                                                                                        9458?company
                                                                                               7>@&'384e-G
>&/28and
mail    &'(8all
             &228of7:8her
                      9458?company
                             7>@&'38:files.
                                        /24AB8
          9`FBU;
          170.       156945.8ML
                  Further,    ,8Fashion
                                    ;&A9/7'8has
                                              9&A8not
                                                    '768paid
                                                        @&/(8Menkin
                                                              ,4'D/'8since
                                                                        A/'?48the
                                                                               69484end
                                                                                     '(8of7:8March
                                                                                             ,&5?982020.
                                                                                                    EFEFB88
AsA 8the
     6948*President
            54A/(4'68of7:8ML ,8Fashion,
                                   ;&A9/7'.8,4
                                             Menkin'D/'8received
                                                         54?4/04(8?compensation
                                                                    7>@4'A&6/7'8of7:8[$11,558
                                                                                            99.\\I8on
                                                                                                    7'8the
                                                                                                        6948
:first
  /5A68&and
         '(8:fifteenth
              /:644'698of7:84each
                               &?98month.
                                     >7'69B88Menkin's
                                              ,4'D/'WA8?compensation
                                                             7>@4'A&6/7'8?came&>48:from
                                                                                     57>8&an'8&account
                                                                                                 ??71'68/in'8
6948name
the   '&>48of7:8,"8
                 MLG $4       6&/28but
                           Retail   8168was
                                        =&A8:for758her
                                                   9458work
                                                       =75D8as&A8the
                                                                 6948President
                                                                     *54A/(4'68of7:8ML,8Fashion.
                                                                                            ;&A9/7'B8
          9`9BU)9
          171.        1A.8in/'8six
                  Thus,         A/X8years,
                                    34&5A.84  >7'/A84effectively
                                            Lemonis       ::4?6/04238separated
                                                                     A4@&5&64(8all&228three
                                                                                      695448:founders
                                                                                               71'(45A8of7:8
7   15&R4BC8:from
Courage.B        57>8their
                         694/58business
                                 81A/'4AA8and
                                           &'(8:from
                                                   57>8the
                                                        69487  >@&'38that
                                                             Company     69&68he948was
                                                                                   =&A8supposed
                                                                                         A1@@7A4(8to678be848
942@/'R8&and
helping      '(8growing.
                 R57=/'RB8
                 klm Lemonis
                 G.         s~nytuSeeksssuto|nBenefit
                                                    jsyswt|From
                                                              pn~ the|{sMq   ys~tv
                                                                           Pandemic



        8                                              \5198
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        8
         9`EBUa9/24869484'6/548=752(8/A8(4&2/'R8=/6986948(40&A6&6/'R8S<G9c8
        172. While the entire world is dealing with the devastating COVID-19

@&'(4>/?.84
pandemic,          >7'/A8has
               Lemonis        9&A8been
                                   844'8using
                                         1A/'R8the6948shutdown
                                                       A916(7='8to678:further
                                                                          1569458loot
                                                                                  27768ML
                                                                                        ,8Fashion.
                                                                                             ;&A9/7'B8
         9`YBU!Starting
         173.       6&56/'R8in/'8April@5/282020,
                                             EFEF.84    >7'/A8began
                                                     Lemonis      84R&'8shutting
                                                                            A9166/'R8down
                                                                                        (7='8some
                                                                                                A7>48of7:8the
                                                                                                            6948
7  >@&'3WA85retail
Company's        46&/28stores
                          A6754A8and
                                   &'(8sending
                                        A4'(/'R84employees
                                                     >@27344A8across
                                                                  &?57AA8the6948?country
                                                                                  71'6538to678take
                                                                                              6&D48the
                                                                                                    6948&assets
                                                                                                          AA46A8
&'(8inventory
and    /'04'67538:from  57>8the 6948stores.
                                     A6754AB88' On8or  758around
                                                            &571'(8April  @5/2830,
                                                                                YF.82020,
                                                                                      EFEF.84    >7'/A8sent
                                                                                              Lemonis      A4'68
4employees
  >@27344A8to678?close27A48a&8MARCUS
                                 , $#!8branded 85&'(4(8store
                                                           A67548located
                                                                   27?&64(8/in'8"2   4'?74.8Illinois
                                                                                  Glencoe,     22/'7/A8where
                                                                                                        =94548
,"8Retail
MLG      $46&/28is/A8the
                     6948lessee
                           24AA448of7:8the
                                       6948store
                                             A67548and
                                                   &'(8ML,8Fashion
                                                              ;&A9/7'8is/A8the
                                                                             6948guarantor.
                                                                                  R1&5&'675B884    >7'/A8had
                                                                                                Lemonis    9&(8
69484employees
the    >@27344A8remove54>7048roughly
                                  571R9238[$110,034
                                               99F.FYH8worth
                                                          =75698of7:8/inventory
                                                                         '04'67538and&'(8$60,772
                                                                                          [JF.̀`E8worth
                                                                                                     =75698of7:8
:fixtures,
  /X6154A.8:furniture,
             15'/6154.8and  &'(84equipment
                                   ]1/@>4'68("FFE")
                                                NO;;%PQ8:from57>8the
                                                                   6948"2   4'?748location.
                                                                         Glencoe    27?&6/7'B88*Plaintiffs
                                                                                                  2&/'6/::A8do
                                                                                                             (78
'768know
not  D'7=8what=9&684     >7'/A8has
                      Lemonis       9&A8done
                                        (7'48with
                                                =/698the
                                                       6948inventory
                                                           /'04'67538and  &'(8FFE
                                                                               ;;%8that
                                                                                      69&68was
                                                                                           =&A8removed.
                                                                                                54>704(B8
         9`HBU4
         174.         >7'/A8has
                 Lemonis         9&A8?continued
                                        7'6/'14(8?closing
                                                       27A/'R8stores—and
                                                                A6754Ab&'(8taking 6&D/'R8their
                                                                                           694/58assets—all
                                                                                                   &AA46Ab&228
70458the
over   6948?country
              71'6538during
                         (15/'R8the6948pandemic.
                                       @&'(4>/?B88Also,  2A7.8on
                                                               7'8or758&around
                                                                         571'(8April
                                                                                   @5/2830,
                                                                                        YF.82020,
                                                                                             EFEF.84   >7'/A8
                                                                                                     Lemonis

A4'684employees
sent    >@27344A8to678?close 27A48&a8,MARCUS$#!8branded
                                                    85&'(4(8store
                                                                A675482located
                                                                         7?&64(8/in'8Dallas,
                                                                                      <&22&A.8Texas
                                                                                               )4X&A8owned
                                                                                                       7='4(8
&'(8operated
and   7@45&64(8by  838,8      ;&A9/7'B882
                        ML Fashion.            7A/'R8this
                                            Closing    69/A8store
                                                            A67548was
                                                                   =&A8directly
                                                                          (/54?6238against
                                                                                     &R&/'A68,8    ;&A9/7'WA8
                                                                                              ML Fashion's

/'6454A68because
interest   84?&1A48this 69/A8location
                              27?&6/7'8was
                                         =&A8one7'48of7:8,8  ;&A9/7'WA8strongest
                                                         ML Fashion's        A657'R4A68performing
                                                                                         @45:75>/'R8stores.
                                                                                                        A6754AB88
4  >7'/A8removed
Lemonis      54>704(8roughly571R9238$149,215
                                       [9Hc.E9\8worth
                                                    =75698of7:8inventory
                                                                /'04'67538&and  '(8[$75,451
                                                                                      `\.H\98worth
                                                                                               =75698of7:8FFE
                                                                                                          ;;%8
:from
  57>8the
        6948<&  22&A8location.
            Dallas     27?&6/7'B8
         9`\BU4
         175.         >7'/A8is/A8also
                 Lemonis            &2A78looting
                                            2776/'R8the
                                                     6948assets
                                                           &AA46A8of7:8one7'48of7:8ML
                                                                                   ,8Fashion's
                                                                                         ;&A9/7'WA8biggest
                                                                                                       8/RR4A68
&AA46A.8MLG
assets,   ,"8$4       6&/2B88On
                   Retail.    '8,&May 381,9.82020,
                                              EFEF.8Lemonis
                                                     4>7'/A8sentA4'684employees
                                                                          >@27344A8to678?close
                                                                                           27A48a&8MARCUS
                                                                                                   , $#!8
27?&6/7'8in/'8*Palm
location            &2>8Beach,
                             C4&?9.8Florida
                                       ;275/(&8&and '(8remove
                                                         54>7048its/6A8inventory
                                                                           /'04'67538and&'(8FFE.
                                                                                               ;;%B88Those
                                                                                                        )97A48

        8                                                \52E8
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         8
4employees
  >@27344A8removed
                54>704(85roughly71R9238[$118,128.00
                                             99I.9EIBFF8in/'8inventory
                                                                   /'04'67538and   &'(8[$61,032
                                                                                           J9.FYE8in/'8FFE.
                                                                                                         ;;%B88The   )948
24&A48:for758that
lease        69&68*Palm
                     &2>8CBeach
                             4&?98location
                                     27?&6/7'8/isA8personally
                                                    @45A7'&2238guaranteed
                                                                    R1&5&'644(8by38"Goureau,7154&1.8yet3468Lemonis
                                                                                                               4>7'/A8
(/(8not
did  '768tell
           64228"7    154&18he948was
                 Goureau            =&A8shutting
                                          A9166/'R8down
                                                      (7='8the 6948stores
                                                                      A6754A8and &'(8taking
                                                                                       6&D/'R8/its6A8inventory
                                                                                                     /'04'67538and   &'(8
;;%B88Again,
FFE.        R&/'.8*Plaintiffs
                      2&/'6/::A8do
                                 (78not
                                      '768Dknow
                                              '7=8what
                                                    =9&684    >7'/A8is/A8doing
                                                            Lemonis            (7/'R8with
                                                                                        =/698the
                                                                                              6948&assets
                                                                                                     AA46A8he948took.
                                                                                                                   677DB8
         9`JBU'
         176.     On8    758around
                         or &571'(8August 1R1A6813,9Y.82020,
                                                        EFEF.84       >7'/A8?closed
                                                                   Lemonis         27A4(8on7'8of7:8ML,8Fashion's
                                                                                                          ;&A9/7'WA8
, $#!8branded
MARCUS          85&'(4(8stores
                             A6754A8in/'8Newtown,
                                           4=67='.8,&         AA&?91A466AB88'
                                                          Massachusetts.            Once ?48again,
                                                                                            &R&/'.84     >7'/A8has
                                                                                                       Lemonis        9&A8
6&D4'8hundreds
taken   91'(54(A8of7:8thousands
                           6971A&'(A8of7:8dollars
                                              (722&5A8in/'8inventory
                                                            /'04'67538and &'(8FFE ;;%8:from
                                                                                          57>8that
                                                                                                69&68location
                                                                                                       27?&6/7'8and  &'(8
*Plaintiffs
  2&/'6/::A8are
              &548in/'8the
                        6948dark
                            (&5D8as&A8to678the
                                           6948?current
                                                  1554'68location
                                                           27?&6/7'8of7:8those
                                                                           697A48assets.
                                                                                      &AA46AB8
         9``BU,7
         177.           547045.8starting
                  Moreover,       A6&56/'R8on  7'8April
                                                      @5/2827,
                                                            E`.82020,
                                                                 EFEF.8Lemonis,
                                                                          4>7'/A.8or758someone
                                                                                              A7>47'48&acting  ?6/'R8at&68
9/A8direction,
his  (/54?6/7'.8began
                   84R&'8systematically
                             A3A64>&6/?&2238moving>70/'R8:funds
                                                              1'(A8out 7168of7:8the
                                                                                 6948,"8     $46&/28account
                                                                                      MLG Retail        &??71'68that 69&68
=&A8used
was   1A4(8to678automatically
                   &167>&6/?&2238pay     @&38several
                                               A4045&28of7:8,"8
                                                              MLG $4          6&/2WA8debts.
                                                                         Retail's     (486AB88Importantly,
                                                                                                 >@756&'623.8the     6948
&??71'68was
account      =&A8used
                   1A4(8to678pay
                               @&38a&8payment
                                         @&3>4'68plan @2&'8:for758the
                                                                    6948Company's
                                                                         7>@&'3WA8?corporate75@75&648American
                                                                                                            >45/?&'8
%X  @54AA8?credit
 Express      54(/68?card
                       &5(8that
                            69&68is/A8tied
                                      6/4(8to678"7  154&18personally.
                                                Goureau      @45A7'&223B888
         9`IBU)9
         178.     This /A8American
                             >45/?&'8%X        @54AA8?corporate
                                          Express       75@75&648?card  &5(8was =&A8,8      ;&A9/7'8and
                                                                                       ML Fashion         &'(8,"8MLG

$4  6&/2WA8regular
 Retail's    54R12&58business
                         81A/'4AA8?credit
                                        54(/68?card
                                                  &5(8which
                                                       =9/?984employees
                                                                    >@27344A8in/'8the    6948Company
                                                                                              7>@&'38used     1A4(8to678
@15?9&A48/inventory,
purchase       '04'6753.8office
                              7::/?48supplies,
                                       A1@@2/4A.8and &'(8other
                                                           769458business
                                                                     81A/'4AA8goods.
                                                                                   R77(AB88American
                                                                                                >45/?&'8%X         @54AA8
                                                                                                               Express

54]1/54>4'6A8meant
requirements       >4&'68that69&68an&'8/individual
                                         '(/0/(1&28had 9&(8to678be848tied
                                                                      6/4(8to678the
                                                                                 6948?card,
                                                                                        &5(.8and
                                                                                             &'(8in/'8this
                                                                                                       69/A8?case
                                                                                                                &A48the
                                                                                                                      6948
/'(/0/(1&28tied
individual     6/4(8to678the
                          6948?card
                                &5(8was
                                      =&A8"7     154&1B8
                                            Goureau.

         9`cBU!Starting
         179.        6&56/'R8&around
                                571'(82018,
                                          EF9I.84     >7'/A8began
                                                   Lemonis      84R&'8using
                                                                          1A/'R8this 69/A8?credit
                                                                                            54(/68?card
                                                                                                      &5(8:for7582larger
                                                                                                                   &5R458
7  >@&'38purchases.
Company         @15?9&A4AB88*Previously,
                                     540/71A23.8the  6948?card
                                                             &5(8had9&(8a&8standing
                                                                                A6&'(/'R8balance
                                                                                             8&2&'?48of7:8&around571'(8

         8                                                    \53Y8
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        8
[$200,000.
  EFF.FFFB88)9        571R982018
                   Through       EF9I8and &'(82019,
                                                 EF9c.84     >7'/A8/increased
                                                           Lemonis     '?54&A4(8the   6948balance
                                                                                            8&2&'?48to678over  70458
[$600,000.
  JFF.FFFB88'    On8 /':75>&6/7'8and
                      information       &'(8belief,
                                              842/4:.8this
                                                       69/A8was
                                                              =&A8done
                                                                   (7'48because
                                                                          84?&1A48the   6948?card
                                                                                              &5(8was
                                                                                                   =&A8tied 6/4(8to678
"7  154&18personally
 Goureau       @45A7'&2238which=9/?98&allowed
                                         227=4(84     >7'/A8to678use
                                                    Lemonis        1A48the
                                                                        6948threat
                                                                              6954&68of7:8defaulting
                                                                                           (4:&126/'R8on    7'8the
                                                                                                                 6948
?card,
  &5(.8and
        &'(8triggering
               65/RR45/'R8hundreds
                              91'(54(A8of7:8thousands
                                              6971A&'(A8of7:8personal
                                                                @45A7'&282liability
                                                                            /&8/2/638:for758Goureau,
                                                                                            "7154&1.8to678Dkeep 44@8
,4'D/'8:from
Menkin        57>8questioning
                    ]14A6/7'/'R8his  9/A8decisions.
                                          (4?/A/7'AB8
           9IFBU'
           180.    On8  758around
                        or   &571'(8April@5/284,H.82019,
                                                   EF9c.8MLG,"8$4    6&/284entered
                                                                   Retail     '6454(8into
                                                                                        /'678a&8payment
                                                                                                @&3>4'68plan   @2&'8
=/698American
with        >45/?&'8%X       @54AA8&and
                       Express       '(8agreed
                                          &R544(8to678pay
                                                       @&38the6948balance
                                                                   8&2&'?48due,
                                                                              (14.8roughly
                                                                                      571R9238$688,762,
                                                                                                 [JII.̀JE.8in/'8
>7'69238/installments
monthly        'A6&22>4'6A8of7:8[$18,696.
                                     9I.JcJB88See8March
                                                      ,&5?9817, 9`.82020
                                                                    EFEF84     66458:from
                                                                            Letter     57>8!S.B8Menkin
                                                                                                ,4'D/'8to678N.B8
"7  154&1.8Bellew
 Goureau,      C4224=8Decl.
                          <4?2B8%XEx.B8<B
                                       D.8  84  >7'/A84expressly
                                             Lemonis        X@54AA238&approved
                                                                       @@5704(8this 69/A8payment
                                                                                          @&3>4'68plan.@2&'B88Id. B8
&68p.@B82.EB88Under
at            #'(458the
                      6948&agreement,
                              R544>4'6.8the 6948installment
                                                 /'A6&22>4'68payments
                                                                 @&3>4'6A8were=4548drawn
                                                                                      (5&='8directly
                                                                                               (/54?6238out  7168of7:8
7'48of7:8MLG
one         ,"8$4     6&/2WA8bank
                    Retail's    8&'D8accounts.
                                      &??71'6AB8
           9I9BUa9
           181.    While/2484   >7'/A8has
                              Lemonis     9&A8no'78problem
                                                     @57824>8making
                                                                 >&D/'R85regular
                                                                             4R12&58payments
                                                                                       @&3>4'6A8of7:8several
                                                                                                           A4045&28
6971A&'(A8of7:8dollars
thousands           (722&5A8to678his
                                  9/A8personal
                                       @45A7'&28American
                                                      >45/?&'8Express
                                                                  %X@54AA8?card,
                                                                               &5(.8he948made
                                                                                          >&(48sure
                                                                                                 A1548that69&68the
                                                                                                                 6948
?corporate
  75@75&648American>45/?&'8%X     @54AA8?card
                               Express      &5(8tied
                                                  6/4(8to678"7 154&18had
                                                            Goureau    9&(8a&8payment
                                                                                 @&3>4'68plan @2&'8where
                                                                                                     =94548any  &'38
>/AA4(8payments
missed       @&3>4'6A8triggered
                          65/RR454(8the69484entire
                                              '6/548amount
                                                     &>71'68due.
                                                               (14B884  >7'/A8often
                                                                      Lemonis      7:64'8used
                                                                                            1A4(8the
                                                                                                  6948threat
                                                                                                         6954&68of7:8
A67@@/'R8the
stopping        6948&automatic
                      167>&6/?8payments—which
                                     @&3>4'6Ab=9/?98would      =712(8automatically
                                                                        &167>&6/?&2238make    >&D48"7        154&18
                                                                                                        Goureau

@45A7'&22382liable
personally        /&8248:for758hundreds
                               91'(54(A8of7:8thousands
                                               6971A&'(A8of7:8dollars—to
                                                                 (722&5Ab678keep D44@8,4     'D/'8/in'82line.
                                                                                         Menkin          /'4B8
           9IEBU'
           182.    On8  758&around
                        or    571'(8March
                                      ,&5?9817, 9`.82020,
                                                     EFEF.8,8    ;&A9/7'8and
                                                              ML Fashion      &'(8MLG
                                                                                   ,"8Retail
                                                                                            $46&/28?confirmed
                                                                                                      7':/5>4(8
69&68the
that   6948?companies
              7>@&'/4A8would =712(8?continue
                                      7'6/'148to678pay@&38the
                                                            6948amount
                                                                &>71'68due
                                                                         (148on  7'8the
                                                                                     6948American
                                                                                             >45/?&'8%X       @54AA8
                                                                                                          Express

&??71'6.8now
account,      '7=8&around
                      571'(8[$463,112.
                                 HJY.99EB88See 8March
                                                     ,&5?9817, 9`.82020
                                                                   EFEF84     66458:from
                                                                          Letter      57>8!S.B8,4    'D/'8to678N.B8
                                                                                                Menkin



        8                                                   \54H8
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        8
"7   154&1.8Bellew
 Goureau,     C4224=8Decl.
                         <4?2B8%X Ex.B 8<B
                                        D.88However,
                                            +7=4045.84      >7'/A8has
                                                          Lemonis       9&A8been
                                                                              844'8purposefully
                                                                                    @15@7A4:12238depleting
                                                                                                         (4@246/'R8
6948&account
the    ??71'68used
                1A4(8:for758the
                              6948automatic
                                   &167>&6/?8payments
                                                 @&3>4'6A8soA78that
                                                                  69&68there
                                                                        694548are
                                                                                &548no
                                                                                    '78:funds
                                                                                         1'(A8in/'8the
                                                                                                    6948&account
                                                                                                            ??71'68
=94'8American
when       >45/?&'8%X      @54AA8attempts
                      Express       &664>@6A8to678debit
                                                    (48/68the
                                                          6948automatic
                                                               &167>&6/?8payments.
                                                                               @&3>4'6AB888
         9IYBUAgain,
         183.      R&/'.8under1'(458the
                                      6948payment
                                          @&3>4'68plan,@2&'.8the
                                                             69484entire
                                                                      '6/548amount
                                                                             &>71'68outstanding
                                                                                      716A6&'(/'R8becomes84?7>4A8
(148upon
due    1@7'8&a8default.
                  (4:&126B88Thus, )91A.84     >7'/A8is/A8:forcing
                                          Lemonis           75?/'R8MLG  ,"8$4      6&/28to678default
                                                                                 Retail        (4:&1268on  7'8the
                                                                                                               6948
@&3>4'6A.8triggering
payments,      65/RR45/'R8not  '768only
                                    7'238the
                                          69484entire
                                                 '6/548debt
                                                        (4868:for758the
                                                                    6948Company,
                                                                         7>@&'3.8but 8168also
                                                                                             &2A78:for758"7  154&18
                                                                                                          Goureau

&A8the
as  6948?credit
          54(/68?card
                  &5(8is/A8in/'8his
                                9/A8name.
                                     '&>4B88After
                                                :6458the
                                                     6948initial
                                                         /'/6/&28:filing
                                                                    /2/'R8of7:8this
                                                                               69/A87 >@2&/'6.8Defendants
                                                                                    Complaint,      <4:4'(&'6A8
9&(8left
had   24:68:funds
             1'(A8in/'8the
                       6948account
                               &??71'68:for758the
                                               6948Amex
                                                      >4X8payments
                                                            @&3>4'6A8to678draw (5&=8on.
                                                                                     7'B88)9    /A8&allowed
                                                                                             This      227=4(8the
                                                                                                               6948
   >4X8payments
Amex      @&3>4'6A8to678become 84?7>48?current.
                                            1554'6B88However,
                                                        +7=4045.8on     7'8or758&around
                                                                                  571'(8August1R1A684,H.82020,
                                                                                                             EFEF.8
<4:4'(&'6A8have
Defendants       9&048reversed
                         54045A4(8roughly
                                       571R9238[$94,049
                                                    cH.FHc8in/'8payments
                                                                  @&3>4'6A8on    7'8the
                                                                                    6948American
                                                                                             >45/?&'8Express
                                                                                                          %X@54AA8
?card.
  &5(B8
         9IHBU"7
         184.         154&18has
                  Goureau       9&A8been
                                      844'8/informed
                                              ':75>4(8by 838American
                                                               >45/?&'8%X        @54AA8that
                                                                              Express  69&68if/:8payments
                                                                                                 @&3>4'6A8&are548
'768made
not   >&(48soon,
              A77'.8/it68will
                          =/228begin
                                  84R/'8?collections
                                            7224?6/7'A8proceedings
                                                          @57?44(/'RA8&against R&/'A68"7    154&18personally.
                                                                                      Goureau        @45A7'&223B88
)9
This/A8would
        =712(8have
                 9&048an&'84extremely
                                 X654>4238negative
                                              '4R&6/048/impact
                                                          >@&?68on   7'8"7    154&1WA8?credit
                                                                          Goureau's       54(/68and
                                                                                                 &'(8personal
                                                                                                          @45A7'&28
:finances.
  /'&'?4AB8
         9I\BU4
         185.        >7'/A89
                  Lemonis           &A8:further
                                  has    15694588     4'4:/64(8:from
                                                    benefited        57>86    948@
                                                                             the    &'(4>/?86
                                                                                  pandemic         9571R986
                                                                                                  through       948
                                                                                                               the

R7045'>4'6WA8*Paycheck
government's         &3?94?D8*Protection
                                     5764?6/7'8*Program
                                                    57R5&>8("PPP").
                                                             NO***PQB88Without
                                                                           a/697168*Plaintiffs'
                                                                                         2&/'6/::AW8?consent
                                                                                                         7'A4'68or758
D'7=24(R4.84
knowledge,           >7'/A8&applied
                 Lemonis          @@2/4(8:for758&a8*PPP
                                                     **8loan
                                                         27&'8and &'(8on7'8May
                                                                             ,&381,9.82020,
                                                                                       EFEF.8the6948Company
                                                                                                        7>@&'38
54?4/04(8[$818,394
received      I9I.YcH8/in'8*PPP  **8:funds.
                                       1'(AB8


        8                                                  \55\8
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 57 of 95

         8
         9IJBU#@7'8/':75>&6/7'8&'(8842/4:.87'8758&571'(8,&38EE.8EFEF.84>7'/A.8758
         186. Upon information and belief, on or around May 22, 2020, Lemonis, or

A7>47'48acting
someone      &?6/'R8at&68his
                         9/A8direction,
                               (/54?6/7'.8transferred
                                              65&'A:4554(8all   &228:funds
                                                                      1'(A8(roughly
                                                                              N571R9238[$601,324.02)
                                                                                              JF9.YEHBFEQ8in/'8the  6948
,8Fashion
ML    ;&A9/7'8and&'(8MLG
                       ,"8$4      6&/28bank
                               Retail     8&'D8&accounts
                                                    ??71'6A8into
                                                               /'678&a8new
                                                                       '4=8bank
                                                                              8&'D8account
                                                                                       &??71'681under'(458the6948name
                                                                                                                 '&>48
7:8MLG
of  ,"8$4      6&/2B88)9
            Retail.    The48new
                             '4=8bank
                                    8&'D8account
                                            &??71'68was  =&A8not'768tied
                                                                     6/4(8to678any
                                                                                &'38of7:8ML
                                                                                         ,8Fashion
                                                                                                 ;&A9/7'8or758MLG,"8
$4  6&/2WA8other
 Retail's  769458accounts,
                   &??71'6A.8and&'(8Menkin,
                                        ,4'D/'.8a&8signatory
                                                       A/R'&67538on   7'8all
                                                                         &228of7:8the
                                                                                   6948bank
                                                                                        8&'D8accounts
                                                                                                &??71'6A8:for758both
                                                                                                                   87698
?companies,
  7>@&'/4A.8does (74A8not
                        '768have
                              9&048&access
                                         ??4AA8to678the
                                                      6948&account
                                                              ??71'68&and'(8?cannot
                                                                                 &''768seeA448any&'38transactions
                                                                                                        65&'A&?6/7'A8
84/'R8done
being   (7'48in/'8that
                   69&68account.
                         &??71'6B8
         9I`BU!Since
         187.      /'?48the
                         6948original
                               75/R/'&28:filing
                                            /2/'R8of7:8this
                                                        69/A8Complaint
                                                                7>@2&/'68on   7'8June
                                                                                     1'4818,
                                                                                         9I.82020,
                                                                                                EFEF.8Defendants
                                                                                                         <4:4'(&'6A8
9&048?continued
have     7'6/'14(8to678deplete
                         (4@24648the6948&assets
                                            AA46A8of7:8ML,8Fashion.
                                                               ;&A9/7'B88<4      :4'(&'6A8have
                                                                             Defendants         9&048held
                                                                                                        942(8several
                                                                                                               A4045&28
:fire
  /548sales
      A&24A82liquidating
              /]1/(&6/'R8the 6948inventory
                                  /'04'67538of7:8ML   ,8Fashion
                                                             ;&A9/7'8by 838selling
                                                                             A422/'R8it/68&at68up
                                                                                               1@8to678c90%
                                                                                                         F^8off.
                                                                                                               7::B8
         9IIBU;
         188.      156945.8despite
                 Further,     (4A@/648the 6948:fact
                                                &?68that
                                                      69&68several
                                                             A4045&285retail
                                                                        46&/28stores
                                                                                A6754A8are
                                                                                         &548?closed
                                                                                                  27A4(8due(148to678the
                                                                                                                    6948
@&'(4>/?8&and
pandemic        '(8stay
                     A6&38at&68home
                               97>48orders75(45A8are &548in/'84effect,
                                                                ::4?6.8Defendants
                                                                        <4:4'(&'6A8have    9&048hosted
                                                                                                     97A64(8private
                                                                                                               @5/0&648
2/]1/(&6/7'84events
liquidation      04'6A8&at68the
                             69487     >@&'3WA8store
                                   Company's          A67548in/'8<4   45:/42(.8Illinois,
                                                                 Deerfield,        22/'7/A.8where
                                                                                               =94548Defendants
                                                                                                         <4:4'(&'6A8
/'0/64(8&
invited       >@/'R8World
          Camping       a752(84employees
                                   >@27344A8&and     '(8gave
                                                         R&048them
                                                                 694>8massive
                                                                         >&AA/048discounts.
                                                                                       (/A?71'6AB88%0    Even4'8more,
                                                                                                                >754.8
972(/'R8these
holding    694A48large
                   2&5R48private
                          @5/0&6484events
                                        04'6A8during
                                                  (15/'R8a&8pandemic,
                                                              @&'(4>/?.8in/'8violation
                                                                                 0/72&6/7'8of7:8stateA6&648&and
                                                                                                              '(8local
                                                                                                                  27?&28
5124A8&about
rules     871682large
                  &5R48gatherings
                         R&6945/'RA8and    &'(8retail
                                                   546&/28stores,
                                                            A6754A.8?creates
                                                                       54&64A8potential
                                                                                  @764'6/&28liability
                                                                                                 2/&8/2/638:for758,8
                                                                                                                    ML

;&A9/7'B888
Fashion.

         9IcBUC&
         189.        A4(8on
                 Based    7'8&all228of7:84 >7'/AW8recent
                                         Lemonis'       54?4'68actions,
                                                                  &?6/7'A.8it/68is/A8?clear
                                                                                       24&58that
                                                                                              69&68he948is/A8planning
                                                                                                             @2&''/'R8
7'85rendering
on    4'(45/'R8ML  ,8Fashion
                          ;&A9/7'8&and    '(8its/6A8&asset,
                                                      AA46.8,"8
                                                              MLG $4       6&/2.8insolvent
                                                                       Retail,      /'A7204'68soA78that 69&68he948?can&'8


         8                                                   \56J8
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 58 of 95

         8
:foreclose
  754?27A48on    7'8the
                     6948?companies,
                            7>@&'/4A.85remove4>7048Plaintiffs
                                                        *2&/'6/::A8:from
                                                                       57>8the
                                                                             6948business,
                                                                                  81A/'4AA.8&and  '(8use
                                                                                                       1A48the
                                                                                                            6948&assets
                                                                                                                   AA46A8
678?continue
to     7'6/'148his  9/A8MARCUS
                         , $#!8brand.  85&'(B8
          9cFBUa9
          190.       While/248setting
                              A466/'R8up 1@8ML,8Fashion
                                                      ;&A9/7'8and&'(8MLG,"8$4      6&/2.8the
                                                                                 Retail,   6948parties
                                                                                                 @&56/4A8worked
                                                                                                           =75D4(8to678
54R/A6458the
register      69487   >@&'38to678do
                    Company          (78business
                                            1A/'4AA8in/'8several
                                                           A4045&28states.
                                                                     A6&64AB8AsA8part
                                                                                   @&568of7:8the
                                                                                              6948process,
                                                                                                   @57?4AA.8Menkin
                                                                                                              ,4'D/'8
&'(V758"7
and/or           154&18were
           Goureau        =4548listed
                                 2/A64(8as&A8the
                                             6948individuals
                                                    /'(/0/(1&2A8associated
                                                                    &AA7?/&64(8with=/698ML
                                                                                         ,8Fashion
                                                                                                 ;&A9/7'8and&'(8MLG
                                                                                                                  ,"8
$4    6&/28in/'8several
 Retail           A4045&28states
                             A6&64A8including
                                      /'?21(/'R8Illinois,
                                                       22/'7/A.87     ''4?6/?16.8Minnesota,
                                                                  Connecticut,        ,/''4A76&.8and    &'(8Florida.
                                                                                                              ;275/(&B88
7=.8Defendants
Now,      <4:4'(&'6A8have    9&048:failed
                                      &/24(8to678make
                                                   >&D48ML  ,8Fashion's
                                                                 ;&A9/7'WA85required
                                                                                  4]1/54(8annual
                                                                                              &''1&28payments
                                                                                                         @&3>4'6A8to678
697A48A
those         6&64A.82
           states,       4&0/'R8,4
                        leaving         'D/'8&and/or
                                    Menkin           '(V758"7    154&18@
                                                              Goureau        45A7'&22385
                                                                           personally         4A@7'A/8248:for7586
                                                                                             responsible              948
                                                                                                                     the

@&3>4'6AB88For
payments.          ;7584example,
                          X&>@24.8on  7'8August
                                              1R1A685,\.82020,
                                                           EFEF.8the
                                                                   6948Minnesota
                                                                        ,/''4A76&8Department
                                                                                       <4@&56>4'68of7:8$4       04'148
                                                                                                             Revenue

A4'68&a82letter
sent       466458to678"7    154&184explaining
                         Goureau      X@2&/'/'R8that  69&68,"8
                                                            MLG $4       6&/28had
                                                                     Retail   9&(8missed
                                                                                    >/AA4(8the  6948deadline
                                                                                                     (4&(2/'48to678:file
                                                                                                                      /248
&'(8pay
and     @&38its/6A8taxes
                   6&X4A8&and
                            '(8stating
                                A6&6/'R8that
                                           69&68/if:8the
                                                     69485return
                                                           4615'8was
                                                                  =&A8not'768:filed,
                                                                               /24(.8and
                                                                                     &'(8taxes
                                                                                            6&X4A8not
                                                                                                    '768paid,
                                                                                                         @&/(.8before
                                                                                                                84:7548
!September
   4@64>84584,H.82020,EFEF.8that
                               69&68there
                                     694548would
                                              =712(8be848additional
                                                             &((/6/7'&28penalties.
                                                                            @4'&26/4AB88See8C4     224=8Decl.
                                                                                                  Bellew    <4?2B8%X Ex.B8
+B88)9
H.       These4A48outstanding
                    716A6&'(/'R8debts (486A8have
                                               9&048hindered
                                                         9/'(454(8*Plaintiffs'
                                                                         2&/'6/::AW8&ability
                                                                                       8/2/638to678start
                                                                                                       A6&568separate
                                                                                                              A4@&5&648
81A/'4AA4A8in/'8Illinois,
businesses             22/'7/A.8Connecticut,
                                  7''4?6/?16.8Minnesota,
                                                      ,/''4A76&.8&and   '(8Florida.
                                                                            ;275/(&B8
                                      K KALLEGATIONS
                                     DERIVATIVE               k  
          9c9BU*Plaintiffs
          191.         2&/'6/::A8bring
                                   85/'R8this
                                            69/A8action
                                                   &?6/7'8directly
                                                            (/54?6238&and '(8derivatively
                                                                              (45/0&6/04238in/'8the 69485right
                                                                                                          /R968of7:8&and
                                                                                                                      '(8
:for758the
       6948benefit
           84'4:/68of7:8ML ,8Fashion
                                 ;&A9/7'8to678redress
                                                 54(54AA8injuries
                                                             /'d15/4A8suffered,
                                                                        A1::454(.8and&'(8to678be848suffered,
                                                                                                   A1::454(.8by838,8
                                                                                                                    ML

;&A9/7'8&asA8a&8direct
Fashion                  (/54?68result
                                  54A1268of7:8<4      :4'(&'6AW8gross
                                                 Defendants'         R57AA8mismanagement,
                                                                              >/A>&'&R4>4'6.8breaches    854&?94A8of7:8
:fiduciary
  /(1?/&538duty, (163.8breach
                         854&?98of7:8the
                                       69488         R544>4'6.8and
                                             LLC Agreement,             &'(8use
                                                                             1A48of7:8,8      ;&A9/7'8solely
                                                                                       ML Fashion         A724238as&A8a&8
049/?248:for758personal
vehicle            @45A7'&28gain
                               R&/'8&at68the
                                         6948detriment
                                               (465/>4'68of7:8the 6948Company.
                                                                        7>@&'3B8

         8                                                   \57`8
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        8
          9cEBU,8;&A9/7'8/A8'&>4(8&A8&87>/'&28<4:4'(&'68/'869/A8?&A48A724238/'8&8
        192. ML Fashion is named as a Nominal Defendant in this case solely in a

(45/0&6/048?capacity.
derivative      &@&?/63B88This
                             )9/A8is/A8not
                                       '768&a8?collusive
                                                7221A/048action
                                                            &?6/7'8to678?confer
                                                                           7':458jurisdiction
                                                                                  d15/A(/?6/7'8on 7'8this
                                                                                                      69/A8Court
                                                                                                           71568
69&68it/68would
that      =712(8not
                  '768otherwise
                        76945=/A48have.
                                      9&04B88*Plaintiffs
                                                 2&/'6/::A8were
                                                            =4548members
                                                                     >4>845A8of7:8,8     ;&A9/7'8&at68the
                                                                                     ML Fashion         6948time
                                                                                                             6/>48
7:8the
of 6948transgressions
          65&'AR54AA/7'A8of7:8which=9/?98they
                                            69438?complain
                                                      7>@2&/'8and   &'(8?continue
                                                                           7'6/'148to678be848members
                                                                                             >4>845A8of7:8the  6948
7 >@&'3B8
Company.

          9cYBU*Plaintiffs
          193.       2&/'6/::A8will
                                =/228&adequately
                                         (4]1&64238and   &'(8:fairly
                                                                 &/5238represent
                                                                          54@54A4'68the 6948interests
                                                                                            /'6454A6A8of7:8,8ML

;&A9/7'8and
Fashion     &'(8its/6A8members
                       >4>845A8in/'8prosecuting
                                        @57A4?16/'R8&and   '(84enforcing
                                                                 ':75?/'R8their
                                                                              694/585rights.
                                                                                       /R96AB88Prosecution
                                                                                               *57A4?16/7'8of7:8
69/A8action,
this    &?6/7'.8/independent
                  '(4@4'(4'68of7:8the    6948?current
                                                 1554'68,&     '&R45.8is/A8/in'8the
                                                           Manager,              6948best
                                                                                        84A68/interests
                                                                                               '6454A6A8of7:8the
                                                                                                               6948
7 >@&'3B8
Company.

          9cHBU)9
          194.   The4   8wrongful
                         =57'R:128acts &?6A8?complained
                                               7>@2&/'4(8of7:8herein9454/'8subject,
                                                                             A18d4?6.8&and'(8will
                                                                                             =/228?continue
                                                                                                      7'6/'148to678
A18d4?6.8,8
subject,         ;&A9/7'8to678?continuing
            ML Fashion             7'6/'1/'R8harm 9&5>8because
                                                          84?&1A48the  6948adverse
                                                                           &(045A48actions
                                                                                      &?6/7'A8are
                                                                                                &548?continuing
                                                                                                       7'6/'1/'R8
&'(8the
and  6948?consequences
             7'A4]14'?4A8of7:8those697A48actions
                                           &?6/7'A8are &548still
                                                           A6/228in/'84effect
                                                                        ::4?68and
                                                                              &'(8ongoing.
                                                                                   7'R7/'RB8
                               K KDEMAND
                              DERIVATIVE              L                 
                                                                        FUTILITY

          9c\BU*Plaintiffs
          195.       2&/'6/::A8have
                               9&048not '768made
                                              >&(48&any  '38demand
                                                              (4>&'(8to6784      >7'/A8as&A8ML
                                                                               Lemonis          ,8Fashion's
                                                                                                      ;&A9/7'WA8
,&'&R458to678bring
Manager          85/'R8suit
                          A1/68and
                               &'(8assert
                                      &AA4568the
                                               6948?claims
                                                      2&/>A8set
                                                              A468:forth
                                                                     75698herein
                                                                           9454/'8because
                                                                                    84?&1A48such
                                                                                               A1?98a&8pre-suit
                                                                                                         @54GA1/68
(4>&'(8would
demand      =712(8?clearly
                        24&5238be848:futile
                                      16/248and
                                            &'(8/is,A.8therefore,
                                                       69454:754.84excused
                                                                        X?1A4(8as&A8a&8matter
                                                                                       >&66458of7:82law.
                                                                                                     &=B8
          9cJBUAsA8,8
          196.               ;&A9/7'WA8sole
                       ML Fashion's        A7248Manager
                                                  ,&'&R458and  &'(8soleA7248owner
                                                                            7='458of7:8ML,8$4    6&/2.8the
                                                                                               Retail,  6948only
                                                                                                             7'238
>4>8458that
member       69&68?can&'8remove
                           54>7048a&8manager,
                                          >&'&R45.84       >7'/A8obviously
                                                         Lemonis        780/71A238suffers
                                                                                      A1::45A8:from
                                                                                                 57>8a&8patent
                                                                                                          @&64'68
?conflict
  7':2/?68of7:8interest
               /'6454A68which
                           =9/?98would
                                     =712(8prevent
                                              @5404'68him 9/>8:from
                                                                 57>84exercising
                                                                          X45?/A/'R8independent
                                                                                       /'(4@4'(4'68business
                                                                                                        81A/'4AA8
d1(R>4'68in/'84evaluating
judgment           0&21&6/'R8the  6948merits
                                       >45/6A8of7:8the
                                                     6948?claims
                                                           2&/>A8asserted
                                                                     &AA4564(8&against
                                                                                R&/'A68him9/>8herein.
                                                                                                9454/'B88!Stated
                                                                                                            6&64(8

        8                                                 \58I8
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        8
(/::454'623.8&8(4>&'(8:7584>7'/A867885/'R869/A8A1/68&'(8&AA45686948?2&/>A8A468:75698
differently, a demand for Lemonis to bring this suit and assert the claims set forth

9454/'8is/A84excused
herein        X?1A4(8by 838the
                            6948simple
                                 A/>@248:fact
                                            &?68that
                                                 69&68such
                                                       A1?98&a8demand
                                                                 (4>&'(8would
                                                                           =712(84essentially
                                                                                    AA4'6/&2238require
                                                                                                  54]1/548
4  >7'/A8to678sue
 Lemonis        A148himself
                     9/>A42:8&and,
                                 '(.8/in'8that
                                          69&68regard,
                                                54R&5(.8potentially
                                                           @764'6/&2238subject
                                                                         A18d4?689himself
                                                                                   />A42:8to678personal
                                                                                                @45A7'&28
2/&8/2/63B8
liability.

        9c`BUAsA8the
        197.         6948manager
                          >&'&R458of7:8ML ,8Fashion,
                                               ;&A9/7'.8Lemonis
                                                           4>7'/A8used
                                                                      1A4(8the
                                                                            69487  >@&'3WA8assets
                                                                                 Company's      &AA46A8to678
4enrich
  '5/?98himself
         9/>A42:8and&'(8the
                         69484   >7'/A84entities
                              Lemonis       '6/6/4A8by,
                                                     83.8among
                                                          &>7'R8other
                                                                    769458things,
                                                                          69/'RA.8taking
                                                                                   6&D/'R8actions
                                                                                            &?6/7'A8that
                                                                                                      69&68
:financially
  /'&'?/&2238:favored
                &0754(8the6948member
                               >4>8458,8  ML $4     6&/2.8.
                                                  Retail,   LLC,8   =9/248decreasing
                                                                    while  (4?54&A/'R8the6948value
                                                                                              0&2148and&'(8
0/&8/2/638of7:8the
viability      69487   >@&'38to678the
                    Company          6948detriment
                                          (465/>4'68of7:8the
                                                           6948other
                                                                769458shareholders.
                                                                      A9&54972(45AB8
        9cIBU;
        198.       156945.84
                 Further,      >7'/A8used
                            Lemonis      1A4(8his
                                               9/A8?control
                                                      7'65728of7:8the
                                                                  6948Company
                                                                      7>@&'38:force
                                                                                   75?48the
                                                                                          69487  >@&'38
                                                                                              Company

678assume
to  &AA1>48increasing
              /'?54&A/'R8debt
                            (4868by838taking
                                        6&D/'R8on
                                                7'8loans
                                                     27&'A8and
                                                             &'(8promissory
                                                                   @57>/AA7538notes
                                                                                 '764A8:from
                                                                                         57>8his9/A8other
                                                                                                     769458
4entities
  '6/6/4A8that
          69&68would
                =712(8allow
                         &227=89him/>8to678:foreclose
                                             754?27A48on7'8the
                                                             69487   >@&'38&at68any
                                                                   Company        &'38time.
                                                                                       6/>4B884   >7'/A8
                                                                                                Lemonis

&2A78benefited
also   84'4:/64(8:from57>8his9/A8use
                                  1A48of7:8the
                                             6948Company
                                                   7>@&'38to678&acquire
                                                                      ?]1/548the
                                                                               6948:fledgling
                                                                                     24(R2/'R8brands,
                                                                                                 85&'(A.8
81A/'4AA4A.8and
businesses,     &'(8products
                      @57(1?6A8:featured
                                   4&6154(8on 7'8the
                                                   6948"Profit"
                                                        O*57:/6P8to678boost
                                                                       877A68his
                                                                               9/A8own
                                                                                   7='8image
                                                                                           />&R48at&68the
                                                                                                       6948
4expense
  X@4'A48of7:8the
                6948Company.
                     7>@&'3B88Moreover,
                                      ,7547045.84      >7'/A8has
                                                     Lemonis      9&A8since
                                                                       A/'?48removed
                                                                              54>704(8&assets
                                                                                            AA46A8of7:8the
                                                                                                       6948
7  >@&'38and
Company       &'(8transferred
                     65&'A:4554(8them694>8to678other
                                                  7694584entities
                                                            '6/6/4A8&and/or
                                                                       '(V758businesses
                                                                               81A/'4AA4A8owned
                                                                                              7='4(8or758
?controlled
  7'657224(8by8384  >7'/AB8
                  Lemonis.

        9ccBUIn'8&addition
        199.          ((/6/7'8to6784   >7'/AW8self-interest,
                                    Lemonis'      A42:G/'6454A6.8demand
                                                                   (4>&'(8is/A8:further
                                                                                 15694584excused
                                                                                            X?1A4(8here
                                                                                                      94548
84?&1A484
because         >7'/A8:forced
             Lemonis       75?4(86    9487
                                    the       >@&'386
                                           Company       to781  '(456&D48&actions
                                                              undertake      ?6/7'A8&and'(84engage
                                                                                               'R&R48/in'8
65&'A&?6/7'A8that
transactions     69&68were
                       =4548soA784egregious
                                   R54R/71A8on 7'8their
                                                    694/58:face
                                                            &?48that
                                                                 69&68they
                                                                      69438?could
                                                                             712(8not
                                                                                    '768have
                                                                                         9&048been
                                                                                                844'8the
                                                                                                       6948
@57(1?6A8of7:8sound
products        A71'(8business
                         81A/'4AA8judgment.
                                      d1(R>4'6B88AsA8the  6948manager
                                                                >&'&R458of7:8ML
                                                                              ,8Fashion,
                                                                                   ;&A9/7'.84     >7'/A8
                                                                                                Lemonis



        8                                              \59c8
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 61 of 95

        8
?consistently
  7'A/A64'6238mismanaged
                >/A>&'&R4(8the    69487     >@&'3WA8assets
                                        Company's        &AA46A8and
                                                                 &'(8pursued
                                                                        @15A14(8a&8business
                                                                                      81A/'4AA8strategy
                                                                                                   A65&64R38that
                                                                                                             69&68
=&A8soA785reckless
was        4?D24AA8and&'(8vastly
                            0&A6238against
                                    &R&/'A68the  69487  >@&'3WA8interests
                                                      Company's        /'6454A6A8that
                                                                                   69&68his
                                                                                        9/A8decisions
                                                                                               (4?/A/7'A8?could
                                                                                                            712(8
'768have
not   9&048been
             844'8the
                    6948products
                         @57(1?6A8of7:8sound
                                          A71'(8business
                                                    81A/'4AA8judgment.
                                                               d1(R>4'6B88Lemonis'
                                                                               4>7'/AW8&actions?6/7'A8include:
                                                                                                        /'?21(4T8
N9Q8saddling
(1)  A&((2/'R8the 69487   >@&'38with
                        Company      =/6984expensive
                                              X@4'A/048inventory
                                                           /'04'67538then 694'8:forcing
                                                                                   75?/'R8the69487    >@&'38to678
                                                                                                   Company

A4228that
sell   69&68/inventory
              '04'67538at&68a&8loss,
                                  27AA.8(2)NEQ8purposefully
                                                  @15@7A4:12238decreasing
                                                                   (4?54&A/'R8the   69487     >@&'3WA8profit
                                                                                         Company's         @57:/68
>&5R/'A8making
margins     >&D/'R8it/685reliant
                           42/&'68on
                                   7'82loans
                                         7&'A8:from57>84   >7'/A8&and
                                                        Lemonis         '(8his
                                                                            9/A84entities,
                                                                                  '6/6/4A.8(3)
                                                                                             NYQ8purposefully
                                                                                                   @15@7A4:12238
54>70/'R8?capital
removing        &@/6&28:from
                           57>8the
                                 69487      >@&'38soA78that
                                        Company             69&68/its6A8debts
                                                                         (486A8?could
                                                                                    712(8not'768be848paid,
                                                                                                       @&/(.8(4)
                                                                                                              NHQ8
@15@7A4:12238increasing
purposefully       /'?54&A/'R8the
                                6948debt
                                      (4868of7:8the69487  >@&'38&and
                                                       Company          '(8:forcing
                                                                             75?/'R8it/68to678take
                                                                                              6&D482loans
                                                                                                     7&'A8:from
                                                                                                             57>8
4  >7'/A.8and/or
 Lemonis,     &'(V758other
                        769458?companies
                                7>@&'/4A8owned 7='4(8and/or
                                                         &'(V758?controlled
                                                                   7'657224(8by   838him,
                                                                                      9/>.8in/'8order
                                                                                                 75(458to678meet
                                                                                                            >4468
/6A8:financial
its   /'&'?/&28obligations,
                  782/R&6/7'A.8(5) N\Q8taking
                                         6&D/'R8&actions
                                                     ?6/7'A8that
                                                              69&68:financially
                                                                       /'&'?/&2238:favored
                                                                                      &0754(8member
                                                                                                  >4>8458,8 ML

$4  6&/2.8.
 Retail,  LLC,8     (4?54&A/'R8the
                    decreasing     6948value
                                          0&2148and &'(8viability
                                                          0/&8/2/638of7:8the6948Company
                                                                                  7>@&'38to678the    6948direct
                                                                                                           (/54?68
(465/>4'68of7:8the
detriment        6948other
                      769458members
                              >4>845A8of7:8the 6948Company,
                                                     7>@&'3.8(6) NJQ8using
                                                                        1A/'R8the
                                                                               6948assets
                                                                                     &AA46A8of7:8the
                                                                                                  69487  >@&'38
                                                                                                       Company

678grow
to  R57=84    >7'/AW8personal
           Lemonis'       @45A7'&28brand
                                      85&'(8,MARCUS, $#!.8(7) N`Q8taking
                                                                   6&D/'R8a&8personal
                                                                                @45A7'&28tax  6&X8write-off
                                                                                                   =5/64G7::8on7'8
,8Fashion's
ML     ;&A9/7'WA8?charitable
                      9&5/6&8248donations,
                                  (7'&6/7'A.8(8)    NIQ8using
                                                        1A/'R8,8       ;&A9/7'8&asA8&a8vehicle
                                                                ML Fashion               049/?248to678defraud
                                                                                                         (4:5&1(8
&'(8:foreclose
and     754?27A48upon1@7'8small
                             A>&228business
                                    81A/'4AA8owners 7='45A84    >7'/A8was
                                                             Lemonis        =&A8purporting
                                                                                  @15@756/'R8to678save,A&04.8(9)
                                                                                                              NcQ8
?closing
  27A/'R8the
           69487     >@&'3WA8retail
                 Company's        546&/28stores
                                            A6754A8&and'(8removing
                                                            54>70/'R8at&682least4&A68[$377,377
                                                                                         Y``.Y``8worth =75698of7:8
/'04'67538and
inventory     &'(8[$197,255
                      9c`.E\\8worth
                                =75698of7:8:fixtures,
                                                /X6154A.8:furniture,
                                                           15'/6154.8and &'(84equipment
                                                                               ]1/@>4'68:from   57>8the
                                                                                                      6948stores,
                                                                                                          A6754A.8
N9FQ8/improperly
(10)    >@57@45238removing
                       54>70/'R8at&682least
                                         4&A68[$601,324.02
                                                  JF9.YEHBFE8:from
                                                                 57>8the 6948Company's
                                                                              7>@&'3WA8bank    8&'D8accounts,
                                                                                                       &??71'6A.8
&'(8(11)
and   N99Q8/improperly
             >@57@45238taking
                            6&D/'R8at&68least
                                        24&A68[$3,023,004.47
                                                  Y.FEY.FFHBH`8:from  57>8ML
                                                                           ,8Fashion
                                                                                 ;&A9/7'8and  &'(8MLG
                                                                                                   ,"8$4     6&/28
                                                                                                           Retail

678pay
to  @&38personal,
         @45A7'&2.8non-Company
                       '7'G7>@&'38related, 542&64(.84expenses
                                                        X@4'A4A8that
                                                                   69&68Defendants
                                                                          <4:4'(&'6A8put    @168on
                                                                                                 7'8Defendant
                                                                                                     <4:4'(&'68

        8                                                 J60F8
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        8
4  >7'/AW8personal
Lemonis'       @45A7'&28?credit
                            54(/68?card&5(8and
                                            &'(8keeping
                                                  D44@/'R8&and/or
                                                               '(V758using
                                                                        1A/'R8the6948rewards
                                                                                      54=&5(A8points
                                                                                                  @7/'6A8:from
                                                                                                           57>8
697A48payments
those   @&3>4'6A8:for758Defendants'
                           <4:4'(&'6AW8benefit.
                                              84'4:/6B8
         EFFBU%0
         200.        4'8if/:84
                  Even           >7'/A8&acceded
                             Lemonis          ??4(4(8to678a&8demand
                                                              (4>&'(8:from   57>8Plaintiffs
                                                                                    *2&/'6/::A8and
                                                                                                 &'(8pursued
                                                                                                      @15A14(8
2/6/R&6/7'8&against
litigation     R&/'A68himself
                       9/>A42:8on   7'8behalf
                                        849&2:8of7:8the
                                                    6948?company,
                                                          7>@&'3.8there
                                                                     694548is/A8no'78reason
                                                                                      54&A7'8to678believe
                                                                                                  842/4048that
                                                                                                           69&68
948would
he  =712(8appoint
              &@@7/'68the
                        6948proper
                             @57@458persons
                                        @45A7'A8to678?conduct
                                                       7'(1?68the
                                                                6948litigation
                                                                    2/6/R&6/7'8or758:fully
                                                                                        12238pursue
                                                                                             @15A148any
                                                                                                      &'38&and
                                                                                                             '(8
&228available
all  &0&/2&8248remedies.
                  54>4(/4AB8
         EF9BU
         201.     In'8
                     A9756.8it/68is/A8readily
                     short,           54&(/238apparent
                                                &@@&54'68that
                                                            69&68Lemonis
                                                                 4>7'/A8would  =712(84either
                                                                                         /69458be848incapable
                                                                                                    /'?&@&8248
758unwilling
or    1'=/22/'R8to678take
                        6&D48the6948&actions
                                         ?6/7'A85required
                                                   4]1/54(8to678seek
                                                                  A44D8the 69485relief
                                                                                  42/4:8requested
                                                                                         54]14A64(8in/'8this
                                                                                                           69/A8
7  >@2&/'6B8
Complaint.

                                                   I
       pqooxsy|Inducement
                          yovs~sy|—Direct    tpsv|Claim
                                                        xqt~ Against
                                                                 rqtyu|s        ~nytuML LRetail,
                                                                                                  s|qtx
                                                  COUNT

                                               qand
                                                 yML,
                                                     LLLC)
       (Fraudulent                                                             Lemonis,


         *Plaintiffs
            2&/'6/::A8repeat
                      54@4&68&and'(8reallege
                                       54&224R484each
                                                   &?98allegation
                                                        &224R&6/7'8?contained
                                                                         7'6&/'4(8above
                                                                                     &87048as&A8though
                                                                                                 6971R98:fully
                                                                                                           12238
A468:forth
set    75698herein.
             9454/'B8
         EFEBU<4
         202.        :4'(&'6A.8&and
                  Defendants,          '(84each
                                             &?98of7:8them
                                                      694>8through
                                                              69571R98their694/58agent
                                                                                   &R4'68&and/or
                                                                                            '(V758alter
                                                                                                     &264584ego
                                                                                                             R78
4  >7'/A.8Dknowingly
Lemonis,        '7=/'R238made
                            >&(48numerous
                                      '1>4571A8material
                                                    >&645/&28misrepresentations
                                                              >/A54@54A4'6&6/7'A8to678*Plaintiffs
                                                                                             2&/'6/::A8and/or
                                                                                                        &'(V758
:failed
  &/24(8to678disclose
             (/A?27A48material
                        >&645/&28information
                                      /':75>&6/7'8to678*Plaintiffs
                                                           2&/'6/::A8in/'8order
                                                                           75(458to678induce
                                                                                      /'(1?48them
                                                                                                694>8into
                                                                                                       /'678the
                                                                                                            6948
8       R544>4'6B8
LLC Agreement.

         EFYBUAsA8the
         203.         6948only
                           7'238natural
                                    '&615&28person
                                              @45A7'8involved
                                                       /'07204(8in/'8the6948management
                                                                             >&'&R4>4'68of7:8Defendants
                                                                                                  <4:4'(&'6A8
,8$4
ML         6&/28and
       Retail   &'(8,.
                     ML,8   .8when
                            LLC,      =94'8Lemonis
                                              4>7'/A8made>&(485representations
                                                                  4@54A4'6&6/7'A8to678*Plaintiffs,
                                                                                            2&/'6/::A.8he948did
                                                                                                            (/(8
A78in/'8his
so      9/A8individual
             /'(/0/(1&28?capacity
                            &@&?/638and  &'(8on
                                              7'8behalf
                                                  849&2:8of7:8ML
                                                              ,8$4Retail6&/28&and
                                                                                '(8ML,
                                                                                    ,.8B
                                                                                          LLC.8



        8                                                J6198
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        8
        EFHBU<4:4'(&'6AW8>&645/&28>/A54@54A4'6&6/7'A8&'(V758:&/2154A8678(/A?27A48
        204. Defendants' material misrepresentations and/or failures to disclose

>&645/&28information
material    /':75>&6/7'8described
                            (4A?5/84(8&above
                                          87048include
                                                /'?21(48but 8168are
                                                                 &548not
                                                                     '768limited
                                                                           2/>/64(8to:
                                                                                    67T8(1)
                                                                                         N9Q85representing
                                                                                               4@54A4'6/'R8
69&68Defendants
that  <4:4'(&'6A8wanted
                     =&'64(8to678help
                                   942@8*Plaintiffs
                                          2&/'6/::A84expand
                                                      X@&'(8their
                                                                694/58business
                                                                       1A/'4AA8through
                                                                                  69571R98ML,8Fashion,
                                                                                                  ;&A9/7'.8
NEQ8representing
(2)  54@54A4'6/'R8that 69&68*Plaintiffs
                              2&/'6/::A8and
                                         &'(84  >7'/A8would
                                              Lemonis       =712(8be848treated
                                                                         654&64(8as&A84equals
                                                                                        ]1&2A8/in'8running
                                                                                                   51''/'R8
,8Fashion,
ML    ;&A9/7'.8(3)
                 NYQ85representing
                        4@54A4'6/'R8that
                                       69&68Defendants
                                             <4:4'(&'6A8would =712(85run1'8ML
                                                                            ,8Fashion
                                                                                  ;&A9/7'8in/'8a&8way
                                                                                                  =&38that
                                                                                                         69&68
=712(8benefit
would     84'4:/68*Plaintiffs
                     2&/'6/::A8and
                                &'(8the
                                     69487  >@&'3.8(4)
                                          Company,      NHQ8representing
                                                              54@54A4'6/'R8that69&68ML
                                                                                    ,8Fashion
                                                                                          ;&A9/7'8would
                                                                                                      =712(8
/'04A68in/'8other
invest      769458business
                   81A/'4AA8to678and
                                   &'(8help
                                       942@8grow
                                              R57=8and
                                                     &'(8develop
                                                            (40427@8the
                                                                      6948businesses
                                                                            81A/'4AA4A8in/'8their
                                                                                             694/58profile,
                                                                                                     @57:/24.8
&'(8(5)
and   N\Q85representing
            4@54A4'6/'R8that69&68ML
                                  ,8Fashion's
                                       ;&A9/7'WA8Credit
                                                    54(/68Agreement
                                                                 R544>4'68with=/698ML
                                                                                    ,8$4     6&/2.8&and
                                                                                          Retail,     '(8the
                                                                                                          6948
?corresponding
  7554A@7'(/'R8&agreement
                     R544>4'68with=/698ML,8$4   6&/28and
                                              Retail   &'(8ML,,.8.
                                                                    LLC,8    =712(8be848used
                                                                            would        1A4(8to678provide
                                                                                                    @570/(48
69487
the      >@&'38with
     Company      =/698?cost-effective
                           7A6G4::4?6/048?capital
                                             &@/6&28not
                                                     '768to678make
                                                               >&D48the
                                                                      6948Company
                                                                            7>@&'38insurmountably
                                                                                         /'A15>71'6&8238
/'(4864(8to678,8
indebted       ML $4     6&/28&and
                      Retail    '(8ML,
                                    ,.8B
                                          LLC.8

        EF\BUAt68all
        205.         &228times,
                         6/>4A.8<4   :4'(&'6A8knew
                                  Defendants    D'4=8these
                                                         694A48misrepresentations
                                                                 >/A54@54A4'6&6/7'A8were  =4548:false
                                                                                                   &2A48and
                                                                                                         &'(8
69&68Defendants
that  <4:4'(&'6A8intended
                      /'64'(4(8to678use
                                     1A48ML
                                          ,8Fashion
                                               ;&A9/7'8&asA8a&8vehicle
                                                                  049/?248:for758self-enrichment
                                                                                 A42:G4'5/?9>4'68to678the 6948
(465/>4'68of7:8*Plaintiffs
detriment          2&/'6/::A8and
                               &'(8the
                                    69487  >@&'38itself.
                                         Company      /6A42:B88Defendants
                                                                 <4:4'(&'6A8:further
                                                                                 1569458Dknew
                                                                                           '4=8that
                                                                                                  69&68they
                                                                                                        69438
=712(8use
would     1A48?credit
                54(/68&agreements
                          R544>4'6A8to678:force
                                             75?48debt
                                                   (4868upon1@7'8,8      ;&A9/7'.8allowing
                                                                    ML Fashion,       &227=/'R8them694>8to678
:foreclose
  754?27A48on 7'8the
                 69487    >@&'38on
                        Company      7'8a&8whim,
                                            =9/>.8and &'(8that
                                                             69&68they
                                                                   69438would
                                                                          =712(8use1A48ML,8Fashion
                                                                                                ;&A9/7'8to678
(4:5&1(8other
defraud    769458small
                 A>&228business
                          81A/'4AA8owners
                                      7='45A84    >7'/A8purported
                                               Lemonis       @15@7564(8to678save.
                                                                              A&04B8
        EFJBU<4
        206.         :4'(&'6A8intended
                Defendants       /'64'(4(8that
                                            69&68*Plaintiffs
                                                   2&/'6/::A8rely
                                                                54238upon
                                                                      1@7'8these
                                                                              694A48misrepresentations
                                                                                     >/A54@54A4'6&6/7'A8
&'(8:fraudulent
and    5&1(124'68omissions
                    7>/AA/7'A8of7:8material
                                     >&645/&28:facts.
                                                 &?6AB8


        8                                               J62E8
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        8
         EF`BU*2&/'6/::A8=4548/R'75&'687:86948:&2A/6387:8694854@54A4'6&6/7'A8&'(8
        207. Plaintiffs were ignorant of the falsity of the representations and

d1A6/:/&82385relied
justifiably      42/4(8on
                        7'8the
                             6948misrepresentations
                                  >/A54@54A4'6&6/7'A8&and   '(8:fraudulent
                                                                 5&1(124'68omissions
                                                                               7>/AA/7'A8of7:8material
                                                                                                >&645/&28
:facts
  &?6A8&and'(84entered
                '6454(8into
                        /'678the
                               69488     R544>4'68with
                                    LLC Agreement        =/698Defendants.
                                                                <4:4'(&'6AB88*Plaintiffs
                                                                                   2&/'6/::A8would
                                                                                             =712(8not '768
9&0484entered
have     '6454(8/into
                   '678the
                       6948LLC
                              8Agreement
                                      R544>4'68with
                                                 =/698Defendants
                                                       <4:4'(&'6A8if/:8they
                                                                         69438knew
                                                                               D'4=8that
                                                                                      69&68<Defendants'
                                                                                             4:4'(&'6AW8
54@54A4'6&6/7'A8we
representations      =48:false.
                           &2A4B8
         EFIBU<4
         208.        :4'(&'6AW8&actions
                  Defendants'       ?6/7'A8were
                                           =4548willful,
                                                  =/22:12.8wanton,
                                                             =&'67'.8malicious
                                                                       >&2/?/71A8and&'(8oppressive.
                                                                                         7@@54AA/04B8
         EFcBUAsA8&a8direct
         209.            (/54?68and
                                 &'(8proximate
                                       @57X/>&648result
                                                    54A1268of7:8Defendants'
                                                                <4:4'(&'6AW8:fraud,
                                                                                 5&1(.8*Plaintiffs
                                                                                          2&/'6/::A8have
                                                                                                     9&048
844'8harmed.
been    9&5>4(B88AsA8a&8result
                             54A1268of7:8<4 :4'(&'6AW8:fraud,
                                          Defendants'      5&1(.8Plaintiffs
                                                                  *2&/'6/::A84entered
                                                                                 '6454(8into
                                                                                         /'678the
                                                                                               69488
                                                                                                     LLC

   R544>4'6.8&and
Agreement,         '(8put
                       @168their
                            694/58time
                                    6/>48and
                                          &'(84energy
                                                 '45R38/into
                                                          '678ML,8Fashion
                                                                     ;&A9/7'8&and '(8&away
                                                                                       =&38:from
                                                                                              57>8their
                                                                                                     694/58
85&'(8Courage.B
brand    715&R4BC8and  &'(8original
                              75/R/'&28?company
                                          7>@&'38"7     784553B888
                                                    Gooberry.

                                                II
        pqo—Direct
                     tpsv|x     qt~Against
                                        rqtyu|Lemonis,
                                                   s~nytuML   LRetail,
                                                                      s|qtxqandyML,
                                                                                     LLLC)
                                               COUNT
        (Fraud                 Claim
         *Plaintiffs
            2&/'6/::A8repeat
                      54@4&68&and
                                '(8reallege
                                     54&224R484each
                                                &?98allegation
                                                     &224R&6/7'8?contained
                                                                    7'6&/'4(8above
                                                                                &87048as&A8though
                                                                                           6971R98:fully
                                                                                                      12238
A468:forth
set    75698herein.
             9454/'B8
         E9FBU<4
         210.        :4'(&'6A.8&and
                  Defendants,        '(84each
                                          &?98of7:8them
                                                   694>8through
                                                           69571R98their
                                                                      694/58agent
                                                                              &R4'68&and/or
                                                                                       '(V758alter
                                                                                               &264584ego
                                                                                                        R78
4  >7'/A.8Dknowingly
Lemonis,        '7=/'R238made
                            >&(48numerous
                                    '1>4571A8material
                                                 >&645/&28misrepresentations
                                                            >/A54@54A4'6&6/7'A8to678*Plaintiffs
                                                                                        2&/'6/::A8and/or
                                                                                                  &'(V758
:failed
  &/24(8to678disclose
             (/A?27A48material
                       >&645/&28information
                                   /':75>&6/7'8to678*Plaintiffs.
                                                       2&/'6/::AB8
         E99BUAsA8the
         211.         6948only
                           7'238natural
                                 '&615&28person
                                           @45A7'8involved
                                                    /'07204(8in/'8the
                                                                   6948management
                                                                        >&'&R4>4'68of7:8Defendants
                                                                                            <4:4'(&'6A8
,8$4
ML         6&/28and
       Retail   &'(8,.
                     ML,8  .8when
                           LLC,    =94'8Lemonis
                                           4>7'/A8made
                                                      >&(485representations
                                                                4@54A4'6&6/7'A8to678*Plaintiffs,
                                                                                       2&/'6/::A.8he948did
                                                                                                       (/(8
A78in/'8his
so      9/A8individual
             /'(/0/(1&28?capacity
                            &@&?/638and&'(8on
                                           7'8behalf
                                               849&2:8of7:8ML
                                                           ,8$4    6&/28&and
                                                                 Retail    '(8ML,
                                                                              ,.8B
                                                                                    LLC.8




        8                                             J63Y8
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 65 of 95

        8
           E9EBU<4:4'(&'6AW8>&645/&28>/A54@54A4'6&6/7'A8&'(V758:&/2154A8678(/A?27A48
        212. Defendants' material misrepresentations and/or failures to disclose

>&645/&28information
material      /':75>&6/7'8described
                               (4A?5/84(8&above
                                             87048include
                                                       /'?21(48but8168are
                                                                       &548not
                                                                           '768limited
                                                                                2/>/64(8to:
                                                                                          67T8(1)
                                                                                              N9Q85representing
                                                                                                    4@54A4'6/'R8
69&68ML
that    ,8Fashion
               ;&A9/7'8was =&A8investing
                                 /'04A6/'R8in/'8stores,
                                                   A6754A.8brands,
                                                              85&'(A.8&and'(8retail
                                                                              546&/28businesses
                                                                                      81A/'4AA4A8in/'8order
                                                                                                        75(458to678
:further
  1569458grow
            R57=8those
                    697A48businesses
                            81A/'4AA4A8&and '(8ML
                                               ,8Fashion,
                                                        ;&A9/7'.8(2)NEQ8representing
                                                                        54@54A4'6/'R8that69&68purchases
                                                                                              @15?9&A4A8made
                                                                                                           >&(48
:for758ML
       ,8Fashion
             ;&A9/7'8were
                        =4548done
                                (7'48to678benefit
                                          84'4:/68the 6948brand
                                                            85&'(8and
                                                                    &'(8not
                                                                         '768/increase
                                                                               '?54&A48ML ,8$4   6&/28&and
                                                                                               Retail    '(8ML,
                                                                                                            ,.8
W
LLC'sA     8debt
            (4868position
                   @7A/6/7'8in/'8ML,8Fashion,
                                         ;&A9/7'.8(3)   NYQ85representing
                                                               4@54A4'6/'R8that
                                                                              69&68ML
                                                                                    ,8Fashion
                                                                                          ;&A9/7'8and &'(8MLG
                                                                                                           ,"8
$4
Retail6&/28would
           =712(8make>&D48payments
                             @&3>4'6A8towards
                                          67=&5(A8the  6948American
                                                                >45/?&'8%X   @54AA8balance
                                                                          Express     8&2&'?48on
                                                                                               7'8the
                                                                                                    6948account
                                                                                                         &??71'68
/'8"7
in        154&1WA8name,
      Goureau's       '&>4.8(4)NHQ85representing
                                     4@54A4'6/'R8to678*Plaintiffs
                                                               2&/'6/::A8that
                                                                          69&68ML
                                                                                ,8Fashion
                                                                                       ;&A9/7'8would
                                                                                                  =712(8make
                                                                                                           >&D48
54]1/54(8?company
required        7>@&'38state A6&648tax
                                    6&X8payments
                                          @&3>4'6A8in/'8the     6948states
                                                                     A6&64A8where
                                                                            =94548Plaintiffs
                                                                                       *2&/'6/::A8were
                                                                                                    =4548made
                                                                                                           >&(48
@45A7'&2238liable
personally       2/&8248and&'(8(5)
                                N\Q8representing
                                    54@54A4'6/'R8that    69&68:funds
                                                                 1'(A8,8   ;&A9/7'8obtained
                                                                       ML Fashion        786&/'4(8through
                                                                                                     69571R98its/6A8
5   4(/68Agreement
Credit        R544>4'68with =/698ML
                                  ,8$4    6&/2.8&and
                                        Retail,    '(8the6948?corresponding
                                                                7554A@7'(/'R8agreement
                                                                                 &R544>4'68with=/698,8
                                                                                                      ML $4   6&/28
                                                                                                           Retail

&'(8ML,
and     ,.8.
               LLC,8  =712(8be848used
                      would        1A4(8to678provide
                                             @570/(48the   69487  >@&'38with
                                                                Company     =/698?cost-effective
                                                                                     7A6G4::4?6/048?capital
                                                                                                       &@/6&28not
                                                                                                              '768
678make
to    >&D48the69487   >@&'38/insurmountably
                   Company        'A15>71'6&8238indebted /'(4864(8to678,8
                                                                        ML $4     6&/28and
                                                                             Retail    &'(8,.
                                                                                            ML,8  B
                                                                                                  LLC.8

           E9YBUAt68all
           213.         &228times,
                            6/>4A.8<4    :4'(&'6A8knew
                                    Defendants         D'4=8these
                                                                694A48misrepresentations
                                                                       >/A54@54A4'6&6/7'A8were =4548:false
                                                                                                        &2A48and
                                                                                                             &'(8
69&68Defendants
that    <4:4'(&'6A8intended
                        /'64'(4(8to678use
                                        1A48ML
                                             ,8Fashion
                                                     ;&A9/7'8as&A8a&8vehicle
                                                                       049/?248:for758self-enrichment
                                                                                       A42:G4'5/?9>4'68to678the
                                                                                                              6948
(465/>4'68of7:8*Plaintiffs
detriment             2&/'6/::A8and
                                  &'(8the
                                      69487    >@&'38itself.
                                            Company          /6A42:B88Defendants
                                                                      <4:4'(&'6A8:further
                                                                                       1569458Dknew
                                                                                                '4=8that
                                                                                                       69&68they
                                                                                                            69438
=712(8use
would       1A48?credit
                   54(/68&agreements
                            R544>4'6A8to678:force
                                                75?48debt(4868upon
                                                                 1@7'8ML,8Fashion,
                                                                             ;&A9/7'.8allowing
                                                                                          &227=/'R8Lemonis,
                                                                                                       4>7'/A.8
69571R98his
through      9/A8&alter
                    264584ego
                           R784entities
                                '6/6/4A8,8
                                         ML $4Retail6&/28and
                                                          &'(8ML,,.8.
                                                                      LLC,8  678:foreclose
                                                                             to   754?27A48on7'8the
                                                                                                69487    >@&'38
                                                                                                      Company

7'8&a8whim
on        =9/>8and &'(8that
                          69&68Defendants
                                <4:4'(&'6A8would=712(8use    1A48,8     ;&A9/7'8to678defraud
                                                                   ML Fashion            (4:5&1(8other
                                                                                                    769458small
                                                                                                           A>&228
81A/'4AA8owners
business       7='45A84     >7'/A8purported
                         Lemonis     @15@7564(8to678save.A&04B88<4   :4'(&'6A8:further
                                                                  Defendants      1569458had
                                                                                          9&(8no
                                                                                               '78intention
                                                                                                    /'64'6/7'8of7:8

        8                                                  J64H8
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        8
:fully
  12238paying
        @&3/'R8the6948American
                         >45/?&'8%X       @54AA8balance
                                     Express    8&2&'?48in/'8"7     154&1WA8name
                                                                Goureau's     '&>48and &'(8/intended
                                                                                             '64'(4(8to678use1A48
6948balance
the  8&2&'?48as&A8a&8sword
                       A=75(8over
                               70458*Plaintiffs
                                         2&/'6/::A8to678keep
                                                         D44@8them
                                                               694>8in/'8line.
                                                                          2/'4B8
         E9HBU<4
         214.         :4'(&'6A8intended
                  Defendants      /'64'(4(8that
                                              69&68*Plaintiffs
                                                        2&/'6/::A8rely
                                                                   54238upon
                                                                         1@7'8these
                                                                                694A48misrepresentations
                                                                                        >/A54@54A4'6&6/7'A8
&'(8:fraudulent
and    5&1(124'68omissions
                     7>/AA/7'A8of7:8material
                                       >&645/&28:facts.
                                                   &?6AB8
         E9\BU*Plaintiffs
         215.       2&/'6/::A8were
                                =4548ignorant
                                         /R'75&'68of7:8the  6948:falsity
                                                                   &2A/638of7:8the
                                                                                6948representations
                                                                                      54@54A4'6&6/7'A8and   &'(8
d1A6/:/&82385relied
justifiably      42/4(8on7'8the
                             6948misrepresentations
                                   >/A54@54A4'6&6/7'A8&and      '(8:fraudulent
                                                                      5&1(124'68omissions
                                                                                   7>/AA/7'A8of7:8material
                                                                                                     >&645/&28
:facts.
  &?6AB88*Plaintiffs
            2&/'6/::A8relied
                       542/4(8on
                               7'8Defendants'
                                   <4:4'(&'6AW85representations
                                                       4@54A4'6&6/7'A8by   838such
                                                                              A1?98things,
                                                                                     69/'RA.8including
                                                                                              /'?21(/'R8but  8168
'7682limited
not    />/64(8to,67.8?continuing
                        7'6/'1/'R8the 6948business
                                            81A/'4AA8venture
                                                          04'61548with
                                                                     =/698Defendants,
                                                                             <4:4'(&'6A.8&and '(8using
                                                                                                  1A/'R8the  6948
   >45/?&'8%X
American           @54AA8?card,
               Express     &5(.8tied
                                 6/4(8to678"7  154&18personally,
                                           Goureau       @45A7'&223.8to678make
                                                                           >&D487     >@&'38purchases.
                                                                                   Company     @15?9&A4AB8
         E9JBU<4
         216.         :4'(&'6AW8&actions
                  Defendants'       ?6/7'A8were
                                             =4548willful,
                                                      =/22:12.8wanton,
                                                                =&'67'.8malicious
                                                                            >&2/?/71A8and&'(8oppressive.
                                                                                              7@@54AA/04B8
         E9`BUAsA8&a8direct
         217.            (/54?68and
                                 &'(8proximate
                                       @57X/>&648result 54A1268of7:8Defendants'
                                                                    <4:4'(&'6AW8:fraud,
                                                                                     5&1(.8*Plaintiffs
                                                                                              2&/'6/::A8have
                                                                                                           9&048
844'8harmed.
been    9&5>4(B88AsA8&a85result
                            4A1268of7:8Defendants'
                                       <4:4'(&'6AW8:fraud  5&1(8Plaintiffs
                                                                  *2&/'6/::A8have
                                                                              9&048been
                                                                                     844'8prevented
                                                                                           @5404'64(8:from  57>8
A6&56/'R8new
starting    '4=8business
                   81A/'4AA8ventures
                              04'6154A8to678the6948state
                                                      A6&648tax
                                                             6&X8liabilities,
                                                                  2/&8/2/6/4A.8&and
                                                                                 '(8"7   154&1WA8ability
                                                                                     Goureau's     &8/2/638to678
786&/'8:financing
obtain     /'&'?/'R8has 9&A8been
                            844'8hindered
                                   9/'(454(8due (148to678the
                                                           6948American
                                                                  >45/?&'8%X     @54AA8debt.
                                                                             Express    (486B8
                                                 III
           jpsqv{nofwFiduciary
                          tovtqp Duty   o| —Derivative
                                                   sptq|tsClaim   xqt~ Against
                                                                              rqtyu|s      ~nytu
                                                COUNT
           (Breach                                                                       Lemonis)

         *Plaintiffs
           2&/'6/::A8repeat
                       54@4&68&and
                                '(8reallege
                                     54&224R484each
                                                  &?98allegation
                                                         &224R&6/7'8?contained
                                                                        7'6&/'4(8above
                                                                                    &87048as&A8though
                                                                                               6971R98:fully12238
A468:forth
set   75698herein.
             9454/'B888
         E9IBU4
         218.        >7'/A8?currently
                  Lemonis       1554'6238serves
                                            A4504A8&asA8the
                                                          6948,&    '&R458of7:8ML
                                                                Manager         ,8Fashion.
                                                                                      ;&A9/7'B88Under
                                                                                                  #'(458the  6948
8      R544>4'6.8a&8,&
LLC Agreement,                '&R458?can&'8be848liable
                          Manager               2/&8248to678the
                                                              6948Company
                                                                   7>@&'38when=94'8he9484engages
                                                                                            'R&R4A8in/'8what
                                                                                                           =9&68
69488
the             R544>4'68describes
      LLC Agreement         (4A?5/84A8as&A8Misconduct.
                                              ,/A?7'(1?6B88See     h8      R544>4'68&at68p.@B8\5,.8§i86.2,
                                                                        LLC Agreement                       JBE.8
        8                                                J65\8
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        8
C4224=8<4?2B8%XB8 B88!1?98,/A?7'(1?68/'?21(4A8854&?987:8:/(1?/&538(163B88C38
Bellew Decl. Ex. A. Such Misconduct includes breach of fiduciary duty. By

/'?21(/'R8&
including      a88  54&?987
                   breach     of:8:fiduciary
                                     /(1?/&538(    duty1638&  asA
                                                                8,/      A?7'(1?6.86
                                                                   Misconduct,          9488
                                                                                       the               R544>4'68
                                                                                              LLC Agreement

?contemplates
  7'64>@2&64A8and  &'(8authorizes
                        &16975/_4A8?claims 2&/>A8:for758breach
                                                          854&?98of7:8:fiduciary
                                                                          /(1?/&538duty
                                                                                      (1638&asA8separate
                                                                                                 A4@&5&648?claims
                                                                                                              2&/>A8
:from
  57>8breaches
       854&?94A8of7:8the
                       69488        R544>4'6B8
                             LLC Agreement.

        E9cBU4
        219.         >7'/A8currently
                 Lemonis      ?1554'6238serves
                                             A4504A8&asA8the
                                                           6948Chairman/CEO
                                                                9&/5>&'V%8of7:8,8           ;&A9/7'.8and,
                                                                                           ML Fashion,       &'(.8&asA8
&'8officer
an  7::/?458of7:8,8   ;&A9/7'.84
                  ML Fashion,            >7'/A8owes
                                    Lemonis       7=4A8the  69487   >@&'38the
                                                                 Company        6948:fiduciary
                                                                                      /(1?/&538duties
                                                                                                   (16/4A8of7:8?care,
                                                                                                                 &54.8
273&263.8&and
loyalty,    '(8good
                R77(8:faith.
                         &/69B88)9
                                 The4  8:fiduciary
                                          /(1?/&538duties
                                                        (16/4A8that
                                                                69&684     >7'/A8owes
                                                                         Lemonis    7=4A8to678the
                                                                                                69487   >@&'38as&A8
                                                                                                    Company

&'8officer,
an  7::/?45.8&are548separate
                    A4@&5&648and&'(8apart
                                        &@&568:from,
                                                 57>.8&and  '(8in/'8addition
                                                                    &((/6/7'8to,  67.8the
                                                                                      6948:fiduciary
                                                                                             /(1?/&538duties
                                                                                                         (16/4A8he948
7=4A8to678the
owes       69487   >@&'38&asA8/its6A8Manager.
                Company               ,&'&R45B8
        EEFBU4
        220.         >7'/A84engaged
                 Lemonis       'R&R4(8in/'8Misconduct
                                               ,/A?7'(1?68&and     '(8breached
                                                                         854&?94(8his9/A8:fiduciary
                                                                                           /(1?/&538duty
                                                                                                      (1638to678ML
                                                                                                                 ,8
;&A9/7'.8as&A8described
Fashion,          (4A?5/84(8above,
                                &8704.8by    838doing
                                                 (7/'R8the   6948:following,
                                                                   7227=/'R.8&among  >7'R8other
                                                                                              769458things:
                                                                                                       69/'RAT8(1)N9Q8
A&((2/'R8the
saddling    6948Company
                  7>@&'38with =/6984expensive
                                          X@4'A/048inventory
                                                         /'04'67538then  694'8:forcing
                                                                                75?/'R8the6948Company
                                                                                               7>@&'38to678sell A4228
69&68inventory
that  /'04'67538&at68&a8loss,
                         27AA.8(2)
                                 NEQ8purposefully
                                       @15@7A4:12238decreasing
                                                            (4?54&A/'R8the   6948Company's
                                                                                  7>@&'3WA8profit@57:/68margins
                                                                                                           >&5R/'A8
>&D/'R8it/68reliant
making       542/&'68on7'8loans
                           27&'A8:from
                                     57>84     >7'/A8and
                                             Lemonis       &'(8his
                                                                9/A84entities,
                                                                         '6/6/4A.8(3)
                                                                                  NYQ8purposefully
                                                                                      @15@7A4:12238removing
                                                                                                         54>70/'R8
?capital
  &@/6&28:from
           57>8the69487    >@&'38soA78that
                        Company              69&68its/6A8debts
                                                          (486A8?could
                                                                    712(8not '768be848paid,
                                                                                       @&/(.8(4)
                                                                                               NHQ8purposefully
                                                                                                    @15@7A4:12238
/'?54&A/'R8the
increasing    6948debt
                   (4868of7:8the
                             6948Company
                                    7>@&'38and   &'(8:forcing
                                                          75?/'R8it/68to678take
                                                                           6&D48loans
                                                                                27&'A8:from
                                                                                         57>8Lemonis,
                                                                                                  4>7'/A.8and/or
                                                                                                             &'(V758
769458?companies
other    7>@&'/4A8owned 7='4(8and/or
                                  &'(V758?controlled
                                               7'657224(8by    838him,
                                                                    9/>.8in/'8order
                                                                                75(458to678meet
                                                                                             >4468its/6A8:financial
                                                                                                           /'&'?/&28
782/R&6/7'A.8(5)
obligations,     N\Q8taking
                      6&D/'R8actions
                                &?6/7'A8that 69&68:financially
                                                    /'&'?/&2238:favored
                                                                      &0754(8member
                                                                                 >4>8458,8   ML $4     6&/2.8.
                                                                                                    Retail,   LLC,8

(4?54&A/'R8the
decreasing     6948value
                    0&2148and
                            &'(8viability
                                 0/&8/2/638of7:8the
                                                  69487     >@&'38to678the
                                                         Company            6948direct
                                                                                (/54?68detriment
                                                                                        (465/>4'68of7:8the6948other
                                                                                                               769458
>4>845A8of7:8the
members          69487   >@&'3.8(6)
                      Company,        NJQ8using
                                            1A/'R8the
                                                    6948assets
                                                            &AA46A8of7:8the
                                                                          69487   >@&'38to678grow
                                                                               Company           R57=8Lemonis'
                                                                                                         4>7'/AW8

        8                                                   J66J8
       Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 68 of 95

        8
@45A7'&2885&'(8, $#!.8N`Q86&D/'R8&8@45A7'&286&X8=5/64G7::87'8,8;&A9/7'WA8
personal brand MARCUS, (7) taking a personal tax write-off on ML Fashion's

?charitable
   9&5/6&8248donations,
               (7'&6/7'A.8(8)  NIQ8using
                                    1A/'R8,8    ;&A9/7'8as&A8a&8vehicle
                                           ML Fashion               049/?248to678defraud
                                                                                 (4:5&1(8and&'(8:foreclose
                                                                                                   754?27A48
1@7'8small
upon     A>&228business
                   81A/'4AA8owners
                                7='45A84    >7'/A8was
                                          Lemonis     =&A8purporting
                                                              @15@756/'R8to678save,
                                                                                 A&04.8(9)
                                                                                         NcQ8?closing
                                                                                                 27A/'R8the 6948
7   >@&'3WA8retail
Company's         546&/28stores
                          A6754A8and
                                   &'(85removing
                                          4>70/'R8at&68least
                                                          24&A68$377,377
                                                                   [Y``.Y``8worth
                                                                               =75698of7:8inventory
                                                                                           /'04'67538and   &'(8
[$197,255
   9c`.E\\8=7  worth56987of:8:fixtures,
                                /X6154A.8:furniture,
                                            15'/6154.8&    '(84equipment
                                                         and       ]1/@>4'68:from57>86  948A
                                                                                       the      6754A.8N
                                                                                              stores,      9FQ8
                                                                                                          (10)

/>@57@452385removing
improperly        4>70/'R8&at68least
                                  24&A68[$601,324.02
                                          JF9.YEHBFE8:from57>8the
                                                               69487   >@&'3WA8bank
                                                                     Company's      8&'D8&accounts,
                                                                                             ??71'6A.8(11)N99Q8
/>@57@45238taking
improperly       6&D/'R8at&682least
                               4&A68[$3,023,004.47
                                       Y.FEY.FFHBH`8:from
                                                        57>8ML ,8Fashion
                                                                     ;&A9/7'8and&'(8MLG
                                                                                     ,"8$4      6&/28to678pay
                                                                                             Retail        @&38
@45A7'&2.8'
personal,        7'G7>@&'385related,
               non-Company            42&64(.84expenses
                                                 X@4'A4A86    9&68<4
                                                             that       :4'(&'6A8@
                                                                     Defendants       1687
                                                                                     put    '8<4
                                                                                           on       :4'(&'68
                                                                                                 Defendant

4  >7'/AW8personal
 Lemonis'      @45A7'&28?credit
                             54(/68?card
                                      &5(8and
                                           &'(8keeping
                                                D44@/'R8&and/or
                                                              '(V758using
                                                                      1A/'R8the
                                                                             6948rewards
                                                                                   54=&5(A8points
                                                                                               @7/'6A8:from
                                                                                                          57>8
697A48payments
those    @&3>4'6A8:for758Defendants'
                             <4:4'(&'6AW8benefit,
                                              84'4:/6.8&and'(8(12)
                                                               N9EQ8preventing
                                                                       @5404'6/'R8ML ,8Fashion
                                                                                           ;&A9/7'8:from  57>8
@&3/'R8the
paying     6948business
                81A/'4AA8American
                               >45/?&'8%X    @54AA8?card
                                          Express    &5(8tied
                                                           6/4(8to678"7 154&18personally.
                                                                     Goureau    @45A7'&223B88
         EE9BUAsA8&a8direct
         221.            (/54?68&and
                                   '(8proximate
                                        @57X/>&648result
                                                    54A1268of7:8Lemonis'
                                                                4>7'/AW8breaches
                                                                             854&?94A8of7:8his
                                                                                             9/A8:fiduciary
                                                                                                   /(1?/&538
(163.8*Plaintiffs
duty,      2&/'6/::A8&and
                        '(8the
                            69487   >@&'38have
                                 Company      9&048been
                                                     844'8harmed
                                                             9&5>4(8/in'8&an'8amount
                                                                               &>71'68to678be848proven
                                                                                                  @5704'8&at68
65/&2.8but
trial, 8168at&68least
                24&A68$4,198,960.49.
                        [H.9cI.cJFBHcB8
                                                IVK
  jpsqv{nofwt      ovtqp Duty o| —Direct
                                          tpsv|qandyDerivative
                                                         sptq|tsClaim xqt~ Against
                                                                                  rqtyu|Defendants
                                                                                             swsyqy|u
                                               COUNT

                                s ~nytuML LRetail,
                                                  s|qtxqand yL ML, 
 (Breach          Fiduciary
                                Lemonis,                                 LLC)

         *Plaintiffs
            2&/'6/::A8repeat
                       54@4&68&and
                                 '(8reallege
                                      54&224R484each
                                                 &?98allegation
                                                      &224R&6/7'8?contained
                                                                      7'6&/'4(8above
                                                                                  &87048as&A8though
                                                                                              6971R98:fully12238
A468:forth
set   75698herein.
             9454/'B888
         EEEBUAsA8a&8?control
         222.              7'65728group
                                    R571@8wielding
                                            =/42(/'R81unbridled
                                                         '85/(24(8power
                                                                      @7=458to678?control
                                                                                   7'65728the
                                                                                           6948Company,
                                                                                                 7>@&'3.8
6948,8
the   ML 7     '65728"5
             Control       71@8owes
                        Group    7=4A8a&8:fiduciary
                                            /(1?/&538duty
                                                       (1638to678the
                                                                   69487 >@&'38and
                                                                       Company      &'(8*Plaintiffs.
                                                                                           2&/'6/::AB88The )948

        8                                                J67`8
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 69 of 95

        8
,87'65728"571@8/A8?7''4?64(8838?7>>7'87='45A9/@.8&A84>7'/A8/A869487'238
ML Control Group is connected by common ownership, as Lemonis is the only

'&615&28person
natural    @45A7'8with =/698an&'8interest
                                  /'6454A68in/'8ML
                                                 ,8Retail
                                                       $46&/28and
                                                               &'(8,.
                                                                     ML,8    .8&and
                                                                             LLC,       '(8worked
                                                                                              =75D4(8together
                                                                                                        67R469458
67=&5(A8their
towards     694/58shared
                      A9&54(8goal
                                R7&28of7:8running
                                            51''/'R8ML  ,8Fashion
                                                             ;&A9/7'8to678benefit
                                                                              84'4:/68themselves
                                                                                         694>A4204A8to678the  6948
(465/>4'68of7:8the
detriment         69487    >@&'38and
                        Company       &'(8Plaintiff.
                                           *2&/'6/::B88The
                                                         )948:fiduciary
                                                               /(1?/&538duties
                                                                           (16/4A8owed7=4(8to678the
                                                                                                 6948Company
                                                                                                      7>@&'38
&'(8to678*Plaintiffs
and        2&/'6/::A8by 838the
                            6948Control
                                 7'65728"5     71@8do
                                             Group    (78not
                                                          '768arise
                                                              &5/A48:from
                                                                       57>8the
                                                                             69488         R544>4'6B8
                                                                                    LLC Agreement.

        EEYBU)9
        223.      The4  8:fiduciary
                           /(1?/&538duties
                                        (16/4A8that
                                                  69&684   >7'/A8owes
                                                         Lemonis     7=4A8to678the   69487    >@&'38and
                                                                                          Company         &'(8to678
*Plaintiffs
  2&/'6/::A8as&A8a&85result
                      4A1268of7:8being
                                 84/'R8/in'8the
                                             6948ML
                                                  ,8Control
                                                        7'65728"5   71@8are
                                                                  Group     &548separate
                                                                                   A4@&5&648and&'(8apart
                                                                                                    &@&568:from,
                                                                                                            57>.8
&'(8/in'8&addition
and        ((/6/7'8to, 67.8the
                           6948:fiduciary
                                 /(1?/&538duties
                                              (16/4A8he948owes
                                                          7=4A8to678the
                                                                    69487    >@&'38&asA8its/6A8,&
                                                                          Company                    '&R458and
                                                                                                 Manager      &'(8
&'8officer.
an  7::/?45B888
        EEHBU)9
        224.      The4  8ML
                         ,87      '65728Group
                                Control    "571@8breached
                                                     854&?94(8its/6A8:fiduciary
                                                                       /(1?/&538duty (1638to678the
                                                                                                6948Company,
                                                                                                     7>@&'3.8
"7  154&1.8and
 Goureau,    &'(8Menkin,
                     ,4'D/'.8&asA8described
                                      (4A?5/84(8&above,
                                                      8704.8by
                                                             838doing
                                                                  (7/'R8the6948:following,
                                                                                    7227=/'R.8among
                                                                                                  &>7'R8other
                                                                                                            769458
69/'RAT8(1)
things:    N9Q8saddling
                 A&((2/'R8the   6948Company
                                      7>@&'38with   =/6984expensive
                                                             X@4'A/048inventory
                                                                           /'04'67538then    694'8:forcing
                                                                                                    75?/'R8the6948
7  >@&'38to678sell
Company           A4228that
                        69&68inventory
                              /'04'67538at&68&a82loss,
                                                  7AA.8(2)
                                                        NEQ8purposefully
                                                            @15@7A4:12238decreasing
                                                                              (4?54&A/'R8the   6948Company's
                                                                                                   7>@&'3WA8
@57:/68margins
profit    >&5R/'A8making>&D/'R8/it68reliant
                                       542/&'68on7'8loans
                                                       27&'A8:from
                                                                57>84    >7'/A8and
                                                                       Lemonis         &'(8his9/A84entities,
                                                                                                    '6/6/4A.8(3)
                                                                                                               NYQ8
@15@7A4:12238removing
purposefully       54>70/'R8?capital
                                   &@/6&28:from
                                            57>8the
                                                  69487   >@&'38soA78that
                                                       Company          69&68its/6A8debts
                                                                                    (486A8?could
                                                                                              712(8not
                                                                                                   '768be848paid,
                                                                                                            @&/(.8
NHQ8purposefully
(4) @15@7A4:12238increasing
                        /'?54&A/'R8the6948debt
                                           (4868of7:8the
                                                     6948Company
                                                          7>@&'38&and   '(8:forcing
                                                                              75?/'R8it/68to678take
                                                                                               6&D48loans
                                                                                                    27&'A8:from
                                                                                                             57>8
4 >7'/A.8&and/or
 Lemonis,       '(V758ML  ,8Retail
                                  $46&/28&and/or
                                              '(V758,.
                                                      ML,8LLC,
                                                             .8in/'8order
                                                                          75(458to678meet>4468its/6A8:financial
                                                                                                        /'&'?/&28
782/R&6/7'A.8(5)
obligations,      N\Q8taking
                        6&D/'R8actions
                                  &?6/7'A8that
                                             69&68:financially
                                                    /'&'?/&2238:favored
                                                                   &0754(8member
                                                                              >4>8458,8   ML $4     6&/2.8.
                                                                                                  Retail,  LLC,8

(4?54&A/'R8the
decreasing     6948value
                     0&2148and
                             &'(8viability
                                   0/&8/2/638of7:8the
                                                  69487   >@&'38to678the
                                                        Company         6948direct
                                                                            (/54?68detriment
                                                                                      (465/>4'68of7:8the
                                                                                                       6948other
                                                                                                            769458
>4>845A8of7:8the
members           69487    >@&'3.8(6)
                        Company,       NJQ8using
                                            1A/'R8the
                                                    6948assets
                                                         &AA46A8of7:8the
                                                                     69487    >@&'38to678grow
                                                                          Company              R57=8Lemonis'
                                                                                                      4>7'/AW8

        8                                                 J68I8
       Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 70 of 95

        8
@45A7'&2885&'(8, $#!.8N`Q89&0/'R84>7'/A86&D48@45A7'&286&X8=5/64G7::A87'8,8
personal brand MARCUS, (7) having Lemonis take personal tax write-offs on ML

;&A9/7'WA8?charitable
Fashion's        9&5/6&8248donations,
                            (7'&6/7'A.8(8)  NIQ8using
                                                1A/'R8,8      ;&A9/7'8as&A8a&8vehicle
                                                        ML Fashion             049/?248to678defraud
                                                                                             (4:5&1(8and &'(8
:foreclose
  754?27A48upon
             1@7'8small
                     A>&228business
                             81A/'4AA8owners
                                          7='45A84    >7'/A8was
                                                    Lemonis     =&A8purporting
                                                                      @15@756/'R8to678save,
                                                                                        A&04.8(9)
                                                                                                NcQ8?closing
                                                                                                      27A/'R8
69487
the       >@&'3WA8retail
      Company's       546&/28stores
                             A6754A8and&'(8removing
                                            54>70/'R8&at68least
                                                          24&A68[$377,377
                                                                     Y``.Y``8worth
                                                                               =75698of7:8inventory
                                                                                           /'04'67538&and  '(8
[$197,255
  9c`.E\\8=7       56987
                worth    of:
                           8:fixtures,
                              /X6154A.8:furniture,
                                            15'/6154.8&  '(84equipment
                                                        and       ]1/@>4'68:from57>86   948A
                                                                                       the     6754A.8N
                                                                                             stores,     9FQ8
                                                                                                        (10)

/>@57@45238removing
improperly       54>70/'R8at&68least
                                 24&A68[$601,324.02
                                          JF9.YEHBFE8:from
                                                         57>8the 6948Company's
                                                                     7>@&'3WA8bank  8&'D8accounts,
                                                                                           &??71'6A.8and &'(8
N99Q8improperly
(11)   />@57@45238taking
                       6&D/'R8at&68least
                                   24&A68[$3,023,004.47
                                            Y.FEY.FFHBH`8:from 57>8,8   ;&A9/7'8and
                                                                    ML Fashion       &'(8,"8     $46&/28to678
                                                                                          MLG Retail

@&38personal,
pay    @45A7'&2.8non-Company
                    '7'G7>@&'38related, 542&64(.84expenses
                                                    X@4'A4A8that69&68Defendants
                                                                       <4:4'(&'6A8put @168on
                                                                                           7'8Defendant
                                                                                                 <4:4'(&'68
4  >7'/AW8personal
 Lemonis'     @45A7'&28?credit
                            54(/68?card
                                      &5(8and
                                           &'(8keeping
                                                D44@/'R8&and/or
                                                            '(V758using
                                                                      1A/'R8the
                                                                             6948rewards
                                                                                   54=&5(A8points
                                                                                              @7/'6A8:from
                                                                                                        57>8
697A48payments
those   @&3>4'6A8:for758Defendants'
                          <4:4'(&'6AW8benefit.
                                            84'4:/6B8
         EE\BUAsA8&a8direct
         225.            (/54?68&and
                                   '(8proximate
                                        @57X/>&648result
                                                     54A1268of7:8the
                                                                  6948ML
                                                                      ,87    '65728"5
                                                                           Control        71@WA8breaches
                                                                                       Group's    854&?94A8
7:8their
of  694/58:fiduciary
            /(1?/&538duty,
                        (163.8*Plaintiffs
                                  2&/'6/::A8&and
                                              '(8the
                                                  69487 >@&'38have
                                                      Company       9&048been
                                                                          844'8harmed
                                                                                 9&5>4(8in/'8an&'8amount
                                                                                                    &>71'68
678be848proven
to      @5704'8at&68trial,
                     65/&2.8but
                            8168at&68least
                                     24&A68$4,198,960.49.
                                            [H.9cI.cJFBHcB8
                                                 VK
                   ttyrqand yAbetting
                                     s||tyr—Direct
                                                    tpsv|Claim
                                                            xqt~Against
                                                                       rqtyu|Raffel)
                                                                                 qwwsx8
                                                COUNT
                   (Aiding

         *Plaintiffs
           2&/'6/::A8repeat
                      54@4&68&and'(8reallege
                                     54&224R484each
                                                 &?98allegation
                                                      &224R&6/7'8?contained
                                                                      7'6&/'4(8above
                                                                                 &87048as&A8though
                                                                                             6971R98:fully
                                                                                                        12238
A468:forth
set   75698herein.
            9454/'B8
         EEJBUAsA8stated
         226.         A6&64(8&above,
                               8704.8Defendants
                                         <4:4'(&'6A84    >7'/A.8ML
                                                       Lemonis,      ,8$4   6&/2.8and
                                                                          Retail,   &'(8ML,
                                                                                         ,.8LLC
                                                                                               8as&A8the
                                                                                                          6948
&264584ego
alter     R78of7:84 >7'/A8and
                  Lemonis     &'(8,8ML $4    6&/2.8owed
                                           Retail,  7=4(8:fiduciary
                                                            /(1?/&538duties
                                                                         (16/4A8to678the
                                                                                      6948Company
                                                                                           7>@&'38and   &'(8
*Plaintiffs.
  2&/'6/::AB8


        8                                               J69c8
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        8
         EE`BU<4:4'(&'68$&::428D'4=869&68<4:4'(&'6A84>7'/A.8,8$46&/2.8&'(8,.8
        227. Defendant Raffel knew that Defendants Lemonis, ML Retail, and ML,

8   7=4(8:fiduciary
 LLC owed       /(1?/&538duties
                             (16/4A8to678,8  ;&A9/7'B8
                                         ML Fashion.

         EEIBU<4
         228.         :4'(&'68$&
                 Defendant         ::428Dknowingly
                                Raffel     '7=/'R238aided
                                                        &/(4(8and
                                                               &'(8abetted
                                                                     &84664(8Defendants'
                                                                               <4:4'(&'6AW8breaches
                                                                                               854&?94A8of7:8
694/58:fiduciary
their   /(1?/&538duties
                     (16/4A8by:
                             83T8(1)
                                 N9Q8working
                                       =75D/'R8with
                                                  =/698Lemonis
                                                        4>7'/A8to678buy8138product
                                                                             @57(1?68:for758,8  ;&A9/7'WA8
                                                                                             ML Fashion's

546&/28stores
retail  A6754A8:far&58above
                      &87048,8    ;&A9/7'WA8budget
                              ML Fashion's       81(R468:for758product
                                                                @57(1?68thus
                                                                           691A8:forcing
                                                                                  75?/'R8ML ,8Fashion
                                                                                                ;&A9/7'8to678
/'?158more
incur    >7548debt
                (4868:from57>8Lemonis
                                4>7'/A8soA78/it68was=&A8not
                                                           '768&able
                                                                  8248to678?cover
                                                                             70458its/6A8'normal
                                                                                           75>&28business
                                                                                                   81A/'4AA8
4expenses,
  X@4'A4A.8such
              A1?98&asA8payroll
                          @&357228&and
                                    '(8rent,
                                         54'6.8(2)
                                               NEQ8making
                                                    >&D/'R8business
                                                               81A/'4AA8decisions
                                                                           (4?/A/7'A8that69&68were
                                                                                              =4548outside
                                                                                                    716A/(48
7:8her
of   9458understanding
          1'(45A6&'(/'R8such  A1?98as&A8managerial,
                                         >&'&R45/&2.8staffing,
                                                         A6&::/'R.8discounting,
                                                                     (/A?71'6/'R.8and&'(8merchandising
                                                                                            >45?9&'(/A/'R8
(4?/A/7'A.8Dknowing
decisions,      '7=/'R8that 69&68,8    ;&A9/7'8would
                                 ML Fashion        =712(8have9&048to6784expend
                                                                         X@4'(8time
                                                                                  6/>48and&'(8resources
                                                                                              54A715?4A8to678
?correct
  7554?68&and
            '(85redo
                 4(78her 9458work,
                             =75D.8and&'(8(3)
                                           NYQ8working
                                               =75D/'R8with =/698Defendants
                                                                   <4:4'(&'6A8to678make>&D48ML,8Fashion
                                                                                                    ;&A9/7'8
/'A7204'68and
insolvent     &'(8indebted
                    /'(4864(8to678ML
                                  ,8$4     6&/28&and
                                         Retail    '(8ML,
                                                       ,.88
                                                              LLC so A78that
                                                                         69&68they
                                                                              69438?could
                                                                                       712(8use
                                                                                             1A48the
                                                                                                 6948&assets
                                                                                                       AA46A8
7:8ML
of   ,8Fashion
          ;&A9/7'8to678grow
                          R57=84  >7'/A8and
                                Lemonis     &'(8$&    ::42WA8,MARCUS
                                                   Raffel's        $#!8brand.
                                                                            85&'(B8
         EEcBUAsA8&a8direct
         229.              (/54?68&and'(8proximate
                                          @57X/>&648result54A1268of7:8Defendant
                                                                        <4:4'(&'68$&       ::42WA8?conduct,
                                                                                        Raffel's    7'(1?6.8
*Plaintiffs
   2&/'6/::A8&and
               '(8the
                    6948Company
                         7>@&'38have  9&048been
                                            844'8harmed
                                                    9&5>4(8in/'8an&'8amount
                                                                      &>71'68to678be848proven
                                                                                        @5704'8&at68trial.
                                                                                                    65/&2B8
                                                VI        K
 jpsqv{nofw|the {sImplied
                        ~xtsCovenant
                                 nsyqy|nofwGood   knnFaith
                                                            qt|{qand yFair
                                                                           qtpDealing
                                                                                 sqxtyr—Direct
                                                                                               tpsv|qand y
                                               COUNT

    sptq|tsClaim xqt~ Against
                             rqtyu|Defendants
                                         swsyqy|uLemonis,
                                                         s~nytuML    LRetail,
                                                                             s|qtxqand yL
                                                                                             ML, 
 (Breach
    Derivative                                                                                     LLC)

         *Plaintiffs
           2&/'6/::A8repeat
                       54@4&68&and
                                '(8reallege
                                    54&224R484each
                                                 &?98allegation
                                                       &224R&6/7'8?contained
                                                                      7'6&/'4(8above
                                                                                  &87048as&A8though
                                                                                              6971R98:fully
                                                                                                        12238
A468:forth
set   75698herein.
            9454/'B888
         EYFBU)9
         230.    The4   88    R544>4'68?contains
                         LLC Agreement          7'6&/'A8&an'8implied
                                                               />@2/4(8?covenant
                                                                            704'&'68of7:8good
                                                                                            R77(8:faith
                                                                                                   &/698and
                                                                                                         &'(8
:fair
  &/58dealing.
      (4&2/'RB88)9
                 The4   8implied
                         />@2/4(8?covenant
                                    704'&'68of7:8good
                                                   R77(8:faith
                                                            &/698and
                                                                 &'(8:fair
                                                                        &/58dealing
                                                                            (4&2/'R8attaches
                                                                                       &66&?94A8whenever
                                                                                                 =94'40458

        8                                              `70F8
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 72 of 95

        8
&'88 R544>4'68R/04A8&8@&56386948&8/2/6386786&D48&'8&?6/7'8/'8694/58OA7248
an LLC Agreement gives a party the ability to take an action in their "sole

(/A?546/7'BP88AsA8discussed
discretion."              (/A?1AA4(8above,
                                        &8704.8the   69488        R544>4'68gave
                                                          LLC Agreement             R&048Lemonis
                                                                                           4>7'/A8the    6948sole
                                                                                                               A7248
(/A?546/7'8to678manage
discretion          >&'&R48the 6948day
                                    (&38to678day
                                             (&38affairs
                                                    &::&/5A8of7:8ML
                                                                 ,8Fashion,
                                                                        ;&A9/7'.8gave
                                                                                    R&048ML,8$4     6&/28the
                                                                                                 Retail    6948sole
                                                                                                               A7248
(/A?546/7'8to678?change
discretion          9&'R48the6948Company's
                                  7>@&'3WA8manager,
                                                  >&'&R45.8and   &'(8gave
                                                                        R&048ML
                                                                              ,8$Retail
                                                                                      46&/28the
                                                                                            6948sole
                                                                                                A7248discretion
                                                                                                       (/A?546/7'8
678handle
to  9&'(248ML,8Fashion's
                     ;&A9/7'WA8tax 6&X8matters.
                                       >&6645AB8
        EY9BU)9
        231.       The4 8implied
                         />@2/4(8?covenant
                                      704'&'68of7:8goodR77(8:faith
                                                               &/698and
                                                                     &'(8:fair
                                                                             &/58dealing
                                                                                 (4&2/'R8applies
                                                                                            &@@2/4A8in/'8an&'88
                                                                                                               LLC

&R544>4'68that,
agreement        69&6.82like
                         /D48the
                              69488        R544>4'68here,
                                   LLC Agreement            9454.8attempts
                                                                    &664>@6A8to678limit
                                                                                     2/>/68the
                                                                                            69482liability
                                                                                                  /&8/2/638of7:8/its6A8
>&'&R45A8and
managers     &'(8members.
                     >4>845AB8
        EYEBU<4
        232.          :4'(&'6A8breached
                   Defendants        54&?94(8this
                                                69/A8?covenant
                                                        704'&'68by38&abusing,
                                                                           81A/'R.8unreasonably
                                                                                    1'54&A7'&8238and   &'(8in/'8bad&(8
:faith
  &/698and
       &'(8:for758their
                   694/58own
                          7='8interests
                                 /'6454A6A8&and
                                              '(8to678the
                                                       6948detriment
                                                           (465/>4'68of7:8the69487   >@&'3.8the
                                                                                  Company,      6948managerial
                                                                                                      >&'&R45/&28
@7=458over
power    70458the 69487   >@&'38provided
                      Company        @570/(4(8to678them694>8in/'8the
                                                                  69488        R544>4'6B88Actions
                                                                         LLC Agreement.            ?6/7'A8which
                                                                                                             =9/?98
854&?94(8the
breached    6948?covenant,
                     704'&'6.8described
                                  (4A?5/84(8&above,
                                                 8704.8include,
                                                          /'?21(4.8but8168are
                                                                            &548not
                                                                                '7682limited
                                                                                       />/64(8to:
                                                                                               67T8(1)
                                                                                                    N9Q8saddling
                                                                                                         A&((2/'R8
69487
the      >@&'38with
      Company         =/6984expensive
                                X@4'A/048inventory
                                             /'04'67538then 694'8:forcing
                                                                     75?/'R8the 6948Company
                                                                                      7>@&'38to678sell  A4228that
                                                                                                                69&68
/'04'67538at&68a&8loss,
inventory              27AA.8(2)NEQ8purposefully
                                     @15@7A4:12238decreasing
                                                         (4?54&A/'R8the   6948Company's
                                                                               7>@&'3WA8profit @57:/68margins
                                                                                                          >&5R/'A8
>&D/'R8it/68reliant
making       542/&'68on  7'8loans
                             27&'A8:from
                                      57>84    >7'/A8and
                                            Lemonis       &'(8his
                                                                9/A84entities,
                                                                        '6/6/4A.8(3)
                                                                                 NYQ8purposefully
                                                                                      @15@7A4:12238removing
                                                                                                        54>70/'R8
?capital
  &@/6&28:from
           57>8the  69487    >@&'38soA78that
                          Company            69&68its/6A8debts
                                                         (486A8?could
                                                                   712(8not '768be848paid,
                                                                                      @&/(.8(4)
                                                                                             NHQ8purposefully
                                                                                                   @15@7A4:12238
/'?54&A/'R8the
increasing      6948debt
                     (4868of7:8the
                               6948Company
                                      7>@&'38and  &'(8:forcing
                                                         75?/'R8it/68to678take
                                                                          6&D48loans
                                                                               27&'A8:from
                                                                                        57>8Lemonis,
                                                                                                4>7'/A.8and/or
                                                                                                             &'(V758
769458?companies
other    7>@&'/4A8owned   7='4(8and/or
                                    &'(V758?controlled
                                                7'657224(8by   838him,
                                                                   9/>.8in/'8order
                                                                               75(458to678meet
                                                                                            >4468/its6A8:financial
                                                                                                           /'&'?/&28
782/R&6/7'A.8(5)
obligations,       N\Q8taking
                        6&D/'R8actions
                                  &?6/7'A8that
                                             69&68:financially
                                                      /'&'?/&2238:favored
                                                                     &0754(8member
                                                                                >4>8458,8  ML $4      6&/2.8.
                                                                                                  Retail,     LLC,8

(4?54&A/'R8the
decreasing       6948value
                     0&2148and&'(8viability
                                   0/&8/2/638of7:8the
                                                    69487  >@&'38to678the
                                                         Company           6948direct
                                                                               (/54?68detriment
                                                                                        (465/>4'68of7:8the
                                                                                                         6948other
                                                                                                              769458

        8                                                   `7198
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        8
>4>845A87:869487>@&'3.8NJQ81A/'R86948&AA46A87:869487>@&'38678R57=84>7'/AW8
members of the Company, (6) using the assets of the Company to grow Lemonis'

@45A7'&28brand
personal    85&'(8MARCUS,
                     , $#!.8(7)       N`Q8having
                                            9&0/'R84      >7'/A8take
                                                        Lemonis     6&D48personal
                                                                            @45A7'&28tax
                                                                                      6&X8write-offs
                                                                                          =5/64G7::A8on  7'8,8
                                                                                                             ML

;&A9/7'WA8?charitable
Fashion's      9&5/6&8248donations,
                               (7'&6/7'A.8(8) NIQ8using
                                                  1A/'R8,8        ;&A9/7'8as&A8a&8vehicle
                                                            ML Fashion              049/?248to678defraud
                                                                                                 (4:5&1(8and &'(8
:foreclose
  754?27A48upon
             1@7'8small
                     A>&228business
                                81A/'4AA8owners
                                           7='45A84       >7'/A8was
                                                        Lemonis     =&A8purporting
                                                                           @15@756/'R8to678save,
                                                                                           A&04.8(9)NcQ8?closing
                                                                                                          27A/'R8
69487
the      >@&'3WA8retail
     Company's       546&/28stores
                                A6754A8and
                                        &'(8removing
                                              54>70/'R8&at68least
                                                                24&A68[$377,377
                                                                          Y``.Y``8worth
                                                                                    =75698of7:8inventory
                                                                                               /'04'67538&and '(8
[$197,255
  9c`.E\\8=7      56987
              worth        of:8:fixtures,
                                 /X6154A.8:furniture,
                                              15'/6154.8&     '(84equipment
                                                             and      ]1/@>4'68:from 57>86  948A
                                                                                           the     6754A.8N
                                                                                                 stores,     9FQ8
                                                                                                            (10)

/>@57@45238removing
improperly     54>70/'R8at&68least 24&A68[$601,324.02
                                            JF9.YEHBFE8:from  57>8the6948Company's
                                                                          7>@&'3WA8bank 8&'D8accounts,
                                                                                               &??71'6A.8and &'(8
N99Q8improperly
(11)  />@57@45238taking
                      6&D/'R8at&68least
                                     24&A68[$3,023,004.47
                                              Y.FEY.FFHBH`8:from   57>8,8     ;&A9/7'8and
                                                                          ML Fashion     &'(8,"8      $46&/28to678
                                                                                              MLG Retail

@&38personal,
pay   @45A7'&2.8non-Company
                    '7'G7>@&'38related,  542&64(.84expenses
                                                         X@4'A4A8that
                                                                    69&68Defendants
                                                                            <4:4'(&'6A8put@168on
                                                                                               7'8Defendant
                                                                                                     <4:4'(&'68
4  >7'/AW8personal
 Lemonis'    @45A7'&28?credit  54(/68?card
                                       &5(8and
                                             &'(8keeping
                                                    D44@/'R8&and/or
                                                                  '(V758using
                                                                           1A/'R8the
                                                                                 6948rewards
                                                                                       54=&5(A8points
                                                                                                  @7/'6A8:from
                                                                                                            57>8
697A48payments
those   @&3>4'6A8:for758Defendants'
                            <4:4'(&'6AW8benefit.
                                              84'4:/6B8
        EYYBUAsA8&a8direct
        233.            (/54?68and &'(8proximate
                                        @57X/>&648result54A1268of7:8Defendants'
                                                                    <4:4'(&'6AW8breaches
                                                                                    854&?94A8of7:8the
                                                                                                   6948implied
                                                                                                        />@2/4(8
(1638of7:8good
duty      R77(8:faith
                  &/698and &'(8:fair
                                  &/58dealing,
                                      (4&2/'R.8*Plaintiffs
                                                    2&/'6/::A8and
                                                                &'(8the
                                                                      6948Company
                                                                           7>@&'38have9&048been
                                                                                             844'8harmed
                                                                                                     9&5>4(8in/'8
&'8&amount
an    >71'68to678be848proven
                      @5704'8at&68trial,
                                      65/&2.8but
                                             8168at&682least
                                                        4&A68[$4,198,960.49.
                                                               H.9cI.cJFBHcB8
                                                  VII       K
    jpsqv{nofwL           qu{tny¡uLLC  Agreement
                                                  rpss~sy|—Direct    tpsv|qandyDerivative
                                                                                      sptq|tsClaim xqt~
                                                 COUNT

               rqtyu|Defendants
                              swsyqy|uLemonis,
                                               s~nytuML     LRetail,
                                                                    s|qtxqand yL     
    (Breach         ML Fashion's
               Against                                                              ML, LLC)

        *Plaintiffs
          2&/'6/::A8repeat
                      54@4&68&and  '(8reallege
                                       54&224R484each&?98allegation
                                                           &224R&6/7'8?contained
                                                                           7'6&/'4(8above
                                                                                      &87048as&A8though
                                                                                                 6971R98:fully
                                                                                                            12238
A468:forth
set   75698herein.
           9454/'B888
        EYHBU)9
        234.    This /A8is/A8a&8direct
                                (/54?68&and
                                         '(8derivative
                                              (45/0&6/048&action
                                                               ?6/7'8:for758money
                                                                            >7'438damages
                                                                                    (&>&R4A8&arising
                                                                                                 5/A/'R8out
                                                                                                          7168of7:8
<4:4'(&'6AW8breach
Defendants'      854&?98of7:8the   6948duties
                                        (16/4A8&and '(8obligations
                                                          782/R&6/7'A8owed 7=4(8to678,8   ;&A9/7'8&and
                                                                                      ML Fashion         '(8the
                                                                                                             6948

        8                                                 `72E8
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        8
7  >@&'3WA8members
Company's         >4>845A8under  1'(458the69488       R544>4'6.8and
                                               LLC Agreement,           &'(8the69485resulting
                                                                                     4A126/'R8damages
                                                                                                  (&>&R4A8that  69&68
=4548incurred.
were   /'?1554(B88
        EY\BUAt68all
        235.           &228times
                             6/>4A8material
                                        >&645/&28to678this
                                                        69/A8&action,
                                                               ?6/7'.8<4      :4'(&'684
                                                                          Defendant           >7'/A8was
                                                                                           Lemonis      =&A8the  6948
,&'&R458and
Manager       &'(89     &/5>&'V%8of7:8ML
                     Chairman/CEO                ,8Fashion,
                                                      ;&A9/7'.8Defendant
                                                                    <4:4'(&'68ML     ,8$4      6&/28owned
                                                                                            Retail   7='4(8the   6948
2&5R4A68&and
largest     '(8most
                >7A68powerful
                        @7=45:128membership
                                       >4>845A9/@8interest
                                                       /'6454A68in/'8the
                                                                      69487    >@&'3.8and
                                                                           Company,        &'(8ML,
                                                                                                 ,.88
                                                                                                       LLC was  =&A8
&'8&agent
an    R4'68and
            &'(8alter
                   &264584ego
                           R78of7:8both
                                     87698Lemonis
                                           4>7'/A8and&'(8ML,8$4      6&/2B88AsA8such,
                                                                  Retail.         A1?9.8<4    :4'(&'6A8agreed
                                                                                           Defendants     &R544(8
678:fulfill
to   12:/228and
            &'(8discharge
                  (/A?9&5R48?certain456&/'8managerial
                                           >&'&R45/&28duties
                                                           (16/4A8&and
                                                                     '(8obligations
                                                                         782/R&6/7'A8that 69&68were
                                                                                                =45484expressly
                                                                                                        X@54AA238
A468:forth
set   75698in/'8the
                6948LLC
                     8Agreement.
                                R544>4'6B8
        EYJBU!Specifically,
        236.        @4?/:/?&223.8under 1'(458!Section
                                                 4?6/7'82.8
                                                          EBI8of7:8the
                                                                     69488        R544>4'6.8Defendants
                                                                          LLC Agreement,             <4:4'(&'6A8
&R544(8that
agreed    69&68"[t]he
                O6948Company's
                         7>@&'3A8?credit  54(/68&and
                                                    '(8assets
                                                        &AA46A8shall
                                                                A9&228be848used
                                                                             1A4(8solely
                                                                                    A724238:for758the
                                                                                                  6948benefit
                                                                                                       84'4:/68of7:8
69487
the      >@&'3BP88See
     Company."         h8         R544>4'68&at68§i82.8,
                             LLC Agreement                EBI.8C4   224=8Decl.
                                                               Bellew      <4?2B8%XEx8 A.B  8
        EY`BU<4
        237.          :4'(&'6A8materially
                  Defendants         >&645/&2238breached
                                                  854&?94(8!Section
                                                                4?6/7'82.8EBI8of7:8the
                                                                                   69488        R544>4'6.8by
                                                                                       LLC Agreement,             838
54>70/'R8the
removing       6948&assets
                      AA46A8of7:8the69487   >@&'3.8including
                                         Company,      /'?21(/'R8money>7'438/in'8its/6A8bank
                                                                                          8&'D8&accounts
                                                                                                    ??71'6A8&and  '(8
/'04'67538in/'8its/6A8stores,
inventory              A6754A.8and&'(8using
                                         1A/'R8the
                                                6948&assets
                                                      AA46A8of7:8the
                                                                 69487     >@&'38to678promote
                                                                        Company            @57>76484     >7'/AW8
                                                                                                       Lemonis'

@45A7'&28brand
personal     85&'(8MARCUS,
                      , $#!.8thus      691A8?clearly
                                               24&5238not
                                                       '768using
                                                             1A/'R8them
                                                                      694>8solely
                                                                              A724238:for758the
                                                                                            6948benefit
                                                                                                  84'4:/68of7:8the
                                                                                                                 6948
7  >@&'3B88Indeed,
Company.         '(44(.8the6948removal
                                   54>70&28of7:8these
                                                  694A48assets
                                                          &AA46A8have
                                                                   9&048prevented
                                                                           @5404'64(8the  69487   >@&'38:from
                                                                                              Company          57>8
84/'R8able
being   &8248to678satisfy
                   A&6/A:38its/6A8:financial
                                    /'&'?/&28obligations.
                                              782/R&6/7'AB888
        EYIBU4
        238.          >7'/A8:further
                  Lemonis         1569458breached
                                           854&?94(8this 69/A8provision
                                                              @570/A/7'8of7:8the  6948LLC
                                                                                       8Agreement
                                                                                                   R544>4'68by    838
/>@57@45238taking
improperly       6&D/'R8at&682least
                                4&A68[$3,023,004.47
                                        Y.FEY.FFHBH`8:from 57>8ML,8Fashion
                                                                        ;&A9/7'8and &'(8MLG
                                                                                          ,"8$4      6&/28to678pay
                                                                                                   Retail       @&38
@45A7'&2.8'
personal,        7'G7>@&'385related,
               non-Company              42&64(.84expenses
                                                   X@4'A4A86    9&68<4
                                                               that         :4'(&'6A8@
                                                                        Defendants          1687
                                                                                          put     '8<4
                                                                                                 on      :4'(&'68
                                                                                                      Defendant



        8                                                  `73Y8
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         8
4   >7'/AW8personal
 Lemonis'     @45A7'&28?credit54(/68?card
                                       &5(8and &'(8keeping
                                                     D44@/'R8&and/or '(V758using
                                                                               1A/'R8the
                                                                                      6948rewards
                                                                                             54=&5(A8points
                                                                                                          @7/'6A8:from57>8
697A48payments
those    @&3>4'6A8:for758Defendants'
                            <4:4'(&'6AW8benefit.84'4:/6B8
         EYcBU;
         239.       156945.8!Section
                  Further,       4?6/7'8J6.2(b)
                                             BEN8Q8required
                                                    54]1/54(8Lemonis
                                                                    4>7'/A8to678act&?68/in'8good
                                                                                            R77(8:faith
                                                                                                      &/698&and
                                                                                                             '(8to678take
                                                                                                                      6&D48
&?6/7'A8:for758the
actions        6948benefit
                     84'4:/68of7:8all
                                   &228of7:8the
                                              6948members
                                                   >4>845A8as&A8a&8whole:=9724T8
6.2l Duties
         o|tsuqand  yObligations
                          xtrq|tnyunofwthe      |{sLq     yqrspDiscretion:
                                                        Manager;          tuvps|tnyT8
N8Q8 !Subject
           18d4?68to678the6948:foregoing
                                 754R7/'R8but    8168notwithstanding
                                                       '76=/69A6&'(/'R8&any        '38other
                                                                                       769458provision
                                                                                                   @570/A/7'8of7:8this  69/A8
(b)
            R544>4'68to678the  6948?contrary
                                     7'65&538or758other769458applicable
                                                                &@@2/?&8248provision
                                                                                  @570/A/7'8of7:82law   &=8or7584equity,
                                                                                                                   ]1/63.8
         =94'40458in/'8this69/A8Agreement
                                    R544>4'68a&8Manager
                                                      ,&'&R458or758an&'8:       :/?458is/A8permitted
                                                                                            @45>/664(8or7585required
                                                                                                                 4]1/54(8
         Agreement

         678make
             >&D48&a8decision
                        (4?/A/7'8or758take
                                        6&D48an&'8action
                                                    &?6/7'8(i)N/Q8/in'89his/A8"sole
                                                                              OA7248discretion"
                                                                                    (/A?546/7'P8or758"discretion"
                                                                                                          O(/A?546/7'P8
         whenever                                                              Officer

         758under
             1'(458&a8similar
                         A/>/2&58grant
                                   R5&'68of7:8authority
                                                 &16975/638or758latitude,
                                                                     2&6/61(4.8in/'8making
                                                                                     >&D/'R8such   A1?98decisions
                                                                                                          (4?/A/7'A8or758
         to

         6&D/'R8such
                   A1?98&actions,
                            ?6/7'A.8he948shall
                                          A9&228be8484entitled
                                                         '6/624(8to678take
                                                                         6&D48into
                                                                                /'678account
                                                                                     &??71'68his    9/A8own
                                                                                                         7='8/interests
                                                                                                                 '6454A6A8
         or

         &A8well
             =4228as&A8the
                        6948/interests
                               '6454A6A8of7:8the6948,4     >845A8as&A8a&8whole=97248or758(ii)
                                                                                           N//Q8in/'8"good
                                                                                                      OR77(8:faith"
                                                                                                                 &/69P8or758
         taking

         1'(458another
                  &'7694584expressed
                                X@54AA4(8standard,
                                               A6&'(&5(.8he948shall
                                                                  A9&228act  &?68under
                                                                                 1'(458suchA1?984express
                                                                                                     X@54AA8standard
                                                                                                              A6&'(&5(8
         as                                          Members

         &'(8shall
              A9&228not'768be848subject
                                 A18d4?68to678any
                                                &'38other
                                                      769458or758different
                                                                   (/::454'68standard.
                                                                                 A6&'(&5(B8
         under

8
         and

hLLC
See    8Agreement
               R544>4'68at&68i§86.2(b),
                                    JBEN8Q.8C4     224=8<4
                                                Bellew        ?2B8%X
                                                           Decl.     Ex8    A.B8
         EHFBU4
         240.        >7'/A8materially
                  Lemonis       >&645/&2238breached
                                                 854&?94(8!Section
                                                                4?6/7'8J6.2BE8by  838taking
                                                                                     6&D/'R8actions
                                                                                                &?6/7'A8that69&68:failed
                                                                                                                     &/24(8
678take
to   6&D48/into
            '678account
                &??71'68"the  O6948/interests
                                     '6454A6A8of7:8the6948,4    >845A8as&A8a&8whole"
                                                           Members                =9724P8and  &'(8:failing
                                                                                                       &/2/'R8to678&act?68in/'8
R77(8:faith.
good      &/69B88!Specifically,
                    @4?/:/?&223.84      >7'/A8made
                                     Lemonis       >&(48ML  ,8Fashion
                                                                    ;&A9/7'8take 6&D48on7'8debt
                                                                                             (4868&and '(8:forced
                                                                                                             75?4(8,8  ML

;&A9/7'8to678take
Fashion        6&D48loans
                      27&'A8:from
                                57>8ML,8Retail
                                              $46&/28in/'8transactions
                                                          65&'A&?6/7'A8that    69&68solely
                                                                                    A724238benefited
                                                                                              84'4:/64(8ML  ,8$4  Retail6&/28
&'(8harmed
and    9&5>4(8ML ,8Fashion
                        ;&A9/7'8&and '(8its/6A8other
                                                769458members.
                                                        >4>845AB8
         EH9BU,7
         241.          547045.8Lemonis'
                  Moreover,       4>7'/AW8&actions?6/7'A8of7:8draining
                                                                 (5&/'/'R8ML     ,8Fashion's
                                                                                      ;&A9/7'WA8bank   8&'D8accounts
                                                                                                              &??71'6A8
&'(8transferring
and    65&'A:455/'R8:funds
                         1'(A8to678,"8
                                     MLG $4        6&/28soA78that
                                                Retail       69&68ML  ,8Fashion
                                                                               ;&A9/7'8?could
                                                                                            712(8not '768pay
                                                                                                          @&38/its6A8debt
                                                                                                                      (4868
?clearly
  24&5238were
           =4548not
                  '768done
                        (7'48in/'8good
                                   R77(8:faith.
                                              &/69B8


         8                                                      `74H8
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        8
         EHEBU)9488 R544>4'68@579/8/6A86948,&'&R458:57>84'R&R/'R8/'8
        242. The LLC Agreement prohibits the Manager from engaging in

,/A?7'(1?6B88)9
Misconduct.       The4  88    R544>4'68defines
                         LLC Agreement         (4:/'4A8Misconduct
                                                           ,/A?7'(1?68as&A8"fraud,
                                                                             O:5&1(.8breach
                                                                                         854&?98of7:8:fiduciary
                                                                                                       /(1?/&538
(163.8bad
duty,    8&(8:faith,
                &/69.8a&8Dknowing
                             '7=/'R8violation
                                          0/72&6/7'8of7:82law
                                                            &=8or758willful
                                                                      =/22:128misconduct."
                                                                                >/A?7'(1?6BP88See    88
                                                                                                            LLC

   R544>4'68at&68p.@B8\5,.8Bellew
Agreement                  C4224=8<4 Decl.?2B8%X
                                              Ex8  A.B
                                                     8
         EHYBU4
         243.       >7'/AW8Misconduct
                  Lemonis'     ,/A?7'(1?68as&A8the   6948manager
                                                           >&'&R458of7:8,8      ;&A9/7'8/includes,
                                                                           ML Fashion        '?21(4A.8but 8168/isA8
'768limited
not   2/>/64(8to:
                67T8(1)
                    N9Q8:forcing
                           75?/'R8the6948Company
                                           7>@&'38to678take 6&D48on7'8debt
                                                                        (4868making
                                                                             >&D/'R8/it685reliant
                                                                                             42/&'68on7'8?credit
                                                                                                            54(/68
:from
  57>84   >7'/A8and
        Lemonis     &'(8his9/A84entities
                                 '6/6/4A8to678meet
                                               >4468its/6A8regular
                                                           54R12&58obligations,
                                                                      782/R&6/7'A.8suchA1?98&asA8payroll,
                                                                                                  @&35722.8and
                                                                                                             &'(8
&227=/'R8Lemonis
allowing     4>7'/A8to678:further
                                15694584encumber
                                            '?1>8458,8        ;&A9/7'.8(2)
                                                          ML Fashion,      NEQ8using
                                                                                1A/'R8ML  ,8Fashion
                                                                                                ;&A9/7'8as&A8a&8
049/?248to678defraud
vehicle       (4:5&1(8and  &'(8:foreclose
                                  754?27A48upon1@7'8the 6948businesses
                                                             81A/'4AA4A84     >7'/A8was
                                                                           Lemonis       =&A8purporting
                                                                                               @15@756/'R8to678
A&04.8(3)
save,   NYQ8removing
            54>70/'R8:funds 1'(A8:from
                                    57>8the69487   >@&'3WA8bank
                                               Company's        8&'D8&accounts
                                                                         ??71'6A8in/'8order
                                                                                        75(458to6784ensure
                                                                                                     'A1548that
                                                                                                             69&68
/6A8&automated
its   167>&64(8payments
                   @&3>4'6A8?could 712(8not'768be848made
                                                    >&(48out 7168of7:8the
                                                                      6948account
                                                                          &??71'68:forcing
                                                                                        75?/'R8ML,8Fashion
                                                                                                       ;&A9/7'8
678become
to  84?7>48delinquent
                (42/']14'68on  7'8/its6A8debts,
                                         (486A.8(4)
                                                  NHQ8?closing
                                                         27A/'R8,8     ;&A9/7'WA8retail
                                                                 ML Fashion's         546&/28stores
                                                                                             A6754A8during
                                                                                                       (15/'R8a&8
R278&28pandemic
global    @&'(4>/?8and &'(8?converting
                               7'0456/'R8at&68least
                                                24&A68$377,377
                                                         [Y``.Y``8worth
                                                                      =75698of7:8inventory
                                                                                 /'04'67538and &'(8[$197,255
                                                                                                       9c`.E\\8
=75698of7:8:fixtures,
worth        /X6154A.8:furniture,
                           15'/6154.8and &'(84equipment
                                               ]1/@>4'68:from  57>8the6948stores,
                                                                          A6754A.8(5)N\Q8moving
                                                                                          >70/'R8all &228of7:8the
                                                                                                              6948
:funds
  1'(A8out
         7168of7:8ML
                  ,8Fashion's
                         ;&A9/7'WA8bank 8&'D8&accounts
                                                ??71'6A8(roughly
                                                             N571R9238[$601,324.02)
                                                                          JF9.YEHBFEQ8and   &'(8transferring
                                                                                                  65&'A:455/'R8
694>8to678a&8different
them          (/::454'68?company
                              7>@&'38and   &'(8making
                                                >&D/'R8the   6948new
                                                                 '4=8account
                                                                         &??71'68invisible
                                                                                     /'0/A/8248to678the
                                                                                                     6948other
                                                                                                            769458
7='45A8and
owners     &'(8signatories
                 A/R'&675/4A8on 7'8,8      ;&A9/7'WA8bank
                                     ML Fashion's         8&'D8&accounts,
                                                                  ??71'6A.8and&'(8(6)NJQ8/improperly
                                                                                           >@57@45238taking
                                                                                                         6&D/'R8
&68least
at  24&A68[$3,023,004.47
            Y.FEY.FFHBH`8:from   57>8ML   ,8Fashion
                                               ;&A9/7'8and  &'(8MLG
                                                                 ,"8$4      6&/28to678pay
                                                                          Retail        @&38personal,
                                                                                              @45A7'&2.8non-'7'G
7  >@&'38related,
Company       542&64(.84expenses
                            X@4'A4A8that 69&68Defendants
                                              <4:4'(&'6A8put   @168on7'8Defendant
                                                                         <4:4'(&'68Lemonis'
                                                                                        4>7'/AW8personal
                                                                                                       @45A7'&28


        8                                                 `75\8
         Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 77 of 95

         8
?credit
  54(/68?card
           &5(8and
                 &'(8keeping
                         D44@/'R8&and/or '(V758using
                                                 1A/'R8the
                                                         6948rewards
                                                                 54=&5(A8points@7/'6A8:from
                                                                                          57>8those697A48payments
                                                                                                          @&3>4'6A8:for758
<4:4'(&'6AW8benefit.
Defendants'        84'4:/6B8
        EHHBU;
        244.          156945.8the
                   Further,      69488           R544>4'682limits
                                         LLC Agreement               />/6A8the  6948Manager's
                                                                                     ,&'&R45WA8and     &'(8Members'
                                                                                                              ,4>845AW8
&8/2/638to678take
ability      6&D48&assets
                        AA46A8and
                              &'(8distributions
                                     (/A65/816/7'A8:from  57>8the 69487     >@&'3B88!Section
                                                                       Company.            4?6/7'82.7 EB̀8?confirms
                                                                                                            7':/5>A8that69&68
O'78Member
"no  ,4>8458shall    A9&228have
                            9&048ownership
                                    7='45A9/@8interest"
                                                     /'6454A6P8in/'8the  6948Company's
                                                                               7>@&'3WA8property  @57@45638as&A8&all228of7:8/it68
8427'RA8to678the
belongs         69487     >@&'38/itself.
                        Company          6A42:B88See
                                                  88
                                                       LLC AgreementR544>4'68&at68§i82.7, EB̀.8Bellew
                                                                                                  C4224=8Decl.
                                                                                                            <4?2B8%X  Ex8   A.B  88
!Section
  4?6/7'83.4YBH8prevents
                 @5404'6A8,4         >845A8:from
                                 Members          57>8seeking
                                                        A44D/'R8?capital&@/6&28of7:8the
                                                                                      69487   >@&'38in/'85return
                                                                                            Company             4615'8:for758
?contributions
  7'65/816/7'A8"priorO@5/758to678termination
                                  645>/'&6/7'8of7:8the  69487      >@&'3BP88Id.
                                                               Company."          B8&at68i§83.4.
                                                                                              YBHB8
        EH\BU!Similarly,
        245.          />/2&523.8'   no  78?cash
                                              &A98(  /A65/816/7'A8&
                                                    distributions           548&allowed
                                                                          are     227=4(8=9   where,454.8&asA89  454.86
                                                                                                               here,        948
                                                                                                                           the

7  >@&'3WA8trade
Company's        65&(48accounts
                           &??71'6A8are    &548past
                                                @&A68due.
                                                     (14B88Id. ¢8&at68i§8\5.1(a).
                                                                             B9N&QB88%0Even 4'8if/:8the
                                                                                                    6948trade
                                                                                                        65&(48&accounts
                                                                                                                  ??71'6A8
=4548not
were   '768past
             @&A68due,
                     (14.8however,
                           97=4045.8the     6948distributions
                                                (/A65/816/7'A8?can&'8be848made >&(48only
                                                                                       7'238within
                                                                                              =/69/'8the6948,&    '&R45WA8
                                                                                                              Manager's

O54&A7'&8248business
"reasonable       81A/'4AA8judgment"
                                d1(R>4'6P8and    &'(8only
                                                      7'238to678£all¤¤8the
                                                                        6948Members
                                                                             ,4>845A8pursuant
                                                                                            @15A1&'68to678the6948specific
                                                                                                                 A@4?/:/?8
>4?9&'/A>8set
mechanism        A468:forth
                         75698/in'8the
                                   6948LLC 8Agreement.
                                                    R544>4'6B88Id.   ¢8&at68i§85.1(b).
                                                                                 \B9N8QB8
        EHJBUAn'8additional
        246.              &((/6/7'&28limitation
                                            2/>/6&6/7'8on7'8?cash &A98distributions
                                                                        (/A65/816/7'A8is/A8that   69&68they
                                                                                                       69438?cannot
                                                                                                                &''768be848
>&(48&at68all
made         &228/if:8the
                       69484effect
                             ::4?68of7:8the 6948distributions
                                                 (/A65/816/7'A8/isA8:for758all &228the
                                                                                    6948Company's
                                                                                          7>@&'3WA8liabilities
                                                                                                            2/&8/2/6/4A8to678
4exceed
  X?44(8the6948:fair
                 &/58value
                        0&2148of7:8its/6A8&assets.
                                            AA46AB88Id.
                                                    ¢8&at68¶¥8\5.4.
                                                                  BHB8
        EH`BU<4
        247.            :4'(&'6A8have
                   Defendants        9&048breached
                                               854&?94(8these
                                                            694A48provisions
                                                                      @570/A/7'A8of7:8the  69488         R544>4'68by
                                                                                                  LLC Agreement             838
54>70/'R8?cash
removing        &A98:from57>8the
                              69487      >@&'3WA8bank
                                    Company's         8&'D8accounts
                                                               &??71'6A8and   &'(8removing
                                                                                   54>70/'R8inventory
                                                                                                    /'04'67538:from
                                                                                                                  57>8the  6948
7  >@&'3WA8retail
Company's        546&/28stores
                           A6754A8to678the6948benefit
                                               84'4:/68of7:8<4     :4'(&'6A8and
                                                              Defendants         &'(8detriment
                                                                                       (465/>4'68of7:8the 69487   >@&'38
                                                                                                               Company

&'(8*Plaintiffs.
and    2&/'6/::AB8

         8                                                        `76J8
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        8
         EHIBU A8&8(/54?68&'(8@57X/>&64854A12687:8<4:4'(&'6AW8>&645/&28854&?94A87:8
        248. As a direct and proximate result of Defendants' material breaches of

69488
the            R544>4'6.8Plaintiffs
     LLC Agreement,         *2&/'6/::A8and  &'(8the
                                                 69487   >@&'38have
                                                      Company       9&048been
                                                                           844'8harmed
                                                                                  9&5>4(8in/'8an&'8amount
                                                                                                   &>71'68to678
848proven
be  @5704'8at&68trial,
                 65/&2.8but
                         8168at&68least
                                  24&A68[$4,198,960.49.
                                            H.9cI.cJFBHcB8
                                                 VIII     K
     y¦ou|Enrichment
                 yptv{~sy|—Direct   tpsv|qand   yDerivative
                                                       sptq|tsClaimxqt~Against
                                                                                rqtyu|Defendants
                                                                                          swsyqy|u
                                                COUNT

                              s   ~nytuML   LRetail,
                                                    s|qtxqand  yL
                                                                     ML, 
     (Unjust

         *Plaintiffs
           2&/'6/::A8repeat
                       54@4&68and&'(8reallege
                                       54&224R484each &?98&allegation
                                                              224R&6/7'8?contained
                                                                            7'6&/'4(8/in'8*Paragraph
                                                                                               &5&R5&@98198—§8
                              Lemonis,                                     LLC)


*Paragraph
  &5&R5&@98233 EYY8above
                     &87048as&A8though
                                  6971R98:fully
                                              12238set
                                                    A468:forth
                                                          75698herein.
                                                                 9454/'B8
         EHcBU*Plaintiffs
         249.       2&/'6/::A8bring
                                85/'R8this
                                        69/A8?claim
                                                2&/>8:for758Unjust
                                                            #'d1A68%'    5/?9>4'68in/'8the
                                                                      Enrichment         6948alternative
                                                                                               &2645'&6/048to678
694/58?claim
their    2&/>8:for758Breach
                     C54&?98of7:8the
                                   6948LLC
                                         8Agreement
                                                   R544>4'68(Count
                                                                 N71'68VII)
                                                                          SQ8above.
                                                                                 &8704B88!Such
                                                                                             1?98&alternative
                                                                                                    2645'&6/048
@24&(/'R8is/A8proper
pleading         @57@458where,
                           =9454.8as&A8here,9454.8*Plaintiffs
                                                     2&/'6/::A8are&548seeking
                                                                       A44D/'R85rescission
                                                                                   4A?/AA/7'8of7:8the69488
                                                                                                          LLC

   R544>4'68through
Agreement       69571R98their
                           694/58?claim
                                    2&/>8:for758Fraudulent
                                                 ;5&1(124'68Inducement
                                                                  '(1?4>4'68(Count
                                                                                N71'68I).QB8
         E\FBU*Plaintiffs
         250.       2&/'6/::A8allege
                                &224R48that
                                         69&68the
                                               69487   >@&'38has
                                                    Company        9&A8no
                                                                       '78adequate
                                                                            &(4]1&6485remedy
                                                                                        4>4(38at&68law2&=8and
                                                                                                           &'(8
85/'R8this
bring   69/A8unjust
              1'd1A684enrichment
                        '5/?9>4'68?claim  2&/>8&against
                                                  R&/'A68<4     :4'(&'6AB8
                                                           Defendants.

         E\9BUC3
         251.    By8  694/58wrongful
                      their =57'R:128acts   &?6A8and
                                                  &'(8omissions,
                                                       7>/AA/7'A.8as&A8alleged
                                                                         &224R4(8herein,
                                                                                   9454/'.8the
                                                                                             6948Defendants
                                                                                                  <4:4'(&'6A8
=4548unjustly
were   1'd1A62384enriched
                     '5/?94(8&at68the
                                   69484expense
                                           X@4'A48of,
                                                    7:.8and
                                                         &'(8to678the
                                                                  6948detriment
                                                                      (465/>4'68of,7:.8the
                                                                                       69487    >@&'3B88)9
                                                                                            Company.       The4  8
<4:4'(&'6A8used
Defendants       1A4(8the69487     >@&'38&asA8a&8self-enrichment
                                Company                A42:G4'5/?9>4'68vehicle049/?248while
                                                                                        =9/248:forcing
                                                                                                  75?/'R8the6948
7  >@&'38to678take
Company             6&D48actions
                           &?6/7'A8?counter
                                         71'6458to678the69487     >@&'3WA8interests
                                                               Company's       /'6454A6A8and&'(8to678assume
                                                                                                       &AA1>48
/'?54&A/'R8debt.
increasing     (486B8
         E\EBUAsA8the
         252.         6948manager
                           >&'&R458of7:8ML   ,8Fashion,
                                                  ;&A9/7'.8Lemonis
                                                              4>7'/A8used1A4(8the
                                                                                 69487  >@&'3WA8assets
                                                                                     Company's        &AA46A8to678
4enrich
  '5/?98himself
          9/>A42:8&and'(8his
                          9/A84entities
                                  '6/6/4A8by,
                                            83.8among
                                                 &>7'R8other
                                                           769458things:
                                                                   69/'RAT8(1)
                                                                             N9Q8purposefully
                                                                                 @15@7A4:12238decreasing
                                                                                                  (4?54&A/'R8
69487
the       >@&'3WA8profit
     Company's         @57:/68margins
                                >&5R/'A8making
                                             >&D/'R8it/68reliant
                                                            542/&'68on
                                                                     7'8loans
                                                                          27&'A8:from
                                                                                   57>84    >7'/A8&and
                                                                                         Lemonis        '(8his
                                                                                                            9/A8
        8                                                 `77`8
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        8
4entities,
  '6/6/4A.8(2)
           NEQ8purposefully
                @15@7A4:12238increasing
                                  /'?54&A/'R8the6948debt
                                                     (4868of7:8the
                                                               69487   >@&'38and
                                                                    Company      &'(8:forcing
                                                                                        75?/'R8it/68to678take
                                                                                                         6&D48
27&'A8:from
loans    57>84    >7'/A.8and/or
                Lemonis,      &'(V758other
                                       769458?companies
                                                7>@&'/4A8owned7='4(8and/or
                                                                       &'(V758?controlled
                                                                                  7'657224(8by   838him,
                                                                                                    9/>.8/in'8
75(458to678meet
order       >4468its/6A8:financial
                          /'&'?/&28obligations,
                                     782/R&6/7'A.8(3)NYQ8taking
                                                          6&D/'R8actions
                                                                    &?6/7'A8that
                                                                              69&68:financially
                                                                                     /'&'?/&2238:favored
                                                                                                     &0754(8
>4>8458ML
member     ,8$4      6&/2.8.
                  Retail,   LLC,8  (4?54&A/'R8the
                                   decreasing     6948value
                                                      0&2148and&'(8viability
                                                                    0/&8/2/638of7:8the
                                                                                   69487    >@&'38to678the
                                                                                          Company         6948
(/54?68detriment
direct  (465/>4'68of7:8the 6948other
                               769458members
                                       >4>845A8of7:8the6948Company,
                                                             7>@&'3.8(4)  NHQ8using
                                                                                1A/'R8the
                                                                                       6948assets
                                                                                              &AA46A8of7:8the
                                                                                                          6948
7  >@&'38to678grow
Company           R57=84     >7'/AW8personal
                           Lemonis'     @45A7'&28brand
                                                    85&'(8,MARCUS,$#!.8(5) N\Q89having
                                                                                  &0/'R84     >7'/A8take
                                                                                             Lemonis     6&D48
@45A7'&28tax
personal     6&X8write-offs
                   =5/64G7::A8on 7'8,8     ;&A9/7'WA8?charitable
                                      ML Fashion's           9&5/6&8248donations,
                                                                         (7'&6/7'A.8(6)   NJQ8?closing
                                                                                                 27A/'R8the
                                                                                                          6948
7  >@&'3WA8retail
Company's        546&/28stores
                          A6754A8and
                                 &'(85removing
                                         4>70/'R8at&68least
                                                         24&A68$377,377
                                                                [Y``.Y``8worth=75698of7:8inventory
                                                                                            /'04'67538and &'(8
[$197,255
  9c`.E\\8worth
             =75698of7:8:fixtures,
                           /X6154A.8:furniture,
                                      15'/6154.8&and
                                                   '(84equipment
                                                        ]1/@>4'68:from57>8the
                                                                            6948stores,
                                                                                 A6754A.8(7)
                                                                                           N`Q8improperly
                                                                                                />@57@45238
54>70/'R8&at68least
removing         24&A68[$601,324.02
                           JF9.YEHBFE8:from
                                          57>8the6948Company's
                                                     7>@&'3WA8bank  8&'D8accounts,
                                                                             &??71'6A.8(8) NIQ8/improperly
                                                                                                 >@57@45238
6&D/'R8&at682least
taking        4&A68[$3,023,004.47
                       Y.FEY.FFHBH`8:from57>8ML,8Fashion
                                                     ;&A9/7'8and &'(8MLG
                                                                      ,"8$4      6&/28to678pay
                                                                               Retail        @&38personal,
                                                                                                   @45A7'&2.8
'7'G7>@&'385
non-Company            42&64(.84expenses
                     related,     X@4'A4A86    9&68<4
                                              that      :4'(&'6A8@
                                                     Defendants         1687
                                                                      put   on'8Defendant
                                                                                 <4:4'(&'68Lemonis'
                                                                                                  4>7'/AW8
@45A7'&28?credit
personal       54(/68?card
                        &5(8&and
                               '(8keeping
                                    D44@/'R8&and/or
                                                  '(V758using
                                                          1A/'R8the69485rewards
                                                                          4=&5(A8points
                                                                                    @7/'6A8:from 57>8those
                                                                                                        697A48
@&3>4'6A8:for758Defendants'
payments           <4:4'(&'6AW8benefit,
                                   84'4:/6.8(9)
                                              NcQ8receiving
                                                   54?4/0/'R8at&68least
                                                                   24&A68approximately
                                                                          &@@57X/>&64238[$500,000\FF.FFF8/in'8
/'6454A68:from
interest    57>8ML ,8Fashion
                          ;&A9/7'8on7'8,8     $46&/28&and
                                         ML Retail       '(8ML,
                                                              ,.8LLC's
                                                                     WA82line
                                                                               /'48of7:8?credit
                                                                                           54(/68with
                                                                                                   =/698ML,8
;&A9/7'.8&and
Fashion,      '(8(10)
                  N9FQ8using
                         1A/'R8the
                                6948assets,
                                     &AA46A.85relationships,
                                               42&6/7'A9/@A.8good
                                                                R77(8will,
                                                                        =/22.8and
                                                                              &'(8trade
                                                                                   65&(48secrets
                                                                                            A4?546A8of7:8,8
                                                                                                          ML

;&A9/7'8to678grow
Fashion        R57=8<4     :4'(&'6AW8own
                       Defendants'     7='8retail
                                            546&/28?concept
                                                      7'?4@68MARCUS.
                                                                , $#!B8
        E\YBU*Plaintiffs,
        253.       2&/'6/::A.8as&A8members
                                    >4>845A8and   &'(8representatives
                                                        54@54A4'6&6/04A8of7:8the  69487     >@&'3.8seek
                                                                                        Company,         A44D8
54A6/616/7'8:from
restitution     57>8the6948Defendants,
                            <4:4'(&'6A.8&and '(8seek
                                                   A44D8&an'8order
                                                              75(458:from
                                                                       57>8this
                                                                             69/A8Court
                                                                                   71568requiring
                                                                                             54]1/5/'R8the 6948


        8                                               `78I8
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 80 of 95

        8
<4:4'(&'6A8678(/AR75R48&228@57:/6A.884'4:/6A.8&'(8769458?7>@4'A&6/7'8786&/'4(88386948
Defendants to disgorge all profits, benefits, and other compensation obtained by the

<4:4'(&'6A8:from
Defendants        57>8their
                         694/58wrongful
                                =57'R:128?conduct
                                                7'(1?68and&'(8:fiduciary
                                                                /(1?/&538breaches.
                                                                               854&?94AB8
        E\HBU;
        254.        156945.8/it68is/A8against
                  Further,            &R&/'A684equity
                                                  ]1/638&and
                                                           '(8good
                                                               R77(8?conscience
                                                                          7'A?/4'?48to678permit
                                                                                            @45>/68Defendants
                                                                                                      <4:4'(&'6A8
678retain
to  546&/'8what
             =9&68is/A8sought
                         A71R968to678be848recovered
                                            54?70454(8because
                                                           84?&1A48<4        :4'(&'6A8used
                                                                         Defendants       1A4(8the69487  >@&'3WA8
                                                                                                      Company's

&AA46A8to6784enrich
assets        '5/?98themselves
                      694>A4204A8&at68the   69484expense
                                                   X@4'A48of7:8the
                                                                6948Company
                                                                        7>@&'38&and    '(8/its6A8other
                                                                                                  769458members.
                                                                                                        >4>845AB8
)94548/isA8no
There      '78justification
                 d1A6/:/?&6/7'8:for758Defendants'
                                        <4:4'(&'6AW8actions.
                                                         &?6/7'AB8
                                                    IX¨
   kpnuuMismanagement
             Ltu~qyqrs~sy|—Direct        tpsv|qand  yDerivative
                                                           sptq|tsClaim   xqt~ Against
                                                                                       rqtyu|Defendants
                                                                                                    swsyqy|u
                                                   COUNT

                               s~nytuML      LRetail,
                                                      s|qtxqandyL  ML, 
   (Gross
                               Lemonis,                                        LLC)

        *Plaintiffs
          2&/'6/::A8repeat
                      54@4&68&and   '(8reallege
                                       54&224R484each
                                                    &?98allegation
                                                          &224R&6/7'8?contained
                                                                            7'6&/'4(8above
                                                                                         &87048as&A8though
                                                                                                     6971R98:fully12238
A468:forth
set   75698herein.
           9454/'B888
        E\\BUAsA8the
        255.          6948manager
                            >&'&R458of7:8,8        ;&A9/7'.84
                                              ML Fashion,           >7'/A8has
                                                                Lemonis         9&A8grossly
                                                                                      R57AA238mismanaged
                                                                                                 >/A>&'&R4(8the    6948
7  >@&'38and
Company         &'(8its/6A8assets.
                            &AA46AB88Lemonis'
                                          4>7'/AW8gross R57AA8mismanagement,
                                                                  >/A>&'&R4>4'6.8described      (4A?5/84(8above,
                                                                                                               &8704.8
/'?21(4A.8but
includes,    8168is/A8not
                      '768limited
                            2/>/64(8to: 67T8(1)
                                             N9Q8saddling
                                                 A&((2/'R8the6948Company
                                                                   7>@&'38with    =/6984expensive
                                                                                            X@4'A/048inventory
                                                                                                         /'04'67538
694'8:forcing
then   75?/'R8the 6948Company
                      7>@&'38to678sell  A4228that
                                               69&68inventory
                                                     /'04'67538at&68&a82loss,
                                                                           7AA.8(2)
                                                                                 NEQ8purposefully
                                                                                      @15@7A4:12238(decreasing
                                                                                                         4?54&A/'R8
69487
the       >@&'3WA8profit
      Company's        @57:/68margins
                                >&5R/'A8making >&D/'R8it/68reliant
                                                            542/&'68on   7'8loans
                                                                              27&'A8:from
                                                                                        57>84     >7'/A8&and
                                                                                                Lemonis        '(8his
                                                                                                                   9/A8
4entities,
  '6/6/4A.8(3)
            NYQ8purposefully
                   @15@7A4:122385removing
                                       4>70/'R8?capital&@/6&28:from
                                                                57>8the  6948Company
                                                                                7>@&'38soA78that  69&68/its6A8debts,
                                                                                                                (486A.8
/'?21(/'R8the
including     6948American
                      >45/?&'8%X       @54AA8payment
                                    Express     @&3>4'68plan,
                                                            @2&'.8?could
                                                                     712(8not  '768be848paid,
                                                                                        @&/(.8(4)NHQ8purposefully
                                                                                                     @15@7A4:12238
/'?54&A/'R8the
increasing     6948debt
                    (4868of7:8the
                              6948Company
                                       7>@&'38and &'(8:forcing
                                                         75?/'R8it/68to678take
                                                                          6&D48loans
                                                                                 27&'A8:from
                                                                                          57>8Lemonis,
                                                                                                   4>7'/A.8and/or
                                                                                                               &'(V758
769458?companies
other     7>@&'/4A8owned  7='4(8and/or
                                     &'(V758?controlled
                                                 7'657224(8by 838him,
                                                                   9/>.8in/'8order
                                                                                 75(458to678meet
                                                                                             >4468its/6A8:financial
                                                                                                             /'&'?/&28
782/R&6/7'A.8(5)
obligations,      N\Q8taking
                      6&D/'R8actions
                                 &?6/7'A8that 69&68:financially
                                                     /'&'?/&2238:favored
                                                                     &0754(8member>4>8458,8    ML $4   6&/2.8.
                                                                                                     Retail,    LLC,8



        8                                                   `79c8
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 81 of 95

        8
(4?54&A/'R869480&2148&'(80/&8/2/6387:869487>@&'386786948(/54?68(465/>4'687:86948769458
decreasing the value and viability of the Company to the direct detriment of the other

>4>845A8of7:8the
members          69487     >@&'3.8(6)
                      Company,        NJQ8using
                                           1A/'R8the
                                                   6948assets
                                                        &AA46A8of7:8the
                                                                      69487  >@&'38to678grow
                                                                           Company         R57=8Lemonis'
                                                                                                     4>7'/AW8
@45A7'&28brand
personal     85&'(8MARCUS,
                     , $#!.8(7)      N`Q8having
                                          9&0/'R84     >7'/A8take
                                                    Lemonis      6&D48personal
                                                                         @45A7'&28tax
                                                                                   6&X8write-offs
                                                                                         =5/64G7::A8on  7'8,8 ML

;&A9/7'WA8?charitable
Fashion's       9&5/6&8248donations,
                              (7'&6/7'A.8(8)NIQ8using
                                                  1A/'R8,8     ;&A9/7'8as&A8a&8vehicle
                                                         ML Fashion              049/?248to678defraud
                                                                                                (4:5&1(8and    &'(8
:foreclose
  754?27A48upon
              1@7'8small
                     A>&228business
                               81A/'4AA8owners
                                          7='45A84     >7'/A8was
                                                     Lemonis     =&A8purporting
                                                                         @15@756/'R8to678save,
                                                                                          A&04.8(9)NcQ8?closing
                                                                                                         27A/'R8
69487
the      >@&'3WA8retail
      Company's      546&/28stores
                               A6754A8and
                                       &'(8removing
                                            54>70/'R8&at68least
                                                             24&A68[$377,377
                                                                       Y``.Y``8worth
                                                                                 =75698of7:8inventory
                                                                                              /'04'67538&and    '(8
[$197,255
  9c`.E\\8=7      56987
               worth     of: 8:fixtures,
                                /X6154A.8:furniture,
                                            15'/6154.8&     '(84equipment
                                                          and     ]1/@>4'68:from 57>86    948A
                                                                                         the      6754A.8N
                                                                                                stores,        9FQ8
                                                                                                             (10)

/>@57@452385removing
improperly       4>70/'R8&at68least
                                  24&A68[$601,324.02
                                          JF9.YEHBFE8:from 57>8the
                                                                 69487    >@&'3WA8bank
                                                                       Company's      8&'D8&accounts,
                                                                                               ??71'6A.8(11)  N99Q8
/>@57@45238taking
improperly      6&D/'R8at&682least
                               4&A68[$3,023,004.47
                                      Y.FEY.FFHBH`8:from 57>8ML ,8Fashion
                                                                       ;&A9/7'8and
                                                                                &'(8MLG,"8$4       6&/28to678pay
                                                                                               Retail          @&38
@45A7'&2.8'
personal,       7'G7>@&'385related,
               non-Company            42&64(.84expenses
                                                  X@4'A4A86     9&68<4
                                                               that       :4'(&'6A8@
                                                                       Defendants       1687
                                                                                       put   on'8<4    :4'(&'68
                                                                                                   Defendant

4  >7'/AW8personal
 Lemonis'      @45A7'&28?credit
                             54(/68?card
                                      &5(8and
                                           &'(8keeping
                                                  D44@/'R8&and/or
                                                               '(V758using
                                                                        1A/'R8the
                                                                               6948rewards
                                                                                    54=&5(A8points
                                                                                                 @7/'6A8:from 57>8
697A48payments
those    @&3>4'6A8:for758<4        :4'(&'6AW8benefit,
                               Defendants'     84'4:/6.8(12)N9EQ85receiving
                                                                     4?4/0/'R8at&682least
                                                                                      4&A68approximately
                                                                                             &@@57X/>&64238
[$500,000
  \FF.FFF8/in'8/interest
                  '6454A68:from57>8ML,8Fashion
                                          ;&A9/7'8on  7'8ML
                                                         ,8$4      6&/28and
                                                                Retail    &'(8ML,
                                                                               ,.8W
                                                                                      LLC'sA  8line
                                                                                               2/'48of7:8?credit
                                                                                                             54(/68
=/698ML
with   ,8Fashion,
             ;&A9/7'.8(13)
                         N9YQ8using
                                 1A/'R8the
                                        6948assets,
                                            &AA46A.8relationships,
                                                      542&6/7'A9/@A.8good R77(8will,
                                                                                =/22.8&and
                                                                                        '(8trade
                                                                                            65&(48secrets
                                                                                                     A4?546A8of7:8
,8Fashion
ML    ;&A9/7'8to678grow
                     R57=8Defendants'
                               <4:4'(&'6AW8own7='85retail
                                                       46&/28?concept
                                                                7'?4@68,MARCUS,$#!.8&and '(8(14)
                                                                                               N9HQ8?creating
                                                                                                        54&6/'R8
@45A7'&282liability
personal      /&8/2/638:for758*Plaintiffs
                                2&/'6/::A8due
                                           (148to678the
                                                    6948:failure
                                                          &/21548to678pay
                                                                        @&38the
                                                                             6948American
                                                                                   >45/?&'8%X        @54AA8and
                                                                                                Express        &'(8
:failure
  &/21548to678pay
               @&38required
                    54]1/54(8tax  6&X8and
                                       &'(8business
                                            81A/'4AA8:fees44A8in/'8Illinois,
                                                                      22/'7/A.8Connecticut,
                                                                               7''4?6/?16.8Minnesota,
                                                                                                  ,/''4A76&.8
;275/(&B8
Florida.

         E\JBUAsA8a&8direct
         256.           (/54?68and&'(8proximate
                                       @57X/>&648result
                                                     54A1268of7:8Defendants'
                                                                 <4:4'(&'6AW8gross
                                                                                 R57AA8mismanagement,
                                                                                         >/A>&'&R4>4'6.8
*Plaintiffs
   2&/'6/::A8and
             &'(8the
                  6948Company
                       7>@&'38have   9&048been
                                             844'8harmed
                                                    9&5>4(8in/'8an&'8amount
                                                                       &>71'68to678be848proven
                                                                                        @5704'8at&68trial,
                                                                                                      65/&2.8but
                                                                                                               8168

        8                                                 I80F8
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 82 of 95

        8
&6824&A68[H.9cI.cJFBHcB88*2&/'6/::8"7154&189&A8844'89&5>4(8838<4:4'(&'6AW8R57AA8
at least $4,198,960.49. Plaintiff Goureau has been harmed by Defendants' gross

>/A>&'&R4>4'68as&A8Defendants'
mismanagement              <4:4'(&'6AW8:failure
                                              &/21548to678pay
                                                           @&38the
                                                               6948American
                                                                        >45/?&'8%X     @54AA8debt
                                                                                    Express   (4868triggers'
                                                                                                     65/RR45AW8
"7  154&1WA8personal
 Goureau's     @45A7'&28obligation
                            782/R&6/7'8to678pay
                                              @&38the
                                                    6948outstanding
                                                        716A6&'(/'R8&amount.
                                                                          >71'6B88*Plaintiff
                                                                                       2&/'6/::8Menkin
                                                                                                ,4'D/'8has  9&A8
844'8harmed
been   9&5>4(8by  838Defendants'
                      <4:4'(&'6AW8gross   R57AA8mismanagement
                                                 >/A>&'&R4>4'68by        838being
                                                                             84/'R8personally
                                                                                     @45A7'&22382liable
                                                                                                     /&8248:for758
A6&648tax
state  6&X8and
            &'(8business
                  81A/'4AA8:fees  44A8in/'8Illinois,
                                           22/'7/A.87    ''4?6/?16.8,/
                                                       Connecticut,          ''4A76&.8and
                                                                         Minnesota,      &'(8Florida,
                                                                                               ;275/(&.8thus
                                                                                                           691A8
9/'(45/'R8her
hindering     9458ability
                  &8/2/638to678start
                                 A6&568separate
                                        A4@&5&648businesses
                                                   81A/'4AA4A8in/'8those
                                                                      697A48states.
                                                                             A6&64AB8
                                                  X¨
 qu|sqand  yMisappropriation
                 Ltuqpnptq|tnynofwCorporate  npnpq|sAssetsuus|u—Derivative
                                                                            sptq|tsClaimxqt~ Against
                                                                                                     rqtyu|
                                                 COUNT

                     swsyqy|uLemonis, s~nytuML    LRetail,
                                                            s|qtxqand yML,
                                                                            LLLC) 
 (Waste
                     Defendants

        *Plaintiffs
          2&/'6/::A8repeat
                     54@4&68&and  '(8reallege
                                      54&224R484each
                                                   &?98allegation
                                                        &224R&6/7'8?contained
                                                                        7'6&/'4(8above
                                                                                    &87048as&A8though
                                                                                               6971R98:fully
                                                                                                           12238
A468:forth
set   75698herein.
           9454/'B888
        E\`BU)9
        257.        /A8is/A8&an'8action
                 This            &?6/7'8:for758relief
                                               542/4:8&arising
                                                        5/A/'R8out
                                                                7168of7:8the
                                                                          6948waste
                                                                              =&A648of7:8?corporate
                                                                                            75@75&648&assets
                                                                                                          AA46A8
?caused
  &1A4(8solely
          A724238by
                  838<4    :4'(&'6AW8malfeasance,
                      Defendants'        >&2:4&A&'?4.8acts &?6A8or758omissions,
                                                                     7>/AA/7'A.8to678the
                                                                                      6948detriment
                                                                                           (465/>4'68of7:8the
                                                                                                            6948
7  >@&'3B88
Company.

        E\IBU<4
        258.        :4'(&'6A8have
                 Defendants         9&048taken
                                            6&D4'8at&68least
                                                         24&A68[$3,023,004.47
                                                                   Y.FEY.FFHBH`8in/'8:funds
                                                                                          1'(A8:from57>8ML  ,8
;&A9/7'8and
Fashion    &'(8,"8
                 MLG $4         6&/2WA8bank
                           Retail's    8&'D8accounts
                                               &??71'6A8to678pay
                                                               @&38personal,
                                                                      @45A7'&2.8non-Company
                                                                                  '7'G7>@&'38related,542&64(.8
4expenses
  X@4'A4A8that
             69&68Defendants
                  <4:4'(&'6A8put     @168on
                                         7'8Defendant
                                              <4:4'(&'684     >7'/AW8personal
                                                            Lemonis'      @45A7'&28?credit
                                                                                       54(/68?card.
                                                                                               &5(B8
        E\cBU!Since
        259.      /'?48April  @5/282020,
                                    EFEF.8Defendants
                                            <4:4'(&'6A8have 9&048been
                                                                    844'8?closing
                                                                            27A/'R85retail
                                                                                      46&/28stores
                                                                                             A6754A8all
                                                                                                      &228over
                                                                                                          70458
6948?country
the   71'6538owned
                7='4(8&and/or'(V758operated
                                     7@45&64(8by 8384either
                                                      /69458ML
                                                             ,8Fashion
                                                                    ;&A9/7'8or758,"8
                                                                                   MLG $4     6&/2.8and
                                                                                          Retail,   &'(8have
                                                                                                          9&048
54>704(8the
removed     6948Company's
                  7>@&'3WA8assets  &AA46A8:from
                                            57>8those
                                                  697A48stores.
                                                          A6754AB8In'8total,
                                                                       676&2.8Defendants
                                                                              <4:4'(&'6A8have 9&048removed
                                                                                                    54>704(8
&68least
at 24&A68[$377,377
            Y``.Y``8worth
                       =75698of7:8inventory
                                      /'04'67538&and '(8[$197,255
                                                           9c`.E\\8worth
                                                                       =75698of7:8:fixtures,
                                                                                    /X6154A.8:furniture,
                                                                                               15'/6154.8and&'(8

        8                                                 I8198
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 83 of 95

        8
4equipment
  ]1/@>4'68:from57>8the  6948Company's
                               7>@&'3WA8stores
                                             A6754A8in/'8Palm
                                                           *&2>8Beach,
                                                                  C4&?9.8Florida,
                                                                          ;275/(&.8"2    4'?74.8Illinois,
                                                                                      Glencoe,     22/'7/A.8and
                                                                                                             &'(8
<&22&A.8)4
Dallas,        X&AB88Defendants
            Texas.       <4:4'(&'6A8have 9&048also
                                               &2A78taken
                                                       6&D4'8hundreds
                                                               91'(54(A8of7:8thousands
                                                                               6971A&'(A8of7:8dollars
                                                                                                  (722&5A8:from
                                                                                                            57>8
69487
the        >@&'3WA8Newtown,
      Company's         4=67='.8Massachusetts
                                       ,&AA&?91A466A8store. A6754B8
          EJFBU'
          260.     On8    758around
                         or  &571'(8May ,&3822,
                                              EE.82020,
                                                   EFEF.8Defendants
                                                             <4:4'(&'6A8moved
                                                                           >704(85roughly
                                                                                       71R9238[$601,324.02
                                                                                                   JF9.YEHBFE8
7168of7:8ML
out        ,8Fashion's
                ;&A9/7'WA8bank   8&'D8accounts
                                        &??71'6A8&and  '(8transferred
                                                           65&'A:4554(8the
                                                                         6948:funds
                                                                               1'(A8to678an&'8&account
                                                                                                ??71'68in/'8the
                                                                                                             6948
'&>48of7:8MLG
name         ,"8$4        6&/28that
                       Retail   69&68was
                                     =&A8not
                                           '768tied
                                               6/4(8to6784either
                                                           /69458?company's
                                                                    7>@&'3WA8other
                                                                                769458&accounts
                                                                                         ??71'6A8preventing
                                                                                                    @5404'6/'R8
6948&accounts'
the     ??71'6AW8other769458signatory,
                               A/R'&6753.8*Plaintiff
                                             2&/'6/::8Menkin,
                                                         ,4'D/'.8:from57>8being
                                                                           84/'R8&able8248to678access
                                                                                               &??4AA8or758view
                                                                                                           0/4=8
6948account.
the   &??71'6B88
          EJ9BU!Since
          261.        /'?48the6948:filing
                                    /2/'R8of7:8*Plaintiffs'
                                                 2&/'6/::AW8/initial
                                                                '/6/&287  >@2&/'68on
                                                                        Complaint       7'8June
                                                                                               1'4818,
                                                                                                     9I.82020,
                                                                                                          EFEF.8
<4:4'(&'6A8have
Defendants       9&048held 942(8:fire
                                  /548sales
                                       A&24A8selling
                                             A422/'R82large
                                                         &5R48portions
                                                               @756/7'A8of7:8ML
                                                                             ,8Fashions
                                                                                     ;&A9/7'A8inventory
                                                                                                 /'04'67538:for758
1@8to678c90%
up         F^8off
               7::8:forcing
                        75?/'R8the
                                 69487   >@&'38to678take
                                      Company           6&D48huge
                                                              91R482losses
                                                                      7AA4A8on
                                                                            7'8that
                                                                                 69&68inventory.
                                                                                       /'04'6753B8
          EJEBU)9
          262.     These4A48actions
                              &?6/7'A8by838Defendants
                                            <4:4'(&'6A8amount&>71'68to678a&8waste
                                                                            =&A648and &'(8misappropriation
                                                                                             >/A&@@57@5/&6/7'8
7:8?corporate
of    75@75&648&assets.
                     AA46AB8
          EJYBUAsA8&a8(direct
          263.                /54?68&and
                                      '(8proximate
                                          @57X/>&648result54A1268of7:8<4 :4'(&'6AW8malfeasance,
                                                                      Defendants'      >&2:4&A&'?4.8&acts ?6A8or758
7>/AA/7'A.8*Plaintiffs
omissions,         2&/'6/::A8and&'(8the
                                     69487  >@&'38have
                                          Company       9&048been
                                                               844'8harmed
                                                                      9&5>4(8/in'8an&'8amount
                                                                                       &>71'68to678be848proven
                                                                                                         @5704'8
&68trial,
at 65/&2.8but
            8168at&682least
                       4&A68[$4,198,960.49.
                               H.9cI.cJFBHcB8
                                                   XI        ¨
                     nysputny—Derivative
                                          sptq|tsClaim  xqt~Against
                                                                    rqtyu|Defendants)
                                                                             swsyqy|u
                                                  COUNT
                    (Conversion

          *Plaintiffs
            2&/'6/::A8repeat
                         54@4&68&and
                                   '(8reallege
                                        54&224R484each
                                                   &?98allegation
                                                           &224R&6/7'8?contained
                                                                         7'6&/'4(8above
                                                                                      &87048as&A8though
                                                                                                  6971R98:fully
                                                                                                            12238
A468:forth
set    75698herein.
             9454/'B8

        8                                                 I82E8
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        8
        EJHBU,8;&A9/7'89&(8&8@57@45638/'6454A68/'86948:1'(A8/'8/6A88&'D8&??71'6A8
        264. ML Fashion had a property interest in the funds in its bank accounts

&'(8inventory
and  /'04'67538&and
                  '(8:furniture,
                       15'/6154.8:fixtures,
                                      /X6154A.8&and
                                                 '(84equipment
                                                       ]1/@>4'68in/'8its/6A8retail
                                                                            546&/28stores
                                                                                    A6754A8&and
                                                                                             '(8&a8right
                                                                                                   5/R968to678
@7AA4AA8those
possess   697A48:funds
                  1'(A8and &'(8inventory
                                 /'04'67538&and '(8have
                                                    9&048them
                                                          694>8utilized
                                                                 16/2/_4(8:for758legitimate
                                                                                    24R/6/>&648business
                                                                                                 81A/'4AA8
@15@7A4AB8
purposes.

        EJ\BU<4
        265.      :4'(&'6A8?converted
               Defendants         7'04564(8these
                                              694A48:funds
                                                       1'(A8by
                                                            838removing
                                                                54>70/'R8such   A1?98:funds
                                                                                         1'(A8:from
                                                                                                 57>8ML ,8
;&A9/7'WA8bank
Fashion's   8&'D8&accounts
                     ??71'6A8:for758no '782legitimate
                                            4R/6/>&648business
                                                         81A/'4AA8purpose,
                                                                   @15@7A4.8including
                                                                                   /'?21(/'R8removing
                                                                                                54>70/'R8
571R9238[$601,324.02
roughly    JF9.YEHBFE8:from  57>8the
                                   69487  >@&'3WA8bank
                                        Company's      8&'D8&accounts.
                                                              ??71'6AB8
        EJJBU<4
        266.      :4'(&'6A8additionally
               Defendants       &((/6/7'&2238?converted
                                                 7'04564(8ML,8Fashion's
                                                                 ;&A9/7'WA8property
                                                                                 @57@45638by 838taking
                                                                                                 6&D/'R8at&68
24&A68[$3,023,004.47
least   Y.FEY.FFHBH`8:from  57>8ML ,8Fashion
                                         ;&A9/7'8&and '(8MLG
                                                          ,"8Retail's
                                                                 $46&/2WA8bank 8&'D8&accounts
                                                                                         ??71'6A8to678pay
                                                                                                        @&38
@45A7'&2.8'
personal,     7'G7>@&'385related,
            non-Company             42&64(.84expenses
                                               X@4'A4A86   9&68<4
                                                          that      :4'(&'6A8@
                                                                Defendants            1687
                                                                                    put    '8<4
                                                                                          on       :4'(&'68
                                                                                               Defendant

4 >7'/AW8personal
 Lemonis'   @45A7'&28?credit
                          54(/68?card.
                                   &5(B8
        EJ`BU)7
        267.   To8 69484extent
                   the    X64'68that
                                  69&68any
                                       &'38of7:8the
                                                6948[$3,023,004.47
                                                      Y.FEY.FFHBH`8was=&A8used1A4(8towards
                                                                                     67=&5(A8legitimate
                                                                                               24R/6/>&64
81A/'4AA84expenses,
business    X@4'A4A.8Defendants
                          <4:4'(&'6A8?converted
                                            7'04564(8the6948American
                                                               >45/?&'8%X       @54AA85rewards
                                                                             Express      4=&5(A8points
                                                                                                     @7/'6A
&AA7?/&64(8with
associated   =/698those
                  697A48?credit
                              54(/68?card
                                      &5(8payments.
                                          @&3>4'6AB8
        EJIBU<4
        268.      :4'(&'6A8?converted
               Defendants         7'04564(8ML ,8Fashion's
                                                     ;&A9/7'WA8inventory
                                                                /'04'67538by    8385removing
                                                                                       4>70/'R8at&68least
                                                                                                       24&A68
[$377,377
  Y``.Y``8worth
            =75698of7:8inventory
                            /'04'67538&and '(8[$197,255
                                                   9c`.E\\8worth
                                                             =75698of7:8:fixtures,
                                                                              /X6154A.8:furniture,
                                                                                           15'/6154.8&and'(8
4equipment
  ]1/@>4'68:from
              57>8the
                   6948Company's
                          7>@&'3WA8stores
                                         A6754A8in/'8Palm
                                                     *&2>8Beach,
                                                           C4&?9.8Florida,
                                                                   ;275/(&.8"2       4'?74.8Illinois,
                                                                                Glencoe,      22/'7/A.8and
                                                                                                        &'(8
<&22&A.8)4
Dallas,     X&A8:for758no'78legitimate
         Texas                24R/6/>&648business
                                            81A/'4AA8purpose.
                                                        @15@7A4B88<4       :4'(&'6A8have
                                                                    Defendants          9&048&also
                                                                                                2A78taken
                                                                                                      6&D4'8
91'(54(A8of7:8thousands
hundreds       6971A&'(A8of7:8dollars
                                    (722&5A8:from
                                              57>8the69487 >@&'3WA8Newtown,
                                                         Company's         4=67='.8,&        AA&?91A466A8
                                                                                          Massachusetts

A6754B8
store.



        8                                               I83Y8
       Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 85 of 95

        8
        EJcBU'8/':75>&6/7'8&'(8842/4:.8<4:4'(&'6A8&548?7'0456/'R8,8;&A9/7'WA8
        269. On information and belief, Defendants are converting ML Fashion's

/'04'67538&and
inventory      '(8FFE,
                  ;;%.8at&68least
                            24&A68in/'8part,
                                       @&56.8to678support
                                                  A1@@7568Lemonis
                                                               4>7'/A8&and'(8$Raffel's
                                                                               &::42WA8MARCUS
                                                                                        , $#!8brand    5&'(8
&'(8move
and   >7048the6948brand
                  85&'(8:from
                           57>8ML ,8Fashion
                                        ;&A9/7'8to678,.
                                                       ML,8    B8
                                                               LLC.

        E`FBU<4
        270.        :4'(&'6AW8&actions
                 Defendants'       ?6/7'A8were
                                            =4548willful,
                                                    =/22:12.8wanton,
                                                                =&'67'.8malicious
                                                                           >&2/?/71A8and
                                                                                      &'(8oppressive.
                                                                                            7@@54AA/04B8
        E`9BUAsA8a&8direct
        271.           (/54?68and
                                &'(8proximate
                                       @57X/>&6485result
                                                      4A1268of7:8Defendants'
                                                                  <4:4'(&'6AW8actions,
                                                                                 &?6/7'A.8*Plaintiffs
                                                                                              2&/'6/::A8and
                                                                                                          &'(8
6948Company
the   7>@&'38have 9&048been
                          844'8harmed
                                  9&5>4(8in/'8&an'8&amount
                                                        >71'68to678be848proven
                                                                           @5704'8&at68trial,
                                                                                       65/&2.8but
                                                                                               8168at&68least
                                                                                                        24&A68
[$4,198,960.49.
  H.9cI.cJFBHcB8
                                                 XII      ¨
                                                 svstsp
                                                COUNT
                                                 (Receiver)

        *Plaintiffs
          2&/'6/::A8repeat
                     54@4&68&and
                               '(8reallege
                                   54&224R484each &?98allegation
                                                       &224R&6/7'8?contained
                                                                       7'6&/'4(8above
                                                                                 &87048as&A8though
                                                                                              6971R98:fully
                                                                                                         12238
A468:forth
set   75698herein.
           9454/'B8
        E`EBU<4
        272.        :4'(&'6A8&
                 Defendants       are548&   ?6/042385removing
                                          actively       4>70/'R8&assets  AA46A8:from
                                                                                  57>8,8;          &A9/7'.8
                                                                                          ML Fashion,

@15@7A4:12238rendering
purposefully     54'(45/'R8it/68unable
                                  1'&8248to678meet
                                                 >4468its/6A8?current
                                                               1554'68obligations.
                                                                        782/R&6/7'AB88<4   :4'(&'6A8have
                                                                                        Defendants      9&048
@5404'64(8the
prevented     6948Company
                  7>@&'38:from  57>8making
                                        >&D/'R8the 6948agreed
                                                        &R544(8upon
                                                                  1@7'8&automatic
                                                                           167>&6/?8monthly
                                                                                      >7'69238payments
                                                                                                 @&3>4'6A8
678the
to  6948American
           >45/?&'8%X     @54AA8?credit
                       Express       54(/68?card
                                             &5(8in/'8"7    154&1WA8name.
                                                       Goureau's       '&>4B88American
                                                                                  >45/?&'8%X     @54AA8has
                                                                                              Express     9&A8
/':75>4(8"7
informed         154&18that
             Goureau    69&68if/:8payments
                                  @&3>4'6A8are   &548not
                                                      '768made
                                                            >&(48before
                                                                    84:7548June
                                                                              1'4826,
                                                                                  EJ.82020
                                                                                        EFEF8it/68will
                                                                                                  =/228take
                                                                                                         6&D48
&?6/7'8against
action   &R&/'A68"Goureau
                    7154&18personally
                              @45A7'&2238&and   '(8seek
                                                   A44D8the69484entire
                                                                 '6/548outstanding
                                                                       716A6&'(/'R8balance
                                                                                       &2&'?48of7:8roughly
                                                                                                   571R9238
[$463,112.
  HJY.99EB8
        E`YBUAsA8of7:8the
        273.            6948:filing
                              /2/'R8of7:8this
                                         69/A87    >@2&/'6.8Defendants
                                                 Complaint,      <4:4'(&'6A8have
                                                                               9&048?closed
                                                                                       27A4(8three
                                                                                               695448of7:8the
                                                                                                          6948
7  >@&'3WA8stores
Company's       A6754A8&and
                         '(8removed
                             54>704(8at&682least4&A68[$377,377
                                                       Y``.Y``8worth=75698of7:8inventory
                                                                               /'04'67538and
                                                                                           &'(8[$197,255
                                                                                                  9c`.E\\8
=75698of7:8:fixtures,
worth        /X6154A.8:furniture,
                        15'/6154.8and &'(84equipment
                                            ]1/@>4'68:from  57>8the
                                                                  6948stores.
                                                                       A6754AB88
        8                                               I84H8
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        8
        E`HBU;156945.87'8758&571'(8,&38EE.8EFEF.8<4:4'(&'6A8>704(8571R9238
        274. Further, on or around May 22, 2020, Defendants moved roughly

[$601,324.02
  JF9.YEHBFE8:from57>8the69487   >@&'3WA8bank
                             Company's       8&'D8&accounts.
                                                      ??71'6AB8
        E`\BUAsA8a&8result
        275.            54A1268of7:8<4 :4'(&'6AW8?current
                                    Defendants'       1554'68misappropriation
                                                              >/A&@@57@5/&6/7'8of7:8the  69487    >@&'3WA8
                                                                                               Company's

:funds
  1'(A8and
        &'(8assets,
              &AA46A.8the
                       6948appointment
                            &@@7/'6>4'68of7:8a&8?custodian
                                                    1A67(/&'8or758receiver
                                                                   54?4/0458to678direct
                                                                                   (/54?68&and
                                                                                             '(8supervise
                                                                                                 A1@450/A48
,8Fashion's
ML    ;&A9/7'WA8business
                   81A/'4AA8&and  '(8&affairs
                                       ::&/5A8pending
                                               @4'(/'R8&a8decision
                                                             (4?/A/7'8on 7'8the
                                                                            6948merits
                                                                                   >45/6A8of7:8*Plaintiff's
                                                                                                   2&/'6/::WA8
?claims
  2&/>A8/isA8necessary
             '4?4AA&538&and '(8appropriate
                                &@@57@5/&648to678avoid
                                                   &07/(8irreparable
                                                           /554@&5&8248harm
                                                                          9&5>8to678the
                                                                                      6948Company
                                                                                           7>@&'38and   &'(8
/6A8members.
its >4>845AB8
                                               XIII    ¨
                 s~npqpPreliminary
                                    Mpsxt~tyqp qand    yPermanent
                                                           Msp~qysy|Injunction)
                                                                            y¦oyv|tny
                                              COUNT
                 (Temporary,

        *Plaintiffs
          2&/'6/::A8repeat
                     54@4&68&and
                               '(8reallege
                                    54&224R484each
                                                &?98allegation
                                                      &224R&6/7'8?contained
                                                                    7'6&/'4(8above
                                                                                 &87048as&A8though
                                                                                             6971R98:fully
                                                                                                        12238
A468:forth
set   75698herein.
            9454/'B8
        E`JBUC3
        276.     By8purposefully
                      @15@7A4:122385rendering
                                           4'(45/'R8,8       ;&A9/7'8unable
                                                       ML Fashion         1'&8248to678pay @&38/its6A8debts,
                                                                                                      (486A.8
54>70/'R8:funds
removing       1'(A8:from
                      57>8ML ,8Fashion's
                                   ;&A9/7'WA8bank
                                               8&'D8&accounts,
                                                         ??71'6A.8?closing
                                                                     27A/'R8its/6A8stores
                                                                                   A6754A8and
                                                                                           &'(8removing
                                                                                                 54>70/'R8
/6A8&assets,
its   AA46A.8&and
                '(8seeking
                    A44D/'R8to678misappropriate
                                    >/A&@@57@5/&648ML    ,8Fashion's
                                                               ;&A9/7'WA8:funds
                                                                            1'(A8:for758their
                                                                                           694/58personal
                                                                                                   @45A7'&28
84'4:/6.8Defendants'
benefit,   <4:4'(&'6AW8actions
                            &?6/7'A8threaten
                                      6954&64'8to678?cause
                                                      &1A48irreparable
                                                            /554@&5&8248harm
                                                                           9&5>8to678Plaintiffs
                                                                                       *2&/'6/::A8and&'(8the
                                                                                                          6948
7  >@&'3B88To
Company.       )78preserve
                   @54A45048the6948status
                                    A6&61A8]quo
                                              178and
                                                 &'(8prevent
                                                       @5404'68damage
                                                                 (&>&R48to678,8     ;&A9/7'.8*Plaintiffs
                                                                              ML Fashion,           2&/'6/::A8
A44D8an&'8order
seek       75(458immediately
                  />>4(/&642385restraining
                                     4A65&/'/'R8and
                                                  &'(84enjoining
                                                         'd7/'/'R8&all228Defendants,
                                                                         <4:4'(&'6A.8or758those
                                                                                              697A48acting
                                                                                                      &?6/'R8
/'8privity
in  @5/0/638with
             =/698them,
                   694>.8:from
                             57>8(orN758&asA8appropriate,
                                             &@@57@5/&64.8requiring
                                                             54]1/5/'R8them
                                                                         694>8to678take
                                                                                     6&D48the
                                                                                            6948:following
                                                                                                  7227=/'R8
&?6/7'QT8
action):




        8                                               I85\8
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        8
           /BU !Spending,
          i.      @4'(/'R.8transferring
                               65&'A:455/'R8or758dissipating
                                                   (/AA/@&6/'R8&any
                                                                  '38:funds
                                                                       1'(A8of7:8ML
                                                                                 ,8Fashion
                                                                                       ;&A9/7'84except
                                                                                                    X?4@68
                &A8absolutely
                as   &8A72164238necessary
                                     '4?4AA&538in/'8the
                                                      6948ordinary
                                                           75(/'&538?course
                                                                        715A48of7:8business
                                                                                   81A/'4AA8:for758,8ML

                ;&A9/7'.8&and
                Fashion,       '(8/including
                                    '?21(/'R8specifically
                                                A@4?/:/?&2238that
                                                              69&68no
                                                                    '78:funds
                                                                         1'(A8will
                                                                               =/228be8484expended
                                                                                           X@4'(4(8:for:75T8
                     &BUAny
                     a.    '38payments
                                 @&3>4'6A8whatsoever
                                              =9&6A740458to678<4    :4'(&'6A8or758their
                                                                Defendants        694/58&affiliates,
                                                                                            ::/2/&64A.8:for758
                         &'38purpose,
                         any   @15@7A4.8/including
                                            '?21(/'R8bonuses;
                                                        87'1A4Ae8or758
                     8BUAny
                     b.    '38payments
                                @&3>4'6A8whatsoever
                                             =9&6A740458to678Defendants'
                                                              <4:4'(&'6AW8personal
                                                                             @45A7'&28attorney
                                                                                          &6675'438:from
                                                                                                      57>8
                         69487
                         the      >@&'3WA8:funds.
                              Company's        1'(AB8
          //BU %'
          ii.       645/'R8/into
                Entering      '678any
                                    &'38banking,
                                         8&'D/'R.8borrowing
                                                     87557=/'R8and/or
                                                                  &'(V758investment
                                                                          /'04A6>4'68arrangements
                                                                                          &55&'R4>4'6A8
                7'8behalf
                on  849&2:8of7:8the
                                  6948Company.
                                       7>@&'3B8
         ///BU 2
         iii.      7A/'R8any
                Closing     &'38retail
                                  546&/28stores
                                          A6754A8of7:8ML
                                                      ,8Fashion
                                                           ;&A9/7'8and/or
                                                                      &'(V758moving,
                                                                               >70/'R.8or758removing
                                                                                               54>70/'R8
                &'38of7:8the
                any       6948inventory,
                                /'04'6753.8:furniture,
                                               15'/6154.8:fixtures,
                                                           /X6154A.8and
                                                                     &'(84equipment
                                                                           ]1/@>4'68and   &'(8any
                                                                                               &'38other
                                                                                                    769458
                &AA46A82located
                assets    7?&64(8/in'8such
                                       A1?98stores.
                                              A6754AB8
        E``BU)9
        277.    The4  8issuance
                       /AA1&'?48of7:8a&8temporary
                                        64>@75&538restraining
                                                      54A65&/'/'R8order
                                                                   75(458will
                                                                          =/228prevent
                                                                                @5404'68:further
                                                                                            1569458harm
                                                                                                    9&5>8
678the
to 6948Company
         7>@&'38until 1'6/28a&8preliminary
                                 @542/>/'&538injunction
                                                /'d1'?6/7'8hearing
                                                             94&5/'R8is/A8held
                                                                          942(8&and
                                                                                  '(8will
                                                                                       =/228not
                                                                                             '768unduly
                                                                                                  1'(1238
@54d1(/?48<4
prejudice       :4'(&'6AB8
              Defendants.

                                               XIV     ¨K
                            tuunxo|tnyunder oysp6 Del.
                                                         sxlC.l§©18-802)
                                                                     ª«ª¬
                                              COUNT
                            (Dissolution

        *Plaintiffs
          2&/'6/::A8repeat
                     54@4&68&and'(8reallege
                                     54&224R484each
                                                 &?98allegation
                                                      &224R&6/7'8?contained
                                                                   7'6&/'4(8above
                                                                               &87048as&A8though
                                                                                           6971R98:fully
                                                                                                      12238
A468:forth
set   75698herein.
            9454/'B8
        E`IBUJ68Del.
        278.      <42B8C.B8§i818-802
                                9IGIFE8&authorizes
                                           16975/_4A8a&8member
                                                         >4>8458or758manager
                                                                      >&'&R458of7:8&a8limited
                                                                                       2/>/64(8liability
                                                                                                 2/&8/2/638
?company
  7>@&'38to678petition
                @46/6/7'8the6948Court
                                  71568:for758dissolution
                                               (/AA7216/7'8of7:8the
                                                                 6948?company
                                                                       7>@&'38whenever
                                                                                  =94'40458it/68is/A8'not768
        8                                               I86J8
        Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 88 of 95

        8
54&A7'&8238@5&?6/?&8248678?&55387'8694881A/'4AA8/'8?7':75>/638=/698&82/>/64(82/&8/2/638
reasonably practicable to carry on the business in conformity with a limited liability

?company
  7>@&'38agreement.
             &R544>4'6B8
          E`cBU*Pursuant
          279.         15A1&'68to678J68Del.
                                         <42B8B
                                              C.8i§818-802,
                                                      9IGIFE.8*Plaintiffs,
                                                                  2&/'6/::A.8as&A8members
                                                                                   >4>845A8of7:8ML ,8Fashion,
                                                                                                         ;&A9/7'.8
&224R48that
allege    69&68/it68is/A8"not
                          O'768reasonably
                                54&A7'&8238practicable
                                               @5&?6/?&8248to678?carry
                                                                     &5538on
                                                                           7'8the6948business
                                                                                      81A/'4AA8in/'8?conformity
                                                                                                      7':75>/638
=/698&a8limited
with      2/>/64(8liability
                        2/&8/2/638?company
                                      7>@&'38&agreement"
                                                R544>4'6P8and   &'(8therefore
                                                                      69454:7548&askAD8this
                                                                                         69/A87  1568to678order
                                                                                              Court        75(458a&8
(/AA7216/7'8of7:8the
dissolution            69487   >@&'3B8
                             Company.

          EIFBU4
          280.           >7'/A.8,8
                   Lemonis,               $46&/2.8and
                                   ML Retail,      &'(8the6948ML
                                                              ,87      '65728"5
                                                                     Control         71@8have
                                                                                  Group   9&048beached
                                                                                                 84&?94(8their
                                                                                                             694/58
(16/4A8owed
duties    7=4(8to678the  69487  >@&'38&and
                              Company        '(8/its6A8members.
                                                       >4>845AB88)9  They438have
                                                                            9&048:forced
                                                                                      75?4(8the
                                                                                              69487  >@&'38to678
                                                                                                   Company

6&D48on
take    7'8debt
            (4868:forcing
                       75?/'R8it/68to678take
                                        6&D48loans
                                             27&'A8:from57>8Defendants,
                                                              <4:4'(&'6A.8purposely
                                                                              @15@7A4238transferred
                                                                                             65&'A:4554(8:funds
                                                                                                             1'(A8
:from
  57>8the69487    >@&'3WA8bank
             Company's           8&'D8accounts
                                          &??71'6A8soA78that
                                                           69&68the
                                                                69487   >@&'38?could
                                                                      Company         712(8not
                                                                                            '768pay
                                                                                                 @&38its/6A8debts,
                                                                                                            (486A.8
?closed
  27A4(8the
          69487    >@&'3WA8stores
              Company's           A6754A8and
                                           &'(8removed
                                               54>704(8its/6A8assets,
                                                                 &AA46A.8&and
                                                                           '(8actively
                                                                                 &?6/04238used
                                                                                           1A4(8the
                                                                                                  6948Company
                                                                                                      7>@&'38
&A8a&8self-enrichment
as     A42:G4'5/?9>4'68vehicle 049/?248?constantly
                                            7'A6&'6238acting
                                                         &?6/'R8to678benefit
                                                                     84'4:/68themselves
                                                                                694>A4204A8to678the
                                                                                                  6948detriment
                                                                                                      (465/>4'68
7:8the
of   69487  >@&'38and
          Company          &'(8*Plaintiffs.
                                 2&/'6/::AB8
          EI9BU*Plaintiffs
          281.         2&/'6/::A8&accordingly
                                      ??75(/'R2385request
                                                       4]14A68that
                                                                69&68the
                                                                       69487
                                                                            Court 1568dissolve
                                                                                       (/AA72048ML ,8Fashion
                                                                                                          ;&A9/7'8
@15A1&'68to678!Section
pursuant            4?6/7'818-802.
                               9IGIFEB88Plaintiffs
                                            *2&/'6/::A8:further
                                                           1569458request
                                                                    54]14A68that
                                                                             69&68&a82liquidating
                                                                                        /]1/(&6/'R8trustee
                                                                                                      651A6448be848
&@@7/'64(8to678oversee
appointed           7045A448the  6948dissolution
                                        (/AA7216/7'8&and '(8winding
                                                             =/'(/'R8up   1@8of7:8ML
                                                                                   ,8Fashion
                                                                                         ;&A9/7'8pursuant
                                                                                                    @15A1&'68to678
!Section
   4?6/7'818-803,
            9IGIFY.8instead/'A64&(8of7:8the
                                         6948Defendants.
                                             <4:4'(&'6AB88A8liquidating
                                                                   2/]1/(&6/'R8trustee
                                                                                   651A6448would
                                                                                            =712(84ensure
                                                                                                      'A1548that
                                                                                                              69&68
*Plaintiffs
   2&/'6/::A8are
              &548protected
                       @5764?64(8:from 57>8:further
                                             1569458harm9&5>8?caused
                                                                 &1A4(8by 838the
                                                                             6948Defendants—who
                                                                                     <4:4'(&'6Ab=978have     9&048
(4>7'A65&64(8&a8history
demonstrated              9/A67538of7:8mismanagement
                                        >/A>&'&R4>4'68and     &'(8misappropriating
                                                                    >/A&@@57@5/&6/'R8of7:8the  6948Company's
                                                                                                    7>@&'3WA8
:funds.
  1'(AB8

        8                                                  I87`8
       Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 89 of 95

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  jpsqv{nwny|pqv|tpsv|xqt~  Mxqty|twwLsytyrqtyu|swsyqy|u
                                COUNT XV

                                   Lqu{tnyqyLks|qtx
 (Breach of Contract — Direct Claim by Plaintiff Menkin Against Defendants
                       ML Fashion and MLG Retail)
        *Plaintiffs
          2&/'6/::A8repeat
                    54@4&68&and  '(8reallege
                                     54&224R484each
                                                  &?98allegation
                                                      &224R&6/7'8?contained
                                                                     7'6&/'4(8above
                                                                                  &87048as&A8though
                                                                                                6971R98:fully
                                                                                                           12238
A468:forth
set   75698herein.
            9454/'B8
        EIEBU!Since
        282.      /'?48its/6A8inception,
                               /'?4@6/7'.8*Plaintiff
                                              2&/'6/::8Menkin
                                                        ,4'D/'8served
                                                                   A4504(8Defendants
                                                                              <4:4'(&'6A8ML    ,8Fashion
                                                                                                     ;&A9/7'8
&'(8MLG
and   ,"8Retail
              $46&/28as&A8their
                          694/58*President.
                                    54A/(4'6B88In'84exchange
                                                      X?9&'R48:for758her
                                                                       9458services,
                                                                            A450/?4A.8Menkin
                                                                                         ,4'D/'8and  &'(8ML,8
;&A9/7'8and
Fashion     &'(8MLG
                 ,"8$4        6&/28agreed
                          Retail     &R544(8that
                                              69&68she
                                                     A948would
                                                          =712(8receive
                                                                   54?4/048bimonthly
                                                                                8/>7'69238payments
                                                                                               @&3>4'6A8of7:8
[$11,558.
  99.\\IB88Those
             )97A48bimonthly
                     8/>7'69238payments
                                     @&3>4'6A8were =4548made
                                                         >&(48on7'8the
                                                                     69489PtA68&and
                                                                                 '(815th
                                                                                    9\6987of:84every
                                                                                                04538month.
                                                                                                      >7'69B888
        EIYBU)9
        283.        1A.8a&8valid
                Thus,        0&2/(8and
                                     &'(84enforceable
                                           ':75?4&8248?contract
                                                           7'65&?684existed
                                                                        X/A64(8between
                                                                                  846=44'8Menkin,
                                                                                               ,4'D/'.8,8 ML

;&A9/7'.8&and
Fashion,      '(8MLG
                   ,"8$4        6&/28where
                             Retail    =94548Menkin
                                                 ,4'D/'8received
                                                           54?4/04(8?compensation
                                                                          7>@4'A&6/7'8of7:8bimonthly
                                                                                                  8/>7'69238
@&3>4'6A8of7:8$11,558
payments        [99.\\I8/in'84exchange
                                  X?9&'R48:for758serving
                                                   A450/'R8as&A8the
                                                                6948*President
                                                                       54A/(4'68of7:8the
                                                                                     6948?companies.
                                                                                             7>@&'/4AB8
        EIHBUC4
        284.        R/''/'R8on
                Beginning        7'8April
                                        @5/281,9.82020,
                                                   EFEF.8ML
                                                          ,8Fashion
                                                                 ;&A9/7'8and  &'(8MLG
                                                                                    ,"8$4       6&/28?ceased
                                                                                             Retail      4&A4(8
@&3/'R8Menkin
paying    ,4'D/'8the 6948?compensation
                              7>@4'A&6/7'8due    (148under
                                                      1'(458the6948&agreement.
                                                                      R544>4'6B88By   C38:failing
                                                                                             &/2/'R8to678pay
                                                                                                           @&38
,4'D/'.8ML
Menkin,     ,8Fashion
                 ;&A9/7'8and  &'(8MLG
                                   ,"8Retail
                                           $46&/28have
                                                    9&048breached
                                                          854&?94(8the  6948agreement
                                                                             &R544>4'68between
                                                                                            846=44'8it/68and
                                                                                                           &'(8
,4'D/'B8
Menkin.

        EI\BUAsA8a&8direct
        285.             (/54?68and&'(8proximate
                                         @57X/>&648result
                                                        54A1268of7:8<4    :4'(&'6AW8&actions,
                                                                      Defendants'         ?6/7'A.8*Plaintiff
                                                                                                       2&/'6/::8
,4'D/'8has
Menkin     9&A8been
                 44'8harmed
                      9&5>4(8in/'8an&'8amount
                                        &>71'68to678be48proved
                                                         @5704(8at&68trial,
                                                                      65/&2.8but168not
                                                                                   '7682less
                                                                                         4AA8than
                                                                                             69&'8[$69,348.
                                                                                                      Jc.YHIB8
        EIJBU*Plaintiffs
        286.      2&/'6/::A8repeat
                              54@4&68and
                                       &'(85reallege
                                             4&224R484each
                                                        &?98allegation
                                                              &224R&6/7'8?contained
                                                                              7'6&/'4(8above
                                                                                          &87048as&A8though
                                                                                                      6971R98
:fully
  12238set
       A468:forth
             75698herein.
                  9454/'B8
8

        8                                               I88I8
       Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 90 of 95

        8
                                         M
                                     PRAYER FOR RELIEF

         a+%$%;$%.8*Plaintiffs
         WHEREFORE,               2&/'6/::A8respectfully
                                              54A@4?6:12238request
                                                               54]14A68that
                                                                          69&68the
                                                                                6948Court
                                                                                     715684enter
                                                                                                '6458judgment
                                                                                                      d1(R>4'68
/'8their
in   694/58:favor
             &0758and
                   &'(8against
                        &R&/'A68Defendants
                                     <4:4'(&'6A8as&A8:follows:
                                                         7227=AT88
  A.B  U7    >@4'A&67538damages
         Compensatory         (&>&R4A8in/'8an&'8amount
                                                 &>71'68to678be848determined
                                                                      (4645>/'4(8at&68trial,
                                                                                         65/&2.8but
                                                                                                 8168not
                                                                                                     '768less
                                                                                                          24AA8
         69&'8[$4,268,308.49;
         than     H.EJI.YFIBHce88
  CBU*Punitive
  B.        1'/6/048damages;
                     (&>&R4Ae8
  B
   C.U$4      A?/AA/7'8of7:8the
         Rescission          69488       R544>4'68as&A8/it68was
                                  LLC Agreement                =&A8obtained
                                                                      786&/'4(8by 838:fraud;
                                                                                        5&1(e8
  <B
   D.U7      >@422/'R8the
         Compelling        6948Defendants
                                <4:4'(&'6A8to678account
                                                      &??71'68:for758all&228&assets
                                                                              AA46A8they
                                                                                     69438misappropriated
                                                                                             >/A&@@57@5/&64(8
         :from
           57>8the
                 6948Company,
                      7>@&'3.8&asA8well   =4228&asA8any
                                                      &'38benefits
                                                            84'4:/6A8they69438have
                                                                                9&048realized
                                                                                        54&2/_4(8:from
                                                                                                    57>8those
                                                                                                           697A48
         &AA46Ae8
         assets;

  %BU</
  E.         AR75R/'R8:from
         Disgorging        57>8the6948Defendants
                                         <4:4'(&'6A8all  &228&assets
                                                                AA46A8they
                                                                        69438misappropriated
                                                                               >/A&@@57@5/&64(8:from   57>8the
                                                                                                             6948
         7   >@&'3.8as&A8well
         Company,            =4228as&A8&any
                                         '38benefits
                                             84'4:/6A8they
                                                        69438have
                                                              9&048realized
                                                                      54&2/_4(8:from
                                                                                   57>8those
                                                                                         697A48&assets;
                                                                                                   AA46Ae8
  ;BU)9
  F.     The4  8appointment
                &@@7/'6>4'68of7:8&a8receiver
                                         54?4/0458&asA8set
                                                       A468:forth
                                                             75698in/'8Count
                                                                       71'68XII.
                                                                                ­B8
  "B
   G.UA8     64>@75&53.8preliminary,
             temporary,      @542/>/'&53.8and &'(8permanent
                                                   @45>&'4'68injunction
                                                                   /'d1'?6/7'8set A468:forth
                                                                                        75698in/'87  1'68XIII.
                                                                                                  Count   ­B8
  +B
   H.UA8     d1(R>4'68that
             judgment     69&68,8     ;&A9/7'8is/A8dissolved;
                                ML Fashion           (/AA7204(e8
  I.BU The
         )948appointment
                &@@7/'6>4'68of7:8an&'8/independent
                                           '(4@4'(4'68liquidating
                                                           2/]1/(&6/'R8trustee
                                                                           651A6448to678wind
                                                                                         =/'(8up 1@8the
                                                                                                     6948affairs
                                                                                                         &::&/5A8
         7:8ML
         of  ,8Fashion;
                   ;&A9/7'e8
  J.BU An'8&award
                =&5(8of7:8the
                            6948?costs
                                  7A6A8and&'(8disbursements
                                              (/A815A4>4'6A8of7:8this  69/A8action,
                                                                             &?6/7'.8including
                                                                                      /'?21(/'R8reasonable
                                                                                                    54&A7'&8248
         &6675'43AW8:fees,
         attorneys'     44A.8?costs
                                 7A6A8and
                                        &'(84expenses;
                                              X@4'A4Ae8and&'(88


        8                                                I89c8
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     8
-BU 228A1?98769458&'(8:1569458542/4:8&A8694871568(44>A8d1A68&'(8@57@4581'(4586948
K. All such other and further relief as the Court deems just and proper under the
     ?circumstances.
       /5?1>A6&'?4AB888
                                 ®8 *®8 *®8
                                 *
<&64(T8August
Dated:    1R1A6824,
                EH.82020
                    EFEF8 h̄/s/°h̄Sean
                                 ±²hI³¢h́  µµ¶h
                                           Bellew                                  h
       8                    !Sean
                               4&'8J.B8C4224=8(#4072)
                                                N·HF`EQ8
       8                    jsxxs
                                        Bellew

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                            Bellew      LLC
                            $4  (8Clay
                                   2&384   '6458at&68/66248Falls
                                                               ;&22A8
                            EcJ984     '6450/2248$7    &(.8!Suite
                                                               1/648302
                                                                    YFE8
                             Red          Center       Little
                            2961
                            a/2>/'R67'.8Delaware
                                              <42&=&548198089cIFI8
                                    Centerville   Road,
                            Wilmington,
                            )4  24@97'4T8(302)
                             Telephone:     NYFEQ8353-4951
                                                     Y\YGHc\98
                            Ad84224= 84224=22?B?7>8888
                            sjbellew@bellewl1c.com
                            8
                            kspqpFox    n¸q   P.C.Mll
                            "4  5&5(8*P.B8Fox
                                          ;7X8(pro
                                               N¹º»hhac¼±½hvice
                                                            ¾¿½hforthcoming)
                                                                   À»ºÁ¼½»Â¿²ÃQ8
                            Gerard           Law

                            &  154'8M. ,B8"5 44'48(pro
                                                      N¹º»hhac
                                                             ¼±½hvice
                                                                  ¾¿½hforthcoming)
                                                                        À»ºÁ¼½»Â¿²ÃQ8
                             Gerard

                            9IIF84     '61538*Park
                                                &5D8%&    A6.8!Suite
                                                                1/6481410
                                                                     9H9F8
                             Lauren        Greene
                                                       East,
                            7
                             LosA8Angeles,
                                     'R424A.8CA
                                               8c90067
                                                      FFJ`8
                            1880    Century

                            )4  24@97'4T8(310)
                             Telephone:     NY9FQ8441-0500
                                                     HH9GF\FF8
                            ;&?A/>/24T8(310)
                            Facsimile:     NY9FQ8441-4447
                                                  HH9GHHH`8
                            R:7X R45&5(:7X2&=B?7>8
                            2lgreene@gerardfoxlaw.com
                              R544'4 R45&5(:7X2&=B?7>8
                            gfox@gerardfoxlaw.com



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                                                                                                      Ä
      ÇINÈÉÊËÌÉ    ÍÎÏÐÊÉOF
            THE COURT           ÎÑÉCHANCERY
                                      ÍËÒÈÍÌÐÓÉOF       ÎÑÉÊËÌÉ
                                                            THE Ô      ÊÒÊÌÉOF
                                                                      STATE      ÎÑÉDELAWARE
                                                                                      ÕÌÖÒ×ÒÐÌÉ
  ØÙÚÛÜÝÞÆGOUREAU ßÛàáâÝàÆãand       äåÆÞSTEPHANIE
                                           æâçèÝØÙâÆ                     Æ
 éâØêÙ        ØëÆindividually
                 ìäåìíìåîãïïðÆand ãäåÆderivatively
                                        åñòìíãóìíñïðÆonôäÆ               Æ
 NICOLAS

 õñöãï÷Æofô÷ÆéÜÆ    øÝÞèÙÛØëÆÜÜÚë    LLC,Æ  ãaÆDelaware
                                               ùñïãúãòñÆ                 Æ
  MENKIN,

 ïlimited
   ìûìóñåÆliability
             ïìãõìïìóðÆücompany,
                         ôûýãäðëÆ                                        Æ
 behalf        ML FASHION,

  Æ                                                                      Æ Ú0        Ý0ÆNo.
                                                                                        Øô0Æ2020-0486
                                                                                            343454678Æ
  Æ Æ Æ çPlaintiffs,          ïãìäóì÷÷þëÆ                            Æ
                                                                                  C.A.

  Æ                                                                      Æ
  Æ v.í0Æ
  Æ
  éÝáÚàÞÆÜâéÛØÙ               ÞëÆanãäÆindividual,
                                      ìäåìíìåîãïëÆML
                                                   éÜÆ
 áâæÝÙ      ÜëÆÜÜÚë
                  LLC,Æã    aÆùñ     ïãúãòñÆïlimited
                                                 ìûìóñåÆ
  MARCUS         LEMONIS,

 ïliability
   ìãõìïìóðÆücompany,
               ôûýãäðëÆéÝáÚàÞ
                           MARCUSÆ        ÜâéÛØÙÞëÆ
  RETAIL,                        Delaware

 ÜÜ  ÚëÆã     aÆùñ    ïãúãòñÆïlimited
                                    ìûìóñåÆïliability
                                                ìãõìïìóðÆ
                                          LEMONIS,

 ücompany,
    ôûýãäðëÆáÛ1âáæÝÆáÝø                    øâÜÆã      2ãÆ
  LLC,            Delaware

 1ô  õõìÆÜñ    ûôäìþëÆanãäÆìindividual,
                              äåìíìåîãïëÆand ãäåÆMLG
                                                  éÜßÆ
                  ROBERTA RAFFEL                    aka

 áâæÝÙ      ÜëÆÜÜÚë
                  LLC,Æã    aÆùñ     ïãúãòñÆïlimited
                                                 ìûìóñåÆ
  Bobbi     Lemonis,

 ïliability
   ìãõìïìóðÆücompany,
               ôûýãäðëÆ
  RETAIL,                        Delaware

  Æ
  Æ Æ Æ Defendants,         ùñ÷ñäåãäóþëÆ
  Æ
  Æ and    ãäåÆ
  Æ
  éÜÆFASHION,
         øÝÞèÙÛØëÆÜÜÚë   LLC,Æ   aã  ùñïãúãòñÆïlimited
                                    ÆDelaware     ìûìóñåÆ
 ïliability
   ìãõìïìóðÆücompany,
               ôûýãäðëÆ
  ML

  Æ
  Æ Æ Æ Nominal             ØôûìäãïÆDefendant.
                                        ùñ÷ñäåãäó0Æ
           Æ
           Æ
                   9ÌÐÇÑÇÍÒÊÇÎÈÉPURSUANT       ÏÐÔÏÒÈÊÉÊÎÉ    TO 10É      ÉC.ÍÉ4É3927
                                                                                      ÉÉ
                                                       É
                   VERIFICATION                                          Del.

          çPursuant
            îòþîãäóÆtoóôÆÅ104ÆDel.
                              Ú0  ÆÆ  3 ëÆ
                                                  Øì ü
                                     C. § 3927, NicolasôïãþÆßô  îòñãîÆhereby
                                                            Goureau      öñòñõðÆstate:
                                                                                  þóãóñÆÆ
          Å0 I,ÙëÆNicolas
          1.         ØìüôïãþÆßô      îòñãîÆãamûÆthe
                                Goureau          óöñÆçPlaintiff
                                                       ïãìäóì÷÷ÆinìäÆthe
                                                                     óöñÆabove
                                                                         ãõôíñÆücaptioned
                                                                                    ãýóìôäñåÆproceeding
                                                                                             ýòôüññåìä!Æ
ãäåÆãamûÆaãÆmember
and             ûñûõñòÆofô÷Ænominal
                                äôûìäãïÆDefendant
                                             ùñ÷ñäåãäóÆML éÜÆFashion,
                                                                øãþöìôäëÆLLC ÜÜÚÆ("ML "#éÜÆFashion"
                                                                                            øãþöìôä$ÆorôòÆ
#Úôûýãäð$%0Æ
"Company").



        Æ                                             ÅÆ
                                                      1
       Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 93 of 95
                                                                                                          Ä
        2.30 IÙÆhaveöãíñÆread
                           òñãåÆthe
                                 óöñÆ÷foregoing
                                          ôòñ!ôìä!ÆVerified
                                                         &ñòì÷ìñåÆFirst
                                                                     øìòþóÆAmended
                                                                             ÝûñäåñåÆÚô       ûýïãìäóÆand
                                                                                           Complaint     ãäåÆ
ã÷÷ìòûÆ(i)"ì%Æthat
affirm:        óöãóÆthe
                    óöñÆ÷factual
                          ãüóîãïÆallegations
                                   ãïïñ!ãóìôäþÆücontained
                                                     ôäóãìäñåÆtherein
                                                                   óöñòñìäÆãareòñÆtrue
                                                                                  óòîñÆand
                                                                                        ãäåÆücorrect
                                                                                              ôòòñüóÆtoóôÆthe
                                                                                                          óöñÆ
õñþóÆofô÷Æmy
best       ûðÆknowledge,
               2äôúïñå!ñëÆñexcept,
                               'üñýóëÆthat
                                         óöãóÆinìäÆthe
                                                   óöñÆücase
                                                         ãþñÆofô÷Æallegations
                                                                  ãïïñ!ãóìôäþÆbased
                                                                                 õãþñåÆupon
                                                                                         îýôäÆinformation
                                                                                              ìä÷ôòûãóìôäÆ
ãäåÆbelief,
and  õñïìñ÷ëÆIÙÆbelieve
                 õñïìñíñÆsuch
                          þîüöÆallegations
                                 ãïïñ!ãóìôäþÆtoóôÆbeõñÆtrue,
                                                          óòîñëÆand
                                                                  ãäåÆ(ii)
                                                                       "ìì%Æinsofar
                                                                            ìäþô÷ãòÆasãþÆthey
                                                                                         óöñðÆrelate
                                                                                              òñïãóñÆtoóôÆthe
                                                                                                          óöñÆ
ãüóþÆofô÷Æany
acts       ãäðÆother
                ôóöñòÆperson,
                      ýñòþôäëÆãareòñÆbelieved
                                     õñïìñíñåÆby   õðÆme
                                                       ûñÆtoóôÆbeõñÆtrue.
                                                                    óòîñ0Æ
         IÙÆdeclare
            åñüïãòñÆunder
                      îäåñòÆpenalty
                               ýñäãïóðÆofô÷Æperjury
                                                 ýñò(îòðÆunder
                                                            îäåñòÆtheóöñÆïlaws
                                                                            ãúþÆofô÷ÆDelaware
                                                                                       ùñïãúãòñÆthat
                                                                                                  óöãóÆtheóöñÆ
÷foregoing
  ôòñ!ôìä!ÆisìþÆtrue
                 óòîñÆand
                      ãäåÆücorrect.
                             ôòòñüó0Æ
          â' ñüîóñåÆon
          Executed   ôäÆthe
                         óöñÆ24th
                              36óöÆådayãðÆofô÷ÆAugust
                                               Ýî!îþóÆ2020
                                                         3434Æ
Æ                                                  ))))))))))))))))))))))))))))))))))Æ
Æ                                                  ØÙÚÛÜÝÞÆßÛàáâÝàÆ
Æ
                                                   NICOLAS  GOUREAU




        Æ                                               3Æ
                                                        2
       Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 94 of 95
                                                                                                       *
      -IN./012/    34560/OF
            THE COURT           47/CHANCERY
                                      318.3269/OF       47/012/
                                                            THE :       0802/OF
                                                                      STATE      47/DELAWARE
                                                                                      ;2<8=862/
  >?@ABCD,GOUREAU EAFGHCF,Iand       JK,DSTEPHANIE
                                           LHMNC>?H,                      ,
 OH>P?        >Q,individually
                 RJKRSRKTIUUV,and IJK,derivatively
                                        KWXRSIYRSWUV,onZJ,                ,
 NICOLAS

 [W\IU],ofZ],OB,    ^CDN?A>Q,BB@Q    LLC,,  Ia,Delaware
                                               _WUI`IXW,                  ,
  MENKIN,

 Ulimited
   RaRYWK,liability
             URI[RURYV,bcompany,
                         ZacIJVQ,                                         ,
 behalf        ML FASHION,

  ,                                                                       , @e        Ce,No.
                                                                                         >Ze,2020-0486
                                                                                             hihijiklm,
  , , , MPlaintiffs,          UIRJYR]]dQ,                            ,
                                                                                  C.A.

  ,                                                                       ,
  , v.Se,
  ,
  OCG@FD,BHOA>?               DQ,anIJ,individual,
                                      RJKRSRKTIUQ,MLOB,
 GHL     C?BQ,BB@QLLC,,I    a,_W     UI`IXW,Ulimited
                                                 RaRYWK,
  MARCUS         LEMONIS,

 Uliability
   RI[RURYV,bcompany,
               ZacIJVQ,MARCUS
                           OCG@FD,LEMONIS,BHOA>?DQ,
  RETAIL,                        Delaware

 BB@Q
  LLC,,I      a,_W    UI`IXW,Ulimited
                                    RaRYWK,Uliability
                                                RI[RURYV,
 bcompany,
    ZacIJVQ,GAfHGLC,GC^                    ^HB,I     gI,
                  Delaware

 fZ  [[R,BW    aZJRdQ,anIJ,Rindividual,
                              JKRSRKTIUQ,and IJK,MLG
                                                  OBE,
                  ROBERTA RAFFEL                    aka

 GHL     C?BQ,BB@QLLC,,I    a,_W     UI`IXW,Ulimited
                                                 RaRYWK,
  Bobbi     Lemonis,

 Uliability
   RI[RURYV,bcompany,
               ZacIJVQ,
  RETAIL,                        Delaware

  ,
  , , , Defendants,         _W]WJKIJYdQ,
  ,
  , and    IJK,
  ,
  OB,FASHION,
         ^CDN?A>Q,BB                 _WUI`IXW,Ulimited
                             @Q,aI,Delaware       RaRYWK,
 Uliability
   RI[RURYV,bcompany,
               ZacIJVQ,
  ML                     LLC,

  ,
  , , , Nominal             >ZaRJIU,Defendant.
                                        _W]WJKIJYe,
           ,
           ,
                   n26-7-380-4./PURSUANT      o56:58.0/04/           pq/Del.
                                                                         rstu/C.3u/v4/3927
                                                                                      wxyz//
                                                        /
                   VERIFICATION                               TO 10

          MPursuant
            TXdTIJY,toYZ,+10i,Del.
                              {|}~@e  ,,  h Q,
                                                  D Y
                                                    W c \IJRW,Menkin
                                     C. § 3927, Stephanie      OWJgRJ,hereby\WXW[V,state:
                                                                                     dYIYW,,
          +e I,?Q,DStephanie
          1.           YWc\IJRW,OW     JgRJ,Iama,the
                                    Menkin        Y\W,MPlaintiff
                                                        UIRJYR]],RinJ,the
                                                                      Y\W,Iabove
                                                                            [ZSW,bcaptioned
                                                                                    IcYRZJWK,proceeding
                                                                                              cXZbWWKRJ,
IJK,Iama,aI,member
and             aWa[WX,ofZ],nominal
                                JZaRJIU,Defendant
                                             _W]WJKIJY,ML OB,Fashion,
                                                                ^Id\RZJQ,LLC  BB@,("MLOB,Fashion"
                                                                                             ^Id\RZJ,orZX,
@ZacIJVe,
"Company").



        ,                                              +,
                                                       1
       Case 1:20-cv-04691-MKV Document 46-2 Filed 10/23/20 Page 95 of 95




         h2.e ?I,have
                    \ISW,read
                           XWIK,the
                                 Y\W,]foregoing
                                          ZXWZRJ,Verified
                                                         WXR]RWK,First
                                                                     ^RXdY,Amended
                                                                             CaWJKWK,@Z       acUIRJY,and
                                                                                           Complaint     IJK,
I]]RXa,(i)R,that
affirm:        Y\IY,the
                    Y\W,]factual
                          IbYTIU,allegations
                                   IUUWIYRZJd,bcontained
                                                     ZJYIRJWK,therein
                                                                   Y\WXWRJ,IareXW,true
                                                                                  YXTW,and
                                                                                        IJK,bcorrect
                                                                                              ZXXWbY,toYZ,the
                                                                                                          Y\W,
[WdY,ofZ],my
best       aV,knowledge,
               gJZ`UWKWQ,Wexcept,
                               bWcYQ,that
                                         Y\IY,inRJ,the
                                                   Y\W,bcase
                                                         IdW,ofZ],allegations
                                                                  IUUWIYRZJd,based
                                                                                 [IdWK,upon
                                                                                         TcZJ,information
                                                                                              RJ]ZXaIYRZJ,
IJK,belief,
and  [WURW]Q,I?,believe
                 [WURWSW,such
                          dTb\,allegations
                                 IUUWIYRZJd,toYZ,be[W,true,
                                                          YXTWQ,and
                                                                  IJK,(ii)
                                                                       RR,insofar
                                                                            RJdZ]IX,asId,they
                                                                                         Y\WV,relate
                                                                                              XWUIYW,toYZ,the
                                                                                                          Y\W,
IbYd,ofZ],any
acts       IJV,other
                ZY\WX,person,
                      cWXdZJQ,IareXW,believed
                                     [WURWSWK,by   [V,me
                                                       aW,toYZ,be[W,true.
                                                                    YXTWe,
         ?I,declare
            KWbUIXW,under
                      TJKWX,penalty
                               cWJIUYV,ofZ],perjury
                                                 cWXTXV,under
                                                            TJKWX,theY\W,Ulaws
                                                                            I`d,ofZ],Delaware
                                                                                       _WUI`IXW,that
                                                                                                  Y\IY,theY\W,
]foregoing
  ZXWZRJ,isRd,true
                 YXTW,and
                      IJK,bcorrect.
                             ZXXWbYe,
         H  WbTYWK,on
          Executed   ZJ,the
                         Y\W,24th
                              hkY\,KdayIV,ofZ],August
                                               CTTdY,2020
                                                         hihi,
                                                   ,
                                                   DLHMNC>?H,OH>P?>,




                                                        h2,
